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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA

         ______________________________________
                                               )   MDL No. 2592
         IN RE: XARELTO (RIVAROXABAN)          )
         PRODUCTS LIABILITY LITIGATION         )   Judge Eldon E. Fallon
         ______________________________________)




                                  EXPERT REPORT
                              DAVID A. KESSLER, M.D.




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   1
       The schedules were prepared by legal staff at my direction and under my review.

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                 Authors

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                                                 4

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     I.   QUALIFICATIONS

          1.      My name is David A. Kessler, M.D. I received my M.D. degree from Harvard

   Medical School in 1979 and my J.D. degree from the University of Chicago Law School in 1978.

          2.      I did my pediatrics training at Johns Hopkins Hospital.

          3.      In 1990, I was appointed by President George H. W. Bush as Commissioner of the

   United States Food and Drug Administration (“Commissioner”) and was confirmed by the United

   States Senate. I also served in that position under President William Jefferson Clinton until

   February 1997.

          4.      I have taught food and drug law at Columbia University Law School, and I have

   testified many times before the United States Congress on food, drug, and consumer protection

   issues under federal and state law. Over the last thirty years, I have published numerous articles in

   legal, medical, and scientific journals on the federal regulation of food, drugs, and medical

   devices. I have had special training in pharmacoepidemiology at Johns Hopkins Hospital. My

   resume is attached as Appendix A. A list of cases in which I have appeared as an expert witness

   in the last four years, and documentation of my expert witness fee, is attached as Appendix B. A

   list of my published articles relating to FDA issues, including devices and drugs, is attached as

   Appendix C.

          5.      As Commissioner, I had ultimate responsibility for implementing and enforcing

   the United States Food, Drug, and Cosmetic Act (the “Act”). I was responsible for overseeing

   five Centers within the FDA. They included, among others, the Center for Drug Evaluation and

   Research, the Center for Devices and Radiological Health and the Center for Biologics

   Evaluation and Research. In addition to those duties, I placed high priority on getting promising

   therapies for serious and life-threatening diseases to patients as quickly as possible. During my



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   tenure as Commissioner, the FDA announced a number of new programs including: the

   regulation of the marketing and sale of tobacco products to children; nutrition labeling for food;

   user fees for drugs and biologics; preventive controls to improve food safety; measures to

   strengthen the nation’s blood supply; and the MEDWatch program for reporting adverse events

   and product problems involving both drugs and devices. I created an Office of Criminal

   Investigation within the Agency to investigate suspected criminal violations of the Act, FDA

   regulations and other related laws.

             6.       I am a senior advisor to TPG Capital, a leading global private equity firm, which

   owns pharmaceutical and biomedical companies. I served on the board of Aptalis Pharma. I

   currently serve on the boards of Stoke Pharmaceuticals, Tokai Pharmaceuticals and the medical

   device and biologics company Immucor, Inc. In these advisory and fiduciary capacities, I have

   advised companies on the standards and duties of care within the pharmaceutical and medical

   device industry. I also chaired the compliance committee of Aptalis Pharma, and currently chair

   the quality committee at Immucor, Inc., which involves ensuring compliance with the FDA’s

   regulations and requirements.

             7.       The documents provided to me by counsel, or that I accessed independently from

   various sources, including, but not limited to, the FDA’s website, are attached as Appendix D. At

   my request, and subject to my directions and review, the attached Schedules were prepared by

   legal staff. Based on my review of the documents listed in Appendix D, and my training and

   experience, I have a number of opinions that are detailed below.

             8.       It is my understanding that the cases identified in Footnote 2, infra, include, but

   are not limited to, the following claims as they relate to Xarelto2:


   2
       Xarelto is the brand name for the pharmaceutical drug rivaroxaban.


                                                             6

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                a. Louisiana Product Liability Act (La. R.S. 9:2800.51, et seq.)

                b. Negligence;

                c. Negligence – Failure to Warn;

                d. Negligence – Negligent Design;

                e. Negligent Misrepresentation;

                f. Strict Products Liability;

                g. Strict Products Liability – Failure to Warn;

                h. Strict Product Liability – Design Defect;

                i. Breach of Express Warranty;

                j. Breach of Implied Warranty(ies);

                k. Fraud;

                l. Fraudulent Misrepresentation;

                m. Fraudulent Concealment;

                n. Fraud and Deceit;

                o. Violation of Unfair Trade Practices and Consumer Protection Law §51:1401, et.
                   seq.

                p. Violation of Consumer Protection Laws;

                q. Loss of Consortium

                r. Redhibition (La. C.C. 2520, et seq.);

                s. Punitive Damages3

           9.       In this report, I use the term “sponsors” to refer to one or more of the following

   corporate entities, including Janssen Research & Development, LLC f/k/a Johnson and Johnson


   3
     See the following filed complaints for MDL 2592: Boudreaux, Joseph J., Jr., Case No. 2:14-cv-02720; Orr, Joseph,
   Jr., Case No. 2:15-cv-03708; Mingo, Dora, Case No. 2:15-cv-03469; and James Henry, Individually and as Executor
   of the Estate of William Henry, Case No. 2:15-cv-00224.

                                                           7

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   Pharmaceutical Research and Development LLC; Janssen Ortho, LLC; Janssen Pharmaceuticals,

   Inc. f/k/a Janssen Pharmaceutica Inc. f/k/a Ortho-McNeil-Janssen Pharmaceuticals, Inc.; Johnson

   and Johnson; Bayer Healthcare Pharmaceuticals, Inc.; Bayer Pharma AG f/k/a Bayer Schering

   Pharma AG; Bayer Corporation; Bayer Healthcare, LLC; Bayer Healthcare AG; and Bayer AG.

              10.     The bellwether plaintiffs in this case are listed in Schedule 12.

              11.     My opinions in this case focus on the responsibilities of drug companies, focusing

   on the regulatory interface between drug companies, the FDA, and physicians and patients as

   well as industry standards. These types of issues involve the intersection of science and

   regulation, including pharmacology, pharmacokinetics, and statistics.


       II.    FDA REGULATIONS REQUIRE THAT A MANUFACTURER MUST IDENTIFY
              IN THE WARNINGS AND PRECAUTIONS SECTION ANY LABORATORY
              TEST HELPFUL IN RECOGNIZING PATIENTS WITH ADVERSE
              REACTIONS

              12.     In 1979, FDA promulgated a regulation which required manufacturers to:

   “identify any laboratory tests that may be helpful in following the patient’s response or in

   identifying possible adverse reactions. If appropriate, information shall be provided on such

   factors as the range of normal and abnormal values expected in the particular situation and the

   recommended frequency with which tests should be done before, during, and after therapy.”4

              13.     The 1979 regulation required that such disclosures be in the Precautions section of

   the drug label.

              14.     On January 24, 2006, FDA promulgated a regulation that merged the Warnings

   and Precaution section and slightly modified the above requirement to read:

                      identify any laboratory tests helpful in following the patient’s response or in
                      identifying possible adverse reactions. If appropriate, information must be
                      provided on such factors as the range of normal and abnormal values expected in
   4
       21 CFR §201.57(f)(3).

                                                        8

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                       the particular situation and the recommended frequency with which tests should
                       be performed before, during, and after therapy.5

              15.      In my opinion, any laboratory test that is helpful in identifying patients at risk for

   serious adverse events based upon a patient’s response to a drug should be disclosed in the

   Warnings and Precautions section of the drug label.


   III.       SERIOUS BLEEDING IS AN ADVERSE EVENT ASSOCIATED WITH THE USE
              OF XARELTO

              16.      According to the Phase III pivotal clinical trial conducted by the sponsors, Xarelto

   was shown to result in 14.9 major or non-major clinically relevant bleeding events per 100

   patient years.6

              17.      According to FDA medical reviewers, “With respect to safety, the single issue

   weighing on the approval decision for rivaroxaban [Xarelto] is bleeding risk.”7

              18.      In my opinion, any laboratory tests that could be helpful in identifying patients at

   increased risk of bleeding from Xarelto use should be identified in the Warnings and Precautions

   section of the drug label.




   5
       21 CFR §201.57(c)(6)(iii).
   6
    The hazard ratios (Xarelto vs. warfarin) for the incidence of pre-designated types of bleeding events in the
   ROCKET US population alone were as follows: Safety Endpoint, HR = 1.28 (1.09, 1.50; p=0.003); Major Bleeding,
   HR = 1.50 (1.14, 1.98; p=0.004); Hb drop, HR = 1.64 (1.19, 2.24; p=0.002); Transfusion, HR = 1.61 (1.12, 2.33;
   p=0.011); Critical site, HR = 0.85 (0.46, 1.59; p=0.614); Death, HR = 0.63 (0.23, 1.72; p=0.365); Non-major, HR =
   1.20 (1.00, 1.45; p=0.049); Minimal, HR = 1.20 (0.79, 1.81; p=0.395). See FDA Briefing Document for the
   Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8 September 2011, Clinical Review, p. 228.
   In a letter dated January 28, 2014, FDA requested that the sponsors include a forest plot in the labeling that
   presented data on bleeding events in ROCKET, including the previous listed data for the US population. See
   XARELTO_JANSSEN_00000344. This forest plot and the relevant US population bleeding data is contained in the
   FDA approved Xarelto labeling as of September 2015. See US Xarelto Prescribing Information dated 9/2015,
   available at http://www.accessdata.fda.gov/drugsatfda_docs/label/2015/202439s015lbl.pdf.
   7
    FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8
   September 2011, Clinical Review, p. 16.

                                                           9

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    IV.        THERE IS VARIABILITY IN DRUG PLASMA CONCENTRATION LEVELS IN
               PATIENTS TAKING XARELTO

               19.       The following inter-patient variability was observed in the pivotal Phase III trial

    supporting the atrial fibrillation indication8,9,10:

                     a. For the 20mg dose11:

                              i. The geometric mean AUC was 3,164 with a 5-95th percentile range of
                                 1,860-5,434 mcg/h/L.
                             ii. The geometric mean Ctrough was 44 mcg/L with a 5th-95th percentile range
                                 of 12-137 mcg/L.
                            iii. The geometric mean Cmax was 249 mcg/L with a 5th-95th percentile range
                                 of 184-343 mcg/L.
                     b. For the 15mg dose12:

                              i. The geometric mean AUC was 3,249 with a 5-95th percentile range of
                                 1929-5311 mcg/h/L.
                             ii. The geometric mean Ctrough was 57 mcg/L with a 5th-95th percentile range
                                 of 18-136 mcg/L.
                            iii. The geometric mean Cmax was 229 with the 5th-95th percentile range of
                                 178-313 mcg/L.

    8
     Mueck, W., et al. Clinical Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban. Clin Pharmacokinet
    (2014) 53:1-16.
    9
      This section discusses the inter-patient variability in plasma drug concentration for a given dose of Xarelto. The
    sponsor’s data also show that there is inter-patient variability in prothrombin time (PT) for a given dose of Xarelto
    (see Schedule 13, Box & Whiskers plots entitled “Prothrombin Time (Rivaroxaban Arm, ROCKET-AF) Week 12,
    20-28 Hours Post 20mg Dose (N=293) and “Prothrombin Time (Rivaroxaban Arm, ROCKET-AF) Week 24, 20-28
    Hours Post 20mg Dose (N=276)”). This variability between patients in PT with a given dose is expected given the
    variability between patients in concentration with a given dose and the relationship between drug concentration and
    PT, as discussed below. Simply put, at a given dose, there is variability in both drug plasma concentration and the
    effect of the drug, as measured by PT, because there is a linear correlation between drug plasma concentration and
    PT.
    10
         See Schedule 13 for the inter-patient variability associated with other approved indications, as listed in Schedule
    2.
    11
       The 20mg qd dose is the recommended dose for a) stroke prevention in patients with non-valvular atrial
    fibrillation with CrCl >50 and b) the continued treatment of DVT/PE. For a discussion of FDA’s concerns about
    dose selection, see Schedule 18.
    12
       The 15mg qd dose is the recommended dose for a) stroke prevention in patients with non-valvular atrial
    fibrillation with CrCl <50 and b) the treatment of acute DVT/PE.

                                                                10

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               20.       Similar inter-patient variability data were provided by the sponsors in the Xarelto

    NDA that included the Exploratory Population Pharmacokinetic-Pharmacodynamic Analysis of

    Rivaroxaban Based on Data from Study 39039039AFL3001 JNJ-39039039 (BAY 59-7939,

    rivaroxaban) dated December 15, 2010.13

               21.       According to these data, there is an approximately 10-fold difference in drug

    exposure between those patients who are at the 5% and the 95% trough level.14

               22.       In my opinion, there is variability in drug plasma concentration levels in patients

    taking Xarelto.


     V.        THERE IS A RELATIONSHIP BETWEEN XARELTO PLASMA
               CONCENTRATION LEVELS AND PROTHROMBIN TIME (PT)

               23.       According to Bayer’s Dr. Wolfgang Mueck, et al., in an article titled Clinical

    Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban published in 2014: “Prolongation of

    the PT (using NeoPlastin)15 was correlated with the rivaroxaban [Xarelto] plasma concentrations

    in a linear relationship (Fig. 4).”16,17

               24.       Dr. Mueck’s Figure 418 demonstrates this relationship:




    13
         XARELTO_BPAG_00006581.
    14
         See Deposition of Dr. Wolfgang Mueck, Feb. 25, 2016, 391:12-18.
    15
         At all times in this report, references to PT levels refer to PT levels obtained using the NeoPlastin reagent.
    16
         Mueck 2014.
    17
      A document prepared by the sponsor, dated May 11, 2016, stated: “The relationship between PT and rivaroxaban
    plasma concentration when Neoplastin® Plus, STA Neoplastine®, or Innovin® is used as the reagent is linear and
    closely correlated.” XARELTO_JANSSEN_24478012, p. 1.
    18
         Mueck 2014.

                                                                 11

                                                                                                                          USCA5 2990
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              25.    According to sponsor data, the correlation coefficient between drug

    concentrations and PT (using NeoPlastin) was reported as r value = 0.98.19

              26.    According to FDA medical reviewers, “With respect to the PK-PD relationship,

    there is a direct linear relationship between serum concentrations of rivaroxaban [Xarelto]




    19
         XARELTO_BPAG_37307156, p. 15.

                                                     12

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    expected in human use at the doses used in ROCKET, as demonstrated by the results of PK study

    10847 (PPK03-002), as seen in Figure 4 below:”20




            27.     The FDA medical reviewers further questioned and, in turn, concluded: “Can

    Prothrombin Time (PT) be used as a surrogate for PK? The PK data from 161 ROCKET patients

    confirms the linear relationship between the plasma concentration of rivaroxaban [Xarelto], and

    the PT, as demonstrated in Figure 6 below.”21,22




    20
      FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8
    September 2011, Clinical Review, p. 37.
    21
      FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8
    September 2011, Clinical Review, p. 38.


                                                       13

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              28.     A document created by the sponsors entitled “XARELTO® (rivaroxaban)

    Coagulation Monitoring,” dated May 11, 2016, stated the following:

                          x If assessment of rivaroxaban plasma concentrations is necessary, the PT
                            was reported to be an appropriate coagulation test. The relationship
                            between PT and rivaroxaban plasma concentration when Neoplastin®
                            Plus, STA Neoplastine®, or Innovin® is used as the reagent is linear and
                            closely correlated. The pharmacodynamics effects of rivaroxaban as
                            measured by the PT are strongly affected by the type of PT reagent that is
                            used.23
              28.     The document goes on to state the following regarding prothrombin time:

                      PT is a widely used clotting test that measures extrinsic and final common
                      pathways of coagulation cascade.
                          x There is a concentration-dependent relationship between rivaroxaban and
                              prolongation of PT; however, there was considerable variability of PT
                              measurements depending on the specific reagent used.
                          …

                          x   In a human plasma study, STA Neoplastin Plus® was found to be the most
                              precise method for determination of rivaroxaban.
                          x   The higher cut-offs of rivaroxaban plasma concentrations correspond to
                              values associated with a significant risk of bleeding.24




    23
         XARELTO_JANSSEN_24478012 at p. 1, internal citations removed.
    24
         XARELTO_JANSSEN_24478012 at p. 2-3, internal citations removed.

                                                        14

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            29.     In my opinion there is a relationship between Xarelto plasma concentration levels

    and prothrombin time.


    VI.     AS OF AUGUST 2011, THERE IS A RELATIONSHIP BETWEEN PT LEVELS
            AND THE RISK OF BLEEDING

            30.     According to FDA’s Stephen M. Grant, Deputy Division Director, Division of

    Cardiovascular and Renal Products, the Clinical Pharmacology and Clinical reviewers

    demonstrated “that there is also a correlation between PT and risk of bleeding.”25

            31.     According to FDA’s clinical pharmacology review:

                    Major bleeding events increased with an increase in pre-dose PT
                    [trough] over the observed range (per protocol, on treatment analysis
                    set). Probability of major bleeding by pre-dose PT with rivaroxaban
                    shown in (A) logistic regression model (Emax) and (B) Cox regression
                    model with a plot indicating probability of an event within 1 year.26




    25
     Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Summary Review, Deputy
    Devision Director Decisional Memo, dated 04 November 2011, p. 9.
    26
      Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Clinical Pharmacology
    Review, dated 01/05/2011, p. 12, Section 3.3.

                                                        15

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               32.      Janssen’s Dr. Troy Sarich testified:

                        Q.     And are you aware, sir, that the FDA said that PT could be used as a
                        surrogate marker for PK?

                        A.       I do recall they – they made that claim.

                        Q.       Do you agree or disagree with them in that?

                        A.      I – I don’t agree. I don’t think that that analysis was correct, and I don’t
                        think that their assessment was correct, and we spent a lot of time in the company
                        and also working with external academic experts on this question. And – and I
                        think as evidenced today by the fact that PT is not used by clinicians, it’s just not
                        helpful.

                        Q.       Okay. But had Janssen ever communicated to the FDA that PT would be a
                        useful surrogate marker of PK?
                        …
                        A.       I – I don’t recall exactly if we did. I think that we shared all the data we
                        had on the various coagulation markers that are available. PT was one of those
                        markers, which is prolonged by rivaroxaban. But I think we also pointed out that
                        it’s not – it’s not a sensitive assay for rivaroxaban, so we didn’t think the utility
                        was very good.

                        Q.      But – but the assessment that you – that the FDA did that you disagree
                        with, is that what they allegedly saw in the data, was that with increasing – or
                        that there was a linear relationship between PK and PD, with PD being the pro –
                        pro time, using the Neoplastine reagent, and that they also saw a correlation
                        between increasing PT and bleed risk, right?
                        …
                        A.      They – they produced multiple assessments and, similar to our prior
                        findings, yes, that PT is prolonged by rivaroxaban. The – the work they showed
                        that PT is correlated to bleeding, we did not agree with that assessment or how
                        they did the analysis.
                        …
                        Q.      And did you communicate that to the FDA, that you disagreed with their
                        analysis?

                        A. Yes, we did.
                        …
                        Q.      Okay. So at the end of the day, the FDA and Janssen did not reach
                        agreement on whether or not there is a relationship between PT and bleed risk?

                        A.       That’s correct.27


    27
         Deposition of Dr. Troy Sarich, June 29, 2016, 51:12-53:20; 54:19-22; 59:22-60:2.

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               33.      In my opinion, as of August 2011, there is a relationship between PT levels and

    the risk of bleeding.28, 29


   VII.        MEASURING A PT LEVEL IN A XARELTO-TREATED PATIENT CAN BE
               HELPFUL IN IDENTIFYING PATIENTS AT RISK FOR SERIOUS ADVERSE
               EVENTS BASED UPON A PATIENT’S RESPONSE TO XARELTO

               34.      As noted above:

                     a. there is variability in drug plasma concentration levels in patients taking Xarelto;

                     b. there is a relationship between Xarelto plasma concentration levels and PT; and

                     c. there is a relationship between PT levels and the risk of bleeding.

               35.      Therefore, in my opinion, measuring a PT level in a Xarelto-treated patient can be

    helpful in identifying patients at risk for serious adverse events based upon a patient’s response

    to Xarelto.



  VIII.        THERE IS A LABORATORY TEST TO MEASURE PT LEVELS IN XARELTO-
               TREATED PATIENTS

               36.      The sponsors used the Neoplastin PT test as a pharmacodynamic measurement in

    its clinical trials that studied Xarelto.30




    28
      Contrary to this finding with respect to bleeding, according to FDA’s medical reviewers, “no PT-dependent
    reduction in ischemic stroke is demonstrated over the range of PT data.” FDA Ad. Comm. Briefing Doc., Clinical
    Review, p. 43.
    29
      See also Nakano Y, et al. Clinical usefulness of measuring prothrombin time and soluble fibrin levels in Japanese
    patients with atrial fibrillation receiving rivaroxaban. J Cardiol (2014), http://dx.doi.org/10.1016/j.jjcc.2014.07.021
    The conclusion stated as follows:

               In Japanese patients with non-valvular atrial fibrillation receiving rivaroxaban, a prolonged
               peak PT (>20 s) could indicate increased risk of bleeding, and both trough and peak SF levels
               were reduced relative to baseline. PT and SF are both valuable measures of coagulation status
               in patients receiving rivaroxaban, regardless of prior anticoagulant history.
    30
         See Mueck 2014 at p. 13.

                                                              17

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               37.     Xarelto prolongs PT when using reagents such as NeoPlastin that are sensitive to

    Xarelto, including both Neoplastin Plus® (Diagnostic Stago, Asnieres-sur-Seine, France) and

    HemsIL RecombiPlasTin 2G (Instrumentation Laboratory, Bedford, MA, USA).31

               38.     A Janssen document titled “XARELTO® (rivaroxaban) Coagulation Monitoring,”

    dated May 11, 2016, stated the following:

                       If assessment of rivaroxaban plasma concentrations is necessary, the
                       PT was reported to be an appropriate coagulation test. The relationship
                       between PT and rivaroxaban plasma concentration when Neoplastin®
                       Plus, STA Neoplastine®, or Innovin® is used as the reagent is linear
                       and closely correlated. The pharmacodynamics effects of rivaroxaban
                       as measured by the PT are strongly affected by the type of PT reagent
                       that is used.32

               39.     The 510(k) applications for STA Neoplastine (K922565) and Neoplastin Plus

    (K922040) were cleared by FDA on December 7, 1992 and June 23, 1992, respectively.33

               40.     On August 15, 2007, FDA issued a substantial equivalence determination decision

    summary for the application regarding HemosIL RecombiPlasTin 2G, which contained the

    following conclusion: “The submitted information in this premarket notification is complete and

    supports a substantial equivalence decision.”34

               41.     The 510(k) for the Dade Innovin II reagent (K935702) was cleared by the FDA on

    November 22, 1994,35 and the Dade Innovin reagent (K94343) was approved on July 22, 1998.36


    31
         Samama, M.M., et al. Laboratory assessment of rivaroxaban: a review. Thrombosis Journal 2013;11:11.
    32
         XARELTO_JANSSEN_24478012 at p. 1, internal citations removed.
    33
      http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K922565;
    http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K922040
    34
     510(k) Substantial Equivalence Determination Decision Summary Assay Only Template, 510(k) Number
    K070005, available at http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K070005.
    35
         http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K935702.
    36
      510(k) Summary of Safety and Effectiveness, Dade® Innovin®, Prothrombin time assay, available at
    http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K974343.

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                42.      The sponsor indicates that the number of Xarelto prescriptions in the U.S. exceeds

    twenty million.37 Since the drug is widely prescribed, the laboratory tests would be frequently

    utilized, giving both physicians and clinical laboratories experience on how to interpret and use

    the test.

                43.      In my opinion, while PT values change over the dosing interval, useful

    information can be obtained if the measurement is collected at the appropriate time (e.g., peak,

    trough, etc.).

                44.      In my opinion, there is a laboratory test to measure PT levels in Xarelto-treated

    patients.


    IX.         WHILE MEASURING A PT LEVEL IN A XARELTO-TREATED PATIENT CAN
                BE HELPFUL IN IDENTIFYING PATIENTS AT RISK FOR SERIOUS
                ADVERSE EVENTS BASED UPON A PATIENT’S RESPONSE TO XARELTO,
                IT DOES NOT ALLOW A PHYSICIAN TO TITRATE THE DOSE IN SUCH
                PATIENTS. RATHER, IT ALLOWS A PHYSICIAN AND A PATIENT TO
                DECIDE WHETHER THE PATIENT SHOULD CONTINUE XARELTO
                THERAPY

                45.      On August 10, 2011, when discussing dose adjustment in a single patient, FDA’s

    Medical Reviewer stated that: “Monitoring rivaroxaban therapy with sequential prothrombin

    times to optimize safety outcomes cannot be recommended due to a lack of information

    regarding:

                      a. Within-patient variability38 of PT measurements on this drug in the setting of a
                         short half-life and rapidly changing PD effects over each 24 hour period, and

                         What action to recommend to the medical provider based on PT results, given that
                         only a single dose was tested in ROCKET….”39


    37
         https://www.xarelto-us.com/blood-thinner
    38
         Within-patient, or intra-patient, variability is different from between patient, or inter-patient, variability.
    39
         FDA Ad. Comm. Briefing Doc., Clinical Review, p. 44.

                                                                   19

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               46.     Thus, the FDA has recognized that the sponsors have not collected enough data to

    allow a physician to titrate the dose in patients who may be at increased risk of bleeding.

               47.     That same day, on August 10, 2011, the FDA’s clinical pharmacology reviewers

    stated, “Major bleeding events increased with an increase in pre-dose PT [trough] over the

    observed range (per protocol, on treatment analysis set). Probability of major bleeding by pre-

    dose PT with rivaroxaban shown in (A) logistic regression model (Emax) and (B) Cox regression

    model with a plot indicating probability of an event within 1 year.”40, 41




               48.     On November 4, 2011, FDA’s Deputy Division Director stated that, “The clinical

    pharmacology and clinical reviewers demonstrated that there is a linear correlation between

    rivaroxaban levels and prothrombin time (PT). They also demonstrated that there is also a

    correlation between PT and risk of bleeding. This applicant has not chosen to utilize this

    40
         FDA Clinical Pharmacology Review, p. 12, Section 3.3.
    41
      These data were available to the Sponsor no later than September 8, 2011, when this information became publicly
    available. In my opinion, these data constitute new information available to the Sponsor relating to the relationship
    between PT levels and risk of bleeding.

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    information… infrequent monitoring (perhaps at initiation and yearly thereafter) to assure

    appropriate dosing of drugs that prevent stroke and cause bleeding may improve outcomes and

    be acceptable to patients.”42,43

            49.      In my opinion, while measuring a PT level in a Xarelto-treated patient can be

    helpful in identifying patients at risk for serious adverse events based upon a patient’s response

    to Xarelto, without additional adequate sponsor-generated clinical trial data exploring Xarelto

    dose adjustment based on bleeding risk (as measured by PT), measuring a PT level does not

    allow a physician to titrate the dose in such patients. Rather, it allows a physician and a patient to

    decide whether the patient should continue Xarelto therapy.


     X.     CHRONOLOGY OF FDA’S STATEMENTS INCLUDING LABEL
            NEGOTIATIONS BETWEEN FDA AND THE XARELTO SPONSORS.

            50.      On October 1, 2005, the sponsors signed a Collaborative Development and

    License Agreement, which included a Marketing Plan. The “Product Positioning & Target

    Product Profile” section of that plan stated in part: “Compared to current and expected future




    42
     Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Summary Review, Deputy
    Devision Director Decisional Memo, dated 04 November 2011, p. 9.
    43
      See also Lippi, G., et al. Urgent monitoring of direct oral anticoagulants in patients with atrial fibrillation: a
    tentative approach based on routine laboratory tests. J Thromb Thrombolysis DOI 10.1007/s11239-014-1082-5 (09
    May 2014). The abstract states as follows:

                     The number of patients diagnosed with atrial fibrillation who will be candidates for antithrombotic
                     therapy with direct oral anticoagulants (i.e., dabigatran, rivaroxaban, apixaban and edoxaban) is
                     exponentially arising worldwide, thus posing substantial economic and organization challenges for
                     their urgent monitoring…Based on literature data, we have hence developed an algorithm based
                     on first-line tests for urgent screening of the anticoagulant effect of direct oral anticoagulants,
                     which entails activated partial thromboplastin time (aPTT) for dabigatran and prothrombin time
                     (PT) for rivaroxaban…According to the literature data, this strategy appears suitable to reliably
                     define the thrombotic or bleeding risk in an urgent setting, contextually saving precious laboratory
                     resources.

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    agents, [Xarelto] provides an ideal balance of safety and efficacy with the convenience of oral

    dosing and a predictable response and without the need for coagulation monitoring.”44

              51.     “When Janssen filed NDA 022406 in July 2008, Janssen included the following

    paragraph in Section 12.2 of its proposed label:


                      Dose-dependent inhibition of Factor Xa activity was observed in
                      humans and the prothrombin time (PT), activated partial
                      thromboplastin time (aPTT) and HepTest® are prolonged dose
                      dependently. The relationship between PT and rivaroxaban plasma
                      concentration is linear and closely correlated. If assessment of the
                      pharmacodynamics effect of rivaroxaban is considered necessary in
                      individual cases, PT (measured in seconds) is recommended. The
                      Neoplastin® PT assay was measured in the RECORD program and the
                      5/95 percentiles for PT (Neoplastin®) 2 to 4 hours after tablet intake
                      (i.e., at the time of maximum effect) ranged from 13 to 26 seconds. The
                      International Normalized Ratio (IN) should not be used for measuring
                      rivaroxaban pharmacodynamics effect.

                      See XARELTO_JANSSEN_00047659.”45

              52.     An April 23, 2009 document entitled “The Xarelto USPI Labeling Contingency

    Document” asked, “Will we need to add a new 5.4 laboratory test section like Lovenox?” The

    document indicated that the company would include such language “only if section is

    requested…”46

              53.     “On May 27, 2009, the FDA issued a Complete Response letter for NDA 022406,

    which included further comments on labeling. Janssen responded to the Complete Response




    44
         XARELTO_BHCP_00015914, Exhibit E, p. 3.
    45
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 8.
    46
         XARELTO_JANSSEN_05911809.

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    letter on December 27, 2010. In this response, Janssen included the same proposed language in

    Section 12.2. See XARELTO_JANSSEN_00054178 and XARELTO_JANSSEN_00054184.”47

            54.      “In January 2011, Janssen submitted draft labeling for NDA 202439, which

    included the same language in Section 12.2. XARELTO_JANSSEN_00001707.”48

            55.      “On June 13, 2011, FDA responded and sent Janssen a revised label for NDA

    022406 with the proposed PT language removed from Section 12.2. FDA proposes, ‘The

    predictive value of these coagulation parameters for bleeding risk or efficacy has not been

    adequately studied.’ XARELTO_JANSSEN_05852123 and

    XARELTO_JANSSEN_05852122.”49

            56.      “Janssen responded and accepted FDA’s proposal to remove the majority of the

    PT language, except with respect to INR, on June 16, 2011 (NDA 022406). Janssen also

    proposed changing ‘has not been adequately studied’ to ‘has not been established.’ Here is the

    full text of Janssen’s proposal: ‘The predictive value of these coagulation parameters for

    bleeding risk or efficacy has not been established. The International Normalized Ratio (INR)

    should not be used for measuring rivaroxaban pharmacodynamics effect.’

    XARELTO_JANSSEN_01231195, XARELTO_JANSSEN_01231199.”50




    47
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 9.
    48
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 9.
    49
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 9.
    50
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 9.

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            57.      “On June 22, 2011, FDA returned comments in response to Janssen’s June 16,

    2011 submission (NDA 022406) and stated it disagreed with Janssen’s proposal to retain the

    statement about INR. XARELTO_JANSSEN_00047264.”51

            58.      “Janssen responded to FDA (NDA 022406) on June 28, 2011 and stated in the

    comments section:


                     For any specific level of warfarin anticoagulation, different
                     commercially available PT assays will show varying prolongations
                     measured in seconds. The conversion of PT results in seconds to INR
                     values was developed to normalize these differences so that the INR
                     value is the same regardless of the PT assay used. This INR conversion
                     is specific for warfarin (and other VKA) and if applied to rivaroxaban
                     actually increases conversion to assess rivaroxaban pharmacodynamic
                     effects should not be done as the results will be more variable and
                     potentially misleading (i.e., conversion could either increase or
                     decrease apparent effect compared with PT in seconds). Additional
                     details are provided below.
                     The reagent used to perform the Prothrombin Time (PT),
                     thromboplastin/tissue factor, is manufactured specifically for use in this
                     test, and is refined to address the adjustment of vitamin K antagonist
                     therapy. The reagents are produced by various commercial companies
                     around the world, and as a result, the reagents vary in their sensitivity
                     in this clotting assay. This leads to the situation where the plasma
                     sample of a patient anticoagulated on warfarin may provide a PT of, for
                     example, 17.0 seconds in one laboratory, but will not necessarily
                     produce the same exact PT value in another laboratory. To
                     accommodate for this, the INR was developed. While the INR does
                     standardize the prothrombin time values obtained on the same plasma
                     sample when tested in laboratories around the world, it is based on a
                     World Health Organization standard plasma sample system of plasma
                     drawn from patients who have been stably anticoagulated (usually for 2
                     weeks or longer) on a VKA like warfarin. Thus, when the INR is
                     reported, it is reliable only for patients on a VKA. Moreover, the
                     majority of laboratories today routinely only report out the calculated
                     INR, not the actual PT value in seconds, the method and units used in
                     the rivaroxaban pharmacodynamics studies. If prescribers of
                     rivaroxaban are to use the pharmacodynamic information provided in
                     this label to make clinical decisions, they must use the PT in seconds,

    51
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 9.

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                                                                                                              USCA5 3003
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                     not the INR which is based on plasma from patients anticoagulated
                     with VKAs, and has no relation at all to the presence of rivaroxaban.
                     Therefore it is important to warn the prescriber that “The International
                     Normalized Ratio (INR) should not be used for measuring rivaroxaban
                     pharmacodynamics effect. The Sponsor proposes to add the statement
                     that “the Prothrombin Time could be used for estimating rivaroxaban
                     pharmacodynamics effect” (although Sponsor does not recommend it
                     due to the short half-life and fact that the effect varies with the various
                     available thromboplastin/tissue factor reagents).”
                     XARELTO_JANSSEN_00047272.”52
            59.      “On July 1, 2011, NDA 022406 was approved by the Agency, and contained the

    following statements in Section 12.2 of the Approved Package Insert:


                     Dose-dependent inhibition of factor Xa activity was observed in
                     humans and the Neoplastin prothrombin time (PT), activated partial
                     thromboplastin time (aPTT) and HepTest are prolonged dose-
                     dependently. Anti-factor Xa activity is also influenced by rivaroxban.
                     There are no data on the use of the International Normalized Ratio
                     (INR). The predictive value of these coagulation parameters for
                     bleeding risk or efficacy has not been established.

                     XARELTO_JANSSEN_00047287.”53

            60.      “On July 12, 2011, Sanjay Jalota and Alla Rhoge (Janssen) had a call with Alison

    Blaus (FDA Project Manager) to obtain feedback from the FDA internal meeting held on July

    12, 2011. On this call, ‘Alison mentioned that NDA 22-406 approved label should be used as the

    basis for the updated label and the AFib specific information added to it.’ See

    XARELTO_JANSSEN_00000200.”54




    52
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 9-10.
    53
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 11.
    54
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 11.

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               61.     On August 10, 2011, the FDA’s clinical pharmacology reviewers stated, “Major

    bleeding events increased with an increase in pre-dose PT [trough] over the observed range (per

    protocol, on treatment analysis set). Probability of major bleeding by pre-dose PT with

    rivaroxaban shown in (A) logistic regression model (Emax) and (B) Cox regression model with a

    plot indicating probability of an event within 1 year.”55




               62.     “On Friday November 4, 2011, FDA provided final comments and a revised label

    for NDA 202439. See XARELTO_JANSSEN_01499448. In this label, FDA struck the following

    sentences from Section 12.2: ‘There are no data on the use of the INR. The predictive value of

    these coagulation parameters for bleeding risk or efficacy has not been established.’ See

    XARELTO_JANSSEN_08646664. From the time of the approval of NDA 202439 until May

    2016, Section 12.2 stated:


                       Dose-dependent inhibition of factor Xa activity was observed in
                       humans and the Neoplastin prothrombin time (PT), activated partial

    55
         FDA Clinical Pharmacology Review, p. 12, Section 3.3.

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                                                                                                USCA5 3005
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                      thromboplastin time (aPTT) and HepTest are prolonged dose-
                      dependently. Anti-factor Xa activity is also influenced by rivaroxaban.
                      See id.; see also XARELTO_JANSSEN_23524564.”56
              63.     On November 4, 2011, FDA’s Stephen M. Grant, Deputy Division Director,

    Division of Cardiovascular and Renal Products, stated that the Clinical Pharmacology and

    Clinical reviewers demonstrated “that there is also a correlation between PT and risk of

    bleeding.”57

              64.     On December 4 and 5, 2014, Dr. Temple gave a presentation entitled “Dose-

    Response – Anticoagulants,” which stated:

                      For the warfarin control we do not use a fixed dose. We titrate to
                      desired INR. This is perhaps because we know blood levels can be very
                      variable, but we also know that dose matters to outcome.

                      …

                      So, for the previous of standard of care, warfarin, we do not use a fixed
                      dose, but always use a dose titrated to anticoagulant effect. Why are
                      NOACs different? Maybe they shouldn’t be.

                      …

                      People like to avoid monitoring, but dabigatran concentration response
                      data suggests one blood level and adjustment could optimize stroke
                      reduction and minimize bleeding.

                      …

                      It is possible that if blood levels were not too variable a single dose
                      could get most people into proper range. We know that is not true for
                      dabigatran and edoxaban, and we also know that apixaban and
                      rivaroxaban did not reduce thromboembolic strokes compared to
                      warfarin although they caused less bleeding. Coagulation measures
                      might do as well as, or better than, blood levels. All of this is under



    56
     Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
    Defendants Affirmative Defense of Federal Preemption, at 11-12.
    57
         FDA Summary Review, p. 9.

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                       active consideration. With steep dose-response for both benefit and
                       risk, optimizing does or blood levels seems like a very good idea.58

               65.     In July 2016, a published report59 on the discussions held at the Cardiac Research

    Safety Consortium (CSRC) think tank meeting in February 2015 stated:

                               The NOACs have reasonably predictable pharmacologic
                               profiles, with well-defined relationships between plasma
                               concentrations and anticoagulant effects and generally
                               predictable blood levels based upon administered dose. As such,
                               routine monitoring of coagulation tests has not been a
                               requirement for therapy. Moreover, even without such
                               monitoring, the NOACs performed well versus monitored
                               warfarin in their pivotal trials, including reduced fatal and
                               intracranial bleeding and, at least in AF trials, a 10% reduction
                               in all-cause mortality. Nonetheless, it is possible that they
                               might have performed even better regarding thrombotic or
                               bleeding events and stroke reduction if PK or PD
                               monitoring were available.60

               66.     On February 3, 2015, Dr. Temple gave a presentation that stated:

                               Not having the optimal dose at initial dosing is tolerable for
                               many drugs. You can adjust up or down according to response.
                               But here being too low leads to a stroke, a very bad outcome,
                               and being too high leads to major bleeds, also bad, so that early
                               optimization seems worthwhile…So, the NOACs are very
                               good, but could probably be better.61

               67.     On October 26, 2015, Drs. Jeffry Florian and Martin Rose of FDA, gave a

    presentation entitled “Correlation of Drug Levels and Outcomes in Phase III New Oral




    58
         EMA EFPIA Workshop, Slides 4, 6, and 11.
    59
      One of the authors of this report, Dr. Evardas Kaminskas, is an employee at the FDA Division of Hematology
    Products, CDER.
    60
      Reiffel, et al. NOAC monitoring, reversal agents, and post-approval safety and effectiveness evaluation: A
    cardiac safety research consortium think tank. Am. Heart J 2016;177:74-86, emphasis added, internal citations
    omitted.
    61
      Temple, R, M.D. “NOAC Dosing: Pharmacometric Guidance Regulatory Considerations.” CSRC, Feb. 3, 2015,
    Slide 18.

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    Anticoagulant (NOAC) Trials,” in which they stated: “Relationships identified between drug

    exposure/coagulation markers and major bleeding rate.”62

               68.     On December 3, 2015, at a follow-up CSRC meeting, organized debate occurred

    between FDA’s Dr. Robert Temple and Bayer’s Dr. Scott Berkowitz. Dr. Temple gave a

    presentation which stated:

                       So, for the previous of standard of care, warfarin, we do not use a fixed
                       dose but always use a dose titrated to anticoagulant effect. Why are
                       NOACs different? Maybe they shouldn’t be.

                       …

                       Blood Levels Can Help…How hard would it be to get one NOAC
                       blood level (when monthly or greater levels are SOC for warfarin) if
                       blood levels predicted outcome (which they appear to do)? It seems
                       self-evidently worth it.63
    In turn, Dr. Berkowitz gave a presentation entitled “Counterpoint: PK based dosing strategy is

    impractical and may not add value,” which stated:

                       Clinical value of a PK/PD measurement for NOAC dosing not proven
                       nor as straightforward as with PT/INR for VKAs.
                       …
                       Value added (for the patient) by taking a measurement not clear…A
                       drug plasma concentration level does not provide information about the
                       overall status of hemostasis in the patient in conjunction with that
                       level64


               69.     On December 3, 2015, at the CSRC meeting, FDA’s Dr. Jeffry Florian, Team

    Leader, Division of Pharmacometrics CDER/OTS/Office of Clinical Pharmacology, in a

    presentation entitled “Observations from Novel Oral Anticoagulation (NOAC) Trials for Stroke

    62
      Florian, Jeffry, Ph.D. (CDER/OTS/OCP/DPM) & Rose, Martin, M.D. (CDER/OND/ODE1/DCRP). “Correlation
    of Drug Levels and Outcomes in Phase III New Oral Anticoagulant (NOAC) Trials.” Oct. 26, 2015, Slide 13.
    63
         NOAC Dosing Precision Dosing – YES!, Robert Temple, MD, CSRC Meeting, Dec. 3, 2015, Slides 5 and 12.
    64
      Berkowitz, S., M.D. “Counterpoint: PK based dosing strategy is impractical and may not add value.” 3 Dec. 2015,
    Slides 3 and 5.

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    Prevention in Atrial Fibrillation (SPAF),” presented Figure 4(A) Logistic Regression model

    demonstrating increased bleed risk with prolongation of PT found at p. 12 of the Clinical

    Pharmacology Review, dated August 10, 2011.65

              70.    In my opinion, while FDA originally stated in June 2011 (in its review of the hip

    and knee replacement VTE prophylaxis indication) that the predictive value of coagulation

    parameters for the bleeding risk had not been adequately studied, beginning in August 2011 (in

    its Clinical Pharmacology review of the atrial fibrillation indication), the agency stated that there

    was a relationship between bleeding risk and PT. Since then, the agency has repeatedly and

    consistently cited that relationship.

              71.    In my opinion, while the sponsors proposed that language suggesting that if

    “assessment of the pharmacodynamic effect of rivaroxaban is considered necessary in individual

    patients, PT (measured in seconds) is recommended”66 be included in the Pharmacodynamics

    section of the label, they never offered language to include in the Warnings and Precautions

    section that suggested that measuring a PT level in a Xarelto-treated patient can be helpful in

    identifying patients at risk for serious adverse events based upon a patient’s response to Xarelto.

              72.    In my opinion, the sponsors acknowledged that information about measuring PT

    could be helpful in patient care decision-making.


    XI.       THE SPONSORS FAILED TO “IDENTIFY ANY LABORATORY TESTS
              HELPFUL IN FOLLOWING THE PATIENT’S RESPONSE OR IN
              IDENTIFYING POSSIBLE ADVERSE REACTIONS.”

              73.    As discussed in this report:



    65
      Florian, Jeffry, Ph.D. “Observations from Novel Oral Anticoagulant (NOAC) Trials for Stroke Prevention in
    Atrial Fibrillation (SPAF).” CSRC NOAC Dosing Workshop, Dec. 3, 2015, Slide 10.
    66
         XARELTO_JANSSEN_05911809, p. 15.

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                     a. FDA regulations require that a manufacturer must identify in the Warnings and
                        Precautions section any laboratory test helpful in recognizing patients with
                        adverse reactions.

                     b. Serious bleeding is an adverse event associated with the use of Xarelto.

                     c. There is variability in drug plasma concentration levels in patients taking Xarelto.

                     d. There is a relationship between Xarelto plasma concentration levels and
                        prothrombin time (PT). There is a relationship between PT levels and the risk of
                        bleeding.

                     e. Measuring a PT level in a Xarelto-treated patient can be helpful in identifying
                        patients at risk for serious adverse events based upon a patient’s response to
                        Xarelto.

                     f. There is a laboratory test to measure PT levels in Xarelto-treated patients.

               74.      Therefore, in my opinion, based on the preceding sections, the sponsors failed to

    “identify any laboratory tests helpful in following the patient’s response or in identifying

    possible adverse reactions.”


   XII.        WHILE FDA’S STATEMENTS REGARDING PRECISION DOSING WITH THE
               NOVEL ORAL ANTICOAGULANTS HAVE VARIED OVER TIME, IT IS THE
               PURVEYOR OF A DRUG, NOT THE FDA, WHO HAS PRIMARY
               RESPONSIBILITY FOR THE SAFETY OF ITS PRODUCT.

               75.      It is the purveyor of a drug that is responsible for the safety of the drug.

               76.      A drug company has a responsibility, independent of what the FDA directs it to

    do, to alert physicians and patients to risks that were unknown to or poorly understood by the

    FDA, but that were known to the company. This duty predates by decades the advent of federal

    regulation of drugs.67




    67
         See, e.g., Thomas v. Winchester, 6 N.Y. 397 (1852).


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             77.      The FDA’s regulation of a drug cannot anticipate and protect against all safety

    risks to individual consumers. Even the most thorough regulation of a product may fail to

    identify potential problems presented by the product.

             78.      As I have written and testified about before the United States Congress, the

    Federal Food, Drug and Cosmetic Act grants the FDA substantial authority over the approval,

    labeling, and promotion of pharmaceutical products. But, in my opinion, nothing in the Act, or in

    the FDA’s implementing regulations, relieves a manufacturer of its duty to act prudently in light

    of the company’s internal knowledge about a product and its potential risks.

             79.      It was my opinion while Commissioner of the FDA, and remains to this day, that

    the two systems of state consumer protection (including potential product liability) and federal

    food and drug regulation should and do operate in a complementary but independent manner.

             80.      As the Supreme Court has recently ruled, generally, state law imposes

    responsibilities on pharmaceutical companies to create products that are “reasonably safe,” a duty

    that can be satisfied by the “presence and efficacy of a warning to avoid an unreasonable risk of

    harm from hidden dangers or from foreseeable uses.”68

             81.      The Institute of Medicine and Government Accountability Office have noted that

    the FDA’s ability to oversee drug safety has been constrained, especially during the post-approval

    portions of a drug’s life. Specifically, the Institute of Medicine, in its report titled, “The Future of

    Drug Safety: Promoting and Protecting the Health of the Public,” has stated that, “the drug safety

    system is impaired by the following factors: serious resource constraints that weaken the quality

    68
      Mutual Pharm. Co., Inc. v. Bartlett, 133 S.Ct. 2466, 2480 (2013). (internal citations omitted). Hill v. Searle
    Laboratories, 884 F.2d 1064, 1068 (8th Cir. 1989) (“FDA regulations are generally minimal standards of
    conduct…”); Wells v. Ortho Pharm. Corp., 788 F.2d 741, 746 (11th Cir. 1986) (“An FDA determination that a
    warning is not necessary may be sufficient for federal regulatory purposes but still not be sufficient for state tort
    law purposes.”); Feldman v. Lederle Lab., 125 N.J. 117, 121 (N.J. 1991); Vautour v. Body Masters Sports Indus.,
    Inc., 147 N.H. 150, 153-54 (N.H. 2001).


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    and quantity of the science that is brought to bear on drug safety; an organizational culture in

    CDER that is not optimally functional; and unclear and insufficient regulatory authorities

    particularly with respect to enforcement.” The report further stated, “the committee found that

    FDA, contrary to its public health mission, and the pharmaceutical industry, contrary to its

    responsibility to the users of its products (and its shareholders), do not consistently demonstrate

    accountability and transparency to the public by communicating safety concerns in a timely and

    effective fashion.”69

            82.      In its report titled “Drug Safety: Improvement Needed in FDA’s Postmarket

    Decision-making and Oversight Process,” the General Accounting Office stated:

                     Two organizationally distinct FDA offices, the Office of New Drugs
                     (OND) and the Office of Drug Safety (ODS), are involved in
                     postmarket drug safety activities. OND, which holds responsibility for
                     approving drugs, is involved in safety activities throughout the life cycle
                     of a drug, and it has the decision-making responsibility to take
                     regulatory actions concerning the postmarket safety of drugs. OND
                     works closely with ODS to help it make postmarket decisions. ODS,
                     with a primary focus on postmarket safety, serves primarily as a
                     consultant to OND and does not have independent decision-making
                     responsibility. ODS has been reorganized several times over the years.
                     There has been high turnover of ODS directors in the past 10 years,
                     with eight different directors of the office and its predecessors. In the
                     four drug case studies GAO examined, GAO observed that the
                     postmarket safety decision-making process was complex and
                     iterative...FDA lacks clear and effective processes for making decisions
                     about, and providing management oversight of, postmarket safety
                     issues. The process has been limited by a lack of clarity about how
                     decisions are made and about organizational roles, insufficient
                     oversight by management, and data constraints. GAO observed that
                     there is a lack of criteria for determining what safety actions to take and
                     when to take them. Certain parts of ODS’s role in the process are
                     unclear, including ODS’s participation in FDA’s scientific advisory
                     committee meetings organized by OND. Insufficient communication
                     between ODS and OND has been an ongoing concern and has hindered
                     the decision-making process. ODS does not track information about
                     ongoing postmarket safety issues, including the recommendations that

    69
      Institute of Medicine, “The Future of Drug Safety: Promoting and Protecting the Health of the Public,” 2007, p.4;
    http://www.nap.edu/openbook.php?record_id=11750&page=4.

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                        ODS staff make for safety actions. FDA faces data constraints in
                        making postmarket safety decisions. There are weaknesses in the
                        different types of data available to FDA, and FDA lacks authority to
                        require certain studies and has resource limitations for obtaining data.70

               83.      Generally, the FDA does not test drugs nor conduct clinical trials. It can approve

    a company’s drug application or take steps to withdraw a drug that is on the market.

               84.      Once a drug is approved, the FDA’s regulations make clear that a drug company

    has a duty to warn and modify labeling without delay when hazards emerge with one of its

    drugs.71 The regulations specifically authorize a drug company to make labeling changes, and

    take other steps to inform physicians and patients of emerging risks, without advanced approval

    from the FDA. Such responsibility is intended to complement, not undercut, the FDA’s job of

    protecting consumers from dangerous drugs.

               85.      Drug companies have an obligation to revise a label “to include a warning about a

    clinically significant hazard as soon as there is reasonable evidence of a causal association with a

    drug; a causal relationship need not have not been definitely established.”72

               86.      Manufacturers have significant resources that are or should be committed to

    overseeing the safety of the drugs they market. As a result, manufacturers invariably get safety

    information before the FDA does, and have access to information that is not available to the FDA.

    Company scientists and physicians also develop impressions and an understanding of a drug’s

    potential safety profile that may be more informed than the FDA’s.




    70
     Drug Safety: Improvement Needed in FDA's Postmarket Decision-making and Oversight Process, GAO-06-402,
    March 31, 2006, Introduction page, http://www.gao.gov/new.items/d06402.pdf.
    71
         21 C.F.R. § 201.57(e) (1999).
    72
      21 C.F.R. § 201.57(c)(6), 21 C.F.R. § 314.70 (c)(6)(iii)(A)-(C). See generally Kessler D. A. and Vladeck D. C.,
    “A Critical Examination of the FDA’s Efforts to Preempt Failure-to-Warn Claims” (2007). O'Neill Institute Papers.
    Paper 2, for a discussion of manufacturers’ responsibility to change the label in the face of new safety information.

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            87.     Thus, what a drug company knows about a drug and what the FDA knows may be

    different.

            88.     The duties of a pharmaceutical company are based not only on the FDA’s

    regulations and requirements, but also on the risks presented by a drug about which the company

    knew, should have known, or should have investigated. BI’s responsibility for the safety of its

    product and the adequacy of its warnings exists regardless of what the FDA did, did not do,

    and/or required of BI.

            89.     As Commissioner of the FDA from 1990 through 1997, I can attest that the

    responsibility of drug sponsors have been in force for decades.



  XIII.     INFORMATION ABOUT LABORATORY TESTS THAT COULD BE HELPFUL
            IN IDENTIFYING PATIENTS AT INCREASED RISK OF BLEEDING FROM
            XARELTO USE WOULD BE USEFUL INFORMATION FOR PHYSICIANS IN
            CLINICAL DECISION-MAKING.
            90.     In the Boudreaux matter (Case No. 2:14-cv-02720), the physician who prescribed

    Xarelto to the plaintiff testified as follows:

                    Q.      If there were a simple blood test to determine the plasma concentration
                    level for Xarelto that could significantly reduce the risk associated with the drug,
                    would you want to know that?

                    A.      In other words, let me just get that right. You wanted me -- you are asking
                    me if there was a way to monitor the level that -- what was your question again?

                    Q.      Well, let me back up. Do some patients respond to anticoagulants
                    differently?

                    A.       Yes.

                    Q.     So some patients may take a pill and they may have a high response level,
                    correct?

                    A.       Yes. That applies to any drug, right?



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                        Q.      So if there were a way to identify high responders to Xarelto with a one-
                        time blood test, would that be important for you to know?

                        A.       If there was a way to identify high dose responders? I would like to know
                        if that affects the therapeutic -- what is the therapeutic range and how we are
                        going to monitor before I kind of give a definite answer to that.

                        Q.      Knowing the therapeutic range is important, correct?

                        A.    If there's such a -- if it's very specific what is the therapeutic range then
                        you would use the therapeutic range.

                        Q.      If such a one-time blood test were available, would you use it for patients
                        that you were putting on Xarelto?

                        A.     So if there is a test that would tell you that some people are high
                        responders, is that what you said?

                        Q.      Yes.

                        A.      Like they are very sensitive to it?

                        Q.      Yes.

                        A.      That they would be at risk for bleeding?

                        Q.      Yes.

                        A.    Or proven bleeding, that they are clearly at higher risk? Yes, of course, I
                        would want to know that.73


               91.      In the Orr matter (Case No. 2:15-cv-03708), the physician who prescribed Xarelto

    to the plaintiff testified as follows:


                        Q.     But, again, we have looked at the interpatient variability. We have seen
                        how high patients can be when they take Xarelto at steady-state and we have seen
                        how low they can be, right?
                        A.      Right.
                         Q.     And knowing that the higher a patient is the more likely they are to bleed.
                        If you could do a simple PT test and determine whether a patient was at the very

    73
         Deposition of Dr. Kenneth Wong, July 11, 2016, 43:5-46:4.


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                        high end and, therefore, much more likely to bleed, is that something that you
                        would want to know?
                        A.      It's something that I would want to know if the FDA had thought it was a
                        good idea. I put a lot of faith in what the FDA allows the drug -- how it allows it
                        to be used.74
                        …
                        Q.     Do you think it would be acceptable to you and your patients to monitor
                        Xarelto levels at initiation and then once a year afterwards to make sure they
                        weren't too much or too low on Xarelto?
                        A.       That's another hypothetical question. If I was going to try something like
                        that, I don't know why I would wait a year for the second piece of data. I would
                        say maybe initiation and then four to six weeks, and then if you were in the right
                        ballpark, if you thought it was going to be stable, space it out.
                        Q.       And if you did the initial, after they got to steady-state, and you did the
                        initial test and they were up in the 95th percentile, what would you do?
                        A.      You mean the 95th percent of being where they ought to be?
                        Q.    When we looked at that scatter plot, the lowest was like .6 and the highest
                        was well over 600. I'm saying if they are in the top of the class, what would you
                        do?
                        A.      If they were out of bounds, in other words?
                        Q.      Right.
                        A.      I would make an adjustment then.
                        Q.    And you said you frequently talked with patients about the difference
                        between Warfarin and the frequent monitoring --
                        A.      Yes.
                        Q.      -- and the Xarelto or Pradaxa where there is no monitoring, right?
                        A.      Right.
                        Q.      And in your experience, you know, having worked with these patients for a
                        long time, I think you also said you tell them the benefit is if you do the Warfarin,
                        you do the testing, you know where you are?
                        A.      Yes.
                        Q.      Whereas when you do Xarelto, Pradaxa, no testing, you don't know, right?

    74
         Deposition testimony of Dr. Maurice St. Martin, June 27, 2016, 196:24-197:14.

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                        A.       Right.
                        Q.     Do you think that they would find it to be a happy medium to do this
                        infrequent testing on Xarelto or Pradaxa to find out where they are?
                         A.     From the patients that I deal with, and I've got a lot of long chronic
                        patients that I really have got a close relationship to, I think they would go with
                        anything suggested.
                        Q.     If you knew that there was a way to monitor Xarelto levels in your patient
                        and do it infrequently, was that something that you would suggest to them?
                        A.     I would have to see it studied and see all the data, but if it turned out to be
                        a good thing to do, I would certainly suggest it. Yes.
                        Q.     I think what you said that we know is the higher the prothrombin time, the
                        more likely they are to bleed, right?
                        A.       That's correct.
                        Q.     What other data would you need other than knowing kind of what the
                        ballpark is to keep them in?
                        A.     The outcome of the patient. In other words, if you want us to initiate a
                        new way to use the drug, I would say you want the data on the measurement you
                        want and then you want the data of how that measurement benefited or harmed or
                        did nothing for the patient. The outcome data too.
                        Q.     But you know if you keep the patient from being at the very high range of
                        the PT that you are protecting them from bleeds, right?
                        A.       You generally would think that.75


               92.      In the Mingo matter (Case No. 2:15-cv-03469), the physician who prescribed

    Xarelto to the plaintiff testified as follows:


                        Q.      So if you could monitor Xarelto at initiation to see the effect that it was
                        having on a patient's blood to ensure that the patient had the right dose, do you
                        believe that would result in better outcomes for patients?

                        A.     If the manufacturer of the drug and the FDA recommends that we as
                        physicians do this, yes.76

    75
         Deposition testimony of Dr. Maurice St. Martin, June 27, 2016, 225:13-228:9.
    76
         Deposition of Dr. Renie Armstrong Jordon, August 12, 2016, 94:5-11.


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                       …

                       Q.      So, Doctor, when you prescribed Xarelto to Ms. Mingo in January of
                       2015, it was your understanding that the anticoagulation effect of Xarelto on Ms.
                       Mingo's blood could not be monitored; is that correct?

                       A.       That's my understanding, yes.

                       Q.     And the label in effect at that time for Xarelto specifically stated that the
                       anticoagulation effect of Xarelto could not be monitored; is that correct?

                       A.       That's my understanding, yes.

                       Q.     But Janssen had information suggesting that the anticoagulation effect of
                       Xarelto could actually be monitored; is that right?

                       A.       In some fashion, yes.
                       …

                       Q.     Doctor, when you prescribed Xarelto to Ms. Mingo in January of 2015,
                       would you have liked to have known that it was possible to monitor the
                       anticoagulation effect of Xarelto? Is that information that you would've liked to
                       have had?

                       A.       Yes.

                       Q.     And if you would have known that, if you knew that it was possible to
                       monitor the anticoagulation effect of Xarelto for Ms. Mingo, is that something you
                       would have wanted to do?

                       A.       Yes.

                       Q.     Would it have been beneficial -- would it have been beneficial to you to
                       monitor the effect it was having on her right after she initiated the drug?

                       A.       Yeah.77

                       …

                       Q.       So, Doctor, if after you prescribed Xarelto to her on the 23rd, --

                       A.       Uh-huh (affirmative response).



    77
         Deposition of Dr. Renie Armstrong Jordon, August 12, 2016, 99:23-102:1.

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                       Q.     -- if you knew that there was a test that you could have ran the next day
                       that would have shown you the effect that Xarelto was having on her blood, you
                       would have ran that test, correct?

                       A.       Correct.

                       Q.     And if that test showed that Xarelto was causing her blood to become too
                       anticoagulated, would you have made some kind of adjustment to her dosage or
                       her medication?

                       A.       Yes, I would.78


               93.     In the Henry matter (Case No. 2:15-cv-00224), the primary physician who

    prescribed Xarelto to the plaintiff testified as follows:


                       Q.      Looking back, considering the flat efficacy curve between 9 or 10 and 30
                       seconds on the prothrombin time scale, looking at the increased risk as the
                       prothrombin time increases and considering that Mr. Henry was also on aspirin,
                       would you agree that it would have been safer for Mr. Henry with respect to
                       bleeds for him to be on the lower part of the prothrombin scale versus the higher
                       part?

                       A.      Yes, I would. And, again, it goes back to the fact that that was not really
                       offered as a way to track this. We were not really -- nobody was ever told that
                       there was a way to track it.

                       Q.      And I'm not being critical at all of you or your colleagues, Dr. McCain.
                       I'm just -- I'm just asking what you would have liked to have known --

                       A.       Uh-huh.

                       Q.     -- and we'll get -- and then we'll get into the monitoring and how you
                       could have checked. But that's not what I -- I'm not going there at all.

                       A.       Okay.

                       Q.      I'm just asking you as a doctor treating your patients, if you had been
                       given this information, would you have concluded, it's better for Mr. Henry to be
                       on the lower part of this scale than the upper part?




    78
         Deposition of Dr. Renie Armstrong Jordon, August 12, 2016, 106:12-25.

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                        A.     Correct. If we -- if the medical community -- if we as physicians had
                        known that there was a way to track this, a correlation, it would have been -- that
                        would have been beneficial.

                        Q.       And if there were a test that were available to tell you where your patient
                        was on this scale, and that it was something that was relatively affordable, is that
                        something that you as a physician, knowing what you know now, would want to
                        utilize in your patients to see where they were on the scale?

                        A.      It would be. I would also want to know that it affected their outcomes. I
                        would want to know that the added testing cost, what have you, would affect that
                        patient's long-term outcomes.79

                        …

                        Q.      Are you familiar with ordering prothrombin time testing?

                        A.      Yes.

                        Q.      Is that something that you have the ability to do any day of the week when
                        you're in the office?

                        A.      Yes.

                        Q.      ...Back when you were taking care of Mr. Henry, did anybody at Bayer or
                        Janssen ever inform you that you could order a prothrombin time using one of
                        these sensitive assays that are identified in this article to check levels of Mr.
                        Henry's Xarelto and see where he was on those curves?

                        A.      No.

                        Q.    Is that something that you would have liked for them to have told you, for
                        Mr. Henry and for your other patients?

                        A.      It might have been useful. It would have been useful. It would be useful.80

               94.      In my opinion, based in part on the above testimony, information about laboratory

    tests that could be helpful in identifying patients at increased risk of bleeding from Xarelto use

    would be useful information for physicians in clinical decision-making.



    79
         Deposition of Dr. David B. McCain, July 1, 2016, 138:3-140:2.
    80
         Deposition of Dr. David B. McCain, July 1, 2016, 162:17-163:13.

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  XIV.         MINIMIZING RISKS.

               95.      With regard to anticoagulants, generally speaking, the same mechanism of action

    responsible for conferring the benefit is also responsible for conferring the risk of bleeding.

               96.      A drug company has the responsibility to take steps to minimize the risks

    associated with a drug, and provide information to doctors and patients so that they, too, can take

    steps to minimize the risks associated with the drug.

               97.      In addition to the requirement to “identify any laboratory tests helpful in

    following the patient’s response or in identifying possible adverse reactions,” according to the

    Act, all manufacturers need to provide physicians with “adequate directions for use.”81

               98.      Drug companies have a responsibility to provide information to physicians so that

    they can use the drug safely.

               99.      The FDA places great emphasis on a “serious adverse reaction that can be

    prevented or reduced in frequency or severity by appropriate use of the drug (e.g., patient

    selection, careful monitoring, avoiding certain concomitant therapy, addition of another drug or

    managing patients in a specific manner, avoiding use in a specific clinical situation).”82

               100.     In my opinion, a reasonably prudent drug manufacturer, who knows that certain

    patients are at an increased risk of serious adverse events relative to others, would inform

    prescribers of that fact.

               101.     In my opinion, based on the reasons cited above, the sponsors did not adequately

    notify physicians that some patients are at higher risk than others (i.e., inter-patient variability).




    81
         21 U.S.C. §352(f)(1).
    82
     Guidance of Industry, Warnings and Precautions, Contraindications, and Boxed Warning Sections of Labeling for
    Human Prescription Drug and Biological Products – Content and Format, October 2011, p. 11.

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               102.      In my opinion, based on the reasons cited above, the sponsors did not adequately

    instruct physicians how to identify those patients (i.e., PT).

               103.      In my opinion, based on the reasons cited above, the sponsors did not adequately

    instruct physicians on how to clinically manage the information (e.g., titrate, discontinue,

    additional warnings).



   XV.         POST-MARKET EVIDENCE FURTHER INDICATES NEED TO IMPROVE
               SAFETY OF XARELTO FOR PATIENTS VIA A HELPFUL LABORATORY
               TEST
               A. Post-Market Epidemiology83
               104.      In an observational, nationwide cohort study assessing real-world safety,

    effectiveness, and persistence associated with rivaroxaban and warfarin in non-valvular AF

    patients by Laliberte, et al.,84 rivaroxaban and warfarin did not differ significantly in real-world

    rates of composite stroke and systemic embolism and bleeding (major, intracranial or GI

    bleeding). In addition, rivaroxaban was associated with significantly fewer venous

    thromboembolism events in comparison to warfarin, as well as significantly better treatment

    persistence. A total of 14,616 warfarin patients and 3,654 rivaroxaban patients were included in

    the study using healthcare claims from Symphony Health Solutions’ Patient Transactional

    Datasets (study period: May 2011 – July 2012). The results of the study were as follows:

                         No significant differences were observed for bleeding and composite
                         stroke and systemic embolism outcomes, although rivaroxaban users
                         were associated with significantly fewer VTE events (hazard ratio [HR]
                         = 0.36, 95% confidence interval [CI]: 0.24-0.54, p<0.0001) compared
                         to warfarin users. Rivaroxaban was also associated with a significantly
                         lower risk of treatment non-persistence (HR = 0.66; 95% CI: 0.60-0.72,
                         p<0.0001).
    83
         For a discussion of the strengths and limitations of each of these studies, see Schedule 19.
    84
       Laliberte, et al., Real-world comparative effectiveness and safety of rivaroxaban and warfarin in nonvalvular atrial
    fibrillation patients, Current Medical Research & Opinion, 2014; 30(7):1317-1325.

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            105.     In a retrospective, propensity matched cohort study of new users of

    dabigatran, rivaroxaban, and warfarin by Abraham, et al.,85 the risk of gastrointestinal bleeding

    related to novel oral anticoagulants was similar to that for warfarin. Using a large database of

    administrative claims data of privately insured and Medicare Advantage enrollees (study period:

    November 1, 2010 – September 30, 2013), the participants of the study consisted of new users of

    warfarin, dabigatran, and rivaroxaban. Specifically, the results of the study were as follows:

                     The incidence of gastrointestinal bleeding associated with dabigatran
                     was 2.29 (95% confidence interval 1.88 to 2.79) per 100 patient years
                     and that associated with warfarin was 2.87 (2.41 to 3.41) per 100
                     patient years in patients with atrial fibrillation. In non-atrial fibrillation
                     patients, the incidence of gastrointestinal bleeding was 4.10 (2.47 to
                     6.80) per 100 patient years with dabigatran and 3.71 (2.16 to 6.40) per
                     100 patient years with warfarin. With rivaroxaban, 2.84 (2.30 to 3.52)
                     gastrointestinal bleeding events per 100 patient years occurred in atrial
                     fibrillation patients (warfarin 3.06 (2.49 to 3.77)/100 patient years) and
                     1.66 (1.23 to 2.24) per 100 patient years in non-atrial fibrillation
                     patients (warfarin 1.75 (1.25 to 1.99)/100 patient years). In propensity
                     score matched models, the risk of gastrointestinal bleeding with novel
                     oral anticoagulants was similar to that with warfarin in atrial fibrillation
                     patients (dabigatran v warfarin, hazard ratio 0.79 (0.61 to 1.03);
                     rivaroxaban v warfarin, 0.93 (0.69 to 1.25)) and in non-AF patients
                     (dabigatran v warfarin, hazard ratio 1.14 (0.54 to 2.39); rivaroxaban v
                     warfarin, 0.89 (0.60 to 1.32)). The risk of gastrointestinal bleeding
                     increased after age 65, such that by age 76 the risk exceeded that with
                     warfarin among atrial fibrillation patients taking dabigatran (hazard
                     ratio 2.49 (1.61 to 3.83)) and patients with and without atrial fibrillation
                     taking rivaroxaban (2.91 (1.65 to 4.81) and 4.58 (2.40 to 8.72),
                     respectively).

            106.     In a propensity-matched, nationwide cohort study comparing dabigatran or




    85
      Abraham, et al., Comparative risk of gastrointestinal bleeding with dabigatran, rivaroxaban, and warfarin:
    population based cohort study, BMJ, 2015; 350:h1857, doi: 10.1136/bmj.h1857.

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    rivaroxaban to vitamin K antagonists (VKA) in new users with nonvalvular atrial fibrillation by

    Maura, et al.,86 the findings suggest that physicians should exercise caution when initiating either

    NOAC (dabigatran or rivaroxaban) or VKA in patients with nonvalvular atrial fibrillation. The

    population was comprised of 19,713 VKA new users, 8,443 dabigatran new users, and 4,651

    rivaroxaban new users, and all dabigatran- and rivaroxaban-treated patients were matched to

    16,014 and 9,301 VKA-treated patients, respectively (using 1:2 matching on the propensity

    score). Specifically, the results of the study were as follows:

                      Among dabigatran-, rivaroxaban- and their VKA matched-treated
                      patients, 55 and 122 and 31 and 68 bleeding events and 33 and 8 and 12
                      and 28 arterial thromboembolic events were observed during follow-up,
                      respectively. After matching, no statistically significant difference in
                      bleeding (HR=0.88 [0.64-1.21]) or thromboembolic (HR=1.10 [0.72-
                      1.69]) risk was observed between dabigatran and VKA new users.
                      Bleeding (HR=0.98 [0.64-1.51]) and ischemic (HR=0.93 [0.47-1.85])
                      risks were comparable between rivaroxaban and VKA new users.
             107.     In a population based, retrospective cohort study by Chang, et al.87

    comparing the safety of dabigatran or rivaroxaban to warfarin in terms of gastrointestinal

    bleeding, the study authors concluded that “[a]lthough rates of gastrointestinal bleeding seem to

    be similar in this commercially insured sample of adults in the United States, we cannot rule out

    as much as a 50% increase in the risk of gastrointestinal bleeding with dabigatran compared with

    warfarin or a more than twofold higher risk of bleeding with rivaroxaban compared with

    warfarin.” The study comprised a population of 46,163 patients, including 4,907 patients using

    dabigatran, 1,649 patients using rivaroxaban, and 39,607 patients using warfarin. Specifically,

    the results of the study were as follows:


    86
       Maura, et al., Comparison of the short-term risk of bleeding and arterial thromboembolic events in nonvalvular
    atrial fibrillation patients newly treated with dabigatran or rivaroxaban versus Vitamin K antagonists: A French
    nationwide propensity-matched cohort study, Circulation, 2015, doi:10.11/61/CIRCULATIONAHA.115.015710.
    87
      Chang, et al., Risk of gastrointestinal bleeding associated with oral anticoagulants: population based retrospective
    cohort study, BMJ, 2015; 350:h1585, doi:10.1136/bmj.h1585.

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                      Dabigatran users tended to be older (dabigatran v rivaroxaban v
                      warfarin: 62.0 v 57.6 v 57.4 years) and more likely to be male (69% v
                      49% v 53%). The rate of gastrointestinal bleeding was highest among
                      dabigatran users and lowest among rivaroxaban users (dabigatran v
                      rivaroxaban v warfarin: 9.01 v 3.41 v 7.02 cases per 100 person years).
                      After adjustment for potentially confounding covariates, there was no
                      evidence of a stastically significant difference in the risk of
                      gastrointestinal bleeding between dabigatran and warfarin users
                      (adjusted hazard ratio 1.21, 95% confidence interval 0.96 to 1.53) or
                      between rivaroxaban and warfarin users (0.98, 0.36 to 2.69).

             108.     In a prospective cohort study evaluating the effectiveness and safety of

    rivaroxaban compared to warfarin or dabigatran in routine care nonvalvular atrial fibrillation

    (AF) patients by Gorst-Rasmussen, et al.,88 rivaroxaban was associated with similar or lower

    stroke rates, but higher bleeding and mortality rates. The study consisted of AF patients,

    identified using nationwide health registries (study period: February 2012 – August 2014) who

    were new users of rivaroxaban 15 mg or 20 mg, dabigatran 110 mg or 150 mg, or warfarin. The

    results of the study were as follows:

             Rivaroxaban users (R15: n=776; R20: n=1629) were older and with more
             comorbidities than warfarin (n=11045) and dabigatran users (D110:n-3588;
             D150: n=5320). Rivaroxaban 15-mg users had the overall highest crude
             mortality rate. After propensity adjustment, rivaroxaban had lower stroke rates
             vs. warfarin. The bleeding rate was similar to warfarin and moderately higher
             vs. dabigatran (R15 vs. D110 HR: 1.28, 95%CI:0.82-2.01; R20 vs. D150 HR:
             1.81, 95%CI: 1.25-2.62). The mortality rate was higher vs. dabigatran (R15 vs.
             D110 HR: 1.43, 95%CI: 1.13-1.81; R20 vs. D150 HR: 1.52, 95%CI: 1.06-
             2.19).

             109.     In a retrospective cohort study comparing the major bleeding risk among




    88
      Gorst-Rasmussen, et al., Rivaroxaban versus warfarin and dabigatran in atrial fibrillation: comparative
    effectiveness and safety in Danish routine care, Pharmacoepidemiology and Drug Safety, 2016,
    doi:10.1002/pds.4034.

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    new users of apixaban, warfarin, dabigatran, and rivaroxaban with nonvalvular atrial fibrillation

    by Lip, et al.,89 patients initiated on rivaroxaban or warfarin were associated with a significantly

    greater risk of major bleeding compared to patients initiated on apixaban. In addition, patients

    initiated on apixaban were associated with significantly lower risk of major bleeding compared

    to patients initiated on warfarin. Using the Truven MarketScan® Commercial and Medicare

    supplemental US database (study period: January 1, 2013 - December 31, 2013), there were

    29,338 newly anticoagulated patients with non-valvular atrial fibrillation: 2,402 initiated on

    apixaban (8.19%); 4,173 initiated on dabigatran (14.22%); 10,050 initiated on rivaroxaban

    (34.26%); and 12,713 initiated on warfarin (43.33%). The results of the study were as follows:

             After adjusting for baseline characteristics, initiation on warfarin [adjusted HR
             (aHR): 1.93, 95% confidence interval (CI): 1.12-3.33, P=.018] or rivaroxaban
             (aHR: 2.19, 95% CI: 1.26-3.79, P=.005) had significantly greater risk of major
             bleeding vs apixaban. Dabigatran initiation (aHR: 1.71, 95% CI: 0.94-3.10,
             P=.079) had a non-significant major bleeding risk vs apixaban. When
             compared with warfarin, apixaban (aHR: 0.52, 95% CI: 0.30-0.89, P=.446) had
             a non-significant major bleeding risk vs warfarin.

             110.     In a study comparing major bleeding risk among new users of apixaban,

    warfarin, dabigatran, and rivaroxaban with non-valvular atrial fibrillation by Lip, et al.,90 patients

    initiated on apixaban and dabigatran were associated with significantly lower risk of major

    bleeding compared to patients initiated on warfarin. In addition, patients initiated on rivaroxaban

    were associated with significantly higher risk of major bleeding compared to patients initiated on

    apixaban. Using the Truven MarketScan® Commercial and Medicare supplemental US database

    (study period: January 1, 2012 - December 31, 2014), there were 45,361 newly anticoagulated


    89
       Lip, et al., Major bleeding risk among non-valvular atrial fibrillation patients initiated on apixaban, dabigatran,
    rivaroxaban or warfarin: a “real-world” observational study in the United States, International Journal of Clinical
    Practice, 2016; 70:752-763.
    90
      Lip, et al., Real-world comparison of major bleeding risk among non-valvular atrial fibrillation patients initiated
    on apixaban, dabigatran, rivaroxaban, or warfarin: a propensity score matched analysis, Thrombosis and
    Haemostasis, 2016 Aug 19;116(5).

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    patients with nonvalvular atrial fibrillation: 15,461 initiated on warfarin (34.1%); 7,438 initiated

    on apixaban (16.4%); 17,801 initiated on rivaroxaban (39.2%); and 4,661 initiated on dabigatran

    (10.3%). The results of the study were as follows:

             Compared to matched warfarin initiators, apixaban (HR: 0.53; 95% CI: 0.39-
             0.71) and dabigatran (HR: 0.69; 95% CI: 0.50-0.96) initiators had a
             significantly lower risk of major bleeding. Patients initiating rivaroxaban (HR:
             0.98; 95% CI: 0.83-1.17) had a non-significant difference in major bleeding
             risk compared to matched warfarin patients. When comparisons were made
             between NOACs, matched rivaroxaban patients had a significantly higher risk
             of major bleeding (HR: 1.82; 95% CI: 1.36-2.43) compared to apixaban
             patients. The differences for apixaban-dabigatran and dabigatran-rivaroxaban
             matched cohorts were not statistically significant.

             111.     In an observational, nationwide cohort study comparing new users of

    dabigatran, rivaroxaban, apixaban, and warfarin with non-valvular atrial fibrillation by Larsen, et

    al.,91 no significant difference was found between the novel oral anticoagulants (NOACs) and

    warfarin for ischemic stroke. In addition, the risks of death and bleeding (including major

    bleeding) were significantly lower for apixaban and dabigatran compared to warfarin. Using

    three (3) Danish nationwide databases (study period: August 2011-October 2015), there were

    61,678 patients with nonvalvular atrial fibrillation naïve to oral anticoagulants: 35,436 warfarin

    patients (57%); 12,701 dabigatran 150 mg patients (21%); 7,192 rivaroxaban 20 mg patients

    (12%); and 6,349 apixaban 5 mg patients (10%). The study results were as follows:

                      When the analysis was restricted to ischaemic stroke, NOACs were not
                      significantly different from warfarin. During one year follow-up,
                      rivaroxaban was associated with lower annual rates of ischaemic stroke
                      or systemic embolism (3.0% v 3.3%, respectively) compared with
                      warfarin: hazard ratio 0.83 (95% confidence interval 0.69 to 0.99). The
                      hazard ratios for dabigatran and apixaban (2.8% and 4.9% annually,
                      respectively) were non-significant compared with warfarin. The annual
                      risk of death was significantly lower with apixaban (5.2%) and
                      dabigatran (2.7%) (0.65, 0.56 to 0.75 and 0.63, 0.48 to 0.82,
                      respectively) compared with warfarin (8.5%), but not with rivaroxaban

    91
       Larsen, et al., Comparative effectiveness and safety of non-vitamin K antagonist oral anticoagulants and warfarin
    in patients with atrial fibrillation: propensity weighted nationwide cohort study, BMJ, 2016:353:i3189.

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                      (7.7%). For the combined endpoint of any bleeding, annual rates for
                      apixaban (3.3%) and dabigatran (2.4%) were significantly lower than
                      for warfarin (5.0%) (0.62, 0.51 to 0.74). Warfarin and rivaroxaban had
                      comparable annual bleeding rates (5.3%).
             112.     In a retrospective cohort study of first-time users by FDA’s Office of

    Surveillance and Epidemiology CDER FDA, David J. Graham, MD, MPH, et al.92 comparing

    risks of major extracranial bleeding (including major gastrointestinal bleeding) in patients with

    atrial fibrillation taking rivaroxaban 20 mg once daily and dabigatran 150 mg twice daily,

    treatment with Xarelto was associated with statistically significant increases in ICH and major

    extracranial bleeding, including major gastrointestinal bleeding, as compared to dabigatran. The

    study included a total of 52,240 dabigatran-treated patients and 66,651 rivaroxaban-treated

    patients (15,524 and 20,199 person-years of on-treatment follow-up, respectively). A total of

    2,537 primary outcome events occurred. The results of the study were as follows:

             Rivaroxaban use was associated with a statistically nonsignificant reduction in
             thromboemoblic stroke (HR, 0.81; 95% CI, 0.65-1.01; P=.07; AIRD = 2.3
             excess cases/1000 person-years), statistically significant increases in ICH (HR,
             1.65; 95% CI, 1.20-2.26; P=.002; AIRD = 2.3 excess cases/1000 person-years)
             and major extracranial bleeding (HR, 1.48; 95% CI, 1.32-1.67; P<.001; AIRD
             = 13.0 excess cases/1000 person-years), including major gastrointestinal
             bleeding (HR, 1.40; 95% CI, 1.23-1.59; P<.001; AIRD = 9.4 excess cases/1000
             person-years), and with a statistically nonsignificant increase in mortality (HR,
             1.15; 95% CI, 1.00-1.32; P =.051; AIRD – 3.1 excess cases/1000 person-
             years). In patients 75 years or older with CHADS2 score greater than 2,
             rivaroxaban use was associated with significantly increased mortality
             compared with dabigatran use. The excess rate of ICH with rivaroxaban use
             exceeded its reduced rate of thromboembolic stroke.

             113.     In a nationwide cohort study by Halvorsen, et al.93 evaluating bleeding risk

    in patients with atrial fibrillation prescribed dabigatran, rivaroxaban or apixaban compared to

    warfarin, the risk of gastrointestinal bleeding was higher with rivaroxaban compared to warfarin.
    92
       Graham, et al., Stroke, bleeding, and mortality risks in elderly medicare beneficiaries treated with dabigatran or
    rivaroxaban for nonvalvular atrial fibrillation, JAMA, 2016, doi:10.1001/jamainternmed.2016.5954.
    93
      Halvorsen, et al., A nationwide registry study to compare bleeding rates in patients with atrial fibrillation being
    prescribed oral anticoagulants, European Heart Journal, 2016.

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    In addition, apixaban and dabigatran were associated with a lower risk of major or CRNM

    bleeding compared to warfarin. The study consisted of a total of 32,675 patients with atrial

    fibrillation: 11,427 warfarin patients; 7,925 dabigatran patients; 6,817 rivaroxaban patients; and

    6,506 apixaban patients. The results of the study were as follows:

               After a median follow-up of 173 days (25th-75th percentile 84, 340), 2,081
               (6.37%) patients experienced a first major or CRNM bleeding. Using a Cox
               proportional hazard model adjusting for baseline characteristics, use of
               apixaban (HR 0.70, 95% CI 0.61-0.80, P<0.001) and dabigatran (HR 0.74,
               95% CI 0.66-0.84, P<0.001) were associated with a lower risk of major or
               CRNM bleeding compared to warfarin whereas use of rivaroxaban was not
               (HR: 1.05, 95% CI 0.95-1.17, P=0.400). Use of dabigatran and rivaroxaban
               were associated with higher risk for gastrointestinal bleeding, while use of
               apixaban and dabigatran were associated with lower risk for intracranial
               bleeding, compared to warfarin.

               B. INRatio

               114.     Due to issues concerning the reliability of the INRatio test that was

    utilized to titrate warfarin dosage levels in the treatment arm of the ROCKET trial,94 FDA,

    among others, undertook a reanalysis of the ROCKET trial.

               115.     FDA’s Reanalysis of the ROCKET trial, while concluding that there was

    no change in the overall risk-benefit conclusion95 of Xarelto, did find that the risk of major

    bleeding events increased 7 to 10% compared to the original ROCKET results.96, 97


    94
         See Section XVI for a more detailed discussion of the chronology of events surrounding the INRatio device.
    95
         According to the FDA Reviewers:

               FDA used two mathematical modeling approaches to estimate the clinical outcomes results that
               might have occurred in ROCKET if a more accurate INR assay had been used to guide warfarin
               dosing, i.e., one that reported results similar to the laboratory-based assay at Duke…
               Each of these analyses predicted a small decrease in the expected rate of major bleeding in the
               warfarin arm compared to the observed rate of 3.45 events per 100 patient years in ROCKET
               (reductions in the three models ranged from 7%-10% of the observed rate)….
               Overall, these estimated reductions in the rates of bleeding events in the warfarin arm were small
               enough so that the benefits of rivaroxaban would still outweigh its risks if efficacy were not
               affected. Notably, two of these three analyses also estimated the rate of ischemic stroke, and one
               estimated the rate of the primary efficacy endpoint of total stroke + systemic embolism. Both these

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             C. Summary

             116.     In my opinion, some observational data and the FDA’s ROCKET Reanalysis

    support a conclusion that serious adverse events associated with Xarelto therapy include a

    significant risk of major bleeds relative to other oral anticoagulants. These findings further

    support the need of the manufacturer to identify a helpful laboratory test to minimize serious

    adverse events associated with the use of their product.




             models predicted that the rate of ischemic stroke would be increased in the warfarin arm, resulting
             in an expected improvement of the efficacy of rivaroxaban relative to warfarin….
             The information summarized above indicates that it is quite likely that patients in the warfarin arm
             of ROCKET unintentionally received higher doses of warfarin than they would have received if
             the INRatio device had provided results similar to those provided by the laboratory-based device
             at Duke. However, the effects of this increased intensity of anticoagulation on clinical outcomes
             were likely to have been quite modest. It seems very unlikely that if the device had performed
             similarly to the INR assessment device at Duke, the benefit/risk profile of rivaroxaban compared
             to warfarin would have been notably different from the profile based on the observed results of
             ROCKET. Accordingly, the conclusion we made in 2011 that the benefits of rivaroxaban in
             patients with non-valvular atrial fibrillation outweigh its risks should not be changed.
             Recommendations: 1) No changes in rivaroxaban labeling to reflect the impact of use of the
             INRatio device in ROCKET are warranted. No other major regulatory action should be taken with
             respect to rivaroxaban. 2) Our conclusions regarding the issues addressed by this review should be
             communicated to the public in a suitable manner, but not through any changes in labeling.

    In regard to the Reviewers’ rationale for the recommendations, the FDA provided:
             Accordingly, the reviewers see no need for regulatory action at this time. We think that a labeling
             change to describe the modeling results would very difficult to write in a concise manner and
             might be more likely to confuse than to edify, and is not warranted. FDA might make a brief
             announcement regarding our conclusions and make this review or a summary of it available to the
             public online. A publication of our analyses in a journal might be desirable. If others think it is
             important to change labeling, we might add a simple statement that FDA has reviewed the INR
             and outcomes information in ROCKET and determined that the effect of use of the INRatio device
             on outcomes in ROCKET was too small to affect our prior conclusion that the benefits of
             rivaroxban outweigh its risks relative to warfarin.
             See FDA ROCKET AF Reanalysis Reviews, NDA 202439, Sept. 26, 2016, at pp. 1-3, 42.
    96
      The 7 to 10% range in FDA’s Reanalysis comes from FDA’s results derived from multiple approaches utilized by
    FDA. (See FDA Reanalysis of ROCKET AF, at p. 2). See also Schedule 20 for Table 12 from FDA ROCKET AF
    Reanalysis Reviews.
    97
      According to the expert report of Dr. B. Burt Gerstman, Professor of Epidemiology and Biostatistics at San Jose
    State University, who performed a similar analysis and found that the increase was statistically significant (RR:
    1.12; 95% CI 1.04-1.21). It has always been my common practice to rely on other statisticians for statistical analysis.


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  XVI.        THE USE OF INRATIO IN THE ROCKET CLINICAL TRIAL

              117.   Xarelto sponsors utilized a Point-of-Care (POC) device in the ROCKET

    clinical trial that was subsequently recalled.98

              118.   The Alere, formally known as HemoSense, INRatio INR Monitor POC

    device was used to monitor INR Levels in ROCKET patients.99

              119.   On January 22, 2007, Janssen’s Dr. William Byra circulated in an email to

    colleagues at Janssen an October 4, 2005 FDA Warning Letter sent to the manufacturer of the

    INRatio device stating: “Our review indicates that your firm has information indicating that

    INRatio devices were generating clinically significant erroneous values.”100

              120.   On October 17, 2007, Janssen’s Dr. Christopher Nessel and colleagues received

    an email from Dr. Jonathan P. Paccini at DCRI, with the subject line “POC / SAE,” stating:

                     I received a number of helpline calls this morning regarding a
                     ROCKET patient at site #11008 (PI Luten, SC Shannon Douglas).

                     Apparently, this patient was warfarin naïve and was being titrated on
                     study drug, when he presented with hematuria. His POC in the office
                     was 2.9. Four hours later, he developed severe epistaxis which required
                     hospitalization. He had an “unblinded” INR > 10. He received 4 units
                     of FFP and IV vitamin K. ENT packed his nose and called me. I spoke
                     with the ENT team, and helped them formulate a plan. I also asked
                     them to keep the INR and other info to themselves due to the blind, but
                     the study MD had already tracked down the information.

                     The study PI, study coordinator, and family are very upset. The PI has
                     concern that the POC device is defective, since there was a 7 unit
                     different in the INR between the POC and serum assay within 4 hours.
                     Apparently, they had a previous episode of what they considered “bad
                     POC data,” though on hearing the prior case, it sounded more like the
                     usual travails of starting warfarin/study drug…101
    98
         XARELTO_BHCP_07995641.
    99
         XARELTO_BHCP_07995641.
    100
          XARELTO_JANSSEN_04962074, 04962075.
    101
          XARELTO_JANSSEN_03933641.

                                                       52

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              121.   This bleeding event was recorded in the patient’s case file as a Serious Adverse

    Event by the investigator to be reviewed by the ROCKET Independent Data Monitoring

    Committee (IDMC), was reviewed by Jonathan Piccini, a member of the Executive Committee,

    on February 19, 2009, and was reported as a Serious Adverse Event to the FDA by the sponsor

    on July 14, 2009. These reports did not disclose evidence of device malfunction.102,103

              122.   On October 19, 2007, Dr. Paccini sent another email to his colleagues at DCRI,

    which was then forwarded to Dr. Nessel and other Janssen colleagues, with a subject line of

    “Another POC problem,” which stated:

                     I just got off the phone with another troubling helpline call. Rhonda
                     Olmstead (SC in Lincoln, NE – site #1028) called me regarding a
                     patient with AF and diabetes who came into clinic on 10/17 with a
                     POC INR of 1.7. The patient’s warfarin was changed from 2 mg 5 days
                     a week with 2.5 Tu/Th to a new regiment [sic] of 2.5 daily. 48 hours
                     later the patient had an appt with his PCP for diabetes, etc. His PMD
                     checked a lab INR and unfortunately communicated the result to the
                     ROCKET cardiologist. The lab INR was >6 [~48 hrs after the POC].
                     The [sic] called because she thought the patient need [sic] to be treated
                     as if he was formally unblinded. We reviewed the difference, but she
                     remains concerned (as am I) about the INR discordance…104

              123.   On October 29, 2007, Janssen’s Catherine Vanden Boom sent an email to

    colleagues regarding “ROCKET – INR Draft Proposal” attaching two documents entitled

    “ROCKET INR Education” and “Covance INR QC Proposal DRAFT1.”105

              124.   The “ROCKET Proposal for QC Checks of HemoSense Device” stated:

                     Issue: The ROCKET study lacks a mechanism to check the accuracy of
                     the HemoSense device. Although rare, a few investigator sites have
                     expressed concern regarding the accuracy of the Point of Care (POC)


    102
          XARELTO_JANSSEN_00020831.
    103
          XARELTO_JANSSEN_18681720 at XARELTO_JANSSEN_18681922.
    104
          XARELTO_JANSSEN_11444538.
    105
          XARELTO_JANSSEN_04961856.

                                                     53

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                     device. In addition, the unblinded INR monitor could also request a QC
                     check.

                     Draft Proposal: QC checks of the HemoSense device (i.e., concurrent
                     INR testing) could be triggered by investigator (e.g., investigator
                     contacts Parexel or the DCRI hotline) or by the unblinded monitor
                     (UM). At this time, it is felt that a “random” surveillance of sites is not
                     necessary since the device has been validated by the manufacturer and
                     approved by the FDA. The site would be responsible for obtaining a
                     blood sample for PT as well as the standard INR reading through the
                     HemoSense device. The PT blood samples would then be shipped to
                     Covance for analysis. The report would only be available to the
                     unblinded monitor.106

              125.   The “ROCKET Proposal for Additional Education on HemoSense Deivce,” dated

    October 26, 2007, identified the issue as follows: “There is concern on the part of DCRI, Parexel

    and the investigator sites with the accuracy of the POC device. In addition, the unblinded

    monitor has suggested site education on the INR shamming.”107

              126.   On January 23, 2008, Janssen’s Kimberly Schwabe sent an email to colleagues,

    including Drs. Byra and Nessel, regarding “ROCKET INVESTIGATOR 972022 SUBJECT

    #103804,” which included the following email from Parexel’s Daniel Smutek:

                     I have had a question from Israeli CRA this morning.

                     Q: The patient has a minor bleeding from mucosas and skin. The POC
                     INR was 2.0 and then for some reason somebody (maybe other clinic)
                     decided to perform unblinded INR which was 10.0.

                     A: The safest is to interrupt study drug temporarily, and put the patient
                     on open label warfarin on LMWH for some time (or without
                     anticoagulation on the discretion of the investigator)…108




    106
          XARELTO_JANSSEN_04961857.
    107
          XARELTO_JANSSEN_04961858.
    108
          XARELTO_JANSSEN_07545439, p. 6.

                                                      54

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              127.   This bleeding event was recorded in the patient’s case file as a Serious Adverse

    Event by the investigator to be reviewed by the ROCKET Independent Data Monitoring

    Committee (IDMC), was first reviewed by a member of the Executive Committee on February

    13, 2009, and was submitted to the FDA as a Suspect Adverse Reaction Report on March 12,

    2008. These reports did not disclose evidence of device malfunction.109, 110

              128.   On January 28, 2008, Dr. Byra sent an email to Bernard Chalecki, the unblinded

    INR monitor for ROCKET, regarding “FW: RocketAF_090003_104237_SAE,” which

    forwarded the following conversation between Sunerli Hande and Zuzana Capkova:

                     Patient 104237 visited the emergency room of Yesilyurt Hospital
                     yesterday evening they had tested the INR and the result was: 6.66.
                     Then the doctors of that hospital forwarded the patient to our site, this
                     morning before our investigators notice of the event they had
                     performed another INR test and the result was: 6.28.
                     Then PI called and informed me and I had advised him to perform
                     blinded INR test and the result was: 1.7.

                     So PI got confused because of the huge difference of the test results.
                     For now I had told PI to hold on the study drug for at least one day
                     according to your advice.
                     I am waiting your feedback for further actions.111

              129.   This event of discrepant INRs was not reported as a Serious Adverse Event in the

    study, though the relevant hospitalization was recorded in the patient’s case file by the

    investigator and submitted to the FDA as a Suspect Adverse Reaction Report on March 12, 2008.

    These reports did not disclose evidence of device malfunction.112,113



    109
          XARELTO_JANSSEN_00019462.
    110
          XARELTO_JANSSEN_07233841, at XARELTO_JANSSEN_18681895.
    111
          XARELTO_JANSSEN_14557758 at p. 3.
    112
          XARELTO_JANSSEN_00020185.
    113
          XARELTO_JANSSEN_07234059, at XARELTO_JANSSEN_18681902.

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               130.     In a letter to ROCKET investigators dated February 21, 2008, Dr. Nessel

    explained a new procedure involving a “special kit for collecting single samples for a SPECIAL

    BLINDED INR” that was “designed to assist investigators who believe that a subject’s INR

    values obtained with the HemoSense point of care (POC) device are greatly different from what

    was expected.”114

               131.     The letter further instructed investigators to “collect venous blood in the tub

    provided and…send the frozen specimen…to Covance in the container provided. Perform a POC

    INR reading at the same time so that a comparison can be made…The unblinded INR monitor

    for the ROCKET study will receive the results and the site will be contacted.”115

               132.     Regarding this new program, Dr. Nessel testified as follows:

                        Q.      So, sir, you – but you understand, sir, that one – you sent out the letter in
                        Feb. 8, 2008, to every site around the country, around the world, because you
                        know they had concerns about the accuracy of this device. And you set up a whole
                        special separate program where Bud Chalecki [the unblinded INR monitor]
                        would get sent the results of the CoVance unblinded lab samples. You know about
                        that, don’t you?
                        …
                        Sir?
                        …
                        A.      So there were rare and isolated questions brought to the attention of the
                        sponsor about the performance of the device. The sponsor proactively put in
                        measures. We called it the CoVance recheck system where patients who presented
                        at an office clinic would have a point-of-care INR test done and then a laboratory
                        test done and sent to CoVance central laboratories.116

               133.     Janssen’s Dr. Peter DiBattiste testified regarding the Covance Recheck Program

    as follows:


                        Q.    But the principal reason was to enact -- to use this program whenever the
                        POC generated a result that was greatly different from what was expected?
    114
          XARELTO_JANSSEN_07050218.
    115
          XARELTO_JANSSEN_07050218.
    116
          Deposition of Dr. Christopher Nessel, Feb. 16, 2016, 169:4-170:9.

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                        A.       Yeah. My understanding is, as we have discussed, that it was put in place
                        to -- to -- as part of the investigation that we referred to in prior documents, to
                        provide an opportunity for investigators when they suspected that they might have
                        a result that they didn't think was accurate, to validate it.117

               134.     Janssen’s Dr. William Byra testified regarding the Covance Recheck Program as

    follows:

                        Q.     As of February 2008, this was available for any investigator or any
                        monitor that had any issue or any question about one of these 320,000 lab tests
                        that were taken; is that right?

                        A.       Yes.

                        Q.     All right. Before February of 2008, if an investigator had a question about
                        an INR reading or test, what was their procedure to follow?

                        A.      If there was a question we would – we would discuss it with them, and
                        then I would notify Mr. Chalecki of the issue and – and see if he could, just from
                        looking at it, determine what was going on. And if we couldn’t, we at that point
                        would send a new device to the investigator.

                        Q.       The procedure was formalized as of February 2008?

                        A.       Yes.

                        Q.       Okay.
                        …

                        Q.     Mr. Chalecki had access to the actual lab value as well as the point-of-
                        care reading; is that right?

                        A.     That’s correct. He could, you know, check it just by – go on his computer
                        and check the lab value.

                        Q.    He was unblinded. He knew whether a patient was taking warfarin or
                        whether a patient was receiving rivaroxaban?

                        A.       Yes.118


    117
          Deposition of Dr. Peter DiBattiste, April 12, 2016, 217:16-218:8.
    118
          Deposition of Dr. William Byra, April 6, 2016, 742:19-745:19.


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               135.     Dr. DiBattiste testified as follows:


                        Q.     Well, what was the protocol -- and we'll get into the CoVance recheck
                        program more, but what was the -- so if -- if Mr. Chalecki saw a paired sample
                        and he saw that the lab INR was three units higher than the device INR, what
                        was he supposed to do? How -- how does one address that issue -- that
                        circumstance?

                        A.    My understanding -- so -- so you are talking specifically about the
                        CoVance program?

                        Q.       Yes, sir.

                        A.     So my understanding was that he needed to get back to the site and let
                        them know that the results were either generally consistent or inconsistent, in
                        which case they would be encouraged, I believe, to -- to recheck the value.119

               136.     Dr. Nessel further testified:


                        Q.      Okay. And that secondly, with respect to the CoVance recheck program,
                        with respect to the CoVance recheck program –
                        A.       Yeah.
                        Q.     Where Mr. Chalecki would have access to split samples, one – one
                        analyzed by a central lab CoVance and the other analyzed by the INRatio device,
                        correct?
                        A.       Yes.
                        Q.       How – how many times was that conducted?
                        A.       A hundred and – about 140.120
               137.     On March 14, 2011, FDA’s Alison Blaus sent an email to Janssen’s Alla Rhoge

    and Sanjay Jalota, with a subject line of “NDA 202439 – Clinical IR” that stated a number of

    requests regarding the INRatio device in ROCKET, including “any available information on the

    performance characteristics of the device(s) beyond the information found in labeling.”121

    119
          Deposition of Dr. Peter DiBattiste, April 12, 2016, 194:2-20.
    120
          Deposition of Dr. Christopher Nessel, February 16, 2016, 218:24-219:13.
    121
          XARELTO_JANSSEN_04932509.

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               138.     Regarding that request on March 14, 2011, Dr. Byra testified as follows:

                        Q.      [You] didn’t provide the CoVance recheck program in response to that e-
                        mail, right?

                        A.       No.122

               139.     The INRatio device was subject to an FDA Class I recall on December 5, 2014,

    which stated: “The Alere INRatio Monitor System may provide an INR result that is lower than

    expected result [sic] obtained using a laboratory INR method.”123

               140.     In a report dated February 5, 2016, the EMA stated that “on September 9,

    2015,124 [Janssen Research & Development, LLC] became aware through a 3rd party that the

    recall notice of the Alere INRatio device might be applicable to the HemoSense INRatio devices

    used in the ROCKET AF trial program as well…[The sponsors] informed the respective Health

    Authorities per local regulations and practices in their respective territories…in parallel, as soon

    as the applicability of the device recall was confirmed by Alere.”125

               141.     EMA subsequently investigated the impact of the INRatio device on the

    ROCKET trial, and requested additional analyses from the sponsor.126

               142.     In its assessment report, EMA stated:

                        The preliminary data provided on INR values estimated simultaneously
                        on weeks 12 and 24 with the two methods (POC device vs. laboratory
                        testing) indicate that discrepancies of potential clinical relevance were
                        rather frequently observed (approximately in 35% of the estimations).
    122
          Deposition of Dr. William Byra, April 5, 2016, 335:11-14.
    123
       FDA Class I Recall Notice, “Alere San Diego, Inc., Alere INRatio and INRatio2 PT/INR Monitor System
    (Professional and Prescription Home Use) – Falsely Low INR Test Results,” dated Dec. 5, 2014.
    124
      However, Janssen internal documents indicate that Alla Rhoge, Associate Direct, Regulatory Leader, received an
    email pertaining to the Alere INRatio recall in December 2014. See, e.g., XARELTO_JANSSEN_14522268.
    125
       EMA CHMP Assessment report dated 5 February 2016, pp. 5-6. It is my understanding that when the sponsors
    purchased the INRatio devices and testing strips for use in ROCKET, HemoSense Inc. was the manufacturer, but
    was subsequently purchased by a company now known as Alere.
    126
          EMA CHMP Assessment report dated 5 February 2016, p. 3.

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                       The majority of these discrepancies were related to a lower device INR
                       value compared with Lab INRs. Cross tabulations are requested for the
                       number of test results with Lab INR vs. POC INR for the following
                       four categories: INR<2, 2-3, >3-4 and > 4.127

               143.    The EMA assessment report presented the following information128:




               144.    The EMA assessment report concluded:

                       The manufacturer of the point of care INR device (Alere Inc.TM) has
                       identified that the device in certain clinical conditions gave
                       inappropriately low INR values. The device was used for titration of
                       the warfarin doses in the rocket AF study. The MAH of Xarelto was
                       requested to provide clarification and further information in order to
                       assess the potential impact on the pivotal Rocket AF study results
                       supporting the the indication for rivaroxaban in the prevention of
                       thromboembolism in non-valvular atrial fibrillation (The “Rocket AF”
                       study). All requested analyses have been provided.

                       The inappropriately low INR values observed with the device as
                       indicated in the device correction notice of Alere were in some
                       instances reported to be clinically relevant leading to increases of anti-
                       vitamin K agents with resulting increased bleeding tendency. Thus it
                       was considered relevant to further investigate the impact of potentially
                       inaccurate device INR estimations, that could have had on the study
                       results. A major concern would be that the described deficiencies could
                       lead to an increased bleeding rate in the control arm of the trial
                       (warfarin) which would potentially hamper the interpretations of the

    127
          EMA CHMP Assessment report dated 5 February 2016, p. 21.
    128
          EMA CHMP Assessment report dated 5 February 2016, p. 28.

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                differences between treatment arms. The investigations performed and
                possible conclusions that can be made from them are summarised
                below[.]

                Numerous extensive sensitivity analyses have been performed in order
                to estimate the potential impact on the study outcome.

                The MAH initially performed three sensitivity analyses were based on
                the information provided by the INR device manufacturer (Alere) and
                taking both chronic and acute clinical conditions into account. Patients
                who were judged to have had any recall related clinical condition ahead
                of any endpoint event are excluded in the second of these sensitivity
                analyses which resulted in an exclusion of approximately 31% of the
                patients. The first and third sensitivity analyses are focussing [sic] on
                the time periods when such events occurred and fewer patients are
                excluded in these analyses. In all three analyses minor changes in the
                hazard ratios between the rivaroxaban and warfarin study arms were
                observed as compared to the original analyses. For the sensitivity
                Analysis 2 considered to be the most conservative analysis of the three
                analyses provided, warfarin was almost nominally statistically
                significantly better than rivaroxaban for the principal safety endpoint,
                major or clinically relevant bleedings (p = 0.092, HR: 1.08 (CI: 0.99,
                1.17)).

                As can be seen in Table 2, the pattern of bleeding components was
                different between rivaroxaban and warfarin with death due to bleeding,
                critical organ bleeding and intracranial haemorrhage being nominally in
                favor of rivaroxaban. This differential pattern remained unchanged in
                the sensitivity analyses cited above. (table 8). There was no indication
                that the most serious bleeding events on warfarin were related to recall
                related clinical conditions or events.

                There are uncertainties related to the sensitivity analyses above
                discussed. In particular the available information is probably somewhat
                limited e.g. fibrinogen levels have not been measured regularly and is
                rarely measured in clinical routine. The analyses were based on the
                assumption that INR values are only affected in case of recall related
                conditions. This issue was addressed by additional analyses.
                In a second step, these additional sensitivity analyses were provided
                upon request from CHMP. These analyses were focussing [sic] on the
                paired samples that were taken simultaneously at weeks 12 and 24 of
                the trial. In addition to the Alere device estimated INR, a laboratory
                prothrombin time measurement was made. The primary intention of
                this exercise was to evaluate the potential impact of rivaroxaban on
                prothrombin time during the Rocket AF trial. In retrospect, however, in
                view of the INR device issue under discussion, an INR ratio could be

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                calculated allowing comparisons of the INR values as estimated by the
                two methods. (INR device and INR laboratory values calculated from
                the two sampling time points at week 12 and week 24).

                The MAH has, as requested, provided Bland-Altman plots comparing
                the estimations made by the two methods (INR device and INR
                calculation based on the laboratory values). From visual impression of
                the Bland-Altman plots, it indicates that the majority of discrepancies
                were related to lower device based INR value as compared to the Lab
                INR value. This was also further elucidated when looking at the cross
                tabulations made based on clinically relevant INR categories which
                showed that 34% (1961 out of 5766) of the measurements has a lower
                device INR compared with lab INR (discordant values).The reverse,
                that the device INR was higher compared with the Lab INR, was
                observed in only 4% of the measurements (discordant values).
                However, consistency,( i.e. that the measurements fell in the same INR
                category), was observed in 62% of the instances ( concordance), The
                subjects with and without concordance whether further investigated to
                explore the impact of the device values. The principal safety endpoint
                event rates for subjects with and without concordance at Week 12 and
                at Week 24 were dissimilar (12.9/100 pt-yrs vs 14.0/100 pts-yrs, and
                12.6/100 pt-yrs vs 13.6/100 pts-yrs, respectively), although closer with
                and without concordance at both week 12 & 24 (12.2/100 pt-yrs vs
                12.9/100 pts-yrs, respectively). Based on these analyses modified event
                rates in the warfarin arm were calculated and compared with the
                observed event rates in the rivaroxaban arm. The impact on the
                originally reported Hazard Rate Ratios was small as seen in table 8.

                Theoretically, the differences observed could, on group level, depend
                on higher warfarin doses than necessarily needed in patients with
                discrepancy. However, the differences above discussed are rather small,
                and when taking also efficacy data in these analyses into account it
                appears reasonable to conclude that the characteristics and risks in
                these non-randomised groups differ from the overall study population.
                This is further supported by the additional analyses provided by the
                MAH where a very similar pattern for the safety end-points is observed
                in the rivaroxaban patients and where doses were not adjusted.
                Furthermore, when looking at the patients who have no paired samples
                it becomes even more apparent that the sensitivity analyses reflect
                subsets of patients that are not representative for the over-all study
                population.

                The CHMP acknowledges that there are also limitations related to the
                above analyses as they only represent two specific time points during
                treatment approximately 11.000 out of 160.000 INR measurements
                which were performed during the study.

                                                62

                                                                                           USCA5 3041
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                A single lab INR cannot be regarded as a true “golden standard”.
                However, there is since long an awareness of the important influence
                different thromboplastins with different sensitivity have on the size of
                the prothrombin time prolongation. The INR calculations compensate
                for these differences. Among the frequently used routine coagulation
                tests laboratory INR testing is probably one of the best standardised
                methodologies. Point of care devices for INR estimations are generally
                speaking probably somewhat less well standardized however, they have
                important feasibility advantages together with sufficient reliability
                which could justify their use preferable in clinical studies or in clinical
                routine for individual patients. There is also available extensive
                external evidence, important to take into consideration when evaluating
                the bleeding events in the Rocket AF trials. The incidences and the
                characteristics of bleedings induced by rivaroxaban in comparison with
                warfarin were characterised in other large clinical trials supportive of
                the indication for secondary prevention of DVT/PE. The Alere INR
                device was not used in these studies. When looking at the
                characteristics of the study populations in the DVT/PE prevention
                studies and the doses of rivaroxaban used , they are rather similar to the
                Rocket AF trial. The targeted INR was also identical. Therefore, the
                DVT/PE prevention studies are considered relevant for external
                validation purposes. It can be noted that in the pooled analyses of the
                DVT and PE studies, the major and clinically relevant bleedings were
                numerically fewer and major bleedings significantly fewer in the
                rivaroxaban arm (HR 0.93, 95% CI 0.81;1.06 and HR 0.55, CI 0.34,
                0,79, respectively). The bleeding characteristics were similar to those
                observed in the Rocket AF trial.

                The bleeding rates and the bleeding characteristics in the warfarin arm
                in the Rocket trial is also within the expected range as the one
                described in the literature. Furthermore the analyses of the components
                of the primary safety endpoint, critical organ bleeding, fatal bleeding,
                ICH, clearly favoured the rivaroxaban group as did all-cause mortality.
                These differences remained largely unaffected in the sensitivity
                analyses performed and taking also the size of the differences into
                account they are considered to be robust. They are also consistent with
                the bleeding pattern seen for the other available oral Xa-inhibitors.

                The conclusions derived from the Rocket AF trial are supported by the
                performed sensitivity analyses and by external evidence from large
                trials in other therapeutic areas comparing the efficacy and safety of
                rivaroxaban vs warfarin. The incidence of major and clinically relevant
                bleedings among the warfarin treated patients in the Rocket AF trial
                compares also well with the bleeding incidences observed in recently
                performed trials in AF populations. Incidences of major bleedings in

                                                 63

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                       warfarin arms in the dabigatran, apixaban and edoxaban pivotal trials in
                       atrial fibrillation were 3.6, 3.1 and 3.4%, respectively, as compared to
                       3.5% in the Rocket AF trial.

                       It is agreed with the MAH that further analyses are not expected to
                       provide additional information of substantial value.

                       In conclusion, the CHMP considered that there is sufficient evidence to
                       conclude that the benefit/risk balance remains unchanged and
                       favourable for treatment with rivaroxaban in the prevention of
                       thromboembolism in non-valvular atrial fibrillation.

                       The CHMP also considered that the information provided in the SmPC
                       is currently appropriate and does not warrant any amendment. The
                       modified calculated INR values discussed in this report should be
                       viewed as informative for the assessment of the INR values provided
                       by the faulty device. Taking into account the extent of the potential
                       impact of the modified INR values and the limitations of the post hoc
                       sensitivity analyses, it is considered that an update in the SmPC section
                       5.1 is not relevant and would provide more confusion to the
                       prescriber.129

               145.    In a ROCKET Task Force meeting on September 22, 2015, Bayer’s Dr.

    Berkowitz referred to the sensitivity analyses submitted to EMA as “fishing expeditions” that

    hold “almost no weight” and “can easily be turned to say what one does or does not want to

    hear.”130

               146.    Correspondences between the sponsors and FDA occurred concerning the FDA

    and the sponsors’ investigations into the impact of the malfunction in the ROCKET trial, with

    the sponsor’s responses submitted on the follow dates: September 29, 2015; October 15, 2015;

    November 16, 2015; December 14, 2015; December 21, 2015; December 23, 2015; January 21,




    129
          EMA CHMP Assessment report dated 5 February 2016, pp. 38-41.
    130
          XARELTO_BHCP_07993872.


                                                          64

                                                                                                   USCA5 3043
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    2016; February 1, 2016; February 5, 2016; March 7, 2016; March 22, 2016; April 1, 2016; April

    18, 2016; May 6, 2016; and May 13, 2016.131

              147.   As part of IND 75238, on January 12, 2016, FDA’s Dr. Norman L. Stockbridge,

    Director, Division of Cardiovascular & Renal Products, Office of Drug Evaluation I, CDER,

    submitted an Information Request to Janssen’s Purve Patel, Director, Global Regulatory Affairs,

    that referred to Janssen’s IND for Xarelto and to “amendments dated 29 September, 15 October,

    16 November, and 14 December 2015.”132

              148.   FDA noted that those amendment submissions “contained information related to

    the potential impact of the recall of the Alere INRatio Monitor System, which was the Point of

    Care (POC) Device utilized to measure INR in the Phase 3 ROCKET-AF study. The submission

    also contained various sensitivity analyses conducted by you [Janssen] as well as those requested

    by the European Medicines Agency (EMA).”133

              149.   The Information Request further stated, “Upon review of the above submissions,

    we have the following comments and requests for additional information. Please note that these

    requests are not clinical hold issues. However, response to them is requested.”134

              150.   The first request included in the January 12, 2016 Information Request was as

    follows: “1. Please provide reports of any serious adverse event reports mentioning the INRatio

    device in ROCKET-AF.” 135

              151.   Regarding that request, Dr. DiBattiste testified as follows:


    131
          XARELTO_JANSSEN_24277161 at p. 3.
    132
          XARELTO_JANSSEN_18501728, p. 1.
    133
          XARELTO_JANSSEN_18501728, p. 1.
    134
          XARELTO_JANSSEN_18501728, p. 1.
    135
          XARELTO_JANSSEN_18501728, p. 1.

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                                                                                                 USCA5 3044
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                        Q.     You said you were made aware that there were some patients around
                        whom concerns existed and that there were adverse bleeding events. Would you
                        agree that those are exactly the type of situations in patients that the FDA was
                        seeking information about in their January 12, 2016, information request?

                        A.       Possibly.136

               152.     On February 5, 2016, in response to that first FDA information request dated

    January 12, 2016, the sponsors stated the following:

                        There are 7,518 SAEs in the Bayer Global Pharmacovigilance Safety
                        Database for the ROCKET AF Study. Janssen Global Medical Safety
                        Data Analysis Group performed a search and identified 69 of the 7,518
                        (0.9%) SAE cases in which the narrative contained any of the following
                        keywords:

                             x   Hemosense
                             x   INRatio
                             x   Point of care
                             x   POC
                             x   Device137

               153.     Regarding the particular incident discussed in paragraphs 120-121,138 Dr.

    DiBattiste testified:


                        Q.     You would agree with me that's pretty much exactly what the FDA was
                        asking for, right?

                        A.       That's the topic.
                        …

                        Q.      Separate and apart from this being an adverse event report, you agree
                        that this type of information, this narrative, is exactly the type of information that
                        the FDA was asking for on January 12, 2016, when they were conducting their
                        investigation into this topic?

                        A.      I would say that if this were in an adverse event report, then I would say
                        that the answer to that is yes.139

    136
          Deposition of Dr. Peter DiBattiste, April 12, 2016, 162:2-10.
    137
          XARELTO_JANSSEN_16397478, p. 3.
    138
          See XARELTO_JANSSEN_03933641.

                                                                66

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               154.     The above response did not include the four instances of suspected device

    malfunction discussed above in paragraphs 120-129.

               155.     The January 12, 2016 FDA Information Request also included the following

    request:

                        5. Please provide a summary report of information collected by the
                        unblinded physician, if available and elaborate on the role and
                        responsibilities of the unblinded physician that monitored the warfarin
                        patients. Please explain whether the unblinded physician had access to
                        the laboratory-based INR determination performed as part of the PK-
                        PD substudy in ROCKET-AF and when.140

               156.     On February 5, 2016, in response to that FDA information request dated January

    12, 2016, the sponsors stated the following:

                        The ROCKET AF study utilized an unblinded INR monitor (Bernard
                        Chalecki)…His primary responsibility on the ROCKET AF study was
                        to monitor trends among POC device INR values and to identify any
                        overt aberrations (e.g., persistently high INRs)…Mr. Chalecki would
                        have the ability to contact either the investigator or the Sponsor’s
                        medical monitor to discuss (in a blinded manner) any concerns about
                        the INR. Likewise, the Sponsor’s medical monitor could contact the
                        unblinded INR monitor.

                        At his discretion, the unblinded INR monitor had the ability to contact
                        an unblinded physician, Dr. Stephanie Perry, a hematologist from Duke
                        University Medical Center…She was available on an as needed basis to
                        discuss issues about INRs…Finally, the unblinded physician did not
                        have access to the laboratory-based INR determinations performed as
                        part of the PK-PD substudy in ROCKET-AF.141

               157.     Regarding the sponsor’s above response to the FDA Information Request, Dr.

    Nessel testified as follows:



    139
          Deposition of Dr. Peter DiBattiste, April 12, 2016, 165:8-166:16.
    140
          XARELTO_JANSSEN_18501728, p. 1.
    141
          XARELTO_JANSSEN_16397478, p. 7-8.

                                                               67

                                                                                                    USCA5 3046
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                        Q.      Sir, do you believe that this response, the FDA information request, with
                        respect to the roles and responsibilities of Mr. Chalecki, is full and complete?

                        A.       Well --

                        Q.       Either you do or you don't.

                        A.      Let me put a finer point on it. A summary of the report of information, the
                        roles and responsibilities, so yes, it is a full and complete report of the roles and
                        responsibilities of the unblinded physician.
                               It is a full and complete explanation or answer to whether the physician
                        had access to unblinded INR determinations, performed as part of the PK-PD
                        substudy. It is an accurate response to the FDA's question.

                        Q.     Is it true that one of the roles and responsibilities of Mr. Chalecki was to
                        compare INR values generated by the INRatio device with split samples analyzed
                        by other methods?

                        A.       That was part of his --

                        Q.       Responsibilities?

                        A.       -- responsibilities, yes.

                        Q.       So then why is that responsibility not included in this information request,
                        sir?

                        A.     I believe it is subsumed in -- his primary responsibility, it stated, on the
                        ROCKET-AF study was to monitor trends, et cetera.142
                        …
                        Q.     The CoVance recheck fell under the rubric -- the roles and
                        responsibilities of Mr. Chalecki, correct?

                        A.       Yes.143

               158.     This response does not mention the unblinded monitor’s role and responsibility

    with respect to the Covance recheck program, specifically. As noted above in paragraphs 130-

    136, Mr. Chalecki had access to both the POC and lab values for the samples taken per the

    Covance Recheck Program instructions.


    142
          Deposition of Dr. Christopher Nessel, Feb. 16, 2016, 167:13-169:3.
    143
          Deposition of Dr. Christopher Nessel, Feb. 16, 2016, 173:18-22.

                                                              68

                                                                                                         USCA5 3047
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               159.        Further, in response to FDA’s January 12, 2016 Information Request, specifically

    request number five (5), the sponsors did not provide a summary report of information collected

    by the unblinded physician, if available.

               160.        Janssen’s Dr. Byra created a spreadsheet144 containing, among other data, the

    following information regarding patients enrolled in the ROCKET trial:

                    a. Patient 104078, on June 19, 2008, “[s]ome discrepancy.”

                    b. Patient 104078, on July 3, 2008, “INRs are discrepant by 1. Site to receive new
                       devices and strips.”

                    c. Patient 106080, on August 13, 2008, “[b]linded INR not consistent with
                       HemoSense.”

                    d. Patient 110000, on October 23, 2008, “[d]iscrepancy exists, but the subject still
                       within target range.”

                    e. Patient 102310, on February 27, 2008, “INR high from Covance replace
                       machines.”

                    f. Patient 113483, on March 12, 2009, “INR higher than expected and subject may
                       be taking exogenous warfarin.”

                    g. Patient 111178, on July 28, 2009, “INRs discrepant.”

                    h. Patient 108508, on April 23, 2009, “blinded INR higher (2.0) than POC device.”

                    i. Patient 112708, on May 15, 2009, “INR discrepant with POC.”
    144
          See Deposition of Dr. William Byra, Apr. 6, 2016, 744:16-24:

               Q. What is Exhibit 51?

               A. This is a spreadsheet that I – I kept when we started the CoVance recheck system.

               Q. Who prepared Exhibit 51?

               A. I did.

               Q. Are the comments and the notes yours in Exhibit 51?

               A. Yes.

                                                              69

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                    j. Patient 106355, on February 8, 2010, “INR is 2 units higher than POC.”145

               161.     The information cited in the prior paragraph was provided to Dr. Byra by Mr.

    Chalecki, the unblinded monitor. Dr. Byra testified as follows:


                        Q.     And I think we've talked about the 340,000 INRs that were taken during
                        the course of the study. And was it Mr. Galecki's responsibility to review all of
                        those INRs?

                        A.       Chalecki.

                        Q.       Chalecki. I'm sorry.

                        A.     He would look at them. And, again, there weren't 340,000 all in one day.
                        But he would go down the -- his spreadsheet that he created and would call if
                        there were anything unusual that he would see.146
                        …

                        Q. The comments in the far right-hand corner of the document [Exhibit Byra 51,
                        XARELTO_JANSSEN_18512019], where do those comments come from?

                        A. It was -- the comments came from either e-mails or conversations from Mr.
                        Chalecki or whatever was the final outcome of -- that's this particular sample
                        and what was done with it.147

               162.     According to Dr. DiBattiste, the sponsor did not provide the information

    referenced in paragraph 160 to the FDA:


                        Q.     And how about the data generated as part of that program? When, if
                        ever, was that communicated to the FDA?

                        A.      Never. We haven't seen it yet. And, in fact, it hasn't been formally
                        transferred to us from CoVance yet after all the quality checks.
                                So -- so I would say never.




    145
          XARELTO_JANSSEN_18512019
    146
          Deposition of Dr. William Byra, April 6, 2016, 636:16-637:4.
    147
          Deposition of Dr. William Byra, April 6, 2016, 745:1-8.

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                        Q.      Okay. Both Dr. Byra and Dr. Nessel testified that they had seen -- they
                        had a spreadsheet of the 140-some-odd instances it was used, and they reported
                        that discrepancies were observed, I think 14 -- 14 -- in 14 instances.

                        A.       Right. So --

                        Q.       Does that sound familiar?

                        A.      Well, it sounds somewhat familiar, but I can tell you that we are getting
                        the formal quality control results from CoVance, but we don't have them yet.
                                So what they have is, I guess, case-by-case reporting from -- from Bud
                        [Chalecki]. But -- but I think that the full dataset, again, because the program
                        did not uncover anything that we thought was material to the results of the trial,
                        or apparently even mentioned here is --148

               163.     Federal law and FDA policy emphasize the importance of applicants not omitting

    any material fact in submissions to FDA (see FDA’s Application Integrity Policy and 18 US

    Code 1001).

               164.     On March 7, 2016, Janssen’s Ms. Patel sent a letter to FDA’s Dr. Stockbridge

    regarding INRatio, which she stated the following:

                        A number of lawsuits have been filed in federal court by plaintiffs’
                        lawyers against Janssen Pharmaceuticals, Inc. and Janssen Research &
                        Development, LLC (collectively, “Janssen”) and Bayer Healthcare
                        Pharmaceuticals Inc. and Bayer Pharma AG (collectively, “Bayer”),
                        alleging that their clients have experienced bleeding events due to
                        ingestion of the anticoagulant medicine, XARELTO®. As part of that
                        litigation, as is now customary, over 50 million pages of internal e-
                        mails, study and regulatory documents have been produced. These
                        plaintiffs’ lawyers have requested permission from the Court to provide
                        certain internal Janssen and Bayer documents, including internal
                        communications among colleagues relating to INR monitoring in the
                        ROCKET AF study, to the Agency. For transparency, enclosed are the
                        documents that the plaintiffs’ lawyers have petitioned to share with the
                        Agency.
                        …

                        The documents at issue consist of the following:

                        1. Janssen and Bayer internal communications discussing INR issues
                        (Attachments 2-7)
    148
          Deposition of Dr. Peter DiBattiste, April 12, 2016, 157:51-159:2.

                                                               71

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                    These communications reflect contemporaneous e-mail discussions
                at Janssen and Bayer regarding consideration of INR issues when they
                arose.

                …

                2. Covance Recheck Program in ROCKET AF (Attachments 8-9)

                        The Covance Recheck Program in ROCKET was an external
                comparison on the INR levels from the POC device to standard
                laboratory-based assessments. It was implemented to give assurance to
                investigators who had not used a POC device before that the INR level
                readings were corrected by re-checking them at a lab (Covance). All
                investigators had access to the program and were so notified in a letter
                (Attachment 9). The program was instituted in response to questions
                that were received from investigators who were accustomed to getting
                INRs from the labs.

                        There were 142 inquiries from investigators who availed
                themselves of the recheck program in a study of more than 14,000
                patients over three years. Most of the time, the values from the POC
                device and the lab re-check were consistent. There were just 16
                instances identified from the 142 inquiries where the value from the
                POC device and lab were recorded as inconsistent. There were also
                instances where the device appeared to not be working or the
                investigator got an error message. Those patients went to the lab and
                the unblinded monitor provided the necessary code for the dose
                adjustment. On a few occasions, sites were sent raw devices.

                3. Internal Emails Discussing Adverse Events During Study
                (Attachments 10-16)

                        In accordance with the Agency’s reporting requirements,
                adverse event reports were submitted in connection with the ROCKET
                AF study. Of the documents at issue, three involved serious adverse
                events (Attachments 11, 12 and 15), all of which were reported
                (CIOMS attached). In addition, Attachment 15 was also included as a
                narrative in the Clinical Study Report for the ROCKET
                study…Moreover, Janssen specifically addressed the question of
                serious adverse events mentioning the INRatio device posed in FDA’s
                Information Request from January 12, 2016 and provided the
                corresponding CIOMS reports in its February 5, 2016 submission.

                       Many of these communications do not involve incidents that fit
                within the definition of adverse events under the federal regulations;

                                                72

                                                                                           USCA5 3051
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                     thus, they have not previously been submitted to the Agency
                     (Attachments 10, 13, 14 and 16). These discussions address potential
                     discrepancies with the monitoring device or other issues…

                     …

                     4. Emails About the HemoSense Warning Letters and Alere Recall
                     (Attachments 18-20)

                     …

                     5. “Helpline and HemoSense Update” (Attachments 21 and 22)149

              165.   In a presentation dated March 23, 2016, FDA Center for Devices and

    Radiological Health, in analyzing the performance of the INRatio device in ROCKET, stated that

    “discrepant low values that might cause a warfarin increase occurred at an alarming rate in the

    ROCKET AF trial.”150

              166.   On April 4, 2016, FDA’s Dr. Stockbridge sent an Information Request letter to

    Janssen’s Ms. Patel, which stated:

                     [W]e make reference to your 18 March 2011 submission to NDA
                     202439 that responded to our 14 March 2011 information request
                     during the NDA review of the ROCKET AF trial.

                     We have the following comments and requests for additional
                     information…

                            1. Please describe the purpose of the Covance Recheck Program
                            in the ROCKET AF trial. Please describe how it operated and
                            provide any trial documents describing its operations. Please
                            provide all data collected by the Covance Recheck Program as
                            well as analyses of these data performed by you or by others on
                            your behalf. Please describe all entities with access to data or
                            analyses based on data from the Covance Recheck Program. In
                            particular please indicate if the data and/analyses [sic] were



    149
          XARELTO_JANSSEN_18681716.
    150
          ALRX_00001447.


                                                    73

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                            provided to the ROCKET AF Data Monitoring Committee
                            and/or any members of the Executive Committee.151

              167.   On April 18, 2016, the sponsor submitted its “Response to FDA Request for

    Information Regarding the Alere INRatio Monitor System Recall” that stated the following in

    response to the above detailed request:


                     The Covance Recheck Program (hereafter Program) served several
                     purposes. During the conduct of the ROCKET AF study, it became
                     apparent that investigators who were accustomed to prescribing
                     warfarin may be uncomfortable when blinded to both the treatment
                     assignment (i.e., rivaroxaban or warfarin) and the actual INR. By
                     "checking" the INR and speaking to the Sponsor or a Helpline
                     clinician, the Program could provide reassurance to these investigators.
                     Further, the Sponsor became aware of rare and isolated incidents of
                     clinically unexpected INR values rendered by the point-of-care device.
                     The Sponsor investigated these matters and, although for most cases
                     investigated, problems other than device performance were identified,
                     realized that it would be desirable to create a mechanism that would
                     provide non-random checks of point-of-care device values via a central
                     laboratory. Importantly, however, this had to be accomplished while
                     maintaining the integrity of the study blind.

                     …

                     The results of both tests (i.e., point-of-care and central laboratory) were
                     reported only to Mr. Bernard Chalecki, the unblinded INR monitor. The
                     unblinded monitor would compare the results and advise the Sponsor's
                     study responsible physician and/or the enrolling site (See Attachment
                     1- "Blinded INRs from Covance as of June 4, 2010"). To maintain the
                     study blind, the unblinded INR monitor would only provide general
                     information about the results, depending upon the value returned by
                     Covance, the value generated by the POC device and the treatment to
                     which the subject was assigned…

                     …

                     Covance received a total of 149 samples (rivaroxaban - 78; warfarin -
                     71). There were 136 INRs (rivaroxaban - 73; warfarin - 63) performed
                     for 131 unique subjects (rivaroxaban - 71; warfarin - 60). Of the 136
                     samples run, 53 were solely for the purpose of obtaining an INR (See
                     below and Attachment 2 Data Outputs, Tables 1, 2). Of the remaining

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          XARELTO_JANSSEN_22661447.

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                     83 samples, 55 Covance INRs were concordant with the result from the
                     device (See Attachment 2 Data Outputs, Tables 3, 4);
                     19 were not concordant (See Attachment 2 Data Outputs, Tables 5, 6).
                     To be consistent with previous analyses, the ISO acceptance criteria
                     were used to ascertain concordance between the Covance and point-of-
                     care INR values…

                     …

                     During the conduct of the study, only the unblinded INR monitor had
                     access to the data generated by the Program. The data from the
                     Program were not disclosed to the trial's Independent Data Monitoring
                     Committee or any members of the Executive Committee. No formal
                     analyses of the data were planned during the conduct of the trial. In
                     fact, these data were not analyzed until receipt of this information
                     request.152

              168.   On April 15, 2016, Jannsen’s Ms. Patel sent an email to colleagues, including Drs.

    DiBattiste and Nessel, regarding “DRAFT FDA Response” that stated: “We searched the terms

    Covance, Recheck, Unscheduled INR, INR CK, and special blinded INR and did not find

    reference to this program in the original NDA submission.”153

              169.   On May 27, 2016, FDA requested “revised labeling that describes the impact of

    using the INRatio device in ROCKET AF on the efficacy (in section 14) and the safety (in

    section 6) of rivaroxaban in the treatment of patients with atrial fibrillation.”154

              170.   In response, the sponsors stated their position “that a revision to the product

    labeling is not warranted.”155

              171.   On June 14, 2016, FDA’s Dr. William H. Maisel wrote to Alere, Inc.’s Ms.

    Melissa D. Guerdan, Sr. Vice President, Global Quality & Regulatory:



    152
          XARELTO_JANSSEN_22661455, p. 3-5.
    153
          XARELTO_JANSSEN_23097568.
    154
          XARELTO_JANSSEN_24277161, p. 12.
    155
          XARELTO_JANSSEN_24277161.

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                      In response to your request, received by email May 23, 2016, and by
                      letter dated June 1, 2016, I have reviewed the decision by the Office of
                      In Vitro Diagnostics and Radiological Health (OIR) that Alere should
                      conduct a voluntary recall of the Alere INRatio PT/INR Monitoring
                      System (“INRatio System”) due to product performance concerns.156

               172.   Dr. Maisel further wrote:

                      After reviewing the information in your email dated May 23, 2016,
                      your letter dated June 1, 2016 and the documents attached and
                      referenced therein, and the administrative file, and after meeting with
                      Alere on June 3, 2016, I have concluded that there is a reasonable
                      probability that the use of, or exposure to, the Alere INRatio System
                      will cause serious adverse health consequences or death…Because this
                      is a serious public health matter, CDRH may pursue additional actions,
                      as necessary, to protect the public health.157

               173.   Finally, Dr. Maisel stated:

                      The decision is based, in part, on the following:

                      1) FDA has received more than 100 MDRs from January 2015 to April
                      2016 related to the INRatio System, including reports of serious
                      injuries and one death. Included among these reports are dozens of
                      cases of discrepant INRs where the INRatio INR value differs
                      substantially when compared with a contemporaneous reference INR.

                      2) INRatio performed poorly in ROCKET-AF. Although Alere
                      contends that continuous improvements have been made to the INRatio
                      System rendering ROCKET-AF performance “irrelevant” to the
                      currently marketed system, Alere has not submitted performance data
                      that validates the claim that the currently released and marketed device
                      (or the device with software version 1.12) has sufficiently mitigated the
                      risk of discrepant low values.158




    156
          ALRX_00002510, p. 1.
    157
          ALRX_00002510, p. 2.
    158
          ALRX_00002510, p. 2.


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               174.     On July 13, 2016, FDA spokeswoman Deborah Kotz stated, “Our analyses so far

    indicate that effects on strokes or bleeding, including bleeding in the head, were minimal.”159

               175.     Regarding the FDA investigation, Dr. Peter DiBattiste testified:

                        Q. So to the best of your knowledge, has this – has this issue been resolved from
                        the FDA, or is there review still ongoing?
                        …
                        A. I have nothing to indicate that the review is complete. So my assumption is that
                        it is ongoing…160

               176.     In my opinion, the sponsors failed to meet their duty of a reasonably prudent drug

    manufacturer by:

                    a. Failing to report discrepant INR values, and associated adverse events, in
                       response to the March 14, 2011 and January 12, 2016 FDA Information Requests.

                    b. Failing to inform FDA about the Covance recheck program in response to the
                       March 14, 2011 and January 12, 2016 Information Requests.

               177.     In my opinion, a reasonable and prudent manufacturer, asked by FDA, as part of

    an IND application process, to provide a summary of information collected by an unblinded

    physician would have provided such information. Such information was important to FDA

    because FDA was investigating the impact of the use of a recalled POC device in the ROCKET

    clinical trial, which evaluated the safety and efficacy of Xarelto.

               178.     In my opinion, the sponsors did not disclose to FDA, physicians, or patients that

    the company was in possession of information indicating that “discrepancies of potential clinical

    relevance were rather frequently observed (approximately in 35% of the estimations) [in

    ROCKET].”161


    159
      Hilzenrath, D.S. FDA Says Faulty Devices Had “Minimal” Impact on Trial Led by NewBoss. Project on
    Government Oversight. July 13, 2016, http://www.pogo.org/blog/2016/07/fda-faulty-devices-had-minimal-
    impact.html
    160
          Deposition of Dr. Peter DiBattiste, July 20, 2016, 820:18-821:3.
    161
          EMA CHMP Assessment report dated 5 February 2016, p. 21.

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               179.    As reported by the sponsor, FDA’s Dr. Temple “volunteered his opinion that the

    problem should not have created bias in favor of riva efficacy thought it might have impacted

    bleed rates.”162 In response, Dr. DiBattiste stated, “I completely agree with Bob [Temple]’s

    perspective on the potential impact of the INR device issue on efficacy and safety.”163 In my

    opinion, an impact on “bleed rates” could affect the safety, and risk/benefit, equation of Xarelto

    by FDA, physicians, and patients.

               180.    In a July 6, 2016 reply to a letter to the editor of the NEJM, regarding an article

    entitled “Point-of-Care Warfarin Monitoring in the ROCKET AF Trial,” members of the

    ROCKET AF Executive Committee, Steering Committee, and Investigators stated as follows:

    “However, we acknowledge the limitations of these analyses. To be fully informative, we would

    need to provide paired central-laboratory and point-of-care INR values throughout the trial, and

    these values are not available.”

               181.    In addition, as discussed above, the EMA also identified limitations in the

    analyses performed by the sponsor to assess the impact of the INRatio device on ROCKET.164

               182.    On September 26, 2016, the FDA issued its ROCKET AF Reanalysis Reviews. In

    the ‘Summary and Recommendations’ section of the review, FDA provided:

               … Janssen and FDA independently performed a variety of analyses intended to
               characterize the impact of use of the INRatio device on the safety and efficacy
               results of ROCKET.

               … FDA used two mathematical modeling approaches to estimate the clinical
               outcomes results that might have occurred I ROCKET if a more accurate INR
               assay had been used to guide warfarin dosing, i.e., one that [] reported results
               similar to the laboratory-based assay at Duke… Each of these analyses
               predicted a small decrease in the expected rate of major bleeding in the

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          XARELTO_JANSSEN_18607702.
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          XARELTO_JANSSEN_18607702.
    164
          EMA CHMP Assessment report dated 5 February 2016, pp. 38-41

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           warfarin arm compared to the observed rate of 3.45 events per 100 patient
           years in ROCKET (reductions in the three models ranged from 7% to 10% of
           the observed rate)…. Overall, these estimated reductions in the rates of
           bleeding events in the warfarin arm were small enough so that the benefits of
           rivaroxaban would still outweigh its risks if efficacy were not affected.
           Notably, two of these three analyses also estimated the rate of ischemic stroke,
           and one estaimted the rate of the primary efficacy endpoint of total stroke +
           systemic embolism. Both these models predicted that the rate of ischemic
           stroke would be increase in the warfarin arm, resulting in an expected
           improvement of the efficacy of rivaroxaban relative to warfarin.

                   The information summarized above indicates that it is quite likely that
           patients in the warfarin arm of ROCKET unintentionally received higher doses
           of warfarin than they would have received if the INRatio device had provided
           results similar to those provided by the laboratory-based device at Duke.
           However, the effects of this increased intensity of anticoagulation on clinical
           outcomes were likely to have been quite modest. It seems very unlikely that if
           the device had performed similarly to the INR assessment device at Duke, the
           benefit/risk profile of rivaroxaban compared to warfarin would have been
           notably different from the profile based on the observed result of Srocket.
           Accordingly, the conclusion we made in 2011 that the benefits of rivaroxaban
           in patients with non-valvular atrial fibrillation outweigh its risks should not be
           changed.

           183.   The FDA’s ‘Recommendations’ were as follows: “(1) No changes in rivaroxban

    labeling to reflect the impact of use of the INRatio device in ROCKET are warranted. No other

    major regulatory action should be taken with respect to rivaroxban; (2) Our conclusions

    regarding the issues addressed by this review should be communicated to the public in a suitable

    manner, but not through any changes in labeling.”

           184.   In regard to the FDA’s recommendation regarding labeling, the FDA added:

           We think that a labeling change to describe the modeling results would [be]
           very difficult to write in a concise manner and might be more likely to confuse
           than to edify, and is not warranted. FDA might make a brief announcement
           regarding our conclusions and make this review or a summary of it available to
           the public online. A publication of our analyses in a journal might be desirable.
           If others think it is important to change labeling, we might add a simple
           statement that FDA has reviewed the INR and outcomes information in
           ROCKET and determined that the effect of use of the INRatio device on
           outcomes in ROCKET was too small to affect our prior conclusion that the
           benefits of rivaroxaban outweigh its risks relative to warfarin.

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    IV.         CONCLUSIONS165

                In my opinion:

                185.      Any laboratory test that is helpful in identifying patients at risk for serious

    adverse events based upon a patient’s response to a drug should be disclosed in the Warnings and

    Precautions section of the drug label.

                186.      Any laboratory tests that could be helpful in identifying patients at increased risk

    of bleeding from Xarelto use should be identified in the Warnings and Precautions section of the

    drug label.

                187.      There is variability in drug plasma concentration levels in patients taking Xarelto.

                188.      There is a relationship between Xarelto plasma concentration levels and PT.

                189.      As of August 2011, there is a relationship between PT levels and the risk of

    bleeding.

                190.      Measuring a PT level in a Xarelto-treated patient can be helpful in identifying

    patients at risk for serious adverse events based upon a patient’s response to Xarelto.

                191.      There is a laboratory test to measure PT levels in Xarelto-treated patients.

                192.      While measuring a PT level in a Xarelto-treated patient can be helpful in

    identifying patients at risk for serious adverse events based upon a patient’s response to Xarelto,

    without additional adequate sponsor-generated clinical trial data exploring Xarelto dose

    adjustment based on bleeding risk (as measured by PT), measuring a PT level does not allow a

    physician to titrate the dose in such patients. Rather, it allows a physician and a patient to decide

    whether the patient should continue Xarelto therapy.

                193.      While FDA originally stated in June 2011 (in its review of the hip and knee

    replacement VTE prophylaxis indication) that the predictive value of coagulation parameters for
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          This list is not meant to be an all-inclusive list. For a full list of opinions, please see the entire report.

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    the bleeding risk had not been adequately studied, beginning in August 2011 (in its Clinical

    Pharmacology review of the atrial fibrillation indication), the agency stated that there was a

    relationship between bleeding risk and PT. Since then, the agency has repeatedly and

    consistently cited that relationship.

              194.   While the sponsors proposed language suggesting that if “assessment of the

    pharmacodynamic effect of rivaroxaban is considered necessary in individual patients, PT

    (measured in seconds) is recommended”166 be included in the Pharmacodynamics section of the

    label, they never offered language to include in the Warnings and Precautions section that

    suggested that measuring a PT level in a Xarelto-treated patient can be helpful in identifying

    patients at risk for serious adverse events based upon a patient’s response to Xarelto.

              195.   The sponsors acknowledged that information about measuring PT could be

    helpful in patient care decision-making.

              196.   Based on the preceding sections, the sponsors failed to “identify any laboratory

    tests helpful in following the patient’s response or in identifying possible adverse reactions.”

              197.   Nothing in the Act, or in the FDA’s implementing regulations, relieves a

    manufacturer of its duty to act prudently in light of the company’s internal knowledge about a

    product and its potential risks.

              198.   The two systems of state consumer protection (including potential product

    liability) and federal food and drug regulation should and do operate in a complementary but

    independent manner.

              199.   The two systems of state consumer protection (including potential product

    liability) and federal food and drug regulation should and do operate in a complementary but

    independent manner.
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          XARELTO_JANSSEN_05911809, p. 15.

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            200.    Based in part on the above testimony, information about laboratory tests that

    could be helpful in identifying patients at increased risk of bleeding from Xarelto use would be

    useful information for physicians in clinical decision-making.

            201.    While Xarelto was shown to be non-inferior to Warfarin with regard to safety and

    efficacy in clinical study populations, the sponsors failed to inform physicians and patients that

    certain individual patients taking Xarelto were at a demonstrable increased risk for serious

    adverse reactions.

            202.    A reasonably prudent drug manufacturer, who knows certain patients are at an

    increased risk of serious adverse events relative to others, would inform prescribers of that fact.

            203.    Based on the reasons cited above, the sponsors did not adequately notify

    physicians that some patients are at higher risk than others (i.e., inter-patient variability).

            204.    Based on the reasons cited above, the sponsors did not adequately instruct

    physicians how to identify those patients (i.e., PT).

            205.    Based on the reasons cited above, the sponsors did not adequately instruct

    physicians on how to clinically manage the information (e.g., titrate, discontinue, additional

    warnings).

            206.    The sponsors failed to meet their duty of reasonably prudent drug manufacturers

    by:

                 a. Failing to report discrepant INR values, and associated adverse events, in
                    response to the January 12, 2016 FDA Information Request.

                 b. Failing to inform FDA about the Covance recheck program in response to the
                    January 12, 2016 Information Request.




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                                APPENDIX A




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                    'LVWLQJXLVKHG6HUYLFH$ZDUGIRU6FLHQWLILF$FKLHYHPHQW

                    $0(5,&$1$&$'(0<2)$576$1'6&,(1&(6)HOORZ

                    3+,%(7$.$33$$PKHUVW&ROOHJH

                    81,9(56,7<2)&+,&$*2/$:5(9,(:$VVRFLDWH(GLWRU

                    38%/,&+($/7++(52$:$5'8&%HUNHOH\

                    6,*0$;,7KH6FLHQWLILF5HVHDUFK6RFLHW\RI1RUWK$PHULFD

                    %$51$5'&2//(*(%DUQDUG
                    0HGDORI'LVWLQFWLRQ

                    &$63$53/$77$:$5'7KH8QLYHUVLW\RI&KLFDJR/DZ6FKRRO

                    +$59$5'%/2'*(77$:$5',1%,2/2*<$PKHUVW&ROOHJH

                    :+,7,1*)281'$7,21*5$17,1$,'IRUUHVHDUFKDW
                    6ORDQ.HWWHULQJ,QVWLWXWH

                    1$7,21$/6&,(1&()281'$7,21)(//2:6+,3 GHFOLQHG 

                    -2+1:22'58))6,03621)(//2:6+,3DZDUGHGE\$PKHUVW
                    &ROOHJHIRUWKHVWXG\RIPHGLFLQH

                    $/9$179,2/$')8//(5$0(5,&$1&$1&(562&,(7<
                    -81,255(6($5&+)(//2: GHFOLQHG 

                    1$7,21$/,167,787(62)+($/7+75$,1,1*)(//2:6+,3
                    5(&,3,(17IRUSK\VLRORJ\UHVHDUFKDWWKH0DULQH%LRORJLFDO/DERUDWRU\




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    'DYLG$.HVVOHU                                                                    3DJH
    
                    :RRGV+ROH0DVVDFKXVHWWV

                    3+,'(/7$7+(7$6&+2/$56+,3
                    ',67,1*8,6+('38%/,&6(59,&($:$5'
                    7KH*HRUJH:DVKLQJWRQ8QLYHUVLW\6FKRRORI0HGLFLQHDQG+HDOWK6FLHQFHV

                    81,7('67$7(6'(3$570(172)-867,&(&,9,/',9,6,21
                    6SHFLDO&LWDWLRQ

                    $0(5,&$162&,(7<2)38%/,&$'0,1,675$7,21
                    1DWLRQDO&DSLWRO$UHD&KDSWHU
                    3UHVLGHQW V$ZDUGIRU2XWVWDQGLQJ$FKLHYHPHQW

                    $0(5,&$1)('(5$7,21)25$,'65(6($5&+ $P)$5 
                    6KHOGRQ:$QGHOVRQ3XEOLF3ROLF\$FKLHYHPHQW$ZDUG

                    7+(:22'52::,/621$:$5')25',67,1*8,6+('
                    *29(510(176(59,&(-RKQV+RSNLQV8QLYHUVLW\

                    +$/2*'(1$:$5'
                    $VVRFLDWLRQRI6WDWHDQG7HUULWRULDO'LUHFWRUVRI+HDOWK3URPRWLRQDQG
                    3XEOLF+HDOWK(GXFDWLRQDQGWKH86&HQWHUVIRU'LVHDVH&RQWURO

                    1$7,21$/25*$1,=$7,21)255$5(',6($6(6 125' 
                    2XWVWDQGLQJ6HUYLFHWRWKH3XEOLF+HDOWK$ZDUG

                    0$5&+2)',0(6
                    )UDQNOLQ'HODQR5RRVHYHOW/HDGHUVKLS$ZDUG

                    &+,/'5(1 6+263,7$/1$7,21$/0(',&$/&(17(5
                    &KLOGUHQ V5HVHDUFK,QVWLWXWH$ZDUGRI$FDGHPLF([FHOOHQFH

                    $0(5,&$1+($57$662&,$7,21
                    1DWLRQDO3XEOLF$IIDLUV6SHFLDO5HFRJQLWLRQ$ZDUGIRU)RRG/DEHOLQJ

                    ,65$(/&$1&(55(6($5&+)281'$7,21
                    3UHVLGHQW V$ZDUG

                    ,167,787()25$'9$1&('678',(6,1,00812/2*<$1'$*,1*
                    /LIHWLPH3XEOLF6HUYLFH$ZDUG

                    $0(5,&$1/81*$662&,$7,21
                    6SHFLDO5HFRJQLWLRQ$ZDUG

                    81,9(56,7<2)&+,&$*2$/801,$662&,$7,21
                    3URIHVVLRQDO$FKLHYHPHQW$ZDUG :DVKLQJWRQ'&&KDSWHU 

                    86'(3$570(172)+($/7+$1'+80$16(59,&(6




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    'DYLG$.HVVOHU                                                               3DJH
    
                    6HFUHWDU\ V$ZDUGIRU([FHOOHQFHLQ3XEOLF6HUYLFH

                    1$7,21$/.,'1(<&$1&(5$662&,$7,21
                    3URJUHVVLYH/HDGHUVKLS$ZDUG

                    -2+16+23.,1681,9(56,7<6&+22/2)38%/,&+($/7+
                    'HDQ V0HGDO

                    $0(5,&$1&$1&(562&,(7<
                    0HGDORI+RQRU

                    $0(5,&$1+($57$662&,$7,21
                    0HULWRULRXV$FKLHYHPHQW$ZDUG

                    :25/'+($/7+25*$1,=$7,213DQ
                    $PHULFDQ:RUOG+HDOWK2UJDQL]DWLRQ:RUOG
                    1R7REDFFR'D\$ZDUG

                    $0(5,&$1+($57$662&,$7,21
                    1DWLRQDO3XEOLF$IIDLUV6SHFLDO5HFRJQLWLRQ$ZDUGIRU7REDFFR

                    352)(66,21$/$&+,(9(0(17&,7$7,218QLYHUVLW\RI
                    &KLFDJR$OXPQL$VVRFLDWLRQ

                    3(116</9$1,$+263,7$/0ROO\
                    DQG6LGQH\1=XEURZ$ZDUG

                    $0(5,&$1/81*$662&,$7,212)&211(&7,&87
                    +XPDQLWDULDQ$ZDUG

                    $0(5,&$1&2//(*(2)35(9(17,9(0(',&,1(
                    6SHFLDO5HFRJQLWLRQ$ZDUG

                    $662&,$7,212)$0(5,&$10(',&$/&2//(*(6$1'7+(52%(57
                    :22'-2+1621)281'$7,21
                    'DYLG(5RJHUV$ZDUGIRU,PSURYLQJ+HDOWKDQG+HDOWKFDUHRIWKH$PHULFDQ
                    3HRSOH

                    -$&2%6,167,787(2):20(1¶6+($/7+
                    ([FHOOHQFHLQ:RPHQ¶V+HDOWK$ZDUG

                    1$5$/352&+2,&($0(5,&$
                    /LIHWLPH$FKLHYHPHQW$ZDUG

                    7+($662&,$7,212)67$7($1'7(55,725,$/&+521,&',6($6(
                    352*5$0',5(&7256
                    -RVHSK:&XOOHQ$ZDUGIRU2XWVWDQGLQJ&RQWULEXWLRQVWR&KURQLF'LVHDVH
                    3UHYHQWLRQDQG&RQWURO




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    'DYLG$.HVVOHU                                                                  3DJH
    

                    7+(&2//(*(2):,//,$0 0$5</$:6&+22/
                    %HQMDPLQ5XVK0HGDO

                    &$/,)251,$&(17(5)2538%/,&+($/7+$'92&$&<
                    'DYLG.HVVOHU$ZDUGIRU([WUDRUGLQDU\&RQWULEXWLRQWRWKH3XEOLF
                    +HDOWK

                           %22.6)25$%(77(5/,)($:$5'
    
    ,17(516+,3 5(6,'(1&<
    
      6(1,25$66,67$175(6,'(17'HSDUWPHQWRI3HGLDWULFV
      7KH-RKQV+RSNLQV+RVSLWDO
     
     $66,67$175(6,'(17'HSDUWPHQWRI3HGLDWULFV
           7KH-RKQV+RSNLQV+RVSLWDO
             
     ,17(51'HSDUWPHQWRI3HGLDWULFV
     7KH-RKQV+RSNLQV+RVSLWDO


    $&$'(0,&$332,170(176

              81,9(56,7<2)&$/,)251,$6$1)5$1&,6&2
    SUHVHQW        3URIHVVRURI3HGLDWULFV
                    3URIHVVRURI(SLGHPLRORJ\DQG%LRVWDWLVWLFV

              <$/(81,9(56,7<
               3URIHVVRURI3HGLDWULFV
                    3URIHVVRURI,QWHUQDO0HGLFLQH
                    3URIHVVRURI3XEOLF+HDOWK

           $/%(57(,167(,1&2//(*(2)0(',&,1(
            'HSDUWPHQWRI3HGLDWULFV
     2QOHDYH  'HSDUWPHQWRI(SLGHPLRORJ\DQG6RFLDO0HGLFLQH
                 $VVRFLDWH3URIHVVRURI3HGLDWULFV
                 $VVRFLDWH3URIHVVRURI(SLGHPLRORJ\DQG6RFLDO0HGLFLQH

              $/%(57(,167(,1&2//(*(2)0(',&,1(
               'HSDUWPHQWRI(SLGHPLRORJ\DQG6RFLDO0HGLFLQH
                    $VVLVWDQW3URIHVVRU

              &2/80%,$81,9(56,7<6&+22/2)/$:
               -XOLXV6LOYHU3URJUDPLQ/DZ6FLHQFHDQG7HFKQRORJ\
                    /HFWXUHURQ/DZ




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      'DYLG$.HVVOHU                                                              3DJH
      
                   $/%(57(,167(,1&2//(*(2)0(',&,1(
                    'HSDUWPHQWRI3HGLDWULFV
                         $VVLVWDQW3URIHVVRU

  63(&,$/678'<

  -XQH             -2+16+23.,166&+22/2)+<*,(1($1'38%/,&+($/7+
               *UDGXDWH6XPPHU3URJUDPLQ(SLGHPLRORJ\3KDUPDFRHSLGHPLRORJ\

  -XQH             <$/(6&+22/2)25*$1,=$7,21$1'0$1$*(0(17
               $GYDQFHG0DQDJHPHQW6WXGLHVLQ+HDOWK&DUH0DQDJHPHQW

  +$59$5'/$:6&+22/6SHFLDO6WXGHQW
  
  5(6($5&+(;3(5,(1&(
  
  6XPPHUV      6/2$1.(77(5,1*,167,787()25&$1&(55(6($5&+
   'LYLVLRQRI'UXJ5HVLVWDQFH1HZ<RUN1HZ<RUN
                5HVHDUFK$VVW
                     
  6XPPHU            0$5,1(%,2/2*,&$//$%25$725<:RRGV+ROH0DVVDFKXVHWWV
               3K\VLRORJ\FRXUVH

           &+,/'5(1 6+263,7$/0(',&$/&(17(5
                     'HSDUWPHQWRI6XUJLFDO5HVHDUFK%RVWRQ0DVVDFKXVHWWV
                     5HVHDUFK$VVRFLDWH
                     
  6XPPHU           '(3$570(172)+($/7+('8&$7,21DQG:(/)$5(
               2IILFHRIWKH*HQHUDO&RXQVHO&KLFDJR,OOLQRLV
                    /DZ&OHUN


  9,6,7,1*&200,77((

           81,9(56,7<2)&+,&$*2/$:6&+22/
  

  81,9(56,7<$&&5(',7$7,21
  
   :(67(51$662&,$7,212)6&+22/6$1'&2//(*(6
              &KDLURI//8$FFUHGLWDWLRQ&RPPLWWHH
  
  3UHVHQW 1257+:(67&200,66,2121&2//(*(6$1'81,9(56,7,(6
                8QLYHUVLW\RI:DVKLQJWRQ




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  'DYLG$.HVVOHU                                                        3DJH
  
  


  63(&,$/352-(&76

       7+(52%(57:22'-2+1621)281'$7,21
                 3URJUDPIRU+RVSLWDO,QLWLDWLYHVLQ/RQJ7HUP&DUH

        7+(3(:&+$5,7$%/(758676
                  7+(52%(57:22'-2+1621)281'$7,21
                  3URJUDPWR6WUHQJWKHQ+RVSLWDO1XUVLQJ&R'LUHFWRU
                  

      &25325$7(%2$5'$1'$'9,625<326,7,216$1'&200,77((6
      
       $37$/,6+2/',1*6
                      0HPEHURI%RDUG&KDLUPDQRI&RPSOLDQFH&RPPLWWHH
      
      3UHVHQW ,0081&25
                      0HPEHURI%RDUG&KDLUPDQRI&RPSOLDQFH&RPPLWWHH
      
      3UHVHQW 72.$,
                      0HPEHURI%RDUG
      
      3UHVHQW 73*
                      6HQLRU$GYLVRU

                *22*/(+($/7+$'9,625<&281&,/

                5(92/87,21+($/7+*5283
                      0HGLFDO$GYLVRU\%RDUG

                3(56(86//&
                      $GYLVRU\%RDUG

      ±3UHVHQW)/(,6+0$1+,//$5',17(51$7,21$/&20081,&$7,216
                      ,QWHUQDWLRQDO$GYLVRU\%RDUG

      ±    3(56(8662526%,27(&+12/2*<)81'6FLHQWLILF$GYLVRU\%RDUG


      $'9,625<&200,77((6

                7+(5+2'(6758677+(5+2'(66&+2/$56+,36
                      &KDLU&DOLIRUQLD6HOHFWLRQ&RPPLWWHH




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    'DYLG$.HVVOHU                                                        3DJH
    
                  &(17(5)257+($'9$1&('678',(621$*,1*81,9(56,7<2)
                        0,$0,([WHUQDO$GYLVRU\
                        *URXS

    ±3UHVHQW%52$'0(',&$/5(6($5&+352*5$0
                   $GYLVRU\%RDUG

                   &/,17216&+22/2)38%/,&+($/7+81,9(56,7<2)$5.$16$6
                        )250(',&$/6&,(1&(6
                        1DWLRQDO$GYLVRU\%RDUG

            +(,1=$:$5'6 +(,1=)$0,/<)281'$7,21 
                        $ZDUGV-XURU

                  0$5&+2)',0(6
                        &KDLU3UHPDWXULW\&DPSDLJQLQ1RUWKHUQ&DOLIRUQLD

    ± &(17(521$/&2+2/0$5.(7,1*$1'<287+$7*(25*(72:1
                 81,9(56,7<$GYLVRU\%RDUG

                 81,9(56,7<2)&+,&$*2/$:5(9,(:
                        (GLWRULDO$GYLVRU\%RDUG

    ± -2851$/2)7+($0(5,&$10(',&$/$662&,$7,21
                 2YHUVLJKW&RPPLWWHH

                   *29(5125 6%/8(5,%%21&200,66,21210(17$/+($/7+
                        67$7(2)&211(&7,&87
                        +RQRUDU\&KDLU

                   ),/0$,',17(51$7,21$/,17(51$7,21$/5(6&8(&200,77((
                        $GYLVRU\%RDUG

                   :25/'+($/7+25*$1,=$7,21
                        ([SHUW3DQHORQ7REDFFR

                   $'9,625<&200,77((2172%$&&2$1'38%/,&+($/7+
                        &R&KDLUPDQZLWK&(YHUHWW.RRS 

                   *29(510(1781,9(56,7<,1'8675<5281'7$%/(
                        1DWLRQDO$FDGHP\RI6FLHQFHV

                   $'9,625<&200,77((217+()22'$1''58*$'0,1,675$7,21
                        &KDLUPDQ'UXJVDQG%LRORJLFV6XEFRPPLWWHH

    ± 1$7,21$/$'9,625<&281&,/21+($/7+&$5(7(&+12/2*<
                 $66(660(17'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHV:DVKLQJWRQ'&
                 &KDLUPDQ3DWLHQW2XWFRPHV6XEFRPPLWWHH




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    'DYLG$.HVVOHU                                                              3DJH
    
    35,25)('(5$/&200,77((0(0%(56+,36

                    :+,7(+286(&200,66,212135(6,'(17,$/6&+2/$56

                    1$7,21$/&281&,/216&,(1&($1'7(&+12/2*<
                    &RPPLWWHHRQ+HDOWK6DIHW\DQG)RRG5 '9LFH&KDLU

                    ,167,787(2)0(',&,1(
                    )RUXP2Q'UXJ'HYHORSPHQWDQG5HJXODWLRQ

                    ,167,787(2)0(',&,1(
                    $,'65RXQGWDEOH

                    1$7,21$/7$6.)25&(21$,'6'58*'(9(/230(17

                    2)),&(2)6&,(1&($1'7(&+12/2*<32/,&<)HGHUDO&RRUGLQDWLQJ
                    &RXQFLOIRU6FLHQFH(QJLQHHULQJDQG7HFKQRORJ\&RPPLWWHHRQ/LIH6FLHQFH
                    DQG+HDOWK%LRWHFKQRORJ\5HVHDUFK6XEFRPPLWWHH0HPEHUH[RIILFLR


    %2$5'62)',5(&7256

    &XUUHQW

                    &(17(5)256&,(1&(,17+(38%/,&,17(5(67

                    '58*675$7(*,(6

    3DVW

                    $0+(567&2//(*(%2$5'2)75867((6

                    (/,=$%(7+*/$6(53(',$75,&$,'6)281'$7,21
                    &KDLUPDQ%RDUGRI'LUHFWRUV

                    1$7,21$/&(17(5)25$'',&7,21$1'68%67$1&($%86(
                    &2/80%,$81,9(56,7<

                    ,17(51$7,21$/3$571(56+,3)250,&52%,&,'(6,1'(3(1'(17
                    &,7,=(1629(56,*+7&200,77((2)7+(&$/,)251,$,167,787(
                    )255(*(1(5$7,9(0(',&,1(

                    +(15<-.$,6(5)$0,/<)281'$7,21

                    '2&72562)7+(:25/'




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    'DYLG$.HVVOHU                                                              3DJH
    

                    <$/(1(:+$9(1+263,7$/

                    &21680(5681,21

                    1$7,21$/&200,77(()2548$/,7<$6685$1&(

                    1(:<25.&2817<+($/7+6(59,&(5(9,(:25*$1,=$7,21

                    &2035(+(16,9(0(',&$/5(9,(:25*$1,=$7,21


    )(//2:6+,3

                    <$/(&2//(*()HOORZ
                    &DOKRXQ&ROOHJH
    
    
    /(&785(6+,36

                    7+(5(*,6-)$//21/(&785(6(5,(621+($/7+$1'/$:
                    8QLYHUVLW\RI&KLFDJR

                    *5$<621',67,1*8,6+('/(&785(
                    6RXWKHUQ,OOLQRLV8QLYHUVLW\6FKRRORI/DZ

                    :(,1%(5*6<0326,80/(&785(
                    +DUYDUG0HGLFDO6FKRRO

                    7+(7+20$6%)(5*8621/(&785(
                    6RFLHW\RI7KRUDFLF6XUJHRQV

                    *(25*(($/70$10'/(&785(
                    %HWK,VUDHO+RVSLWDO

                    %(7+$1'5,&+$5'6$&./(5/(&785(
                    8QLYHUVLW\RI3HQQV\OYDQLD

                    0$57,1::,77(/(&785(
                    1HZSRUW%HDFK3XEOLF/LEUDU\DQG1HZSRUW%HDFK3XEOLF/LEUDU\)RXQGDWLRQ

                    +(5%(57/$%5$06/(&785(
                    +DUYDUG0HGLFDO6FKRRO

                    *(25*(*22'0$1/(&785(
                    6WDWH8QLYHUVLW\RI1HZ<RUNDW6WRQ\%URRN

                    (91,1/(&785(
                    3ULQFHWRQ8QLYHUVLW\:RRGURZ:LOVRQ6FKRRO



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     Case 2:14-md-02592-EEF-MBN
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    'DYLG$.HVVOHU                                                                  3DJH
    
                    %2<$56.</(&785(
                    /DZ0HGLFLQHDQG(WKLFV.HQDQ(WKLFV3URJUDP'XNH8QLYHUVLW\

                    &+$57(5/(&785(
                    7KH8QLYHUVLW\RI*HRUJLD

                    *$5'(5( :<11(/(&785(
                    +HDOWK/DZDQG3ROLF\,QVWLWXWH8QLYHUVLW\RI+RXVWRQ

                    ',67,1*8,6+('/(&785(,11$7,21$/6(59,&(
                    8QLYHUVLW\RI0LDPL

                    7(17+$118$/-2+129,(7$0'/(&785(
                    /HQR[+LOO+RVSLWDO

                    +$53(5)(//2:6+,3/(&785(
                    <DOH/DZ6FKRRO

                    '5-$0(667(:$57.$8)0$10(025,$//(&785(
                    7KH0W6LQDL+HDOWK&DUH)RXQGDWLRQ

                    '8/&<%0,//(50(025,$//(&785(
                    6PLWK&ROOHJH

                    -($10$<(5/(&785(,11875,7,21$1')22'32/,&<
                    7XIWV8QLYHUVLW\

                    +(15<%$51(77',67,1*8,6+('/(&785(6+,3
                    $OEHUW(LQVWHLQ&ROOHJHRI0HGLFLQH

                    0$57,1$&+(5.$6.<',67,1*8,6+('/(&785(6+,3
                    5REHUW:DJQHU*UDGXDWH6FKRRORI3XEOLF6HUYLFH1HZ<RUN
                    8QLYHUVLW\

                    $/3+$20(*$$/3+$',67,1*8,6+('/(&785(6+,3
                    &RUQHOO0HGLFDO6FKRRO1HZ<RUN+RVSLWDO

                    67*(25*(62&,(7</(&785(6+,3
                    -RKQV+RSNLQV0HGLFDO6FKRRO

                    *29(5125:,17+52352&.()(//(5',67,1*8,6+('
                    /(&785(6+,38QLYHUVLW\RI$UNDQVDV0HGLFDO6FKRRO

                    02//<$1'6,'1(<1=8%52:/(&785(
                    3HQQV\OYDQLD+RVSLWDO

                    /(52<+2(&.0'',67,1*8,6+('/(&785(6+,3
                    &KLOGUHQ V+RVSLWDO1DWLRQDO0HGLFDO&HQWHU




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    'DYLG$.HVVOHU                                                            3DJH
    
                    -8/(6$1'-$1(+,56++($/7+32/,&<$''5(66
                    *HRUJH:DVKLQJWRQ8QLYHUVLW\

                    -2+16/$77$/(&785(6+,3
                    8QLYHUVLW\RI1HEUDVND0HGLFDO
                    6FKRRO

                    3$8/.60,7+0(025,$//(&785(
                    *HRUJH:DVKLQJWRQ8QLYHUVLW\

                    :2/.+($57)281'$7,21/(&785(
                    &ROJDWH8QLYHUVLW\

                    +$67,1*6/(&785(
                    $VVRFLDWLRQIRUWKH$GYDQFHPHQWRI0HGLFDO,QVWUXPHQWDWLRQ
                    1DWLRQDO+HDUW/XQJDQG%ORRG,QVWLWXWH

                    ,167,787(2)0(',&,1(7+',67,1*8,6+('/(&785(6+,38QLYHUVLW\
                    RI:DVKLQJWRQ

                    5$/3+&$=257/(&785(6+,3
                    0HKDUU\0HGLFDO6FKRRO

                    '$9,'0,)6+,10(025,$//(&785(
                    3RWRPDF0DU\ODQG

                    &+$5/(6&/(,*+7210(025,$//(&785(
                    /HRQDUG'DYLG,QVWLWXWHRI+HDOWK(FRQRPLFV
                    8QLYHUVLW\RI3HQQV\OYDQLD

                    ':+$55,1*721/(&785(6WDWH
                    8QLYHUVLW\RI1HZ<RUN$W%XIIDOR6FKRRORI
                    0HGLFLQHDQG%LRPHGLFDO6FLHQFHV

                    6$08(/58%,1/(&785()257+($'9$1&(0(172)/,%(57<
                    &ROXPELD8QLYHUVLW\

                    /(26:(,/0(025,$//(&785(
                    7XODQH0HGLFDO&HQWHU7RXUR,QILUPDU\
                    DQG/RXLVLDQD6WDWH8QLYHUVLW\6FKRRORI0HGLFLQH

                    7+20$63$55,1/(&785(
                    8QLYHUVLW\RI3LWWVEXUJK6FKRRORI3XEOLF+HDOWK

                    '$9,'3$&.$5'/(&785(
                    8QLIRUPHG6HUYLFHV8QLYHUVLW\RIWKH+HDOWK6FLHQFHV

                    1250$1(=,1%(5*/(&785(
                    +DUYDUG0HGLFDO6FKRRO




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    'DYLG$.HVVOHU                                                             3DJH
    
                    -2+1+(56.,1(/(&785(
                    6W-XGH V&KLOGUHQ V5HVHDUFK+RVSLWDO

                    0$57,19%219(175(0(025,$//(&785(
                    7KH%URRNO\Q+RVSLWDO&HQWHU

                    3859(6/(&785(
                    :RRGEULGJH/LEUDU\:RRGEULGJH&RQQHFWLFXW

                    9,6,7,1*6&+2/$5/(&785(8QLYHUVLW\RI
                    2NODKRPD%RDUGRI5HJHQWV2NODKRPD6FKRODU
                    /HDGHUVKLS([WHQVLRQ3URJUDP

                    -526:(//*$//$*+(5/(&785(5
                    6RFLHW\RI$GROHVFHQW0HGLFLQH

                    .$7+(5,1(%28&276785*,6/(&785(6+,3
                    $PHULFDQ&ROOHJHRI3UHYHQWLYH0HGLFLQH

                    +(/0876&+80$11/(&785(
                    'DUWPRXWK+LWFKFRFN0HGLFDO&HQWHU

                    7+$11,9(56$5<&20081,&$7,21/(&785(
                    &HQWHUVIRU'LVHDVH&RQWURODQG3UHYHQWLRQ

                    7+-$0(6%25'/(<,,,0(025,$//(&785(
                    0DU\,PRJHQH%DVVHWW+RVSLWDO

                    7851(5/(&785(
                    8QLYHUVLW\RI&DOLIRUQLD

                    0$5,(6+8/6.<0(025,$//(&785(21+($/7+$1'
                    62&,$/5(63216,%,/,7<
                    )LIWK$YHQXH6\QDJRJXH1HZ<RUN1HZ<RUN

                    *(5758'($1'*'&5$,1-5/(&785(6(5,(6
                    0HGLOO6FKRRORI-RXUQDOLVP1RUWKZHVWHUQ8QLYHUVLW\

                    *(25*($5067521*/(&785(
                    $PEXODWRU\3HGLDWULF6RFLHW\

                    $5&2)25802)38%/,&$))$,56
                    ,QVWLWXWHRI3ROLWLFV-RKQ).HQQHG\6FKRRORI*RYHUQPHQW
                    +DUYDUG8QLYHUVLW\

                    3$8//(9,1*(5/(&785($1'352)(66256+,33527(0,17+(
                    (&2120,&62)+($/7+&$5(%URZQ8QLYHUVLW\

                    




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    'DYLG$.HVVOHU                                                                     3DJH
    
                    $512/'-6&+:$57=0(025,$/+($/7+/(&785(
                    5REHUW):DJQHU*UDGXDWH6FKRRORI3XEOLF6HUYLFH1HZ<RUN
                    8QLYHUVLW\

                    521$/'$/70$10(025,$//(&785(
                    )HVWLYDORI$UWV%RRNVDQG&XOWXUH&KHUU\+LOOV1HZ-HUVH\

                    6$08(/0$57,10',,,0(025,$//(&785('LYLVLRQRI
                    *HQHUDO,QWHUQDO0HGLFLQHDQG/HRQDUG'DYLV,QVWLWXWH8QLYHUVLW\RI
                    3HQQV\OYDQLD

                    &$5/-0$57,16210'0(025,$//(&785(6+,321+($/7+
                    352027,21$1'',6($6(35(9(17,218QLYHUVLW\RI0LQQHVRWD

                    /(21$5'6,/.0(025,$//(&785(0W
                    'HVHUW,VODQG%LRORJLFDO/DERUDWRULHV

                    &$/':(///(&785(
                    $PHULFDQ5RHQWJHQ5D\6RFLHW\

                    5,&+$5'+'(17/(&785(6W
                    *HRUJH¶V6FKRRO

                    52%(577:21*',67,1*8,6+('352)(66256+,3
                    8QLYHUVLW\RI+DZDLL0DQRD

                    1,'$$PHULFDQ3V\FKLDWULF$VVRFLDWLRQ2EHVLW\6\PSRVLXP

                    +$59$5'2%(6,7<&2856(

                    67$1)25'%$5,$75,&&2856(

                    $0(5,&$1%$5,$75,&62&,(7<

                    5+2'(6(1'2:('/(&785(

                    67$))25'/,77/(/(&785(38%/,&/(&785(6$7
                    35,1&(721

                    *(5$/'$1'6$//<'(1$5'2/(&785(6+,36$17$
                    &/$5$81,9(56,7<

                    $/(;$1'/(1$&$63(50(025,$//(&785(0,$0,
                    81,9(56,7<

                    81,9(56,7<2)9(50217)22'6<67(06
                    /($'(56+,3

                    *22*/(/(&785(




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    'DYLG$.HVVOHU                                                 3DJH
    
                    
                    */2%$/678',(66<0326,80:+,70$1&2//(*(
                    ([FHOOHQFHLQ3XEOLF6HUYLFH

                    '21$/''813+</(&785(0&&21(+263,7$/
                    81,9(56,7<2)1257+&$52/,1$

                    &(17(5)25*/2%$/+($/7+67$1)25'0(',&$/
                    6&+22/

                    67$1)25'81,9(56,7<7+((7+,&62))22' 7+(
                    (19,5210(17

                    67$1)25'0(',&$/6&+22/'(3$570(172)
                    0(',&,1(*5$1'5281'6

                    /(*$&<:$51(56(5,(6/(&785(21,03$&72)
                    )$0,/<$1'602.,1*35(9(17,21$1'&21752/
                    $&7

                    /($',1*92,&(6,138%/,&+($/7+($67
                    7(11(66((67$7(81,9(56,7<

                    1'675((7<0&$38%/,&/(&785(1(:<25.

                    &20021:($/7+&/8%2)&$/,)251,$

                    6$1)5$1&,6&238%/,&/,%5$5</(&785(

                    .$16$6&,7<38%/,&/,%5$5<

                    <$/(52%(57:22'-2+1621&/,1,&$/6&+2/$56
                    352*5$0


    &20081,7<38%/,&6(59,&($:$5'6

                    1$7,21$/$662&,$7,21)257+($'9$1&(0(172)&2/25('
                    3(23/(
                    0RQWJRPHU\&RXQW\&KDSWHU
                    3HUVRQRIWKH<HDU

                    /($*8(2):20(1927(561(:<25.
                    &DUULH&KDSPDQ&DWW$ZDUG

                    &20021&$86(
                    3XEOLF6HUYLFH$FKLHYHPHQW$ZDUG
                    




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    'DYLG$.HVVOHU                                                               3DJH
    
                    $0(5,&$1$&$'(0<2)3(',$75,&6
                    ([FHOOHQFHLQ3XEOLF6HUYLFH

                    %86,1(66:((.
                    %HVWLQ3XEOLF6HUYLFH

                    *(25*(25:(//$:$5')25+21(67<$1'&/$5,7<
                    ,138%/,&/$1*8$*(
                    1DWLRQDO&RQIHUHQFHRI7HDFKHUVRI(QJOLVK

                    $17,'()$0$7,21/($*8(2)% 1$,%5,7+
                    0DQRI$FKLHYHPHQW)LYH7RZQV1HZ<RUN

                    *2/'(16/,33(5&/8%2)3+,/$'(/3+,$
                    *ROGHQ6OLSSHU$ZDUG

                    1$7,21$/)$7+(5 6'$<&200,77((
                    )DWKHURIWKH<HDU$ZDUG

                    81,7('6(1,256+($/7+&223(5$7,9(
                    6HQLRUV$GYRFDWH$ZDUG

                    1$7,21$/$662&,$7,212)*29(510(17&20081,&$7256
                    &RPPXQLFDWRURIWKH<HDU$ZDUG

                    1$7,21$/&21680(56/($*8(
                    7UXPSHWHU$ZDUG

                    7+(,17(51$7,21$/3/$7)250$662&,$7,21
                    *HRUJH&ULOH$ZDUG

                    $0(5,&$1/81*$662&,$7,21RI1HZ<RUN
                    /LIHDQG%UHDWK$ZDUGLQ3XEOLF+HDOWK

                    &21680(5)('(5$7,212)$0(5,&$
                    3KLOLS+DUW3XEOLF6HUYLFH$ZDUG

                    &$03$,*1)2572%$&&2)5((.,'6
                    'LVWLQJXLVKHG6HUYLFH$ZDUG

                    0(',&$/62&,(7<2)1(:<25.VW'LVWULFW%UDQFK
                    3XEOLF6HUYLFH$ZDUG

                    21&2/2*<1856,1*62&,(7<
                    3XEOLF6HUYLFH$ZDUG

                    38%/,&92,&()25)22' +($/7+32/,&<
                    6SHFLDO5HFRJQLWLRQ$ZDUGIRU$GYDQFLQJWKH&RQVXPHU,QWHUHVWLQ)RRGDQG
                    $JULFXOWXUH3ROLF\




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    'DYLG$.HVVOHU                                                                3DJH
    

    $77(1',1*3(',$75,&,$1
    
     81,9(56,7<2)&$/,)251,$6$1)5$1&,6&20(',&$/
                  &(17(5

               <$/(1(:+$9(1+263,7$/

               %521;081,&,3$/+263,7$/&(17(5

               1257+&(175$/%521;+263,7$/

               0217(),25(0(',&$/&(17(5       

               +263,7$/2)7+($/%(57(,167(,1&2//(*(2)0(',&,1(


    &20081,7<$&7,9,7,(6

                    6&$56'$/(6&+22/',675,&76FDUVGDOH1HZ<RUN

     /HJLVODWLYH$IIDLUV$GYLVRU\&RPPLWWHH
                 %XLOGLQJVDQG)DFLOLWLHV$GYLVRU\
                 &RPPLWWHH

               6&$56'$/(678'(1775$16)(5('8&$7,213/$1%RDUGRI7UXVWHHV

    

    *(1(5$/,1)250$7,21

    $GGUHVV                                                        2IILFH3KRQH



    0DUULHG                                                   %RUQ



    
    0(',&$//,&(1685(
             &DOLIRUQLD
             &RQQHFWLFXW QRQDFWLYH 
             0DU\ODQG QRQDFWLYH 
             1HZ<RUN QRQDFWLYH 
    




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                   (Publication date: March 15, 2016)

                   Kessler, David A. THE END OF OVEREATING: TAKING CONTROL OF
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                           Translated and Adapted:
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                           Laat je niet volvreten: Hoe de voedselindustgrie schade toebrengt ann
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                           Das Ende des groben Fressens Wie die Nahrungsmittelindustrie Sie zu
                               ubermaBigem Essen berleitet und was Sie dagegen tun konnen
                           Muszáj annyit enni? Hadüzenet a só, a zsír és a cukor ellen
                           Also: Romania, Canada, UK, Australia, India
                           Your Food is Fooling You: How Your Brain is Hijacked by Sugar Fat
                               and Salt (US Young Adult Version)
                           Hijacked: How Your Brain is Fooled by Food (Canadian Young Adult
                               Version)

                   Kessler, David A., A QUESTION OF INTENT: A GREAT AMERICAN
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                   (Paperback 2002)


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                   30, 2013)




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                    .HVVOHU'DYLG$&RQWUROOHG5HOHDVHDQG5DWLRQDO'UXJ'HYHORSPHQW
                    SUHVHQWHGDWWKH&RQWUROOHG5HOHDVH6RFLHW\0HHWLQJ-XO\)22'$1'
                    '58*5(32576  

                    .HVVOHU'DYLG$5HPDUNVE\WKH&RPPLVVLRQHURI)RRGDQG'UXJV)22'
                    '58*&260(7,&/$:-2851$/  SUHVHQWHGDW7KH)RRG
                    DQG'UXJ/DZ,QVWLWXWH VWK$QQXDO(GXFDWLRQDO&RQIHUHQFH:DVKLQJWRQ'&
                     'HFHPEHU 

                    .HVVOHU'DYLG$5HLQYLJRUDWLQJWKH)RRGDQG'UXJ$GPLQLVWUDWLRQ)22'
                    7(&+12/2*< $XJXVW SUHVHQWHGDWWKH$QQXDO0HHWLQJRI
                    ,QVWLWXWHRI)RRG7HFKQRORJLVWV1HZ2UOHDQV/$ -XQH 

                    .HVVOHU'DYLG$$&KDOOHQJHIRU$PHULFDQ3KDUPDFLVWV$0(5,&$1
                    3+$50$&< -DQXDU\ 

                    .HVVOHU'DYLG$5HPDUNV$QQXDO',$0HHWLQJ
                    '58*,1)250$7,21-2851$/ 2FWREHU 

                    .HVVOHU'DYLG$5HPDUNVE\WKH&RPPLVVLRQHURI)RRGDQG'UXJV)22'
                    '58*&260(7,&/$:-2851$/ 1RYHPEHU SUHVHQWHG
                    DWWKH$VVRFLDWLRQRI)RRGDQG'UXJ2IILFLDOV $QQXDO&RQIHUHQFH*UDQG5DSLGV
                    0, -XQH 

                    .HVVOHU'DYLG$5HVWRULQJWKH)'$ V3UHHPLQHQFHLQ5HJXODWLRQRI)RRG
                    )22''58*&260(7,&/$:-2851$/ 0D\ 

                    .HVVOHU'DYLG$5HPDUNV8SRQ7DNLQJWKH2DWKRI2IILFH-2851$/2)
                    7+($662&,$7,212))22'$1''58*2)),&,$/6 $SULO 

                    .HVVOHU'DYLG$5HPDUNVE\WKH&RPPLVVLRQHURI)RRGDQG'UXJV)22'
                    '58*&260(7,&/$:-2851$/ -DQXDU\ SUHVHQWHGDWWKH
                    )RRGDQG'UXJ/DZ,QVWLWXWH VUG$QQXDO(GXFDWLRQDO&RQIHUHQFH:DVKLQJWRQ
                    '& 'HFHPEHU 

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                                 APPENDIX B




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                                                    PRIOR TESTIMONY

  Dr. David Kessler testified at trial or deposition in the following cases over the last seven years:

      x   In re Risperdal, Philadelphia, PA and Texas cases, including No. 2012CCV-61916-1 (Tex. Dist. Ct. filed Oct.
          2, 2012 and Pledger and Walker)
      x   Wells v. Allergan, Inc. No. 12-973 (W.D. Okla. filed Sept. 4, 2012); Drake v. Allergan, Case No. 2013 vv00234
          (U.S. Dist. Ct. Burlington, Vermont)
      x   In re C.R. Bard, Inc., Pelvic Repair Sys. Prods. Liab. Litig., MDL No. 2187 (S.D.W.V. filed July 15, 2010)
      x   SB v. Ortho-McNeil-Janssen Pharm., Inc. (In re Risperdal Litig.), No. 100503629 (Pa. Ct. Com. Pl. filed May
          27, 2010)
      x   In re Yaz & Yasmin (Drospirenone) Marketing, Sales Practices & Prods. Lib. Litig., MDL No. 2100 (J.P.M.L.
          filed July 30, 2009)
      x   In re Flonase Antitrust Litigation (American Sales Company, Inc. v. Smithkline Beecham Corp.), 08-cv-3149,
          United States District Court, Eastern District of Pennsylvania
      x   Pharmathene, Inc. v. Siga Techs., Inc., No. 2627 (Del. Ch. filed Dec. 20, 2006)
      x   Commonwealth v. Merck & Co., No. 09-1671 (Ky. Cir. Ct. filed Sept. 28, 2009) (and Utah)
      x   State v. Merck & Co., No. 05-3700 (E.D. La. filed Aug. 5, 2005)
      x   Commonwealth Care Alliance v. AstraZeneca Pharm. L.P., No. SUCV2005-269 (Mass. Super. Ct. filed Jan.
          25, 2005)
      x   Smith & Nephew, Inc. v. N.H. Ins. Co., No. 04-3027 (W.D. Tenn. filed Dec. 17, 2004)
      x   In re Neurontin Marketing, Sales Practices & Prods. Liab. Litig., MDL No. 1629 (D. Mass. filed June 9, 2004)
      x   Brown v. Am. Brands, Inc., No. 711400 (Cal Super. Ct. filed June 10, 1997)
      x   In re: Actos (Pioglitazone) Prods. Lib. Litig., No. 11-md-2299 (W. D. La. filed Dec. 29, 2011)
      x   Brown v RJ Reynolds Tobacco Company et al., No. 2007 CA 002855 (Fla. Cir. Ct. filed Nov. 28, 2007)
      x   In re Merck & Co., Inc. Sec., Deriv. & “ERISA” Litig., MDL No. 1658, No. 05-2367 (D.N.J. filed May 5,
          2005)
      x   In re Prograf Antitrust Ligation MDL2242, United States District Court of Massachusetts
      x   In re Nexium Antitrust Litigation MDL 2419 United States District Court, District of Massachusetts
      x   Cabana v. Stryker. Superior Court of State of California, Los Angeles
      x   In Re: Fosamax Litigation, Civil Action No. 282, (Superior Court of New Jersey, Atlantic County) and Case
          No. 30-2012-00547764 (Superior Court of California, Orange County)
      x   Western Sugar Coop et al v. Archer-Daniels-Midland Co, et al, U.S. District Court, Central District of
          California, No. 11-03473
      x   H.B., et al. v. Abbott Laboratories, No. #15-cv-702-NJR-SCW (U.S District Court, Southern District of Illinois
          filed June 26, 2015)
      x   In re New England Compounding Pharmacy, Inc. Products Liability Litigation, MDL No. 2419 (United
          States District Court of Massachusetts filed 2/14/13)
      x   In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prods. Liab. Litig., MDL No. 3:11-md-02244 (N.D.
          Tex. filed May 24, 2011)
      x   In re: Tropicana Orange Juice Mktg. & Sales Practices Litig., MDL No. 2353, No. 2:11-cv-07382 (D.N.J.
          filed Aug. 10, 2012)
      x   In re Cipro Cases I and II, Nos. 4154 & 4220 (Cal. Super. Ct., filed Feb. 25, 2002)
      x   Anders v. Medtronic, Inc., et al., No. 1322-CC10219-02 (Mo Cir. Ct.)
      x   Austin v. C.R. Bard, Inc., No. CACE-15-008373 (Florida)

  Dr. David Kessler provided sworn expert statements in the following cases over the last five years:
      x DePuy ASR Hip System Cases, No. CJC-10-4649 (Cal. Super. Ct. filed Dec. 22, 2010)
      x Cordero v. Endoscopy Ctr. of S. Nev. LLC (In the Matter of Endoscopy Ctr. & Associated Businesses), No.
          08-A-558091-C (Nev. Dist. Ct. filed Feb. 28, 2008)
      x Jenkins et. al. v. Medtronic, Inc. et al., Case No. 2:13cv02985 (W.D. Tenn.)

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                                             Appendix C

                Publications of David A. Kessler MD on FDA related issues

        1. Kessler, David A., Pape, Stuart, and Sundwall, David, "The Federal Regulation of
           Medical Devices," NEW ENGLAND JOURNAL OF MEDICINE, 317:357-366
           (August 6, 1987)

        2. Silverman, Barbara G., Brown, S. Lorie, Bright, Roslie A., Kaczmarek, Ronald G.,
           Arrowsmith-Lowe, Janet B., Kessler, David A., "Reported Complications of
           Silicone Gel Breast Implants: An Epidemiologic Review," ANNALS OF
           INTERNAL MEDICINE, 124:744-756 (April 15, 1996)

        3. Kessler, David A., Merkatz, Ruth B., Schapiro, Renie, "A Call for Higher
           Standards for Breast Implants," JOURNAL OF THE AMERICAN MEDICAL
           ASSOCIATION, 270:2607-2608 (December 1, 1993)

        4. Kessler, David A., "The Basis for the FDA's Decision on Breast Implants," NEW
           ENGLAND JOURNAL OF MEDICINE, 326:1713-1715 (June 18, 1992)

        5. Kessler, David A., "Remarks—FDA General and Plastic Surgery Devices” SPEECHES
           BY FDA OFFICAILS: SPEECH ARCHIVE 1988-2010 (July 31, 1991)

        6. Kessler, David A., Myers, Matthew, "Beyond the Tobacco Settlement," NEW
           ENGLAND JOURNAL OF MEDICINE, 345:535-537 (August 16, 2001)
           (editorial)

        7. Kessler, David A., Barnett, Philip S., Witt, Ann, Zeller, Mitchell R., Mande, Jerold
           R. and Schultz, William B., "The Legal and Scientific Basis for FDA's Assertion
           of Jurisdiction Over Cigarettes and Smokeless Tobacco," JOURNAL OF THE
           AMERICAN MEDICAL ASSOCIATION, 277:405-409 (February 5, 1997)

        8. Kessler, David A., Wilkenfeld, J.P., Thompson. L.J. "The Food and Drug
           Adminstration's Rule on Tobacco: Blending Science and Law," PEDIATRICS,
           99(6):884-887 (June 1997)

        9. Kessler, David A., "The Tobacco Settlement," NEW ENGLAND JOURNAL OF
           MEDICINE, 337:1082-1083 (October 9, 1997)

        10. Kessler, David A., Witt, Ann, Barnett, Philip S., Zeller, Mitchell R., Natanblut,
            Sharon, Wilkenfeld, Judith, Lorraine, Catherine C., Thompson, Larry J. and
            Schultz, William B., "The Food and Drug Administration's Regulation of Tobacco
            Products," NEW ENGLAND JOURNAL OF MEDICINE, 335:988-994
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        11. Kessler, David A., "Remarks—Utah International Medical Devices Congress and
            National Policy Summits” SPEECHES BY FDA OFFICALS (August 20, 1994)

        12. Kessler, David A. for the Working Group, "A New Approach to Reporting
            Medication and Device Adverse Effects and Product Problems," JOURNAL OF
            THE AMERICAN MEDICAL ASSOCIATION, 269:2765-2768 (June 2, 1993)

        13. Kessler, David A., "FDA's Revitalization of Medical Device Review and
            Regulation," BIOMEDICAL INSTRUMENTATION AND TECHNOLOGY,
            May/June 1994:220-226, presented at the AAMI/NIH Cardiovascular Science and
            Technology Conference, Rockville, Maryland (December 10, 1993)

        14. Halme, Dina J. and Kessler, David A., “FDA Regulation of Stem Cell-Based
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        15. Kessler, David A., Hass, Arthur E., Feiden, Karyn L. , Lumpkin, Murray and
            Temple, Robert, "Approval of New Drugs in the United States: Comparison with
            the United Kingdom, Germany and Japan," JOURNAL OF THE AMERICAN
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        16. Kessler, David A., Rose, Janet L., Temple, Robert J., Schapiro, Renie and Griffin,
            Joseph, "Therapeutic Class Wars: Drug Promotion in a Competitive Marketplace,"
            NEW ENGLAND JOURNAL OF MEDICINE, 331:1350 (November 17, 1994)

        17. Merkatz, Ruth B., Temple, Robert, Sobel, Solomon, Feiden, Karyn, Kessler, David
            A., and members of the working group on Women in Clinical Trials, "Women in
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        18. Kessler, David A., Siegel, Jay P., Noguchi, Philip D., Zoon, Kathryn C., Feiden,
            Karyn L., and Woodcock, Janet, "Regulation of Somatic Cell Therapy and Gene
            Therapy by the Food and Drug Administration," NEW ENGLAND JOURNAL OF
            MEDICINE, 329:1169-1173 (October 14, 1993)

        19. Kessler, David A., "Addressing the Problem of Misleading Advertising,"
            ANNALS OF INTERNAL MEDICINE, 116:950-951 (June 1, 1992) (editorial)

        20. Kessler, David A. and Pines, Wayne L., "The Federal Regulation of Prescription
            Drug Advertising and Promotion," JOURNAL OF THE AMERICAN MEDICAL
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        21. Kessler, David A., "Drug Promotion and Scientific Exchange," NEW ENGLAND
            JOURNAL OF MEDICINE, 325:201-203 (July 18, 1991)




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 ,QDGGLWLRQWRWKHPDWHULDOVVSHFLILFDOO\UHIHUHQFHGDQGRUGLVFXVVHGZLWKLQWKHUHSRUWDQGDFFRPSDQ\LQJVFKHGXOHVWKHRWKHUPDWHULDOVFRQVLGHUHG
                                                                     DUHDVIROORZV

'HSRVLWLRQV
'HSRVLWLRQRI'U$QGUHD'HUL[  In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U&KULVWRSKHU&1HVVHO  In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U'DJPDU.XELW]D  In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U'DYLG%0F&DLQ Henry v. Janssen Research & Development, et al. DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U*DU\3HWHUV In Re: Xarelto (Rivaroxaban) Products Litigation) DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U.HQQHWK:RQJ Boudreaux v. Janssen Research & Development, et al. DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U0DXULFH6W0DUWLQ Orr v. Janssen Research & Development, et al. DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U3HWHU0'L%DWWLVWH  In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U5HQLH$UPVWURQJ-RUGDQ Mingo v. Janssen Research & Development, et al. DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U7UR\&6DULFK In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U:LOOLDP%\UD  In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV
'HSRVLWLRQRI'U:ROIJDQJ00XHFN In Re: Xarelto (Rivaroxaban) Products Litigation DQGDOODFFRPSDQ\LQJH[KLELWV

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;DUHOWR ULYDUR[DEDQ 863,/DEHOLQJ&RQWLQJHQF\'RFXPHQW±)URP/5&$SU

/LWHUDWXUH
&KLQ3./Which Patients May Benefit from Dose Adjustment of Non-Vitamin K Antagonist Oral Anticoagulants? 6HPLQDUVLQ7KURPERVLV +HPRVWDVLV
  
&RKHQ'Dabigatran: how the drug company withheld important analyses. %0-J
&RKHQ'Rivaroxaban: can we trust the evidence? %0-L
'RX[ILOV-HWDOAssessment of the impact of rivaroxaban on coagulation assays: Laboratory recommendations for the monitoring of rivaroxaban and
review of the literature. 7KURPERVLV5HVHDUFK  
0XHFN:HWDOClinical Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban. &OLQ3KDUPDFRNLQHW  




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1DNDQR<HWDOClinical usefulness of measuring prothrombin time and soluble fibrin levels Japanese patients with atrial fibrillation receiving rivaroxaban.
-&DUGLRO  
3DWHO-3HWDONew oral anticoagulants: dosing and monitoring. %0-K
3DWHO05HWDOPoint-of-Care Warfarin Monitoring in the ROCKET AF Trial. 1(QJO-0HG  
3DWHO05HWDORivaroxaban versus Warfarin in Nonvalvular Atrial Fibrillation. 1(QJO-0HG  
6DUUD]LQ069HWDOSafety of new oral anticoagulants: We need reliable tools to predict risk of gastrointestinal bleeding. %0-K
WHQ&DWH+New oral anticoagulants: discussion on monitoring and adherence should start now! 7KURPERVLV-RXUQDO  
7KRPDV.Accuracy Concerns on Testing Device for Blood-Thinning Drug. 1HZ<RUN7LPHV 
7KRPDV.F.D.A. Asks If Faulty Blood Monitor Tainted Xarelto Approval. 1HZ<RUN7LPHV 
7ULSRGL$Which test to use to measure the anticoagulant effect of rivaroxaban: the prothrombin time test. -RXUQDORI7KURPERVLVDQG+DHPRVWDVLV  

=DQWHN1'HWDOAn Assessment of the State of Current Practice in Coagulation Laboratories. $PHULFDQ-RXUQDORI&OLQLFDO3DWKRORJ\  

,QWHUQDO'RFXPHQWV
'&5,
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                                   Schedule 1
          Description of Approved Anticoagulant Drugs




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               DESCRIPTION OF APPROVED ANTICOAGULANT DRUGS1


    Medication Class          Active Ingredient                  Mechanism of Action
                              (Brand Name)
    Univalent Direct          Argatroban;                        Inhibits the action of thrombin by binding to
    Thrombin                  Dabigatran (Pradaxa)               the catalytic site.
    Inhibitors
    Bivalent Direct           Bivalirudin (Angiomax);            Inhibits the action of thrombin by binding to
    Thrombin                  Desidurin (Iprivask)               both the catalytic site and exosite.
    Inhibitors
    Indirect Thrombin         Heparin;                           Binds to antithrombin and thrombin to form a
    Inhibitors                Dalteparin (Fragmin);              ternary complex to ultimately accelerate the
    (UFH and LMWH)            Enoxaparin (Lovenox)               inhibition of thrombin.
    Direct Factor Xa          Rivaroxaban (Xarelto);             Prevents formation of thrombin by
    Inhibitors                Apixaban (Eliquis);                antagonizing the activate site of the free-form
                              Edoxaban (Savaysa)                 and prothrombinase-bound forms of factor Xa.
    Indirect Factor Xa        Fondaparinux (Arixtra)             Prevents formation of thrombin by binding to
    Inhibitors                                                   antithrombin.
    Vitamin K                 Warfarin                           Mimics the proton abstraction from the gamma
    Antagonists               (Coumadin, Jantoven)               position of protein-bound glutamate, which
                                                                 leads to carboxylation and activation of the
                                                                 blood-clotting proteins.
    Antiplatelet Drugs        Clopidogrel (Plavix);              Induces a permanent function defect in
                              Eptifibatide (Integrilin);         platelets.
                              Prasugrel (Effient);
                              Tirofiban (Aggrastat)


    Sources:

    http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?fuseaction=Search.Search_Drug_Name
    https://www.drugs.com/drug-class/anticoagulants.html
    http://www.livestrong.com/article/26853-list-anticoagulants/
    http://www.medscape.org/viewarticle/757521_2
    http://www.medscape.com/viewarticle/755091_3
    http://www.ncbi.nlm.nih.gov/pubmed/8527228
    http://www.medscape.com/viewarticle/715597_2
    http://atvb.ahajournals.org/content/21/7/1094.full



    1
      This is not intended to be an exhaustive list of all anticoagulant drugs, and the mechanism of action is not intended
    to be a full description in detail.



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                                   Schedule 2
                      List of Indications for Xarelto




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    1. Post Hip/Knee Replacement Surgery: Xarelto is a prescription medication approved on July
       1, 2011 for the prophylaxis of DVT, which may lead to PE in patients undergoing knee or hip
       replacement surgery.

    2. Stroke Prevention in Atrial Fibrillation (SPAF): Xarelto is a prescription medicine approved
       on November 4, 2011 to reduce the risk of stroke and blood clots in people with atrial
       fibrillation, not caused by a heart valve problem.

    3. Treat/Reduce Risk of Venous Thromboembolism (VTE): Xarelto is a prescription medication
       approved on November 2, 2012 to treat deep vein thrombosis (DVT) and pulmonary
       embolism (PE), and to help reduce the risk of recurrence of DVT and PE.




    Sources:

    -   https://www.xarelto-us.com
    -   Current Xarelto Label




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                                   Schedule 3
                      Xarelto (Rivaroxaban) –
               The Product and Its Regulatory History




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                 Xarelto (Rivaroxban) – The Product and Its Regulatory History1


    x      On July 28, 2008, New Drug Application 022406 (NDA 022406) for Xarelto (rivaroxaban)
           was submitted to the Food and Drug Administration (FDA) by Sponsor Johnson and Johnson
           Pharmaceutical Research and Development, LLC. Specifically, the New Drug Application
           was for Xarelto (rivaroxaban) oral tablets (10 mg) for the proposed indication for use in
           prophylaxis of deep vein thrombosis and pulmonary embolism in patients undergoing hip
           replacement or knee replacement surgery (NDA 022406).

    x      On March 19, 2009, the Cardiovascular and Renal Drugs Advisory Committee of the Food
           and Drug Administration met to discuss New Drug Application (NDA) 022406, Xarelto
           (rivaroxaban) oral tablets (10 mg) for the proposed indication for use in prophylaxis of deep
           vein thrombosis and pulmonary embolism in patients undergoing hip replacement surgery or
           knee replacement surgery. The Advisory Committee voted 15 to 2 that the available clinical
           data demonstrate a favorable risk-benefit profile for rivaroxaban in the prophylaxis of VTE
           in patients undergoing hip or knee replacement surgery (15 members of the committee voted
           yes, 2 members of the committee no, and no members of the committee abstained from
           voting).

    x      On January 4, 2011, New Drug Application 202439 (NDA 202439) for Xarelto (rivaroxaban)
           was submitted to the FDA by Sponsor Janssen Pharmaceuticals, Inc. Specifically, the New
           Drug Application was for Xarelto (rivaroxaban) tablets for the proposed indication for use in
           the prevention of stroke and systemic embolism in patients with non-valvular atrial
           fibrillation (NDA 202439).

    x      In 2011, the following Amendments to NDA 022406 (the application for Xarelto
           (rivaroxaban) oral tablets (10 mg) for the proposed indication for use in prophylaxis of deep
           vein thrombosis and pulmonary embolism in patients undergoing hip replacement surgery or
           knee replacement surgery) were received by the FDA: January 4; February 2, 18, 25; March
           25; April 18, 25, 26, 28; May 2, 4, 6, 10, 11, 25; and June 8, 20, 30.

    x      In 2011, the following Amendments to NDA 202439 (the application for Xarelto
           (rivaroxban) tablets for the proposed indication for use in the prevention of stroke and
           systemic embolism in patients with non-valvular atrial fibrillation) were received by the
           FDA: January 18 (two), 21, 28, 31; February 2, 4 (two), 8, 9, 11, 15 (two), 16, 18 (four), 25,
           28; March 1, 4, 8, 16, 18 (two), 28, 29, 30, 31; April 1, 6, 8, 15 (two), 18, 22, 25, 26, 28, 29
           (two); May 2, 4 (two), 5 (two), 6, 10, 13 (two), 16, 17 (two), 23 (three), 27 (two); June 3

    1
        This is not intended to be an exhaustive history, nor a full description in detail.



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        (three), 9, 10 (five), 13, 16, 20, 22, 27, 29 (two), 30 (two); July 5, 11 (two), 14, 15, 19 (two),
        20, 21 (two), 22, 26, 28, 29 (two); August 3, 4 (two), 9, 11 (two), 17, 19, 23; September 13,
        23, 29, 30 (two); October 7, 11, 20, 21, 28; November 2 (four), 3 (four), 4 (three).

    x   On July 1, 2011, NDA 022406 for Xarelto was approved by the FDA. In particular, Xarelto
        (rivaroxaban) 10 mg immediate release tablets were approved in the United States by the
        Food and Drug Administration (FDA) for the prophylaxis of deep vein thrombosis and
        pulmonary embolism in patients undergoing hip replacement surgery or knee replacement
        surgery (NDA 022406). The July 2011 label approved by the FDA provided that, “Xarelto is
        a factor Xa inhibitor indicated for the prophylaxis of deep vein thrombosis (DVT) which may
        lead to pulmonary embolism (PE) in patients undergoing knee or hip replacement surgery.”

    x   On September 8, 2011, the Cardiovascular and Renal Drugs Advisory Committee of the
        Food and Drug Administration met to discuss New Drug Application (NDA) 202439,
        Xarelto (rivaroxaban) tablets for the proposed indication for use in the prevention of stroke
        and systemic embolism (blood clots other than in the head) in patients with non-valvular
        atrial fibrillation (abnormally rapid contractions of the atria, the upper chambers of the heart).
        The Advisory Committee voted 9 to 2 in favor of approving Xarelto for the reduction of
        stroke and non-CNS systemic embolism in patients with non-valvular atrial fibrillation (9
        members of the committee voted for approval, 2 members of the committee voted against
        approval, and 1 member of the committee abstained from voting).

    x   On November 4, 2011, NDA 202439 for Xarelto was approved by the FDA. In particular, the
        FDA approved Xarelto (rivaroxaban) for the reduction of risk of stroke and systemic
        embolism in nonvalvular atrial fibrillation (NDA 202439). The November 2011 label
        approved by the FDA provided that, “Xarelto is a factor Xa inhibitor indicated to reduce the
        risk of stroke and systemic embolism in patients with nonvalvular atrial fibrillation; and for
        the prophylaxis of deep vein thrombosis (DVT), which may lead to pulmonary embolism
        (PE) in patients undergoing knee or hip replacement surgery.”

    x   On December 29, 2011, the Sponsor submitted a Supplemental New Drug Application to
        NDA 202439 (S-002) for Xarelto (rivaroxaban) 2.5 mg tablets to reduce the risk of
        thrombotic cardiovascular events in patients with acute coronary syndrome (ACS) [ST
        elevation myocardial infarction (STEMI), non-ST elevation myocardial infarction
        (NSTEMI), or unstable angina (UA)] in combination with aspirin alone or with aspirin plus
        clopidogrel or ticlopidine..

    x   On May 1 and 28, 2012, the Sponsor submitted Supplemental New Drug Applications
        (sNDAs) to NDA 022406. The “Prior Approval” Supplemental New Drug Applications was
        for Xarelto (rivaroxaban) oral tablets (15 mg and 20 mg) for the proposed indication for the




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        treatment of deep vein thrombosis, the treatment of pulmonary embolism, the reduction in
        risk for deep vein thrombosis, and the reduction in risk for pulmonary embolism.

    x   In 2012, the following Amendments to the sNDAs for NDA 022406 (for the application of
        Xarelto oral tablets (15 mg and 20 mg) for the proposed indication for the treatment of deep
        vein thrombosis, the treatment of pulmonary embolism, the reduction in risk for deep vein
        thrombosis, and the reduction in risk for pulmonary embolism) were received by the FDA:
        May 7, 28; July 26, 30, 31; August 2, 3, 6, 27, 29; September 4, 27; October 4, 19, 23; and
        November 2.

    x   On May 23, 2012, the Cardiovascular and Renal Drugs Advisory Committee of the Food and
        Drug Administration met to discuss Supplemental New Drug Application (sNDA) 202439/S-
        002, for Xarelto (rivaroxaban) 2.5 mg tablets to reduce the risk of thrombotic cardiovascular
        events in patients with acute coronary syndrome (ACS) [ST elevation myocardial infarction
        (STEMI), non-ST elevation myocardial infarction (NSTEMI), or unstable angina (UA)] in
        combination with aspirin alone or with aspirin plus clopidogrel or ticlopidine (also referred to
        as the “proposed indication for treatment of ACS”). The Advisory Committee voted 6 to 4
        against approval of Xarelto for use in the treatment of ACS (6 members of the committee
        voted against approval, 4 members of the committee voted for approval, and one member of
        the committee abstained from voting).

    x   On June 21, 2012, the FDA issued a Complete Response Letter to the Sponsor declining to
        approve the Supplemental New Drug Application (sNDA) 202439/S-002, for the proposed
        indication for treatment of ACS. The primary reasons for the refusal to approve the
        application were: (1) the p-value for the primary efficacy analysis of ATLAS was insufficient
        to support approval; and (2) the number of subjects in ATLAS for whom follow-up for the
        primary endpoint was incomplete was large enough that it impugned the utility of the data for
        interpreting the results of the trial.

    x   On August 29, 2012, the Sponsor submitted a Complete Response to the FDA for their
        efficacy supplement in regard to the proposed indication for treatment of ACS. The
        information submitted to the FDA was intended to address the issue of incomplete follow-up
        of some subjects in ATLAS.

    x   On November 2, 2012, the sNDAs for NDA 022406 were approved by the FDA. In
        particular, Xarelto (rivaroxaban) was approved by the FDA for the treatment of deep vein
        thrombosis and pulmonary embolism, and the reduction in risk for deep vein thrombosis and
        pulmonary embolism. The November 2012 label approved by the FDA provided that,
        “Xarelto is a factor Xa inhibitor indicated: to reduce the risk of stroke and systemic
        embolism in patients with nonvalvular atrial fibrillation; for the treatment of deep vein




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        thrombosis (DVT), pulmonary embolism (PE), and for the reduction in the risk of recurrence
        of DVT and of PE; and for the prophylaxis of DVT, which may lead to PE in patients
        undergoing knee or hip replacement surgery.”

    x   On March 4, 2013, the FDA issued a second Complete Response Letter to the Sponsor, again
        declining to approve the application regarding the proposed indication for treatment of ACS.
        The primary reasons for the refusal to approve the application were: (1) the strength of
        evidence for the primary endpoint was inadequate; and (2) follow-up for mortality decreased
        the concern that subjects for whom follow-up was incomplete would have had markedly
        different outcomes had they been followed until the end of the trial but that the new
        information contributed nothing directly to an understanding of the primary endpoint.

    x   On May 13, 2013, the Sponsor submitted a Formal Dispute Resolution Request to the FDA’s
        Office of Drug Evaluation 1 (ODE-1) seeking to have the efficacy supplement approved for
        the proposed indication for treatment of ACS. The ODE-1 denied the request, stating that the
        p-value for the analysis of the primary endpoint in the clinical trial ATLAS was not strong
        enough to support approval on the basis of a single trial.

    x   On August 12, 2013, the Sponsor submitted a Second Complete Response to the FDA for
        their efficacy supplement seeking approval to market Xarelto (rivaroxaban) for the proposed
        indication of the treatment of patients with recent ACS and limiting the suggested duration of
        treatment to 90 days.

    x   On January 16, 2014, the Cardiovascular and Renal Drugs Advisory Committee of the Food
        and Drug Administration met to discuss the Supplemental New Drug Application (NDA)
        202439/S-002, for Xarelto (rivaroxaban) 2.5 mg tablets for the proposed indication to reduce
        the risk of thrombotic cardiovascular events in patients for the first 90 days after suffering
        acute coronary syndrome (ACS) [ST elevation myocardial infarction (STEMI), non-ST
        elevation myocardial infarction (NSTEMI), or unstable angina (UA)]. The Advisory
        Committee voted 10 to 0 against approval of Xarelto for use in the treatment of ACS (10
        members of the committee voted against approval, 0 members of the committee voted for
        approval, and one member of the committee abstained from voting).

    x   On February 13, 2014, the FDA issued a third Complete Response Letter to the Sponsor,
        again declining to approve Xarelto for use in the treatment of ACS.




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    Sources:
       -   3/19/2009 FDA Advisory Committee Meeting Materials (FDA Briefing Information), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM181524.pdf

       -   3/19/2009 FDA Advisory Committee Meeting Materials (Meeting Minutes), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM151671.pdf

       -   7/1/2011 NDA Approval Letter (NDA 022406), available at
           http://www.accessdata.fda.gov/drugsatfda_docs/appletter/2011/022406s000ltr.pdf

       -   7/1/2011 Drug Approval Package for NDA 022406, available at
           http://www.accessdata.fda.gov/drugsatfda_docs/nda/2011/022406Orig1s000TOC.cfm

       -   7/2011 Xarelto (rivaroxaban) Label, available at
           http://www.accessdata.fda.gov/drugsatfda_docs/label/2011/022406s000lbl.pdf

       -   9/8/2011 FDA Advisory Committee Meeting Materials (FDA Briefing Information), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM270796.pdf

       -   9/8/2011 FDA Advisory Committee Meeting Materials (Meeting Minutes), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM278480.pdf

       -   11/2011 Xarelto (rivaroxaban) Label, available at
           http://www.accessdata.fda.gov/drugsatfda_docs/label/2011/202439s000lbl.pdf

       -   11/2/2012 Supplemental Approval Letter (NDA 022406/S-001, 002, 003), available at
           http://www.accessdata.fda.gov/drugsatfda_docs/appletter/2012/022406Orig1s001,s002,s003ltr.pd
           f

       -   11/2012 Xarelto (rivaroxaban) Label, available at
           http://www.accessdata.fda.gov/drugsatfda_docs/label/2012/022406s001s002s003lbl.pdf

       -   11/4/2011 NDA Approval Letter (NDA 202439), available at
           http://www.accessdata.fda.gov/drugsatfda_docs/appletter/2011/202439s000ltr.pdf

       -   11/4/2011 Drug Approval Package for NDA 202439, available at
           http://www.accessdata.fda.gov/drugsatfda_docs/nda/2011/202439toc.cfm




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       -   5/23/2012 FDA Advisory Committee Meeting Materials (FDA Briefing Information), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM304755.pdf

       -   5/23/2012 FDA Advisory Committee Meeting Materials (Meeting Minutes), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM310093.pdf

       -   1/16/2014 FDA Advisory Committee Meeting Materials (FDA Briefing Information), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM381462.pdf

       -   1/16/2014 FDA Advisory Committee Meeting Materials (Meeting Minutes), available at
           http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Cardio
           vascularandRenalDrugsAdvisoryCommittee/UCM396034.pdf

       -   First Complete Response Letter from FDA denying application for approval of Xarelto for ACS
           indication (XARELTO_BPAG_02515034)

       -   Second Complete Response Letter from FDA denying application for approval of Xarelto for
           ACS indication (XARELTO_BPAG_02515046)

       -   Third Complete Response Letter from FDA denying application for approval of Xarelto for ACS
           indication (XARELTO_BPAG_00055741)




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                                   Schedule 4
               Summary of All Xarelto Label Changes




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                      ALL LABEL CHANGES FOR NDA 2024391
         XARELTO INDICATION FOR THE REDUCTION OF RISK OF STROKE AND
           SYSTEMIC EMBOLISM IN PATIENTS WITH NONVALVULAR ATRIAL
                                FIBRILLATION
                      (NOVEMBER 4, 2011 APPROVAL DATE)

            The SPAF indication for Xarelto (NDA 202439; reduction of risk of stroke and systemic
    embolism in patients with nonvalvular atrial fibrillation) was approved by the FDA on
    November 4, 2011. Since that time, there have been three (3) labeling revisions to date
    regarding NDA 202439. A summary is provided below, as well as a more in-depth review of the
    label changes.


    Following is a summary of all label changes for NDA 202439:

        x   August 7, 20132:
              a) Boxed Warning was amended primarily to state that there is an increased risk of
                  thrombotic events due to not only discontinuing use of Xarelto, but also any
                  anticoagulant. The original label did not make any mention that discontinuing
                  use of any oral anticoagulant poses such an increased risk.
              b) The same information added to the Black Box was also added to Section 5.1.
              c) A new warning was added under Section 5 regarding “Patients with Prosthetic
                  Heart Valves”

        x   September 10, 20153:
               a) Changes were made to Section 6 ADVERSE REACTIONS, to include, among
                  other things, a forest plot of the risk of major bleeding events by baseline patient
                  characteristics in ROCKET – reflected in Figure 1. This data is based on
                  geographical region and as to the US patients who participated in the ROCKET
                  trial. This plot shows that U.S. patients have a statistically significant increased
                  risk of suffering a major bleed compared to warfarin users.
               b) Section 14 CLINICAL STUDIES, was also amended to be consistent with the
                  newly added information in Section 6.
               c) Section 12.3 CLINICAL PHARMACOLOGY, was amended to show the effect of
                  certain drugs on the PK of a NOAC in a plot instead of describing the data in
                  paragraph form.



    1
      Source: Label Information, NDA 202439, available at
    http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?fuseaction=Search.Label_ApprovalHistory#labeli
    nfo.
    2
      Source: August 7, 2013 Label, NDA 202439, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2013/202439s008lbl.pdf.
    3
      Source: September 10, 2015 Label, NDA 202439, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2015/202439s015lbl.pdf.

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        x   May 6, 20164:
              a) Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
                  concomitant drugs that increase the risk of bleeding with Xarelto use.
              b) Section 5.4 USE IN PATIENTS WITH RENAL IMPAIRMENT, there was a
                  deletion of this language, “Avoid the use of Xarelto in patients with CrCl<15
                  mL/min since drug exposure is increased.” In addition, last sentence was
                  modified to read: “Consider dose adjustment or discontinuation of Xarelto in
                  patients who develop acute renal failures while on Xarelto.”
              c) Section 7.4 DRUG-DISEASE INTERATIONS WITH DRUGS THAT INHIBIT
                  CYTOCHROM P450 3A4 ENSYMES AND DRUG TRANSPORT
                  SYSTEMS. Minor changes only.
              d) Section 8.7 RENAL IMPAIRMENT, the addition of a section addressing patients
                  with end stage renal disease on dialysis.
              e) Section 12.2 PHARMACODYNAMICS SPECIFIC POPULATIONS, the
                  addition of a section addressing renal impairment and hepatic impairment.
              f) Section 12.3 PHARMACOKINETICS EXCRETION, minor modifications.
              g) Section 12.3 PHARMACOKINETICS SPECIFIC POPULATIONS, the addition
                  of a section addressing the effect of the level of renal impairment, age, body
                  weight, etc. on the PK of rivaroxaban.
              h) Section 12.3 PHARMACOKINETCS ELDERLY, substantial reduction in the
                  information pertaining to the elderly that eliminates all information previously
                  stated except the length of the half-life in the elderly, which is 11 to 13 ours.
              i) Section 12.3 PHARMACOKINETCS BODY WEIGHT, removed from the label.
              j) Section 12.3 PHARMACOKINETICS RENAL IMPAIRMENT, added
                  information about hemodialysis in ESRD subjects.
              k) MEDICATION GUIDE, included an addition to list SSRIs as a concomitant
                  medication that may increase the risk of bleeding with use of Xarelto.




    4
     Source: May 6, 2016 Label, NDA 202439, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2016/202439s017lbl.pdf.

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        Following is a detailed review of all label changes for NDA 202439:

   I.          August 7, 2013 Label Changes (SPAF Indication)

           1. First label change related to the SPAF indication included a change to the Boxed
              Warning: The Black Box Warning was amended primarily to state that there is an
              increased risk of thrombotic events due to not only discontinuing use of Xarelto, but also
              any anticoagulant. The original label did not make any mention that discontinuing use of
              any oral anticoagulant poses such an increased risk.


                                 11/2011 Approval Label – Boxed Warning




                                  08/2013 Revised Label – Boxed Warning




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       2. In addition, Section 5.1 Increased Risk of Thrombotic Events after Premature
          Discontinuation was amended to include the same information added to the Black Box
          Warning. Specifically, to state that there is an increased risk of thrombotic events due to
          not only discontinuing use of Xarelto, but also any anticoagulant. The original label did
          not make any mention that discontinuing use of any oral anticoagulant poses such an
          increased risk.


  11/2011 Approval Label – Section 5.1 Increased Risk of Thrombotic Events after Premature
                                       Discontinuation




  08/2013 Revised Label – Section 5.1 Increased Risk of Thrombotic Events after Premature
                                       Discontinuation




       3. A new warning was added to Section 5 WARNINGS AND PRECAUTIONS:




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  II.      September 10, 2015 Label Changes (SPAF Indication)

        1. Section 6 ADVERSE REACTIONS – Table 1 was updated to “harmonize the
           presentation of safety and efficacy data in the labels” for all NOACs.


                 11/2011 Approval Label – Section 6 ADVERSE REACTIONS




                  09/2015 Revised Label – Section 6 ADVERSE REACTIONS




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       2. A forest plot was added to Section 6 ADVERSE REACTIONS, which includes the
          Major Bleeding Events for U.S. and Outside the U.S. for riva and warfarin.
          [See comment box which highlights data in Figure 1 below]. Specifically, the label was
          changed to include U.S. bleeding rates, which show an increased risk of bleeding
          events for Xarelto users in comparison to warfarin users.




                                                          Major bleeding
                                                         events in U.S. for
                                                        rivaroxaban higher
                                                           than warfarin.




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       3. Section 14 CLINICAL STUDIES, was also amended to be consistent with the newly
          added information in Section 6. [See the label dated 09/2015 to view this Forest Plot]




       4. Section 12.3 CLINICAL PHARMACOLOGY, was amended to show the effect of
          certain drugs on the PK of a NOAC in a plot instead of the describing the data in
          paragraph form.




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 III.          May 6, 2016 Label Changes (SPAF Indication)

           1. Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
              concomitant drugs that increase the risk of bleeding with Xarelto use.

                                      SECTION 5.2 RISK OF BLEEDING
                   PREVIOUS LANGUAGE                               REVISED LANGUAGE
        Concomitant use of other drugs that impair    Concomitant use of other drugs that impair
        hemostasis increases the risk of bleeding.    hemostasis increases the risk of bleeding. These
        These include aspirin, P2Y12 platelet         include aspirin, P2Y12 platelet inhibitors, other
        inhibitors, other antithrombotic agents,      antithrombotic agents, fibrinolytic therapy, non-
        fibrinolytic therapy, and non-steroidal anti- steroidal anti-inflammatory drugs (NSAIDs)
        inflammatory drugs (NSAIDs) [see Drug         [see Drug Interactions (7.4)], selective
        Interactions (7.3)].                          serotonin reuptake inhibitors, and serotonin
                                                      norepinephrine reuptake inhibitors.”


           2. Section 5.4 USE IN PATIENTS WITH RENAL IMPAIRMENT, there was a deletion
              of this language, “Avoid the use of Xarelto in patients with CrCl<15 mL/min since drug
              exposure is increased.” In addition, the last sentence was modified to read: “Consider
              dose adjustment or discontinuation of Xarelto in patients who develop acute renal failures
              while on Xarelto.”

                    SECTION 5.4 USE IN PATIENTS WITH RENAL IMPAIRMENT
              PREVIOUS LANGUAGE                                   REVISED LANGUAGE
 Nonvalvular Atrial Fibrillation                  Nonvalvular Atrial Fibrillation
 Avoid the use of XARELTO in patients with        Periodically assess renal function as clinically
 CrCl < 15 mL/min since drug exposure is          indicated (i.e., more frequently in situations in
 increased. Periodically assess renal function as which renal function may decline) and adjust
 clinically indicated (i.e. more frequently in    therapy accordingly [see Dosage and
 situations in which renal function may decline)  Administration (2.3)]. Consider dose adjustment or
 and adjust therapy accordingly. Discontinue      discontinuation of XARELTO in patients who
 XARELTO in patients who develop acute renal      develop acute renal failure while on XARELTO
 failure while on XARELTO [see Use in Specific [see Use in Specific Populations (8.7)].
 Populations (8.7)].




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        3. Section 7.4 DRUG-DISEASE INTERATIONS WITH DRUGS THAT INHIBIT
           CYTOCHROM P450 3A4 ENSYMES AND DRUG TRANSPORT SYSTEMS -
           minor changes only.

  SECTION 7.4 DRUG-DISEASE INTERACTIONS WITH DRUGS THAT INHIBIT CYTOCHROM
                      P450 3A4 ENZYMES AND DRUG TRANSPORT SYSTEMS
              PREVIOUS LANGUAGE                                   REVISED LANGUAGE
 While increases in rivaroxaban exposure can be   While increases in rivaroxaban exposure can be
 expected under such conditions, results from an  expected under such conditions, results from an
 analysis in the ROCKET AF trial, which allowed analysis in the ROCKET AF trial, which allowed
 concomitant use with either combined P-gp        concomitant use with combined P-gp and either
 and/or weak or moderate CYP3A4 inhibitors        weak (e.g., amiodarone) or moderate CYP3A4
 (e.g., amiodarone, diltiazem, verapamil,         inhibitors (e.g., diltiazem, verapamil, and
 chloramphenicol, cimetidine, and erythromycin), erythromycin), did not show an increase in bleeding
 did not show an increase in bleeding in patients in patients with CrCl 30 to <50 mL/min [Hazard
 with CrCl 30 to <50 mL/min [Hazard Ratio (95% Ratio (95% CI): 1.05 (0.77, 1.42)] [see Use in
 CI): 1.05 (0.77, 1.42)] [see Use in Specific     Specific Populations (8.7)].
 Populations (8.7)].


        4. Section 8.7 RENAL IMPAIRMENT, the addition of a section addressing patients with
           end stage renal disease on dialysis.

                                SECTION 8.7 RENAL IMPAIRMENT
          PREVIOUS LANGUAGE                                 REVISED LANGUAGE
 Language in the right column did not  Patients with End-Stage Renal Disease on Dialysis
 exist in the previous label.          Clinical efficacy and safety studies with XARELTO did not
                                       enroll patients with end-stage renal disease (ESRD) on
                                       dialysis. In patients with ESRD maintained on intermittent
                                       hemodialysis, administration of XARELTO 15 mg once
                                       daily will result in concentrations of rivaroxaban and
                                       pharmacodynamic activity similar to those observed in the
                                       ROCKET AF study [see Clinical Pharmacology (12.2,
                                       12.3)]. It is not known whether these concentrations will lead
                                       to similar stroke reduction and bleeding risk in patients with
                                       ESRD on dialysis as was seen in ROCKET AF.




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        5. Section 12.2 PHARMACODYNAMICS SPECIFIC POPULATIONS, the addition of
           a section addressing renal impairment and hepatic impairment.

                              SECTION 12.2 PHARMACODYNAMICS
                                   SPECIFIC POPULATIONS
        PREVIOUS                               REVISED LANGUAGE
       LANGUAGE
 Language in the right     Specific Populations
 column did not exist in   Renal Impairment
 the previous label.       The relationship between systemic exposure and pharmacodynamic activity
                           of rivaroxaban was altered in subjects with renal impairment relative to
                           healthy control subjects [see Use in Specific Populations (8.7)].
                           Table 7: Percentage Increase in Rivaroxaban PK and PD Measures in Subjects with
                           Renal Impairment Relative to Healthy Subjects from Clinical Pharmacology Studies
                                                             Creatinine Clearance (mL/min)
                            Measure        Parameter           30-    15-     ESRD (on       ESRD (post-
                                                       50-79                  dialysis)*
                                                               49     29                      dialysis)*
                            Exposure       AUC          44      52     64         47             56
                            FXa            AUEC         50      86    100         49             33
                            Inhibition
                            PT             AUEC         33     116    144        112             158
                            Prolongation
                            Hepatic Impairment
                           Anti-Factor Xa activity was similar in subjects with normal hepatic function
                           and in mild hepatic impairment (Child-Pugh A class). There is no clear
                           understanding of the impact of hepatic impairment beyond this degree on the
                           coagulation cascade and its relationship to efficacy and safety.




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       6. Section 12.3 PHARMACOKINETICS EXCRETION, minor modifications.

                                 SECTION 12.3 PHARMACOKINETICS
                                                EXCRETION
               PREVIOUS LANGUAGE                                  REVISED LANGUAGE
    Excretion                                       Excretion
    Following oral administration, approximately In a Phase 1 study, following the administration
    one-third of the absorbed dose is excreted      of [14C]-rivaroxaban, approximately one-third
    unchanged in the urine, with the remaining      (36%) was recovered as unchanged drug in the
    two-thirds excreted as inactive metabolites in urine and 7% was recovered as unchanged drug
    both the urine and feces. In a Phase 1 study,   in feces. Unchanged drug is excreted into urine,
    following the administration of a [14C]-        mainly via active tubular secretion and to a
    rivaroxaban dose, 66% of the radioactive        lesser extent via glomerular filtration
    dose was recovered in urine (36% as             (approximate 5:1 ratio). Rivaroxaban is a
    unchanged drug) and 28% was recovered in        substrate of the efflux transporter proteins P-gp
    feces (7% as unchanged drug). Unchanged         and ABCG2 (also abbreviated Bcrp).
    drug is excreted into urine, mainly via active Rivaroxaban’s affinity for influx transporter
    tubular secretion and to a lesser extent via    proteins is unknown.
    glomerular filtration (approximate 5:1 ratio).
    Rivaroxaban is a substrate of the efflux
    transporter proteins P-gp and ABCG2 (also
    abbreviated Bcrp). Rivaroxaban’s affinity for
    influx transporter proteins is unknown.




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       7. Section 12.3 PHARMACOKINETICS SPECIFIC POPULATIONS, the addition of a
          section addressing the effect of the level of renal impairment, age, body weight, etc. on
          the pharmacokinetics (PK) of rivaroxaban.

                            SECTION 12.3 PHARMACOKINETICS
                                  SPECIFIC POPULATIONS
     PREVIOUS LANGUAGE                              REVISED LANGUAGE
    Language in the right    Specific Populations
    column did not exist in  The effects of level of renal impairment, age, body weight, and
    the previous label.      level of hepatic impairment on the pharmacokinetics of rivaroxaban
                             are summarized in Figure 2.
                                Figure 2: Effect of Specific Populations on the Pharmacokinetics of
                                Rivaroxaban




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       8. Section 12.3 PHARMACOKINETCS ELDERLY, substantial reduction in the
          information pertaining to the elderly that eliminates all information previously stated,
          except the length of the half-life in the elderly which is 11 to 13 hours.

                                  SECTION 12.3 PHARMACOKINETICS
                                                  ELDERLY
                   PREVIOUS LANGUAGE                                 REVISED LANGUAGE
    Elderly                                                Elderly
    In clinical studies, elderly subjects exhibited        The terminal elimination half-life is 11 to
    higher rivaroxaban plasma concentrations than          13 hours in the elderly [see Use in Specific
    younger subjects with mean AUC values being            Populations (8.5)].
    approximately 50% higher, mainly due to reduced
    (apparent) total body and renal clearance. Age
    related changes in renal function may play a role in
    this age effect. The terminal elimination half-life is
    11 to 13 hours in the elderly [see Use in Specific
    Populations (8.5)].


       9. Section 12.3 PHARMACOKINETCS BODY WEIGHT, removed from the label.

                          SECTION 12.3 PHARMACOKINETICS
                                   BODY WEIGHT
              PREVIOUS LANGUAGE                  REVISED LANGUAGE
    Body Weight                                   Removed from label.
    Extremes in body weight (<50 kg or >120 kg)
    did not influence (less than 25%) rivaroxaban
    exposure.


       10. Section 12.3 PHARMACOKINETICS RENAL IMPAIRMENT, additional
           information regarding hemodialysis in ESRD subjects.

                          SECTION 12.3 PHARMACOKINETICS
                                RENAL IMPAIRMENT
              PREVIOUS LANGUAGE                  REVISED LANGUAGE
    Language in the right column did not exist       [ADDED THE FOLLOWING PARAGRAPH]
    in the previous label.                           Hemodialysis in ESRD subjects: Systemic
                                                     exposure to rivaroxaban administered as a single
                                                     15 mg dose in ESRD subjects dosed 3 hours after
                                                     the completion of a 4-hour hemodialysis session
                                                     (post-dialysis) is 56% higher when compared to
                                                     subjects with normal renal function (see Table 7).
                                                     The systemic exposure to rivaroxaban administered
                                                     2 hours prior to a 4-hour hemodialysis session with

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                                                   a dialysate flow rate of 600 mL/min and a blood
                                                   flow rate in the range of 320 to 400 mL/min is 47%
                                                   higher compared to those with normal renal
                                                   function. The extent of the increase is similar to the
                                                   increase in patients with CrCl 15 to 50 mL/min
                                                   taking XARELTO 15 mg. Hemodialysis had no
                                                   significant impact on rivaroxaban exposure.
                                                   Protein binding was similar (86% to 89%) in
                                                   healthy controls and ESRD subjects in this study.

                                                   [REMOVED TABLE 7 FROM LABEL – “Percent
                                                   Increase of rivaroxaban PK and PD Parameters
                                                   from Normal in Subjects with Renal Insufficiency
                                                   from a Dedicated Renal Impairment Study”]


       11. MEDICATION GUIDE, Included an addition to list SSRIs as a concomitant medication
           that may increase the risk of bleeding with use of Xarelto.

                                       MEDICATION GUIDE
              PREVIOUS LANGUAGE                                  REVISED LANGUAGE
    You may have a higher risk of bleeding if you You may have a higher risk of bleeding if you
    take XARELTO and take other medicines           take XARELTO and take other medicines that
    that increase your risk of bleeding, including: increase your risk of bleeding, including:
        x aspirin or aspirin containing products        x aspirin or aspirin containing products
        x non-steroidal anti-inflammatory drugs         x non-steroidal anti-inflammatory drugs
            (NSAIDs)                                       (NSAIDs)
        x warfarin sodium (Coumadin®,                   x warfarin sodium (Coumadin®,
            Jantoven®)                                     Jantoven®)
        x any medicine that contains heparin            x any medicine that contains heparin
        x clopidogrel (Plavix®)                         x clopidogrel (Plavix®)
        x other medicines to prevent or treat           x Selective serotonin reuptake inhibitors
            blood clots                                    (SSRIs) or serotonin norepinephrine
                                                           reuptake inhibitors (SNRIs)
                                                        x other medicines to prevent or treat blood
                                                           clots




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                 ALL LABEL CHANGES FOR NDA/sNDA 0224065
    XARELTO INDICATION FOR THE PROPHYLAXIS OF DVT FOLLOWING HIP AND
                      KNEE REPLACEMENT SURGERY
                       (JULY 1, 2011 APPROVAL DATE)

    XARELTO INDICATION FOR TREATMENT OF DVT AND PE, AND REDUCTION IN
                  THE RISK OF RECURRENCE OF DVT AND PE
                    (NOVEMBER 2, 2012 APPROVAL DATE)

            The post-hip/knee replacement surgery indication for Xarelto (NDA 022406; prophylaxis
    of DVT following hip and knee replacement surgery) was approved by the FDA on July 1, 2011,
    and the VTE indication for Xarelto (sNDA 022406; treatment of DVT and PE, and reduction in
    the risk of recurrence of DVT and PE) was approved by the FDA on November 2, 2012. Since
    that time, there have been seven (7) labeling revisions to date regarding NDA (and sNDA)
    022406. A summary is provided below, as well as a more in-depth review of the label changes.


    Following is a summary of all label changes for NDA/sNDA 022406:

        x   March 1, 20136: Section 2.8 Administration Options was added to the label to provide
            information for patients who are unable to swallow whole tablets.

        x   January 7, 20147:
               a) Section 5.2 RISK OF BLEEDING and Section 12.2 PHARMACODYNAMICS
                  were modified to include updated data from the PCC clinical pharmacology
                  study.
               b) Section 5.9 warning section added a warning/precaution for acute PE in
                  hemodynamically unstable patients or patients who require thrombolysis or
                  pulmonary embolectomy.
               c) Section 12 MECHANISM OF ACTION added more specific information about
                  Factor Xa (FXa) inhibitor.

        x   February 13, 20148: Additions were made to Section 7 DRUG INTERACTIONS and
            Section 12.3 CLINICAL PHARMACOLOGY to include information from a “Study to
            Estimate the Effect of Multiple Doses of Erythromycin on the PK, PD and Safety of a
            Single Dose of Riva in Subjects with Renal Impairment and Normal Renal Function.”

    5
      Source: Label Information, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?fuseaction=Search.Label_ApprovalHistory#labeli
    nfo.
    6
      Source: March 1, 2013 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2013/022406s004lbl.pdf.
    7
      Source: January 7, 2014 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2014/022406s007lbl.pdf.
    8
      Source: February 13, 2014 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2014/022406s010lbl.pdf.

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     Case 2:14-md-02592-EEF-MBN
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        x   March 6, 20149: Changes are limited to the risk of neuraxial hematoma.

        x   December 19, 201410: In Section 6.2 POSTMARKETING EXPERIENCE,
            “thrombocytopenia” was added as an adverse reaction. Additionally, the adverse reaction
            “cytolytic hepatitis” was replaced with “hepatitis (including hepatocellular injury)”.

        x   January 15, 201511: Update is limited to Section 2.8 ADMINISTRATION OPTIONS,
            to include information about riva 10 mg crushed tablets.

        x   August 17, 201612:
              a) Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
                  concomitant drugs that increase the risk of bleeding with Xarelto use.
              b) Section 5.4 USE IN PATIENTS WITH RENAL IMPAIRMENT, there was a
                  deletion of this language, “Avoid the use of Xarelto in patients with CrCl<15
                  mL/min since drug exposure is increased.” In addition, the last sentence was
                  modified to read: “Consider dose adjustment or discontinuation of Xarelto in
                  patients who develop acute renal failures while on Xarelto.”




    9
      Source: March 6, 2014 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2014/022406s009lbl.pdf.
    10
       Source: December 19, 2014 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2014/022406s015lbl.pdf.
    11
       Source: January 15, 2015 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2015/022406s012lbl.pdf.
    12
       Source: August 17, 2016 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2016/022406s017lbl.pdf.

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        Following is a detailed review of all label changes for NDA/sNDA 022406:

   I.          March 2013 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

           1. Section 2.8 Administration Options was added to the label in March 2013 to provide
              information for patients who are unable to swallow whole tablets.




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  II.      January 7, 2014 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

        1. Section 5.2 RISK OF BLEEDING and Section 12.2 PHARMACODYNAMICS were
           modified to include updated data from the PCC clinical pharmacology study.


                       07/2011 Label – Section 5.2 RISK OF BLEEDING




                       11/2012 Label – Section 5.2 RISK OF BLEEDING




                       01/2014 Label – Section 5.2 RISK OF BLEEDING




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                         07/2011 Label – Section 12.2 Pharmacodynamics




                         01/2014 Label – Section 12.2 Pharmacodynamics




       2. Section 5.9 warning section added a warning/precaution for acute PE in
          hemodynamically unstable patients or patients who require thrombolysis or pulmonary
          embolectomy.




       3. Section 12 MECHANISM OF ACTION added more specific information about Factor
          Xa (FXa) inhibitor.


                        07/2011 Label – Section 12.1 Mechanism of Action




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                      01/2014 Label – Section 12.1 Mechanism of Action




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 III.      February 13, 2014 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

        1. Additions were made to Section 7 DRUG INTERACTIONS to include information
           regarding the “Study to Estimate the Effect of Multiple Doses of Erythromycin on the PK,
           PD and Safety of a Single Dose of Riva in Subjects with Renal Impairment and Normal
           Renal Function.”

                         07/2011 Label – Section 7 DRUG INTERACTIONS




                         02/2014 Label – Section 7 DRUG INTERACTIONS




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    2. Section 12.3 CLINICAL PHARMACOLOGY, the following paragraph was added to
       include information regarding the “Study to Estimate the Effect of Multiple Doses of
       Erythromycin on the PK, PD and Safety of a Single Dose of Riva in Subjects with Renal
       Impairment and Normal Renal Function.”




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 IV.      March 6, 2014 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

       1. Changes regarding the risk of neuraxial hematoma in the Boxed Warning.


                                 11/2012 Label – Boxed Warning




                                 03/2014 Label - Boxed Warning




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       2. Section 5.3 Spinal/Epidural Anesthesia or Puncture amended to include additional
          information regarding the risk of neuraxial hematoma. The following paragraphs were
          added to this section of the 03/2014 label:




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  V.      December 19, 2014 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

       1. Section 6.2 POSTMARKETING EXPERIENCE adds “thrombocytopenia” as an
          adverse reaction and replaces the adverse reaction term “cytolytic hepatitis” with
          “hepatitis (including hepatocellular injury)” in Section 6.2 POSTMARKETING
          EXPERIENCE.


                      11/2012 Label – Section 6.2 Postmarketing Experience




                      12/2014 Label – Section 6.2 Postmarketing Experience




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    VI.   January 15, 2015 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

       1. Update limited to Section 2.8 ADMINISTRATION OPTIONS to include information
          about riva 10 mg crushed tablets.




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    VII.      August 19, 2016 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

           1. Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
              concomitant drugs that increase the risk of bleeding with Xarelto use.

                                  SECTION 5.2 RISK OF BLEEDING
               PREVIOUS LANGUAGE                               REVISED LANGUAGE
    Concomitant use of other drugs that impair    Concomitant use of other drugs that impair
    hemostasis increases the risk of bleeding.    hemostasis increases the risk of bleeding. These
    These include aspirin, P2Y12 platelet         include aspirin, P2Y12 platelet inhibitors, other
    inhibitors, other antithrombotic agents,      antithrombotic agents, fibrinolytic therapy, non-
    fibrinolytic therapy, and non-steroidal anti- steroidal anti-inflammatory drugs (NSAIDs)
    inflammatory drugs (NSAIDs) [see Drug         [see Drug Interactions (7.4)], selective
    Interactions (7.3)].                          serotonin reuptake inhibitors, and serotonin
                                                  norepinephrine reuptake inhibitors.”


           2. Section 5.4 USE IN PATIENTS WITH RENAL IMPAIRMENT, there was a deletion
              of this language, “Avoid the use of Xarelto in patients with CrCl<15 mL/min since drug
              exposure is increased.” In addition, the last sentence was modified to read: “Consider
              dose adjustment or discontinuation of Xarelto in patients who develop acute renal failures
              while on Xarelto.”

                    SECTION 5.4 USE IN PATIENTS WITH RENAL IMPAIRMENT
              PREVIOUS LANGUAGE                                   REVISED LANGUAGE
 Nonvalvular Atrial Fibrillation                  Nonvalvular Atrial Fibrillation
 Avoid the use of XARELTO in patients with        Periodically assess renal function as clinically
 CrCl < 15 mL/min since drug exposure is          indicated (i.e., more frequently in situations in
 increased. Periodically assess renal function as which renal function may decline) and adjust
 clinically indicated (i.e. more frequently in    therapy accordingly [see Dosage and
 situations in which renal function may decline)  Administration (2.4)]. Consider dose adjustment or
 and adjust therapy accordingly. Discontinue      discontinuation of XARELTO in patients who
 XARELTO in patients who develop acute renal      develop acute renal failure while on XARELTO
 failure while on XARELTO [see Use in Specific [see Use in Specific Populations (8.7)].
 Populations (8.7)].




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                                   Schedule 5
     Summary of Label Changes Regarding Bleeding Risk




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               LABEL CHANGES REGARDING BLEEDING RISK
                             NDA 2024391
         XARELTO INDICATION FOR THE REDUCTION OF RISK OF STROKE AND
           SYSTEMIC EMBOLISM IN PATIENTS WITH NONVALVULAR ATRIAL
                                FIBRILLATION
                      (NOVEMBER 4, 2011 APPROVAL DATE)

           The SPAF indication for Xarelto (NDA 202439; reduction of risk of stroke and systemic
    embolism in patients with nonvalvular atrial fibrillation) was approved by the FDA on
    November 4, 2011. Below is a summary of labeling revisions regarding bleeding risk for NDA
    202439, as well as a more in-depth review of the label changes.


    Following is a summary of label changes regarding bleeding risk for NDA 202439:

        x   September 10, 20152:
               a) Changes were made to Section 6 ADVERSE REACTIONS, to include, among
                  other things, a forest plot of the risk of major bleeding events by baseline patient
                  characteristics in ROCKET – reflected in Figure 1. This data is based on
                  geographical region and as to the US patients who participated in the ROCKET
                  trial. This plot shows that U.S. patients have a statistically significant increased
                  risk of suffering a major bleed compared to warfarin users.

        x   May 6, 20163:
              a) Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
                  concomitant drugs that increase the risk of bleeding with Xarelto use.
              b) MEDICATION GUIDE, included an addition to list SSRIs as a concomitant
                  medication that may increase the risk of bleeding with use of Xarelto.




    1
      Source: Label Information, NDA 202439, available at
    http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?fuseaction=Search.Label_ApprovalHistory#labeli
    nfo.
    2
      Source: September 10, 2015 Label, NDA 202439, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2015/202439s015lbl.pdf.
    3
      Source: May 6, 2016 Label, NDA 202439, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2016/202439s017lbl.pdf.

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        Following is a detailed review of label changes regarding bleeding risk for NDA 202439:

   I.          September 10, 2015 Label Changes (NDA 202439)

           1. Section 6 ADVERSE REACTIONS – Table 1 (Bleeding Events in ROCKET AF) was
              updated to “harmonize the presentation of safety and efficacy data in the labels” for all
              NOACs.


                     11/2011 Approval Label – Section 6 ADVERSE REACTIONS




                      09/2015 Revised Label – Section 6 ADVERSE REACTIONS




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       2. A forest plot was added to Section 6 ADVERSE REACTIONS, which includes the
          Major Bleeding Events for U.S. and Outside the U.S. for riva and warfarin.
          [See comment box which highlights data in Figure 1 below]. Specifically, the label was
          changed to include U.S. bleeding rates, which show an increased risk of bleeding
          events for Xarelto users in comparison to warfarin users.




                                                          Major bleeding
                                                         events in U.S. for
                                                        rivaroxaban higher
                                                           than warfarin.




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  II.          May 6, 2016 Label Changes (NDA 202439)

           1. Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
              concomitant drugs that increase the risk of bleeding with Xarelto use.

                                      SECTION 5.2 RISK OF BLEEDING
                   PREVIOUS LANGUAGE                               REVISED LANGUAGE
        Concomitant use of other drugs that impair    Concomitant use of other drugs that impair
        hemostasis increases the risk of bleeding.    hemostasis increases the risk of bleeding. These
        These include aspirin, P2Y12 platelet         include aspirin, P2Y12 platelet inhibitors, other
        inhibitors, other antithrombotic agents,      antithrombotic agents, fibrinolytic therapy, non-
        fibrinolytic therapy, and non-steroidal anti- steroidal anti-inflammatory drugs (NSAIDs)
        inflammatory drugs (NSAIDs) [see Drug         [see Drug Interactions (7.4)], selective
        Interactions (7.3)].                          serotonin reuptake inhibitors, and serotonin
                                                      norepinephrine reuptake inhibitors.”


           2. MEDICATION GUIDE, Included an addition to list SSRIs as a concomitant medication
              that may increase the risk of bleeding with use of Xarelto.

                                           MEDICATION GUIDE
                  PREVIOUS LANGUAGE                                 REVISED LANGUAGE
        You may have a higher risk of bleeding if you You may have a higher risk of bleeding if you
        take XARELTO and take other medicines           take XARELTO and take other medicines that
        that increase your risk of bleeding, including: increase your risk of bleeding, including:
            x aspirin or aspirin containing products        x aspirin or aspirin containing products
            x non-steroidal anti-inflammatory drugs         x non-steroidal anti-inflammatory drugs
                (NSAIDs)                                       (NSAIDs)
            x warfarin sodium (Coumadin®,                   x warfarin sodium (Coumadin®,
                Jantoven®)                                     Jantoven®)
            x any medicine that contains heparin            x any medicine that contains heparin
            x clopidogrel (Plavix®)                         x clopidogrel (Plavix®)
            x other medicines to prevent or treat           x Selective serotonin reuptake inhibitors
                blood clots                                    (SSRIs) or serotonin norepinephrine
                                                               reuptake inhibitors (SNRIs)
                                                            x other medicines to prevent or treat blood
                                                               clots




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               LABEL CHANGES REGARDING BLEEDING RISK
                          NDA/sNDA 0224064
    XARELTO INDICATION FOR THE PROPHYLAXIS OF DVT FOLLOWING HIP AND
                      KNEE REPLACEMENT SURGERY
                       (JULY 1, 2011 APPROVAL DATE)

    XARELTO INDICATION FOR TREATMENT OF DVT AND PE, AND REDUCTION IN
                  THE RISK OF RECURRENCE OF DVT AND PE
                    (NOVEMBER 2, 2012 APPROVAL DATE)

            The post-hip/knee replacement surgery indication for Xarelto (NDA 022406; prophylaxis
    of DVT following hip and knee replacement surgery) was approved by the FDA on July 1, 2011,
    and the VTE indication for Xarelto (sNDA 022406; treatment of DVT and PE, and reduction in
    the risk of recurrence of DVT and PE) was approved by the FDA on November 2, 2012. Below
    is a summary of labeling revisions regarding bleeding risk for NDA (and sNDA) 022406, as well
    as a more in-depth review of the label changes.


    Following is a summary of label changes regarding bleeding risk for NDA/sNDA 022406:

        x   January 7, 20145:
               a) Section 5.2 RISK OF BLEEDING modified to include updated data from the
                  PCC clinical pharmacology study.

        x   August 17, 20166:
              a) Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
                  concomitant drugs that increase the risk of bleeding with Xarelto use.




    4
      Source: Label Information, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?fuseaction=Search.Label_ApprovalHistory#labeli
    nfo.
    5
      Source: January 7, 2014 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2014/022406s007lbl.pdf.
    6
      Source: August 17, 2016 Label, NDA/sNDA 022406, available at
    http://www.accessdata.fda.gov/drugsatfda_docs/label/2016/022406s017lbl.pdf.

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        Following is a detailed review of all label changes for NDA/sNDA 022406:

   I.          January 7, 2014 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

           1. Section 5.2 RISK OF BLEEDING modified to include updated data from the PCC
              clinical pharmacology study.


                             07/2011 Label – Section 5.2 RISK OF BLEEDING




                             11/2012 Label – Section 5.2 RISK OF BLEEDING




                             01/2014 Label – Section 5.2 RISK OF BLEEDING




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     II.      August 19, 2016 Label Changes (VTE & Post-Hip/Knee Surgery Indications)

           1. Section 5.2 RISK OF BLEEDING, there was an addition of SSRIs to the list of
              concomitant drugs that increase the risk of bleeding with Xarelto use.

                                  SECTION 5.2 RISK OF BLEEDING
               PREVIOUS LANGUAGE                               REVISED LANGUAGE
    Concomitant use of other drugs that impair    Concomitant use of other drugs that impair
    hemostasis increases the risk of bleeding.    hemostasis increases the risk of bleeding. These
    These include aspirin, P2Y12 platelet         include aspirin, P2Y12 platelet inhibitors, other
    inhibitors, other antithrombotic agents,      antithrombotic agents, fibrinolytic therapy, non-
    fibrinolytic therapy, and non-steroidal anti- steroidal anti-inflammatory drugs (NSAIDs)
    inflammatory drugs (NSAIDs) [see Drug         [see Drug Interactions (7.4)], selective
    Interactions (7.3)].                          serotonin reuptake inhibitors, and serotonin
                                                  norepinephrine reuptake inhibitors.”




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                                   Schedule 6
          Summary of Mechanism of Action for Xarelto




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                 SUMMARY OF MECHANISM OF ACTION FOR XARELTO1
            Rivaroxaban (Xarelto) is a selective inhibitor of Factor Xa. Xarelto was designed to
    specifically target Factor Xa in the coagulation process because Factor Xa occupies the
    crossroads between the intrinsic and extrinsic pathways. Xarelto inhibits free, prothrombinase-
    associated and clot-associated Factor Xa, with no direct effect on platelet aggregation. Xarelto
    decreases thrombin generation by inhibiting Factor Xa. The half-life of Xarelto is 5-9 hours in
    healthy subjects (ages 20-45 years), and 11-13 hours in the elderly.




    Sources:

    https://www.xareltohcp.com/about-xarelto/about-factor-xa.html
    http://thrombosisjournal.biomedcentral.com/articles/10.1186/1477-9560-11-10

    1
        This summary of the mechanism of action for Xarelto is not intended to be a full description in detail.



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                                     Schedule 7
                     Description of Clinical Trials for Xarelto




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                                          DESCRIPTION OF CLINICAL TRIALS FOR XARELTO1



                                                                  PHASE I CLINICAL TRIALS

         Study Title/Name                                 Study                 Study        Study       Patients     Clinical Study Report
                                                          Number                Initiated    Completed   Completed
                                                                                Date         Date        | Patients
                                                                                                         Enrolled
 1       Randomized, single-blind,            10842                             1/30/2002    2/10/2003   103 | 108    XARELTO_BHCP_00004116
         placebo-controlled, group-                                                                                   XARELTO_BPAG_00154332-53
         comparison (with one cross-over                                                                              XARELTO_BPAH_00154354-
         dose step) dose-escalation study in                                                                          5824
         healthy male subjects to                                                                                     XARELTO_BPAG_00155825-
         investigate the safety, tolerability                                                                         7116
         and pharmacodynamics effect as
         well as the pharmacokinetics of
         BAY 59-7939 after single oral
         doses starting with 10 mg of BAY
         59-7939 as oral solution or tablet
 2       Single dose, non-blinded,            10848                             8/14/2002    10/2/2002   10 | 12      XARELTO_BHCP_00004151
         randomized, non-placebo-                                                                                     XARELTO_BPAG_00168079-88
         controlled crossover study to                                                                                XARELTO_BPAG_00168089-
         investigate the potential influence                                                                          696
         of 40 mg of enoxaparin on the                                                                                XARELTO_BPAG_00168697
         safety, tolerability,                                                                                        XARELTO_BPAG_00169052
         pharmacodynamics, and
         pharmacokinetics of 10 mg BAY
         59-7939 and vice versa in healthy-,
         male subjects
 1
     This is not intended to be an exhaustive list of all clinical trials for Xarelto.


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 3   The effects of age and gender on        10850   7/17/2002   9/5/2002    48 | 48   XARELTO_BHCP_00004123
     the pharmacokinetics and
     pharmacodynamics of BAY 59-
     7939
 4   Single-center, non-randomized,          10924   8/5/2002    2/26/2003   7|9       XARELTO_BHCP_00004065
     non-placebo-controlled,                                                           XARELTO_BPAG_00186612-20
     nonblinded, cross-over                                                            XARELTO_BPAG_00186621-
     investigation of the                                                              7207
     pharmacokinetics of BAY 59-7939                                                   XARELTO_BPAG_00187208-
     after single dose application of                                                  544
     BAY 59-7939 either as
     conventional BAY 59-7939 tablets
     or as topical release of BAY 59-
     7939 drug substance or drug
     solution (both via the Enterion
     capsule) in healthy male
     volunteers
 5   Single dose, non-blinded,               10989   8/14/2002   9/19/2002   10 | 12   XARELTO_BHCP_00004068
     randomized, non-placebo-                                                          XARELTO_BPAG_00190327-36
     controlled crossover study to                                                     XARELTO_BPAG_00190337-
     compare safety, tolerability,                                                     958
     pharmacodynamics and                                                              XARELTO_BPAG_00190959-
     pharmacokinetics of 20 mg BAY                                                     1293
     59-7939 given either as four 5 mg
     tablets or one 20 mg tablet and to
     investigate the effect of a high fat,
     high calorie or high carbohydrate
     meal on safety, tolerability and
     pharmacokinetics of one 20 mg
     tablet BAY 59-7939 in healthy,
     male subjects
 6   Randomized, non-blind, non-             10990   2/18/2003   4/17/2003   10 | 12   XARELTO_BHCP_00004070
     controlled, 3-way crossover study                                                 XARELTO_BPAG_00189397-


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     to assess the pharmacodynamics,                                                 410
     pharmacokinetics, safety, and                                                   XARELTO_BPAG_00189411-
     tolerability of an extended release                                             967
     formulation of BAY 59-7939 (E                                                   XARELTO_BPAG_00189968-
     203) with and without food in                                                   90326
     comparison to the immediate
     release formulation in healthy
     male subjects
 7   Single centre, open, non-             10991   3/25/2003   7/28/2008   4|4       XARELTO_BHCP_00004121
     randomized, non-placebo-                                                        XARELTO_BPAG_00109821-29
     controlled study to investigate the                                             XARELTO_BPAG_00109491-99
     metabolism, excretion pattern,                                                  XARELTO_BPAG_00185913-21
     mass balance, safety, tolerability                                              XARELTO_BPAG_00185922-23
     and pharmacokinetics after single                                               XARELTO_BPAG_00186524-
     dose oral administration of 10 mg                                               611
     (14C) BAY 59-7939 in healthy,
     male subjects
 8   Randomized, non-blinded, non-         10993   3/26/2003   5/19/2003   12 | 12   XARELTO_BHCP_00004157
     placebo-controlled, threefold                                                   XARELTO_BPAG_00170584-96
     cross-over study to investigate the                                             XARELTO_BPAG_00170597-
     influence of a coadministration of                                              1276
     7.5 mg midazolam on the safety,
     tolerability, pharmacodynamics
     and pharmacokinetics of 20 mg
     BAY 59-7939 single oral dose and
     vice versa in healthy male subjects
 9   Randomized, non-blind, non-           10996   3/14/2005   4/20/2005   12 | 13   XARELTO_BHCP_00004073
     controlled, 3-way crossover study                                               XARELTO_BPAG_00171277
     to assess the pharmacodynamics,                                                 XARELTO_BPAG_00171652
     pharmacokinetics, safety, and
     tolerability of an extended release
     formulation of BAY 59-7939
     (402) with and without food in


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    comparison to the immediate
    release formulation in healthy
    male subjects
 10 Randomized, non-blind, non-           10997   4/13/2005    5/24/2005   11 | 12   XARELTO_BHCP_00004075
    controlled, 3-way crossover study
    to assess the pharmacodynamics,
    pharmacokinetics, safety, and
    tolerability of an extended release
    formulation of BAY 59-7939 (E
    520) with and without food in
    comparison to the immediate
    release formulation in healthy
    male subjects
 11 Randomized, non-blind, non-           10998   5/18/2005    6/20/2005   11 | 12   XARELTO_BHCP_00004077
    controlled, 3-way crossover study
    to assess the pharmacodynamics,
    pharmacokinetics, safety, and
    tolerability of an extended release
    formulation of BAY 59-7939 (E
    431) with and without food in
    comparison to the immediate
    release formulation in healthy
    male subjects
 12 Randomized, non-blind, non-           10999   11/10/2003   1/14/2004   17 | 20   XARELTO_BHCP_00004159
    placebo-controlled, 2-fold
    crossover study to investigate the
    influence of the simultaneous
    administration of multiple doses of
    BAY 59-7939 (20 mg bid) and of
    digoxin (0.375 mg od) on the
    pharmacokinetics of both drugs
    and to investigate the safety and
    tolerability of the combined


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      treatment in 20 healthy male
      subjects
 13   Randomized, non-blinded, non-          11000   9/25/2003   11/17/2003   12 | 12   XARELTO_BHCP_00004162
      placebo-controlled, cross-over
      study to investigate the influence
      of a 3 day pretreatment with 300
      mg of Ranitidine on the safety,
      tolerability, pharmacodynamics
      and pharmacokinetics of 30 mg
      BAY 59-7939 single oral dose in
      healthy male subjects
 14   Randomized, non-blinded, non-          11001   9/10/2003   10/16/2003   11 | 12   XARELTO_BHCP_00004164
      placebo-controlled, cross-over
      study to investigate the influence
      of a co-administration of 10 mL of
      Maalox on the safety, tolerability,
      pharmacodynamics and
      pharmacokinetics of 30 mg BAY
      59-7939 single oral dose in healthy
      male subjects
 15   Investigation of pharmacokinetics,     11002   7/9/2004    5/4/2005     32 | 32   XARELTO_BHCP_00001800
      pharmacodynamics, safety and                                                      XARELTO_BHCP_00001799
      tolerability of 10 mg BAY 59-                                                     XARELTO_BHCP_00004125
      7939 in male and female patients
      with renal impairment and in age
      comparable male and female
      subjects with normal renal
      function following single-dose
      administration in a multiple-center,
      non-randomized, non-controlled,
      non-blinded, observational study
      with group stratification
 16   Investigation of pharmacokinetics,     11003   1/19/2005   8/10/2005    32 | 32   XARELTO_BHCP_00001802


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    pharmacodynamics, safety and                                                   XARELTO_BHCP_00001801
    tolerability of 10 mg BAY 59-                                                  XARELTO_BHCP_00004127
    7939 in male and female patients
    with hepatic impairment (classified
    as Child Pugh A or B) and in age-
    and weight-matched male and
    female healthy subjects following
    single-dose administration in a
    single-center, non-randomized,
    non-controlled, non-blinded,
    observational study with group
    stratification
 17 Randomized, non-blind, non-          11032   4/21/2006   6/2/2006    9|9       XARELTO_BHCP_00001804
    controlled, 3-way crossover study                                              XARELTO_BHCP_00004079
    to assess the pharmacodynamics,
    pharmacokinetics, safety, and
    tolerability of an extended release
    formulation of BAY 59-7939 (E
    521) with and without food in
    comparison to the immediate
    release formulation in healthy
    male subjects
 18 Randomized, non-blinded, two-        11123   4/6/2004    6/7/2004    13 | 14   XARELTO_BHCP_00004166
    way cross-over study with an
    Aspirin run-in period to investigate
    the influence of two doses of
    Aspirin once daily on the safety,
    tolerability, pharmacodynamics
    and pharmacokinetics of a single
    oral dose of 15 mg BAY 59-7939
    in 14 healthy male subjects and
    vice versa
 19 Randomized, non-blinded, two-        11124   4/26/2004   8/13/2004   11 | 13   XARELTO_BHCP_00004168


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    way cross-over study with a
    Naproxen run-in period to
    investigate the influence of two
    doses of Naproxen once daily on
    the safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 15 mg BAY 59-7939 in 14
    healthy male subjects and vice
    versa
 20 Randomized, non-blind, non-           11125   2/26/2003   4/14/2003   11 | 12   XARELTO_BHCP_00004081
    controlled, 3-way crossover study                                               XARELTO_BPABG_00187545-
    to assess the pharmacokinetics,                                                 58
    safety, and tolerability of an                                                  XARELTO_BPAG_00187559-
    extended release formulation of                                                 8118
    BAY 59-7939 (E 209) with and                                                    XARELTO_BPAG_00188119-
    without food in comparison to the                                               491
    immediate release formulation in
    healthy male subjects
 21 Randomized, open-label, two-fold      11140   1/10/2003   3/18/2003   12 | 12   XARELTO_BHCP_00004213
    cross-over pilot study to                                                       XARELTO_BPAG_00191294-
    investigate the effect of 5 and 30                                              302
    mg BAY 59-7939 on the thrombin                                                  XARELTO_BPAG_00757038-
    generation in 12 health male                                                    718
    subjects                                                                        XARELTO_BPAG_00191303-
                                                                                    526
 22 Randomized, non-blind, non-           11197   4/10/2003   4/25/2003   11 | 11   XARELTO_BHCP_00004083
    controlled, 3-way crossover study                                               XARELTO_BPAG_00188492-
    to assess the pharmacodynamics,                                                 504
    pharmacokinetics, safety, and                                                   XARELTO_BPAG_00188505-
    tolerability of an extended release                                             9050
    formulation of BAY 59-7939 (E                                                   XARELTO_BPAG_00189051-
    206) with and without food in                                                   396


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    comparison to the immediate
    release formulation in healthy
    male subjects
 23 Randomized, non-blind, non-          11273   8/21/2006   10/10/2006   12 | 13   XARELTO_BHCP_00001806
    placebo-controlled, 3-way                                                       XARELTO_BHCP_00001805
    crossover study to assess the                                                   XARELTO_BHCP_00004061
    pharmacokinetics,                                                               XARELTO_BPAG_00757719
    pharmacodynamics, safety, and
    tolerability of BAY 59-7939
    following single-dose
    administrations of either 5 mg or
    20 mg immediate-release tablet
    doses in comparison to 1 mg BAY
    59-7939 intravenous infusion for
    30 minutes in healthy male
    subjects
 24 A randomized, double-blinded,        11275   5/3/2004    7/26/2004    50 | 54   XARELTO_BHCP_00004215
    double-dummy, 4-way crossover,
    placebo- and active-controlled
    Phase I study to investigate the
    influence of single doses (15 and
    45 mg) of BAY 59-7939 on the
    QTc interval in healthy male and
    female subjects
 25 Randomized, non-blinded, two-        11279   6/28/2004   9/1/2004     11 | 14   XARELTO_BHCP_00004170
    way cross-over study with a                                                     XARELTO_BPAG_00165630-
    Clopidogrel run-in period to                                                    6468
    investigate the influence of two
    doses of Clopidogrel once daily on
    the safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 15 mg BAY 59-7939 in 14


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      healthy male subjects and vice
      versa
 26   Randomized, non-blind, non-           11302   4/21/2006   6/2/2006    9|9       XARELTO_BHCP_00001803
      controlled, 3-way crossover study
      to assess the pharmacodynamics,
      pharmacokinetics, safety, and
      tolerability of an extended release
      formulation of BAY 59-7939 (E
      521) with and without food in
      comparison to the immediate
      release formulation in healthy
      male subjects
 27   Randomized, non-blind, non-           11321   4/21/2006   5/18/2006   11 | 12   XARELTO_BHCP_00001808
      controlled, 3-way crossover study                                               XARELTO_BHCP_00001807
      to assess the pharmacodynamics,                                                 XARELTO_BHCP_00004085
      pharmacokinetics, safety, and                                                   XARELTO_BPAG_00194723-
      tolerability of an extended release                                             5443
      formulation of BAY 59-7939 (E
      522) with and without food in
      comparison to the immediate
      release formulation in healthy
      male subjects
 28   Randomized, non-blind, non-           11322   4/19/2006   5/30/2006   12 | 12   XARELTO_BHCP_00001810
      controlled, 3-way crossover study                                               XARELTO_BHCP_00001809
      to assess the pharmacodynamics,                                                 XARELTO_BHCP_00004087
      pharmacokinetics, safety, and                                                   XARELTO_BPAG_00195444
      tolerability of an extended release
      formulation of BAY 59-7939 (E
      523) with and without food in
      comparison to the immediate
      release formulation in healthy
      male subjects
 29   Randomized, single-blind,             11529   4/1/2004    6/15/2004   48 | 52   XARELTO_BHCP_00004135


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    placebo-controlled dose escalation                                                XARELTO_BPAG_00208498
    study in elderly male and female
    healthy subjects to investigate the
    safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of BAY 59-7939
    given after a standard breakfast
 30 Single-blind, randomized               11568   8/25/2004   10/29/2004   48 | 48   XARELTO_BHCP_00004137
    investigation of safety,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 10 mg BAY 59-7939 in
    male and female subjects of
    different weight categories
 31 Investigation of safety, tolerability, 11569   6/15/2004   9/27/2004    34 | 34   XARELTO_BHCP_00004139
    pharmacodynamics, and
    pharmacokinetics of a single oral
    dose of 10 0mg BAY 59-7939 in
    male and female subjects older
    than 75 years compared to young
    subjects of both genders in a
    randomized, single-blind placebo-
    controlled trial
 32 Randomized, non-blinded, non-          11585   6/24/2008   8/4/2008     12 | 12   XARELTO_BPAG_00197906-
    controlled, 3-way crossover study                                                 8658
    to assess the pharmacokinetics,                                                   XARELTO_BPAG_00198658
    safety, and tolerability of an                                                    XARELTO_BPAG_00330041-
    extended release formulation of                                                   793
    rivaroxaban / BAY 59-7939 (E
    529) with and without food in
    comparison to the immediate
    release formulation in healthy
    male subjects


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 33 Randomized, single-blind,             11609   9/5/2005     12/27/2005   40 | 41   XARELTO_BHCP_00004143
    placebo-controlled, dose-
    escalation study in healthy Chinese
    male subjects to investigate the
    tolerability, safety,
    pharmacokinetics and
    pharmacodynamics effects of BAY
    59-7939 after multiple oral dose of
    5 mg, 10 mg, 20 mg and 30 mg bid
    for 6 days
 34 Randomized, single-blind,             11708   10/11/2005   3/28/2006    76 | 79   XARELTO_BHCP_00001761
    placebo-controlled dose escalation                                                XARELTO_BHCP_00001760
    study in elderly male and female                                                  XARELTO_BHCP_00004145
    healthy Chinese subjects to                                                       XARELTO_BPAG_00224665
    investigate the safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of BAY 59-7939
    (5 mg, 10 mg, 20 mg, 30 mg and
    40 mg) given after a standard
    breakfast
 35 The study will investigate the        11864   9/2/2005     12/5/2005    26 | 27   XARELTO_BPAG_00173214-40
    platelet aggregation response of                                                  XARELTO_BHCP_00001763
    healthy male subjects to                                                          XARELTO_BHCP_00001762
    clopidogrel and continue                                                          XARELTO_BHCP_00004173
    “responders” in a randomized,
    non-blinded, three-way cross-over
    study part to investigate the
    influence of two doses of
    clopidogrel once daily on the
    safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 15 mg BAY 59-7939


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 36 Randomized, open-label, two-fold,       11937   10/18/2006   1/18/2007    24 | 24   XARELTO_BHCP_00001771
    cross-over study to investigate the                                                 XARELTO_BHCP_00001770
    effect of a high-fat, high-calorie                                                  XARELTO_BHCP_00004089
    meal on safety, tolerability and                                                    XARELTO_BPAG_00196124
    pharmacokinetics of 10 mg BAY
    59-7939 tablet given to healthy
    male subjects
 37 Randomized, open-label, two-fold        11938   3/27/2007    5/14/2007    22 | 24   XARELTO_BHCP_00004092
    cross-over study to investigate the                                                 XARELTO_BPAG_00197020
    effect of a high fat, high calorie
    meal on safety, tolerability and
    pharmacokinetics of 20 mg BAY
    59-7939-rivaroxaban tablet given
    to healthy male subjects
 38 Clinical pharmacology study in          12026   7/6/2006     8/18/2006    36 | 36   XARELTO_BHCP_00001790
    Japanese healthy elderly subjects                                                   XARELTO_BHCP_00001789
    to investigate pharmacoldnetics,                                                    XARELTO_BHCP_00004147
    pharmacodynamics, safety and
    tolerability of BAY 59-7939
    multiple doses with 10, 15 and 20
    mg once daily under fed condition
 39 Non-randomized, open-label study        12089   1/26/2006    3/2/2006     7|7       XARELTO_BHCP_00001792
    with two treatment periods to                                                       XARELTO_BHCP_00001791
    investigate the potential interaction                                               XARELTO_BHCP_00004186
    between a single dose of 15 mg of                                                   XARELTO_BPAG_00177397-
    warfarin and a single dose of 5 mg                                                  8259
    BAY 59-7939 in healthy male
    subjects in terms of safety,
    tolerability, pharmacodynamics
    and pharmacokinetics
 40 A study to evaluate the single-dose     12090   6/6/2006     10/19/2006   46 | 47   XARELTO_BHCP_00001794
    pharmacokinetics of BAY 59-7939                                                     XARELTO_BHCP_00001793
    (rivaroxaban) in Black, Hispanic                                                    XARELTO_BHCP_00004149


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    and Caucasian healthy subjects
 41 Randomized, non-blinded, non-         12359   1/19/2007    4/27/2007   19 | 26   XARELTO_BHCP_00001796
    placebo-controlled, three-way                                                    XARELTO_BHCP_00001795
    crossover study to investigate the                                               XARELTO_BHCP_00004188
    influence of multiple doses of 20
    mg atorvastatin once daily on the
    safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 20 mg BAY 59-7939 and
    vice versa in healthy male subjects
 42 Randomized, non-blinded, non-         12612   12/19/2007   2/7/2008    15 | 16   XARELTO_BHCP_00004192
    placebo-controlled, twofold cross-                                               XARELTO_BPAG_00755905-
    over study to investigate the                                                    7037
    influence of multiple doses of 500
    mg clarithromycin bid on the
    safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single dose
    of 10 mg rivaroxaban/BAY 59-
    7939 in comparison to a single
    dose of 10 mg rivaroxaban/BAY
    59-7939 alone in healthy male
    subjects
 43 Non-randomized, non-blinded,          12680   2/12/2007    3/24/2007   18 | 20   XARELTO_BHCP_00001798
    non-placebo-controlled study with                                                BAYXRLTO_REV_005_0000005
    intra-individual comparison to                                                   0
    investigate the influence of                                                     XARELTO_BHCP_00004195
    multiple doses of rifampicin qd on                                               XARELTO_BPAG_00174302-
    the safety, tolerability,                                                        5251
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 20 mg BAY 59-


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    7939/rivaroxaban in comparison to
    a single dose of 20 mg of BAY 59-
    7939/riva alone in healthy male
    subjects
 44 Randomized, non-blinded, two-      13371   11/14/2008   1/6/2009   20 | 20   XARELTO_BPAG_00145624-
    way crossover study to establish                                             6583
    the bioequivalency between a                                                 XARELTO_BPAG_00146583
    BAY 59-7939 tablet (development                                              XARELTO_BPAG_00334610-
    no. 365) 15 mg and a BAY 59-                                                 5569
    7939 tablet (development no. 367)
    15 mg in healthy adult male
    subjects under fasting condition
 45 Randomized, placebo-controlled,    10849   11/11/2008   4/9/2010   83 | 96   XARELTO_JANSSEN_00002027
    parallel-group study in healthy
    male subjects to investigate the
    pharmacodynamics during the
    switching procedure from warfarin
    to riva 2008-005540-16 clinical
    pharmacology study phase I
    primary objective: to investigate
    the pharmacodynamics while
    switching from warfarin (dosed to
    steady state; INR 2-3) to riva
    treatment (20 mg od)
 46 Investigation of the effect of     11940   7/19/2007    7/1/2009   51 | 51   XARELTO_JANSSEN_00046653
    different doses of BAY 59-
    7939/riva with and without aspirin
    on thrombus formation in the
    perfusion chamber at high and low
    shear rates in an open label,
    randomized parallel group study in
    comparison to clopidogrel and
    aspirin


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 47 Randomized, parallel-group, open-      RIVAROXN   7/24/2012   8/31/2012    35 | 35   XARELTO_JANSSEN_00046653
    label study to assess the effects of   AP1003
    3-factor and 4-factor prothrombin
    complex concentrates on the
    pharmacodynamics of riva
 48 Randomized, open-label, two-fold       15921      10/1/2011   11/9/2011    12 | 22   XARELTO_JANSSEN_00054739
    cross-over study to investigate the
    effect of Japanese men on safety,
    tolerability and pharmacokinetics
    of 15 mg BAY 59-7939/riva tablet
    given to Japanese healthy male
    subjects
 49 Randomized, open label, two-fold       IMPACT     5/17/2002   6/27/2002    6 | 10    XARELTO_JANSSEN_00001872
    cross-over study to investigate the    10846
    effect of a high fat, high calorie
    meal on safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of 10 mg BAY
    59-7939 given oral as 2 x 5 mg
    tablets in 12 healthy male subjects
 50 Randomized, non-blind, non-            12362      7/1/2009    11/20/2009   24 | 24   XARELTO_JANSSEN_00001905
    controlled, 3-way crossover study
    to assess the pharmacokinetics,
    safety and tolerability of different
    dose strengths of riva administered
    with food in healthy male subjects
 51 Single-dose, open-label,               14022      10/2/2009   12/16/2009   16 | 17   XARELTO_JANSSEN_00001909
    randomized, 4-way crossover
    study to compare 10 and 20 mg of
    an oral suspension of riva under
    fasting and 20 mg of an oral
    suspension of riva under fed
    conditions to 10 mg of an


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      immediate release tablet under
      fasting conditions in healthy
      subjects
 52   Single-dose, open-label,                14588   8/17/2009    9/30/2009   26 | 28   XARELTO_JANSSEN_00001911
      randomized, 2-way crossover
      pivotal bioequivalence study of
      2x5 mg tablets riva versus 1x10
      mg tablet riva under fasted
      condition in healthy subjects
 53   Single-centre, randomized,              10847   7/15/2002    12/2/2002   64 | 68   XARELTO_JANSSEN_00001918
      placebo-controlled, single-blind,
      parallel-group investigation of the
      safety, tolerability,
      pharmacodynamics and
      pharmacokinetics of BAY 59-7939
      after multiple dose applications of
      BAY 59-7939 as conventional
      BAY 59-7939 tablets in healthy
      male volunteers
 54   A randomized, multicenter study         12980   12/27/2009   3/24/2009   26 | 36   XARELTO_JANSSEN_00001923
      to evaluate the pharmacokinetics,
      pharmacodynamics and safety of
      riva in subjects with acute (open-
      label, active-controlled) or chronic
      (double-blind, placebo-controlled)
      congestive heart failure
 55   Randomized, single-blind,               11127   6/27/2003    9/8/2003    30 | 30   XARELTO_JANSSEN_00001934
      placebo-controlled, dose-
      escalation study in healthy
      Japanese male subjects to
      investigate the tolerability, safety,
      pharmacokinetics and
      pharmacodynamics effects of BAY


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    59-7939 tablet after multiple oral
    doses of 10, 20 and 30 mg bid for
    6 days
 56 Randomized, single-blind,            11608   5/18/2005   7/19/2005   50 | 50   XARELTO_JANSSEN_00001944
    placebo-controlled, dose-
    escalation study in healthy Chinese
    men to investigate the tolerability,
    safety, pharmacokinetics and
    pharmacodynamics effects of BAY
    59-7939 tablets after single oral
    doses of 2.5, 5, 10, 20 and 40 mg
    under fasting conditions
 57 Randomized, non-blinded, non-        10992   2/21/2003   3/27/2003   12 | 12   XARELTO_JANSSEN_00001957
    placebo-controlled, two-fold cross-
    over study to investigate the
    influence of a pre- and
    coadministration of 200 mg
    ketoconazole once daily on the
    safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 10 mg BAY 59-7939 in
    comparison to a single oral dose of
    10 mg of BAY 59-7939 alone in
    12 healthy male subjects
 58 Randomized, non-blinded, non-        11865   3/16/2006   10/5/2006   15 | 16   XARELTO_JANSSEN_00001978
    placebo-controlled, twofold cross-
    over study to investigate the
    influence of multiple doses of 500
    mg erythromycin tid on the safety,
    tolerability, pharmacodynamics
    and pharmacokinetics of a single
    dose of 10 mg BAY 59-7939 in


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    comparison to a single dose of 10
    mg BAY 59-7939 alone in healthy
    male subjects
 59 Non-randomized, non-blinded,          11935   3/22/2006   8/15/2006   12 | 18   XARELTO_JANSSEN_00001981
    non-placebo-controlled study with
    inter-individual comparison to
    investigate the influence of
    multiple doses of 600 mg ritonavir
    bid on the safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 10 mg BAY 59-7939 in
    comparison to a single oral dose of
    10 mg of BAY 59-7939 alone in
    healthy male subjects
 60 Non-randomized, non-blinded,          12680   2/12/2007   4/16/2007   18 | 20   XARELTO_JANSSEN_00002001
    non-placebo-controlled study with
    intra-individual comparison to
    investigate the influence of
    multiple doses of rifampicin qd on
    the safety, tolerability,
    pharmacodynamics and
    pharmacokinetics of a single oral
    dose of 20 mg BAY 59-7939/riva
    in comparison to a single dose of
    20 mg of BAY 59-7939/riva alone
    in healthy male subjects
 61 Open-label, 2-way crossover study     n/a     4/12/2010   5/21/2010   22 | 22   XARELTO_JANSSEN_00002007
    in healthy subjects to determine
    the effect of multiple doses of
    omeprazole on the
    pharmacokinetics,
    pharmacodynamics and safety of a


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    single dose of riva
 62 Randomized, open-label, 2-fold          12606   6/11/2010    10/6/2010    13 | 14   XARELTO_JANSSEN_00022490
    cross-over study to investigate the
    influence of multiple doses of 400
    mg fluconazole on safety,
    tolerability, pharmacodynamics
    and pharmacokinetics of a single
    oral dose of 20 mg riva in healthy
    male subjects
 63 Randomized, placebo-controlled,         14883   6/25/2010    9/14/2010    36 | 77   XARELTO_JANSSEN_00022494
    parallel-group study in Japanese
    healthy male subjects to
    investigate the pharmacodynamics
    and pharmacokinetics during the
    switching procedure from warfarin
    to rivaroxaban
 64 An open-label, non-randomized,          n/a     10/10/2011   5/16/2012    31 | 46   XARELTO_JANSSEN_00046651
    sequential two-treatment period
    study to explore the
    pharmacodynamics changes when
    transitioning from rivaroxaban to
    warfarin
 65 Randomized, single-blind,               11608   1/23/2003    4/10/2003    40 | 40   XARELTO_JANSSEN_00065004
    placebo-controlled, dose-
    escalation study in healthy
    Japanese male subjects to
    investigate the tolerability, safety,
    pharmacokinetics and
    pharmacodynamics effects of BAY
    59-7939 tablet after single oral
    doses of 5, 10, 20 and 40 mg under
    the fasting condition
 66 Randomized, single-blind,               11325   9/21/2004    12/28/2004   64 | 64   XARELTO_JANSSEN_00001936


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    placebo-controlled, dose-
    escalation study in healthy elderly
    male and female Japanese subjects
    to investigate the tolerability,
    safety, pharmacokeintics and
    pharamcodynamic effects of BAY
    59-7939 tablet after single oral
    doses of 10, 20, 30, 40 and 50 mg
    under the fed condition
 67 Randomized, non-blind, non-             12361   11/11/2010   2/10/2011   23 | 24   XARELTO_JANSSEN_00023772
    controlled, 3-way crossover study
    to assess the pharmacokinetics,
    safety, and tolerability of different
    dose strengths of rivaroxaban (2.5
    mg, 5 mg, 10 mg) in healthy male
    subjects
 68 Randomized, non-blinded, non-           12570   11/10/2010   2/23/2011   11 | 12   XARELTO_JANSSEN_00023774
    controlled, 3-way crossover study
    to assess the pharmacokinetics,
    safety, and tolerability of an
    extended release formulation of
    rivaroxaban (E 202) with and
    without food in comparison to the
    immediate release formulation in
    healthy male subjects.
 69 Randomized, non-blinded, non-           12571   11/19/2010   3/2/2011    11 | 12   XARELTO_JANSSEN_00023776
    controlled, 3-way crossover study
    to assess the pharmacokinetics,
    safety, and tolerability of an
    extended release formulation of
    rivaroxaban (GITS) with and
    without food in comparison to the
    immediate release formulation in


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     healthy male subjects




                                               PHASE II CLINICAL TRIALS

     Study Title/Name                      Study     Study        Study        Patients     Clinical Study Report
                                           Number    Initiated    Completed    Completed
                                                     Date         Date         | Patients
                                                                               Enrolled
 1   Oral direct factor Xa inhibitor       10942     12/15/2002   12/19/2003   466 | 642    XARELTO_BHCP_00004220
     BAY 59-7939 in the prevention of
     VTE in patients undergoing total
     hip replacement: OD/Xahip – a
     phase IIa dose escalating proof-of-
     principle trial
 2   Oral direct factor Xa inhibitor       10945     2/26/2004    11/23/2004   570 | 709    XARELTO_BHCP_00004442
     BAY 59-7939 in the prevention of
     VTTE in patients undergoing total
     knee replacement OD/Xa-KNEE –
     a randomized, controlled, double-
     blind, double-dummy phase IIb
     dose-ranging trial (Study 10945)
 3   Oral direct factor Xa inhibitor       11223     3/24/2004    10/5/2005    530 | 636    XARELTO_BHCP_00001776
     BAY 59-7939 in patients with                                                           XARELTO_BHCP_00001775
     acute symptomatic proximal deep                                                        XARELTO_BHCP_00006198
     vein thrombosis. ODIXa-DVT
     Study. A prospective randomized,
     multinational, multicenter,
     partially blinded, parallel-group,
     open-label active comparator


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     controlled phase II dose finding
     and proof of principle trial
 4   BAY 59-7939 (Factor Xa                  11390    6/30/2004    6/21/2005   51 | 56     XARELTO_BHCP_00006318
     Inhibitor) Phase II study in patients
     with atrial fibrillation
 5   Controlled, double-blind,               11527    11/12/2004   7/27/2005   845 | 877   XARELTO_BHCP_00006068
     randomized, dose-ranging study of
     once-daily regimen of BAY 59-
     7939 in the prevention of VTE in
     patients undergoing elective total
     hip replacement – ODIXa-OD Hip
     Study
 6   BAY 59-7939 (Factor Xa                  11886    7/3/2006     2/14/2007   100 | 114   XARELTO_BHCP_00006430
     Inhibitor) Phase II once daily dose
     study in patients with atrial
     fibrillation
 7   BAY 59-7939 (Factor Xa                  120024   9/13/2005    3/27/2006   95 | 121    XARELTO_BHCP_00006443
     Inhibitor) Phase II low dose study
     in patients with atrial fibrillation
 8   The EINSTEIN CYP cohort study           13238    5/22/2009    6/22/2011   14 | 25     XARELTO_JANSSEN_00054748
     – Oral direct factor Xa inhibitor
     rivaroxaban in patients with acute
     symptomatic deep vein thrombosis
     or pulmonary embolism using a
     strong CYP3A4 inducer
 9   The ATLAS ACS TIMI 46 Trial             11898    11/17/2006   9/19/2008   3,406 |     XARELTO_JANSSEN_01301718
     (Anti-Xa Therapy to Lower                                                 3,491
     Cardiovascular Events in Addition
     to Aspirin with or without
     Thienopyridine Therapy in
     Subjects with Acute Coronary
     Syndrome)



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    A randomized, double-blind,
    placebo-controlled, multicenter,
    dose-escalation and dose-
    confirmation study to evaluate the
    safety and efficacy of rivaroxaban
    in combination with aspirin alone
    or with aspirin and a
    thienopyridine in subjects with
    acute coronary syndromes
 10 ODIXa-HIP2 Study                     10944   1/12/2004    9/16/2004   709 | 726   XARELTO_JANSSEN_00048178

    Controlled, double-blind,
    randomized, dose-ranging study on
    the prevention of VTE in patients
    undergoing elective total hip
    replacement
 11 EINSTEIN-DVT Dose-Finding         11528      12/24/2004   12/7/2005   n/a | 543   XARELTO_BHCP_00006326
    Study

     Once-daily oral direct factor Xa
     inhibitor BAY 59-7939 in patients
     with acute symptomatic deep-vein
     thrombosis.




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                                             PHASE III CLINICAL TRIALS

     Study Title/Name                    Study      Study        Study       Patients     Clinical Study Report
                                         Number     Initiated    Completed   Completed
                                                    Date         Date        | Patients
                                                                             Enrolled
 1   ROCKET-AF                           11630      12/18/2006   9/7/2010    12,064 |     XARELTO_JANSSEN_00054263
     (Rivaroxaban Once Daily Oral                                            14,236       XARELTO_JANSSEN_00002047
     Direct Factor Xa Inhibition
     Compared with Vitamin K
     Antagonism for Prevention of
     Stroke and Embolism Trial in
     Atrial Fibrillation)
     A prospective, randomized,
     double-blind, double-dummy,
     parallel-group, multicenter, event-
     driven, non-inferiority study
     comparing the efficacy and safety
     of once daily oral rivaroxaban
     (BAY 59-7939) with adjusted dose
     oral warfarin for the prevention of
     stroke and non-central nervous
     system systemic embolism in
     subjects with non-valvular atrial
     fibrillation
 2   RECORD I                            11354      2/7/2006     3/13/2007   3,029 |      XARELTO_BHCP_00001778
     Regulation of coagulation in                                            4,541        XARELTO_BHCP_00001777
     orthopedic surgery to prevent DVT                                                    XARELTO_BHCP_00004554
     and PE, controlled, double-blind,
     randomized study of Bay 59-7939
     in the extended prevention of VTE


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     in patients undergoing elective
     total hip replacement
 3   RECORD II                            11357         2/19/2006   6/26/2007   1,615 |    XARELTO_BHCP_00001784
     Regulation of coagulation in                                               2,509      XARELTO_BHCP_00001783
     orthopedic surgery to prevent DVT                                                     XARELTO_BHCP_00005726
     and PE, controlled, double-blind,                                                     XARELTO_BHCP_00005727
     randomized study of BAY 59-
     7939 in the extended prevention of
     VTE in patients undergoing
     elective total hip replacement
 4   RECORD III                           11356         2/21/2006   1/18/2007   1,631 |    XARELTO_BHCP_00001782
     Regulation of coagulation in                                               2,531      XARELTO_BHCP_00001781
     orthopedic surgery to prevent DVT                                                     XARELTO_BHCP_00005396
     and PE, a controlled, double-blind,                                                   XARELTO_BHCP_00005397
     randomized study of BAY 59-                                                           XARELTO_JANSSEN_00066223
     7939 in the prevention of VTE in
     subjects undergoing elective total
     knee replacement
 5   RECORD IV                           11355          6/16/2006   1/31/2008   3,034 |    XARELTO_BHCP_00588194
     Regulation of coagulation in                                               3,148
     orthopedic surgery to prevent DVT
     and PE controlled, double-blind
     randomized study of rivaroxaban
     in the prevention of VTE in
     subjects undergoing elective total
     knee replacement
 6   Integrated analysis of rivaroxaban 11357, 11356,   2/7/2006    1/31/2008   12,383 |   XARELTO_BHCP_00006194
     (BAY 59-7939) studies 11354        11355, 11354                            12,729     XARELTO_BHCP_00137087
     (RECORD 1, 11355 (RECORD 4),
     11356 (RECORD 3) and 11357
     (RECORD 2) with regard to
     efficacy and safety


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 7   EINSTEIN DVT                         11702 DVT    3/22/2007    4/12/2010   3,429 |    XARELTO_JANSSEN_00054263
     Oral direct factor Xa inhibitor                                            3,449      XARELTO_JANSSEN_00573217
     rivaroxaban in patients with acute
     symptomatic deep vein thrombosis
 8   EINSTEIN PE                          11702 PE     3/29/2007    12/1/2011   4,817 |    XARELTO_JANSSEN_04273006
    Oral direct factor Xa inhibitor                                             4,833      XARELTO_JANSSEN_05405204
    rivaroxaban in patients with acute                                                     XARELTO_JANSSEN_00582486
    symptomatic pulmonary embolism
 9 Analysis of the effect of              11702 DVT,   2007         2011        8,282 |    XARELTO_JANSSEN_00581410
    rivaroxaban (BAY 59-7939) on          11702 PE                              8,302
    bleedings and efficacy with
    selected co-medication cataegories
    in pool of studies SN 11702 DVT
    (EINSTEIN DVT) and SN 11702
    PE (EINSTEIN PE)
 10 EINSTEIN EXTENSION                    11899        2/28/2007    9/17/2009   1,197 |    XARELTO_JANSSEN_01113391
    Once-daily oral factor Xa inhibitor                                         1,200      XARELTO_JANSSEN_13321786
    rivaroxaban in the long-term
    prevention of recurrent
    symptomatic venous
    thromboembolism in patients with
    symptomatic deep vein thrombosis
    or pulmonary embolism
 11 ATLAS ACS 2 TIMI 51 Trial             13194        11/26/2008   9/19/2011   13,124 |   XARELTO_JANSSEN_02719942
    (The Second Trial of Anti-Xa                                                15,526     XARELTO_JANSSEN_00023832
    Therapy to Lower Cardiovascular
    Events in Addition to Standard
    Therapy in Subjects with Acute
    Coronary Syndrome)
     A randomized, double-blind,
     placebo-controlled, event-driven
     multicenter study to evaluate the


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    efficacy and safety of rivaroxaban
    in subjects with a recent acute
    coronary syndrome
 12 Safe Simple Transitions (SST)         n/a     3/22/2010   12/17/2010   46 | 56     XARELTO_JANSSEN_00784631
    Study
    An open-label pharmacodynamics
    study of initiations of rivaroxaban
    following low molecular weight
    heparin (LMWH) for venous
    thromboembolism (VTE)
    prophylaxis after total joint
    replacement
 13 MAGELLAN                              12839   12/4/2007   11/24/2010   4,050 |     XARELTO_JANSSEN_00993250
    Multicenter, randomized, parallel-                                     8,101
    group efficacy and safety study for
    the prevention of venous
    thromboembolism in hospitalized
    medically ill patients comparing
    rivaroxaban with enoxaparin
 14 Randomized, double-blind,             14398   6/14/2011   10/5/2012    279 | 302   XARELTO_JANSSEN_00044096
    parallel-group, active-controlled,
    dose confirmatory bridging study
    of rivaroxaban (BAY 59-7939) 5
    to 10 mg once-daily regimen with
    a reference drug of enoxaparin in
    the prevention of venous
    thromboembolism in patients
    undergoing elective total knee
    replacement
 15 VENTURE-AF                            n/a     2/22/2013   10/29/2014   213 | 248   XARELTO_BPAG_15138805

     Randomized, open-label, active-



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         controlled multi-center study to
         evaluate the safety of rivaroxaban
         and vitamin K antagonists in
         subjects undergoing catheter
         ablation for atrial fibrillation



                                                     PHASE IV CLINICAL TRIALS

         Study Title/Name                       Study             Study       Study       Patients     Clinical Study Report
                                                Number            Initiated   Completed   Completed
                                                                  Date        Date        | Patients
                                                                                          Enrolled
 1       XAMOS                                13802               2/18/2009   6/14/2011   17,413 |     XARELTO_JANSSEN_00046674
         (Xarelto in the prophylaxis of post-                                             17,701
         surgical venous thromboembolism
         after elective major orthopedic
         surgery of hip or knee)

         Prospective, international, non-
         interventional cohort comparison
         of rivaroxaban vs. Any other
         pharmacological standard
         treatment for the prophylaxis of
         VTE after major orthopedic
         surgery


 Sources:

     -     Internal documents as listed within chart
     -     Exhibit A to Janssen Defendants’ Responses to Interrogatories



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                                                                                                                               USCA5 3181
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                                   Schedule 8
                             Deposition Excerpts




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          1         IN THE UNITED STATES DISTRICT COURT
          2       FOR THE EASTERN DISTRICT OF LOUISIANA
          3                       - - -
          4
                 IN RE: XARELTO           : MDL NO. 2592
          5      (RIVAROXABAN) PRODUCTS :
                 LITIGATION               : SECTION L
          6                               :
                 THIS DOCUMENT RELATES : JUDGE ELDON
          7      TO ALL CASES             : E. FALLON
                                          :
          8                               :
                                          : MAG. JUDGE
          9                               : NORTH
        10                       VOLUME I
        11                         - - -
        12                  February 16, 2016
        13                         - - -
        14                      - PROTECTED -
        15      - SUBJECT TO FURTHER PROTECTIVE REVIEW -
        16                    Videotaped deposition of
                CHRISTOPHER C. NESSEL, M.D., taken
        17      pursuant to notice, was held at the law
                offices of Drinker, Biddle & Reath, 600
        18      Campus Drive, Florham Park, New Jersey,
                beginning at 8:57 a.m., on the above
        19      date, before Michelle L. Gray, a
                Registered Professional Reporter,
        20      Certified Shorthand Reporter and Notary
                Public.
        21
                                       -    -   -
        22
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       *RONRZ7HFKQRORJLHV,QF                                               3DJH
                                                                            USCA5 3183
     Case 2:14-md-02592-EEF-MBN Document
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          1     question.          Do you believe it's full and
          2     complete?          I don't understand your
          3     resistance unless you think it might be
          4     incomplete.
          5                          MS. MOORE:    Same objection.
          6                          THE WITNESS:     I believe I
          7                   have answered this question.
          8                   Moreover, the sponsor believes
          9                   they have -- they have addressed
        10                    the specific request -- request of
        11                    the FDA.
        12      BY MR. McWILLIAMS:
        13                    Q.     Sir, do you believe that
        14      this response, the FDA information
        15      request, with respect to the roles and
        16      responsibilities of Mr. Chalecki, is full
        17      and complete?
        18                    A.     Well --
        19                    Q.     Either you do or you don't.
        20                           MS. MOORE:    Let him finish.
        21                           THE WITNESS:     Let me put a
        22                    finer point on it.      A summary of
        23                    the report of information, the
        24                    roles and responsibilities, so
       *RONRZ7HFKQRORJLHV,QF                                              3DJH
                                                                            USCA5   3184
     Case 2:14-md-02592-EEF-MBN Document
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          1                   yes, it is a full and complete
          2                   report of the roles and
          3                   responsibilities of the unblinded
          4                   physician.
          5                         It is a full and complete
          6                   explanation or answer to whether
          7                   the physician had access to
          8                   unblinded INR determinations,
          9                   performed as part of the PK-PD
        10                    substudy.    It is an accurate
        11                    response to the FDA's question.
        12      BY MR. McWILLIAMS:
        13                    Q.    Is it true that one of the
        14      roles and responsibilities of
        15      Mr. Chalecki was to compare INR values
        16      generated by the INRatio device with
        17      split samples analyzed by other methods?
        18                    A.    That was part of his --
        19                    Q.    Responsibilities?
        20                    A.    -- responsibilities, yes.
        21                    Q.    So then why is that
        22      responsibility not included in this
        23      information request, sir?
        24                    A.    I believe it is subsumed
       *RONRZ7HFKQRORJLHV,QF                                              3DJH
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          1     in -- his primary responsibility, it
          2     stated, on the ROCKET-AF study was to
          3     monitor trends, et cetera.
          4                   Q.    So, sir, you -- but you
          5     understand, sir, that one -- you sent out
          6     the letter in February 8, 2008, to every
          7     site around the country, around the
          8     world, because you know they had concerns
          9     about the accuracy of this device.
        10                          And you set up a whole
        11      special separate program where Bud
        12      Chalecki would get sent the results of
        13      the CoVance unblinded lab samples.                 You
        14      know about that, don't you?
        15                          MS. MOORE:     Object to the
        16                    form of the question.
        17      BY MR. McWILLIAMS:
        18                    Q.    Sir?
        19                          MS. MOORE:     Object to the
        20                    form of the question.
        21                          THE WITNESS:      So there were
        22                    rare and isolated questions
        23                    brought to the attention of the
        24                    sponsor about the performance of
       *RONRZ7HFKQRORJLHV,QF                                              3DJH
                                                                            USCA5   3186
     Case 2:14-md-02592-EEF-MBN
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                                                                              Page 1
                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA
                                 - - -

                 IN RE: XARELTO         : MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
                 TO ALL CASES           : E. FALLON
                                        :
                                        :
                                        : MAG. JUDGE
                                        : NORTH
                                VOLUME I
                                  - - -
                            February 16, 2016
                                  - - -
                               - PROTECTED -
                - SUBJECT TO FURTHER PROTECTIVE REVIEW -
                             Videotaped deposition of
                CHRISTOPHER C. NESSEL, M.D., taken
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                Campus Drive, Florham Park, New Jersey,
                beginning at 8:57 a.m., on the above
                date, before Michelle L. Gray, a
                Registered Professional Reporter,
                Certified Shorthand Reporter and Notary
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                                                                           Page 169
          1     in -- his primary responsibility, it
          2     stated, on the ROCKET-AF study was to
          3     monitor trends, et cetera.
          4              Q.       So, sir, you -- but you
          5     understand, sir, that one -- you sent out
          6     the letter in February 8, 2008, to every
          7     site around the country, around the
          8     world, because you know they had concerns
          9     about the accuracy of this device.
         10                       And you set up a whole
         11     special separate program where Bud
         12     Chalecki would get sent the results of
         13     the CoVance unblinded lab samples.                You
         14     know about that, don't you?
         15                       MS. MOORE:      Object to the
         16              form of the question.
         17     BY MR. McWILLIAMS:
         18              Q.       Sir?
         19                       MS. MOORE:      Object to the
         20              form of the question.
         21                       THE WITNESS:       So there were
         22              rare and isolated questions
         23              brought to the attention of the
         24              sponsor about the performance of


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                                                                           Page 170
          1              the device.       The sponsor
          2              proactively put in measures.              We
          3              called it the CoVance recheck
          4              system where patients who
          5              presented at an office clinic
          6              would have a point-of-care INR
          7              test done and then a laboratory
          8              test done and sent to CoVance
          9              central laboratories.
         10     BY MR. McWILLIAMS:
         11              Q.       Okay.    So show me where I
         12     can find that in your response to the FDA
         13     where they're asking about what
         14     information the company has about this
         15     device malfunctioning during ROCKET.
         16     Show me where.        Highlight it for me.
         17     Underline it.
         18                       MS. MOORE:      Object to the
         19              form of the question.
         20                       THE WITNESS:       Nowhere in FDA
         21              Request Number 5 does it say
         22              information about, to use your
         23              words, the device malfunctioning
         24              in the trial.


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          1         IN THE UNITED STATES DISTRICT COURT
          2       FOR THE EASTERN DISTRICT OF LOUISIANA
          3                       - - -
          4
                 IN RE: XARELTO           : MDL NO. 2592
          5      (RIVAROXABAN) PRODUCTS :
                 LITIGATION               : SECTION L
          6                               :
                 THIS DOCUMENT RELATES : JUDGE ELDON
          7      TO ALL CASES             : E. FALLON
                                          :
          8                               :
                                          : MAG. JUDGE
          9                               : NORTH
        10                       VOLUME I
        11                         - - -
        12                  February 16, 2016
        13                         - - -
        14                      - PROTECTED -
        15      - SUBJECT TO FURTHER PROTECTIVE REVIEW -
        16                    Videotaped deposition of
                CHRISTOPHER C. NESSEL, M.D., taken
        17      pursuant to notice, was held at the law
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        19      date, before Michelle L. Gray, a
                Registered Professional Reporter,
        20      Certified Shorthand Reporter and Notary
                Public.
        21
                                       -    -   -
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          1                   Q.    Okay.   So you're not -- so
          2     you're -- you don't necessarily think the
          3     FDA should, then, because you think that
          4     its relevance is questionable?
          5                   A.    As I --
          6                         MS. MOORE:     Object to the
          7                   form of the question.
          8                   Mischaracterizes the witness's
          9                   answer.
        10                          THE WITNESS:      As I sit here,
        11                    it is my belief that the FDA was
        12                    informed of the CoVance recheck.
        13                    But I cannot say with certainty.
        14                    I want to be truthful.        So I'm not
        15                    going to say with certainty.           But
        16                    it's my belief they were.
        17      BY MR. McWILLIAMS:
        18                    Q.    The CoVance recheck fell
        19      under the rubric -- the roles and
        20      responsibilities of Mr. Chalecki,
        21      correct?
        22                    A.    Yes.
        23                    Q.    And there's no dispute that
        24      there's no mention of that role of
       *RONRZ7HFKQRORJLHV,QF                                              3DJH
                                                                            USCA5   3191
     Case 2:14-md-02592-EEF-MBN
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                                                                              Page 1
                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA
                                 - - -

                 IN RE: XARELTO         : MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
                 TO ALL CASES           : E. FALLON
                                        :
                                        :
                                        : MAG. JUDGE
                                        : NORTH
                                VOLUME I
                                  - - -
                            February 16, 2016
                                  - - -
                               - PROTECTED -
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                                                                           Page 218
          1     I'll ask it -- I want to know about two
          2     separate things you just mentioned.                And
          3     I want to know if either one of them were
          4     communicated to the FDA.
          5                       First, at any point in time,
          6     has it been communicated to the FDA that
          7     the sponsor was aware of rare and
          8     isolated incidents whereby a clinical
          9     investigator had questions about the
         10     accuracy of the device?
         11                       MS. MOORE:      Object to the
         12              form of the question.
         13                       THE WITNESS:       I cannot say
         14              for certain, but I think it is
         15              likely that the call logs held by
         16              the physicians at DCRI -- I think
         17              it is likely that those were
         18              submitted as part of the sNDA.
         19     BY MR. McWILLIAMS:
         20              Q.       But sitting here today, you
         21     don't know for certain?
         22              A.       No, sir, I can't say one way
         23     or the other.
         24              Q.       Okay.    And that secondly,


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                                                                           Page 219
          1     with respect to the CoVance recheck
          2     program, with respect to the CoVance
          3     recheck program --
          4              A.       Yeah.
          5              Q.       -- where Mr. Chalecki would
          6     have access to split samples, one -- one
          7     analyzed by a central lab CoVance and the
          8     other analyzed by the INRatio device,
          9     correct?
         10              A.       Yes.
         11              Q.       How -- how many times was
         12     that conducted?
         13              A.       A hundred and -- about 140.
         14              Q.       140.    And have you seen the
         15     results?
         16              A.       I did during the conduct of
         17     the study.      I have not seen them in five
         18     or seven years.
         19              Q.       Okay.    A hundred and -- so
         20     that was 140 times during the trial when
         21     an investigator was so uncomfortable with
         22     the point-of-care readout that he
         23     utilized this CoVance recheck program?
         24                       MS. MOORE:      Object to the


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                                                                           Page 363
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA
                           MDL No. 2592, Section L
                *********************************************
                IN RE: XARELTO (RIVAROXABAN)
                PRODUCTS LIABILITY LITIGATION
                THIS DOCUMENT RELATES TO ALL CASES
                *********************************************
                                - PROTECTED -
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                                           – – –

                            THURSDAY, FEBRUARY 25, 2016

                               WOLFGANG M. MUECK, Ph.D.

                                         VOLUME III
                                           – – –

                           Videotaped deposition of
                WOLFGANG M. MUECK, Ph.D., held at the law
                offices of Allen & Overy, LLP, Apollolaan 15,
                1077 AB Amsterdam, The Netherlands,
                commencing at 9:03 a.m., on the above date,
                before Lisa A. Knight, Registered Diplomate
                Reporter, Certified Realtime Reporter, and
                Realtime Systems Administrator.


                                     – – –
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                                                                           Page 391
          1     on the population PK, at least.
          2                       And those values -- you have
          3     that data, right?         The actual individual
          4     measurements.
          5             A.        The evaluation was done by our
          6     colleagues at Johnson & Johnson.               And I
          7     remember the report.          But whether the data
          8     was made available, presumably yes, because
          9     we had a cooperation.           But I did not do this
         10     myself.      And I cannot say whether the raw
         11     data is available at Bayer.
         12             Q.        Okay.    Then let's stick with
         13     your Table 3.       And you have the 5th and
         14     95th percentile.
         15                       The difference between the low
         16     end, which is the 5th percentile, and 137 is
         17     about 10-fold; is that correct?
         18             A.        Yes.    Yes, more or less.
         19             Q.        Okay.    Right.
         20                       So -- and that means -- and a
         21     10-fold difference means that the 137 folks
         22     -- subjects at the 95 percentile would be a
         23     thousand times higher -- a thousand percent
         24     higher, I should say.


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                 FOR THE EASTERN DISTRICT OF LOUISIANA
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                 IN RE: XARELTO         : MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
                 TO ALL CASES           : E. FALLON
                                        :
                                        :
                                        : MAG. JUDGE
                                        : NORTH
                                VOLUME I
                                  - - -
                              April 5, 2016
                                  - - -
                               - PROTECTED -
                - SUBJECT TO FURTHER PROTECTIVE REVIEW -
                             Videotaped deposition of
                WILLIAM BYRA, M.D., taken pursuant to
                notice, was held at the law offices of
                Drinker, Biddle & Reath, 600 Campus
                Drive, Florham Park, New Jersey,
                beginning at 9:10 a.m., on the above
                date, before Michelle L. Gray, a
                Registered Professional Reporter,
                Certified Shorthand Reporter and Notary
                Public.

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                                                                           Page 335
          1     warning letters?
          2                       MR. ZELLERS:       Object to
          3              form.
          4     BY MR. DENTON:
          5              Q.       Is that your testimony, sir?
          6              A.       Yes.
          7              Q.       You didn't provide the
          8     Bluestein article, did you, in response
          9     to that e-mail?
         10              A.       No.
         11              Q.       Didn't provide the CoVance
         12     recheck program in response to that
         13     e-mail, right?
         14              A.       No.
         15              Q.       Didn't provide the content
         16     of the helpline calls to Dr. Piccini, did
         17     you?
         18              A.       No.
         19              Q.       Did not provide any copies
         20     of the e-mails that you kept on your
         21     personal folders that you had labeled
         22     "personal Afib HemoSense"?             You didn't
         23     send any of those in either, did you, or
         24     even a summary of them?


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         3                       - - -
         4
                IN RE: XARELTO          : MDL NO. 2592
         5      (RIVAROXABAN) PRODUCTS :
                LITIGATION              : SECTION L
         6                              :
                THIS DOCUMENT RELATES : JUDGE ELDON
         7      TO ALL CASES            : E. FALLON
                                        :
         8                              :
                                        : MAG. JUDGE
         9                              : NORTH
        10                      VOLUME II
        11                        - - -
        12                    April 6, 2016
        13                        - - -
        14                     - PROTECTED -
        15     - SUBJECT TO FURTHER PROTECTIVE REVIEW -
        16                   Continued videotaped
               deposition of WILLIAM BYRA, M.D., taken
        17     pursuant to notice, was held at the law
               offices of Drinker, Biddle & Reath, 600
        18     Campus Drive, Florham Park, New Jersey,
               beginning at 9:03 a.m., on the above
        19     date, before Michelle L. Gray, a
               Registered Professional Reporter,
        20     Certified Shorthand Reporter and Notary
               Public.
        21
                                           -    -    -
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         1                 A.       He was a -- a scientist
         2     similar to the way our scientists are at
         3     Janssen.         And he worked on the
         4     ximelagatran SPORTIF trials as an
         5     unblinded monitor.
         6                 Q.       Okay.       When you say a
         7     scientist, did he have a Ph.D.?
         8                 A.       No.
         9                 Q.       Did he have a master's
        10     degree?
        11                 A.       I don't know what he had
        12     beyond his bachelor's degree.
        13                 Q.       All right.          Do you know what
        14     his bachelor's degree was in?
        15                 A.       No.
        16                 Q.       And I think we've talked
        17     about the 340,000 INRs that were taken
        18     during the course of the study.                        And was
        19     it Mr. Galecki's responsibility to review
        20     all of those INRs?
        21                 A.       Chalecki.
        22                 Q.       Chalecki.          I'm sorry.
        23                 A.       He would look at them.                  And,
        24     again, there weren't 340,000 all in one
       Golkow Technologies, Inc.                                           USCA5636
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         1     day.      But he would go down the -- his
         2     spreadsheet that he created and would
         3     call if there were anything unusual that
         4     he would see.
         5                 Q.       And do you know what you
         6     would define as something unusual?
         7                 A.       We left that to him.                 So if
         8     he saw somebody was controlled, for
         9     example, and then all of a sudden their
        10     INRs were -- were not controlled, he
        11     would call.
        12                 Q.       If you left it to him, how
        13     do you know he would call under those
        14     circumstances?
        15                 A.       Because we had discussed
        16     what he would call me on, and -- and it
        17     would be anything that -- that he found
        18     that was unusual.
        19                          And, again, if the -- if the
        20     site was -- had INRs that were -- had
        21     wild variations or swings to them, or
        22     everybody was -- for example, that one
        23     e-mail where everybody was out of
        24     control, when it turns out they were
       Golkow Technologies, Inc.                                           USCA5637
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                 IN RE: XARELTO         : MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
                 TO ALL CASES           : E. FALLON
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                                        : MAG. JUDGE
                                        : NORTH
                                VOLUME II
                                  - - -
                              April 6, 2016
                                  - - -
                               - PROTECTED -
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                                                                           Page 742
          1              Q.       How many INR readings or
          2     values were obtained from the 14,000
          3     study patients during the ROCKET-AF
          4     trial?
          5              A.       Approximately 320,000.
          6              Q.       How many samples or tests,
          7     measurements, were sent to the company as
          8     part of the CoVance recheck program if an
          9     investigator had a question or wanted to
         10     double-check?
         11              A.       Well, there were 142,
         12     approximately.        But of those about 50
         13     were just to -- to obtain an INR without
         14     any question about checking it.
         15                       And then of the rest, it was
         16     about -- that would leave about 50 or
         17     so -- I'm sorry -- 90 or so that required
         18     a check with the CoVance lab.
         19              Q.       As of February 2008, this
         20     was available for any investigator or any
         21     monitor that had any issue or any
         22     question about one of these 320,000 lab
         23     tests that were taken; is that right?
         24              A.       Yes.


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                                                                           Page 743
          1              Q.       All right.      Before
          2     February of 2008, if an investigator had
          3     a question about an INR reading or test,
          4     what was their procedure to follow?
          5              A.       If there was a question we
          6     would -- we would discuss it with them,
          7     and then I would notify Mr. Chalecki of
          8     the issue and -- and see if he could,
          9     just from looking at it, determine what
         10     was going on.       And if we couldn't, we at
         11     that point would send a new device to the
         12     investigator.
         13              Q.       The procedure was formalized
         14     as of February 2008?
         15              A.       Yes.
         16              Q.       Okay.
         17                       (Document marked for
         18              identification as Exhibit
         19              Byra-51.)
         20     BY MR. ZELLERS:
         21              Q.       Please take a look at what
         22     we'll mark as Byra Exhibit 51.              I'll ask
         23     you to identify that.
         24              A.       This is --


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                                                                           Page 744
          1              Q.       Hold on.      Stop.
          2              A.       Okay.
          3              Q.       Wait until I ask you.
          4                       MR. ZELLERS:       For the
          5              record, Byra Deposition Exhibit 51
          6              are Janssen Bates Numbers 18512019
          7              through 18512024.
          8                       I don't remember reading
          9              into the record the Bates number
         10              for Deposition Exhibit 50.             That
         11              was Janssen 14557987 to 14557988.
         12     BY MR. ZELLERS:
         13              Q.       Dr. Byra, have you had an
         14     opportunity to review Exhibit 51?
         15              A.       Yes.
         16              Q.       What is Exhibit 51?
         17              A.       This is a spreadsheet that
         18     I -- I kept when we started the CoVance
         19     recheck system.
         20              Q.       Who prepared Exhibit 51?
         21              A.       I did.
         22              Q.       Are the comments and the
         23     notes yours in Exhibit 51?
         24              A.       Yes.


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                                                                           Page 745
          1              Q.       The comments in the far
          2     right-hand corner of the document, where
          3     do those comments come from?
          4              A.       It was -- the comments came
          5     from either e-mails or conversations from
          6     Mr. Chalecki or whatever was the final
          7     outcome of -- that's this particular
          8     sample and what was done with it.
          9              Q.       Mr. Chalecki had access to
         10     the actual lab value as well as the
         11     point-of-care reading; is that right?
         12              A.       That's correct.        He could,
         13     you know, check it just by -- go on his
         14     computer and check the lab value.
         15              Q.       He was unblinded.         He knew
         16     whether a patient was taking warfarin or
         17     whether a patient was receiving
         18     rivaroxaban?
         19              A.       Yes.
         20              Q.       Were you told, at least in
         21     the ordinary course, whether or not a
         22     patient was taking warfarin or
         23     rivaroxaban?
         24              A.       No.


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         2      FOR THE EASTERN DISTRICT OF LOUISIANA
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         4
                IN RE: XARELTO           : MDL NO. 2592
         5      (RIVAROXABAN) PRODUCTS :
                LITIGATION               : SECTION L
         6                               :
                THIS DOCUMENT RELATES : JUDGE ELDON
         7      TO ALL CASES             : E. FALLON
                                         :
         8                               :
                                         : MAG. JUDGE
         9                               : NORTH
        10                      VOLUME I
        11                        - - -
        12                   April 12, 2016
        13                        - - -
        14                     - PROTECTED -
        15     - SUBJECT TO FURTHER PROTECTIVE REVIEW -
        16                   Videotaped deposition of
               PETER M. DiBATTISTE, M.D., taken pursuant
        17     to notice, was held at the law offices of
               Drinker, Biddle & Reath, 105 College Road
        18     East, Princeton, New Jersey, beginning at
               8:58 a.m., on the above date, before
        19     Michelle L. Gray, a Registered
               Professional Reporter, Certified
        20     Shorthand Reporter and Notary Public.
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         1     device performance issues.
         2               Q.       Well, in -- in March of this
         3     year, your company wrote a letter to the
         4     FDA notifying them about the CoVance
         5     recheck program; is that correct?
         6               A.       Can you show me that letter?
         7               Q.       I will.       It's not a memory
         8     test --
         9               A.       Because I'm not sure I know
        10     what you're referring to.
        11               Q.       Well, sitting here today,
        12     I'm happy -- to this day has FDA been
        13     informed of the CoVance recheck program?
        14               A.       I believe so.          I believe
        15     that it was mentioned in some of the
        16     training materials, for example, that we
        17     submitted to FDA as -- as part of the
        18     submission.        I can't attest that with
        19     100 percent certainty.
        20                        But I -- I believe so.               I --
        21               Q.       And how about the data
        22     generated as part of that program?                    When,
        23     if ever, was that communicated to the
        24     FDA?
       Golkow Technologies, Inc.                                           USCA5157
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         1               A.       Never.      We haven't seen it
         2     yet.     And, in fact, it hasn't been
         3     formally transferred to us from CoVance
         4     yet after all the quality checks.
         5                        So -- so I would say never.
         6               Q.       Okay.      Both Dr. Byra and
         7     Dr. Nessel testified that they had
         8     seen -- they had a spreadsheet of the
         9     140-some-odd instances it was used, and
        10     they reported that discrepancies were
        11     observed, I think 14 -- 14 -- in 14
        12     instances.
        13               A.       Right.      So --
        14               Q.       Does that sound familiar?
        15               A.       Well, it sounds somewhat
        16     familiar, but I can tell you that we are
        17     getting the formal quality control
        18     results from CoVance, but we don't have
        19     them yet.
        20                        So what they have is, I
        21     guess, case-by-case reporting from --
        22     from Bud.       But -- but I think that the
        23     full dataset, again, because the program
        24     did not uncover anything that we thought
       Golkow Technologies, Inc.                                           USCA5158
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         1     was material to the results of the trial,
         2     or apparently even mentioned here is --
         3               Q.       So when did you ask for that
         4     data from CoVance?
         5                        MS. SHARKO:         Well, at
         6               this -- at this point, I think
         7               you're going into the area where I
         8               have an objection --
         9                        MR. McWILLIAMS:           Okay.
        10                        MS. SHARKO:         -- as to
        11               deliberative process.
        12                        MR. McWILLIAMS:           Okay.
        13               Maybe he can tell me when, and we
        14               can know better?           I think you said
        15               I could ask anything up to the
        16               March 7th submission?
        17                        MS. SHARKO:         I -- I don't
        18               know everything.           I'll let the
        19               witness answer this question.                  The
        20               question just calls for a date.
        21     BY MR. McWILLIAMS:
        22               Q.       Approximately when was
        23     CoVance asked for this --
        24               A.       Very recently.
       Golkow Technologies, Inc.                                           USCA5159
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                   IN THE UNITED STATES DISTRICT COURT
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                 IN RE: XARELTO         : MDL NO. 2592
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                                                                           Page 162
          1     BY MR. McWILLIAMS:
          2              Q.       You said you were made aware
          3     that there were some patients around whom
          4     concerns existed and that there were
          5     adverse bleeding events.            Would you agree
          6     that those are exactly the type of
          7     situations in patients that the FDA was
          8     seeking information about in their
          9     January 12, 2016, information request?
         10              A.       Possibly.
         11              Q.       Okay.    And the full and
         12     complete and truthful response of FDA
         13     included such description of patients and
         14     such events; is that fair?
         15                       MS. SHARKO:       Object to the
         16              form of the question.
         17                       THE WITNESS:       We -- so I'm
         18              not sure I see where you're going.
         19              But I guess maybe your question is
         20              whether or not we provided a full
         21              and complete response.
         22     BY MR. McWILLIAMS:
         23              Q.       You know, that's it exactly.
         24     I appreciate that.


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                 FOR THE EASTERN DISTRICT OF LOUISIANA
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                                                                           Page 165
          1              Q.       Okay.    What's the subject
          2     line of this e-mail, sir?
          3                       MS. SHARKO:       Wait.     Give the
          4              witness a chance to read it,
          5              please.
          6                       THE WITNESS:       POC/SAE.
          7     BY MR. McWILLIAMS:
          8              Q.       You would agree with me
          9     that's pretty much exactly what the FDA
         10     was asking for, right?
         11              A.       That's the topic.
         12              Q.       Okay.
         13              A.       But this is not -- you
         14     understand that this is not an adverse
         15     event report.
         16              Q.       I do understand that.           But I
         17     guess the question is whether or not this
         18     should have been put into an adverse
         19     event report or whether this should have
         20     otherwise been provided to the FDA.
         21     Because if I'm able to find these
         22     instances, certainly you and your
         23     colleagues at Janssen can, right?
         24                       MS. SHARKO:       Well, wait a


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          1              minute.      I object to the speech
          2              and the commentary.
          3                       What is the question you
          4              want him to answer?
          5     BY MR. McWILLIAMS:
          6              Q.       Separate and apart from this
          7     being an adverse event report, you agree
          8     that this type of information, this
          9     narrative, is exactly the type of
         10     information that the FDA was asking for
         11     on January 12, 2016, when they were
         12     conducting their investigation into this
         13     topic?
         14              A.       I would say that if this
         15     were in an adverse event report, then I
         16     would say that the answer to that is yes.
         17              Q.       Okay.    And so let's read
         18     this.    And this is an e-mail chain that
         19     you received; is that correct?              When did
         20     you get added to it?
         21              A.       Yes.    I'm on at least the
         22     last one.
         23              Q.       The last one in time?
         24              A.       And the -- and the preceding


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                 IN RE: XARELTO         : MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
                 TO ALL CASES           : E. FALLON
                                        :
                                        :
                                        : MAG. JUDGE
                                        : NORTH
                                VOLUME I
                                  - - -
                             April 12, 2016
                                  - - -
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                             Videotaped deposition of
                PETER M. DiBATTISTE, M.D., taken pursuant
                to notice, was held at the law offices of
                Drinker, Biddle & Reath, 105 College Road
                East, Princeton, New Jersey, beginning at
                8:58 a.m., on the above date, before
                Michelle L. Gray, a Registered
                Professional Reporter, Certified
                Shorthand Reporter and Notary Public.
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          1              A.       I don't know.
          2              Q.       Well, what was the
          3     protocol -- and we'll get into the
          4     CoVance recheck program more, but what
          5     was the -- so if -- if Mr. Chalecki saw a
          6     paired sample and he saw that the lab INR
          7     was three units higher than the device
          8     INR, what was he supposed to do?               How --
          9     how does one address that issue -- that
         10     circumstance?
         11              A.       My understanding -- so -- so
         12     you are talking specifically about the
         13     CoVance program?
         14              Q.       Yes, sir.
         15              A.       So my understanding was that
         16     he needed to get back to the site and let
         17     them know that the results were either
         18     generally consistent or inconsistent, in
         19     which case they would be encouraged, I
         20     believe, to -- to recheck the value.
         21              Q.       But how does that address a
         22     potential trialwide device malfunction?
         23                       MS. SHARKO:       Object to the
         24              form.


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                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
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          1              form of the question.
          2     BY MR. McWILLIAMS:
          3              Q.       Is that correct?
          4              A.       That was probably the
          5     principal reason, but not the only
          6     reason.     There were circumstances where
          7     it was really used as a backup for a
          8     machine that, you know, didn't -- you
          9     know, the battery was dead or something
         10     like that.
         11                       But I think it was that and
         12     to provide the investigator some
         13     reassurance when they're in the context
         14     of a blinded trial and not being able to
         15     see their patient's INR.
         16              Q.       But the principal reason was
         17     to enact -- to use this program whenever
         18     the POC generated a result that was
         19     greatly different from what was expected?
         20                       MS. SHARKO:       Object to the
         21              form.     Asked and answered.
         22                       THE WITNESS:       Yeah.     My
         23              understanding is, as we have
         24              discussed, that it was put in


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          1              place to -- to -- as part of the
          2              investigation that we referred to
          3              in prior documents, to provide an
          4              opportunity for investigators when
          5              they suspected that they might
          6              have a result that they didn't
          7              think was accurate, to validate
          8              it.
          9     BY MR. McWILLIAMS:
         10              Q.       Okay.    Is it true that there
         11     are still Week 24 frozen samples from
         12     ROCKET in storage somewhere?
         13              A.       I don't know the answer to
         14     that.    I don't know the answer to that.
         15              Q.       Let me -- just a second.
         16                       Have -- to the best of your
         17     knowledge, has all PK data, drug
         18     concentration data collected as part of
         19     the ROCKET trial, been communicated to
         20     the FDA?
         21              A.       We did a substudy.          We
         22     submitted the study report.             And, yes.
         23              Q.       All data analyzed, PK data?
         24              A.       All data that were part of


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                               EASTERN DISTRICT OF LOUISIANA

                 PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

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                IN RE: XARELTO (RIVAROXABAN) * MDL NO. 2592
                PRODUCTS LIABILITY LITIGATION *
                                              * SEC. L
                                              *
                                              * JUDGE
                                              * ELDON E. FALLON
                *******************************
                                              * MAG. JUDGE NORTH
                THIS DOCUMENT RELATES TO:     *
                JOSEPH ORR, JR., ET AL. v.    *
                JANSSEN RESEARCH AND          *
                DEVELOPMENT, LLC, ET AL.      *
                CASE NO. 2:14-cv-03708        *
                *******************************

                     Video Deposition of MAURICE ST. MARTIN, M.D.,
                taken in accordance with Rules 30 and 34 of the
                Federal Rules of Civil Procedure, taken at the
                Lambert Firm, PLC, 701 Magazine Street, New
                Orleans, Louisiana, on the 27th day of June, 2016.
                Videographed By:
                    Melissa Bardwell
                    Adrienne Sanders

                Reported By:

                     Diana S. Ezell, CCR, RPR, RMR
                     Certified Court Reporter



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          1     laboratory test, is that something that you would
          2     have done?      Would you have wanted to know whether
          3     they were having too much or too little Xarelto?
          4           A.     Well, it's kind of a hypothetical
          5     question.      I think I would have to know more
          6     details about it.         I don't think I would be the
          7     only one in the United States monitoring it then.
          8     It would either be a widespread thing or not, but
          9     I would probably be in with whatever the
         10     mainstream is doing.
         11           Q.     Are you aware that there are a number of
         12     physicians that have published in the
         13     peer-reviewed literature arguing that patients
         14     should be monitored so that you can identify
         15     over-absorbers or high-absorbers so that you can
         16     switch them to something else or reduce their dose
         17     before they have a horrible bleeding event?
         18           MR. IRWIN:
         19                    Object to the form.
         20           MR. PAINE:
         21                    Objection.
         22           A.     I don't remember that at all.
         23     BY MR. ABNEY:
         24           Q.     But, again, we have looked at the
         25     interpatient variability.            We have seen how high


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          1     patients can be when they take Xarelto at
          2     steady-state and we have seen how low they can be,
          3     right?
          4            A.    Right.
          5            Q.    And knowing that the higher a patient is
          6     the more likely they are to bleed.                If you could
          7     do a simple PT test and determine whether a
          8     patient was at the very high end and, therefore,
          9     much more likely to bleed, is that something that
         10     you would want to know?
         11            A.    It's something that I would want to know
         12     if the FDA had thought it was a good idea.                   I put
         13     a lot of faith in what the FDA allows the drug --
         14     how it allows it to be used.
         15            Q.    I take it from your earlier testimony,
         16     you don't have a whole lot of experience with the
         17     FDA and how they approve drugs.               Is that fair to
         18     say?
         19            A.    How they approve them?            I don't know all
         20     of their techniques with approving a drug.
         21            Q.    Are you familiar with the term "medical
         22     review officer"?
         23            A.    No.
         24            Q.    So at the FDA when a drug is submitted,
         25     a new drug application, there are medical review


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                IN RE: XARELTO (RIVAROXABAN) * MDL NO. 2592
                PRODUCTS LIABILITY LITIGATION *
                                              * SEC. L
                                              *
                                              * JUDGE
                                              * ELDON E. FALLON
                *******************************
                                              * MAG. JUDGE NORTH
                THIS DOCUMENT RELATES TO:     *
                JOSEPH ORR, JR., ET AL. v.    *
                JANSSEN RESEARCH AND          *
                DEVELOPMENT, LLC, ET AL.      *
                CASE NO. 2:14-cv-03708        *
                *******************************

                     Video Deposition of MAURICE ST. MARTIN, M.D.,
                taken in accordance with Rules 30 and 34 of the
                Federal Rules of Civil Procedure, taken at the
                Lambert Firm, PLC, 701 Magazine Street, New
                Orleans, Louisiana, on the 27th day of June, 2016.
                Videographed By:
                    Melissa Bardwell
                    Adrienne Sanders

                Reported By:

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          1           Q.     And it goes on two sentences down, it
          2     says, "It's convenient for patients to be able to
          3     dispense with at least monthly monitoring required
          4     for Warfarin, perhaps increasing the willingness
          5     of health care professionals to prescribe and
          6     patients to take an anticoagulant.                However,
          7     infrequent monitoring, perhaps at initiation and
          8     yearly thereafter, to assure appropriate dosing of
          9     drugs that prevent stroke and cause bleeding may
         10     improve outcomes and be acceptable to patients."
         11     Do you see that?
         12           A.     I see that.
         13           Q.     Do you think it would be acceptable to
         14     you and your patients to monitor Xarelto levels at
         15     initiation and then once a year afterwards to make
         16     sure they weren't too much or too low on Xarelto?
         17           A.     That's another hypothetical question.
         18     If I was going to try something like that, I don't
         19     know why I would wait a year for the second piece
         20     of data.     I would say maybe initiation and then
         21     four to six weeks, and then if you were in the
         22     right ballpark, if you thought it was going to be
         23     stable, space it out.
         24           Q.     And if you did the initial, after they
         25     got to steady-state, and you did the initial test


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          1     and they were up in the 95th percentile, what
          2     would you do?
          3            A.    You mean the 95th percent of being where
          4     they ought to be?
          5            Q.    When we looked at that scatter plot, the
          6     lowest was like .6 and the highest was well over
          7     600.    I'm saying if they are in the top of the
          8     class, what would you do?
          9            A.    If they were out of bounds, in other
         10     words?
         11            Q.    Right.
         12            A.    I would make an adjustment then.
         13            Q.    And you said you frequently talked with
         14     patients about the difference between Warfarin and
         15     the frequent monitoring --
         16            A.    Yes.
         17            Q.    -- and the Xarelto or Pradaxa where
         18     there is no monitoring, right?
         19            A.    Right.
         20            Q.    And in your experience, you know, having
         21     worked with these patients for a long time, I
         22     think you also said you tell them the benefit is
         23     if you do the Warfarin, you do the testing, you
         24     know where you are?
         25            A.    Yes.


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          1           Q.     Whereas when you do Xarelto, Pradaxa, no
          2     testing, you don't know, right?
          3           A.     Right.
          4           Q.     Do you think that they would find it to
          5     be a happy medium to do this infrequent testing on
          6     Xarelto or Pradaxa to find out where they are?
          7           A.     From the patients that I deal with, and
          8     I've got a lot of long chronic patients that I
          9     really have got a close relationship to, I think
         10     they would go with anything suggested.
         11           Q.     If you knew that there was a way to
         12     monitor Xarelto levels in your patient and do it
         13     infrequently, was that something that you would
         14     suggest to them?
         15           A.     I would have to see it studied and see
         16     all the data, but if it turned out to be a good
         17     thing to do, I would certainly suggest it.                   Yes.
         18           Q.     I think what you said that we know is
         19     the higher the prothrombin time, the more likely
         20     they are to bleed, right?
         21           A.     That's correct.
         22           Q.     What other data would you need other
         23     than knowing kind of what the ballpark is to keep
         24     them in?
         25           A.     The outcome of the patient.              In other


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          1     words, if you want us to initiate a new way to use
          2     the drug, I would say you want the data on the
          3     measurement you want and then you want the data of
          4     how that measurement benefited or harmed or did
          5     nothing for the patient.            The outcome data too.
          6           Q.     But you know if you keep the patient
          7     from being at the very high range of the PT that
          8     you are protecting them from bleeds, right?
          9           A.     You generally would think that.
         10           Q.     Well, at least that's what the medical
         11     review officers think when they say, "They also
         12     demonstrated that there is a correlation between
         13     PT and risk of bleeding," right?
         14           A.     Yeah.     I remember that sentence.             I
         15     don't see where it is on the page right now.
         16           Q.     It was right there under "Additional
         17     Issues."
         18           A.     Okay.     Back up to the middle.            Okay.
         19           Q.     I think that's all I have on that
         20     document, Doctor.         Let me show what has been
         21     marked as Exhibit 41 to your deposition.                  This is
         22     a document that was produced by the defendants,
         23     but it's a letter from the FDA to Janssen, and I
         24     just want to make two quick points.                The date it
         25     was received by Janssen was February 20th, 2014.


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                 FOR THE EASTERN DISTRICT OF LOUISIANA
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                 IN RE: XARELTO         :            MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             :            SECTION L
                                        :
                 THIS DOCUMENT RELATES :             JUDGE ELDON
                 TO ALL CASES           :            E. FALLON
                                        :
                                        :
                                        :            MAG. JUDGE
                                        :            NORTH

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                                   June 29, 2016

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                            Videotaped deposition of
               TROY C. SARICH, Ph.D., taken pursuant to
               notice, was held at the law offices of
               Drinker, Biddle & Reath, 600 Campus
               Drive, Florham Park, New Jersey,
               beginning at 9:07 a.m., on the above
               date, before Michelle L. Gray, a
               Registered Professional Reporter,
               Certified Shorthand Reporter and Notary
               Public.

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          1              rivaroxaban concentrations.
          2     BY MR. McWILLIAMS:
          3              Q.       Okay.    Sir, did you attend
          4     the -- the advisory committee meeting
          5     for -- in support of the Afib indication?
          6              A.       Yes, I did.
          7              Q.       And, therefore, you reviewed
          8     the FDA's briefing document?
          9              A.       Yes.    It was many years ago
         10     since I read that document.             But I did at
         11     the time.
         12              Q.       And are you aware, sir, that
         13     the FDA said that PT could be used as a
         14     surrogate marker for PK?
         15              A.       I do recall they -- they
         16     made that claim.
         17              Q.       Do you agree or disagree
         18     with them in that?
         19              A.       I -- I don't agree.          I don't
         20     think that that analysis was correct, and
         21     I don't think that their assessment was
         22     correct, and we spent a lot of time in
         23     the company and also working with
         24     external academic experts on this


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                                                                             Page 52
          1     question.      And -- and I think as
          2     evidenced today by the fact that PT is
          3     not used by clinicians, it's just not
          4     helpful.
          5              Q.       Okay.    But had Janssen ever
          6     communicated to the FDA that PT would be
          7     a useful surrogate marker of PK?
          8                       MS. KOLE:      Object to the
          9              form.
         10                       THE WITNESS:       I -- I don't
         11              recall exactly if we did.             I think
         12              that we had shared all the data we
         13              had on the various coagulation
         14              markers that are available.              PT
         15              was one of those markers, which is
         16              prolonged by rivaroxaban.             But I
         17              think we also pointed out that
         18              it's not -- it's not a sensitive
         19              assay for rivaroxaban, so we
         20              didn't think the utility was very
         21              good.
         22     BY MR. McWILLIAMS:
         23              Q.       But -- but the assessment
         24     that you -- that the FDA did that you


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                                                                             Page 53
          1     disagree with, is that what they
          2     allegedly saw in the data, was that with
          3     increasing -- or that there was a linear
          4     relationship between PK and PD, with PD
          5     being the pro -- pro time, using the
          6     Neoplastine reagent, and that they also
          7     saw a correlation between increasing PT
          8     and bleed risk, right?
          9                       MS. KOLE:      Object to the
         10              form.
         11                       THE WITNESS:       They -- they
         12              produced multiple assessments and,
         13              similar to our prior findings,
         14              yes, that PT is prolonged by
         15              rivaroxaban.
         16                       The -- the work they showed
         17              that PT is correlated to bleeding,
         18              we did not agree with that
         19              assessment or how they did the
         20              analysis.
         21     BY MR. McWILLIAMS:
         22              Q.       And -- and why not?          What
         23     was wrong with it?
         24              A.       They didn't take into


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                                                                             Page 54
          1     account the fact that -- that PT also
          2     varies based on a patient's risk factors.
          3     So an individual with a high PT who is
          4     taking rivaroxaban may not have a high PT
          5     only because of rivaroxaban.             So the fact
          6     that they have underlying bleeding risk
          7     factors wasn't taken into account.
          8                       In our assessments -- and we
          9     looked at hundreds of patient samples
         10     from the ROCKET study -- we found no
         11     correlation between PT and bleeding.
         12              Q.       Well, that's the same thing
         13     that the FDA looked at and they claimed
         14     they did see a correlation.
         15              A.       I don't know exactly which
         16     data the FDA used for their analysis.
         17     But we found their analysis to be
         18     incorrect.
         19              Q.       And did you communicate that
         20     to the FDA, that you disagreed with their
         21     analysis?
         22              A.       Yes, we did.
         23              Q.       And did you communicate to
         24     the FDA -- in -- in what form did you


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                                                                             Page 55
          1     communicate that to the FDA?
          2              A.       I don't recall exactly.            I
          3     believe it was during one of our
          4     face-to-face meetings at FDA.
          5              Q.       So when did Janssen first
          6     learn that FDA was of the opinion that
          7     there was a relationship between PT and
          8     bleed risk in ROCKET riva patients?
          9                       MS. KOLE:      Object to the
         10              form.
         11                       THE WITNESS:       I believe that
         12              during -- after submission of the
         13              study to the FDA, and before the
         14              FDA approved rivaroxaban for use
         15              in that indication, sometime
         16              during that period of time their
         17              teams had done an analysis and --
         18              and when we saw it, we let them
         19              know that we didn't agree with how
         20              they had done the analysis.
         21     BY MR. McWILLIAMS:
         22              Q.       But -- but you shared with
         23     them the analysis -- and by "you," I'm
         24     saying Janssen -- shared with them the


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                                                                             Page 56
          1     analysis that Janssen had done with
          2     respect to PT and bleed risk?
          3              A.       Yes.    That was part of our
          4     submission to the FDA.
          5                       (Document marked for
          6              identification as Exhibit
          7              Sarich-3.)
          8     BY MR. McWILLIAMS:
          9              Q.       Okay.    Well, let me hand you
         10     what's been marked as Sarich-3, and
         11     hopefully you can help me clear up what
         12     is confusing me.
         13              A.       Sure.
         14              Q.       And, sir, I'll represent to
         15     you that this is the summary review
         16     document from the FDA website.              On the
         17     very last page you can see this is dated
         18     November 4, 2011.
         19                       And does that date ring a
         20     bell as to when they approved the Afib
         21     indication?
         22              A.       I -- I believe that's
         23     correct.      And the month and year is
         24     definitely right.         I don't remember the


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                                                                             Page 57
          1     exact day.
          2              Q.       I understand.
          3              A.       It sounds right.
          4              Q.       Well, turn to Page 9,
          5     please, because I'm exploring -- I am
          6     exploring this issue today.             You know,
          7     the FDA was of the opinion that there is
          8     this PT bleed risk correlation.               You guys
          9     looked into it.        You didn't see a
         10     correlation, and then you communicated
         11     that and -- and your scientific basis to
         12     the FDA.
         13                       And do you -- were they
         14     satisfied with your answer?
         15              A.       I -- I don't know the answer
         16     to that.      We'd have to ask them.
         17              Q.       Okay.    Well, let's look and
         18     see what they wrote in November of
         19     2011 --
         20              A.       Sure.
         21              Q.       -- on Page 9 --
         22              A.       Sure.
         23              Q.       -- under the section
         24     "Additional Issues, The desirability of


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                                                                             Page 58
          1     monitoring for adjustment of Xarelto
          2     dose"?
          3              A.       Yep.
          4              Q.       It says, "The clinical
          5     pharmacology and clinical reviewers
          6     demonstrated that there is a linear
          7     correlation between rivaroxaban levels
          8     and prothrombin time.           They also
          9     demonstrated that there is also a
         10     correlation between PT and risk of
         11     bleeding.      This applicant has not chosen
         12     to utilize this information."
         13                       Did I read that correctly,
         14     sir?
         15              A.       You did read that correctly.
         16              Q.       Does -- do you agree that
         17     that's at odds with what you've been
         18     testifying the last few minutes, that
         19     your company had done this analysis and
         20     had communicated to the FDA?
         21              A.       No, I -- that's not how I
         22     read this.
         23              Q.       Okay.    When they say, "This
         24     applicant has chosen" -- "has not chosen


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          1     to utilize this information," what does
          2     that mean to you?
          3              A.       It means that what the FDA
          4     put forward as part of their analysis, we
          5     chose not to use that.           And we did so
          6     because we thought that it was a flawed
          7     analysis.      We didn't agree with how the
          8     FDA did the analysis.
          9              Q.       Okay.    But this doesn't read
         10     like the FDA was convinced by your
         11     analysis.      Would you agree with that?
         12                       MS. KOLE:      Object to the
         13              form.
         14                       THE WITNESS:       I think that
         15              there are many topics like this
         16              that Janssen and the FDA were not
         17              in agreement on.         And that's part
         18              of normal, to me, scientific
         19              debate on how to interpret data
         20              and information.
         21     BY MR. McWILLIAMS:
         22              Q.       Okay.    So at the end of the
         23     day, the FDA and Janssen did not reach
         24     agreement on whether or not there is a


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                                                                             Page 60
          1     relationship between PT and bleed risk?
          2              A.       That's correct.
          3              Q.       Okay.    So at the end of the
          4     day, the FDA was of the opinion that
          5     there was a correlation between PT and
          6     bleed risk?
          7                       MS. KOLE:      Object to the
          8              form.
          9                       THE WITNESS:       According --
         10              according to this document, yes.
         11     BY MR. McWILLIAMS:
         12              Q.       Okay.    Let's keep reading
         13     what the FDA wrote in November of 2011.
         14                       They say, "In fact, so far
         15     as we are aware, none of the other
         16     manufacturers/sponsors of other oral
         17     anticoagulants that inhibit single
         18     coagulation factors have chosen to
         19     utilize pharmacokinetics/pharmacodynamic
         20     information to explore adjusting dose to
         21     optimize safety and efficacy.              It is
         22     convenient for patients to dispense with
         23     at least monthly monitoring required for
         24     warfarin, perhaps increasing the


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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

                IN RE: XARELTO            )
                (RIVAROXABAN)             )
                PRODUCTS LIABILITY        )              MDL No. 2592
                LITIGATION                )
                --------------------------)              SECTION L
                This Document Relates To: )
                JAMES HENRY, INDIVIDUALLY )              JUDGE FALLON
                AND AS EXECUTOR OF THE    )
                ESTATE OF WILLIAM HENRY   )              MAG. JUDGE NORTH
                v. Janssen Research &     )
                Development, et al.;      )
                Civil Case No.:           )
                2:15-CV-00224             )



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                              DAVID B. McCAIN, M.D.
                                   JULY 1, 2016
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                                                                           Page 138
          1                           THE WITNESS:       Okay.     Thanks.
          2     BY MR. ABNEY:
          3             Q.      Looking back, considering the flat
          4     efficacy curve between 9 or 10 and 30 seconds on
          5     the prothrombin time scale, looking at the
          6     increased risk as the prothrombin time increases
          7     and considering that Mr. Henry was also on
          8     aspirin, would you agree that it would have been
          9     safer for Mr. Henry with respect to bleeds for him
         10     to be on the lower part of the prothrombin scale
         11     versus the higher part?
         12                           MS. SHARKO:       Object to the form.
         13             A.      Yes, I would.        And, again, it goes
         14     back to the fact that that was not really offered
         15     as a way to track this.           We were not really --
         16     nobody was ever told that there was a way to track
         17     it.
         18     BY MR. ABNEY:
         19             Q.      And I'm not being critical at all of
         20     you or your colleagues, Dr. McCain.                I'm just --
         21     I'm just asking what you would have liked to have
         22     known --
         23             A.      Uh-huh.
         24             Q.      -- and we'll get -- and then we'll get
         25     into the monitoring and how you could have


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                                                                           Page 139
          1     checked.     But that's not what I -- I'm not going
          2     there at all.
          3             A.      Okay.
          4             Q.      I'm just asking you as a doctor
          5     treating your patients, if you had been given this
          6     information, would you have concluded, it's better
          7     for Mr. Henry to be on the lower part of this
          8     scale than the upper part?
          9                           MS. SHARKO:       Object to the form.
         10             A.      Correct.      If we -- if the medical
         11     community -- if we as physicians had known that
         12     there was a way to track this, a correlation, it
         13     would have been -- that would have been
         14     beneficial.
         15     BY MR. ABNEY:
         16             Q.      And if there were a test that were
         17     available to tell you where your patient was on
         18     this scale, and that it was something that was
         19     relatively affordable, is that something that you
         20     as a physician, knowing what you know now, would
         21     want to utilize in your patients to see where they
         22     were on the scale?
         23             A.      It would be.        I would also want to
         24     know that it affected their outcomes.                 I would
         25     want to know that the added testing cost, what


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                                                                           Page 140
          1     have you, would affect that patient's long-term
          2     outcomes.
          3             Q.      Isn't that the idea behind doing
          4     studies that show what the levels are and what the
          5     anticipated risk is?
          6             A.      It -- yes.
          7                           MS. SHARKO:       Objection, form.
          8     BY MR. ABNEY:
          9             Q.      So you would agree with me that
         10     patients that have a prothrombin time of 30, on
         11     average, are going to be at a much greater risk of
         12     bleeding than patients that have a prothrombin
         13     time of 12, right?
         14             A.      I would agree.
         15             Q.      Especially in patients like Mr. Henry
         16     that were also on aspirin, right?
         17             A.      Correct.      It's interesting, at the top
         18     of page 41, that it says -- and this is -- it is
         19     reassuring that for the overall population, there
         20     does not appear to be a shift from lesser
         21     severities of ISTH major bleeding.                Again, I don't
         22     know what ISTH stands for, i.e. hemoglobin drops
         23     and transfusions to the more severe forms,
         24     critical organ bleeding, fatal bleeding, as a
         25     function of PT prolongation with rivaroxaban, as


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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

                IN RE: XARELTO            )
                (RIVAROXABAN)             )
                PRODUCTS LIABILITY        )              MDL No. 2592
                LITIGATION                )
                --------------------------)              SECTION L
                This Document Relates To: )
                JAMES HENRY, INDIVIDUALLY )              JUDGE FALLON
                AND AS EXECUTOR OF THE    )
                ESTATE OF WILLIAM HENRY   )              MAG. JUDGE NORTH
                v. Janssen Research &     )
                Development, et al.;      )
                Civil Case No.:           )
                2:15-CV-00224             )



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                              DAVID B. McCAIN, M.D.
                                   JULY 1, 2016
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                                                                           Page 162
          1             Q.      Are you aware that there is the
          2     ability for labs to check antifactor Xa levels?
          3             A.      Absolutely.
          4             Q.      And the authors go on to say, But
          5     because PT, prothrombin time, is a much less --
          6     strike that.       That doesn't say much.
          7                           Do you agree that these
          8     researchers nevertheless conclude that PT is less
          9     expensive than chromogenic assays, and they would
         10     recommend performing calibrated PT as a screening
         11     test, and if the values exceed specific cutoffs,
         12     then calibrated chromogenic antifactor X assays
         13     should be performed?
         14                           MS. SHARKO:       Object to the form.
         15             A.      Yes.     That's what it states.
         16     BY MR. ABNEY:
         17             Q.      Are you familiar with ordering
         18     prothrombin time testing?
         19             A.      Yes.
         20             Q.      Is that something that you have the
         21     ability to do any day of the week when you're in
         22     the office?
         23             A.      Yes.
         24             Q.      If you -- well, strike that.
         25                           Back when you were taking care of


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                                                                           Page 163
          1     Mr. Henry, did anybody at Bayer or Janssen ever
          2     inform you that you could order a prothrombin time
          3     using one of these sensitive assays that are
          4     identified in this article to check levels of
          5     Mr. Henry's Xarelto and see where he was on those
          6     curves?
          7             A.      No.
          8             Q.      Is that something that you would have
          9     liked for them to have told you, for Mr. Henry and
         10     for your other patients?
         11                           MS. SHARKO:       Object to the form.
         12             A.      It might have been useful.             It would
         13     have been useful.         It would be useful.
         14     BY MR. ABNEY:
         15             Q.      Do you want to take a brief break?
         16             A.      No, let's go.        I've got horses to see.
         17                           (Exhibit 19 marked.)
         18             Q.      I'm going to show you what's been
         19     marked as Exhibit 19 to your deposition.                  This is
         20     another article, and this is by two researchers,
         21     Gosselin and Hadcock.           Do you see that?
         22             A.      Yes.     It's International Journal of
         23     Laboratory Hematology.           Is that what it says?
         24     Okay.
         25             Q.      It represents that Dr. Gosselin is


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                  Transcript of the Testimony of
              Videotaped Deposition of Kenneth
                          Wong, M.D.


                             Date taken: July 11, 2016



                        In Re: Xarelto (RIVAROXABAN)




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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

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                                                                   )    MDL NO. 2692
                 IN RE: XARELTO (RIVAROXABAN)                      )
                 PRODUCTS LIABILITY LITIGATION                     )    SECTION "L"
                                                                   )
                 ------------------------------
                 This Document Relates to:
                 JOSEPH J. BOUDREAUX v JANSSEN
                 RESEARCH & DEVELOPMENT, et al
                 CASE NO. 2:14-CV-02720

                   Videotaped deposition of KENNETH WONG, M.D.,
                 taken in the offices of Cardiovascular Institute
                 of the South, 102 Twin Oaks Drive, Raceland,
                 Louisiana 70394, on Monday, the 11th day of
                 July, 2016.

                 APPEARANCES:

                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
                       MILES, P.C.
                    (BY: ANDY D. BIRCHFIELD, JR., ESQ.)
                    218 COMMERCE STREET
                    POST OFFICE BOX 4160
                    MONTGOMERY, ALABAMA 36104-4160

                         ATTORNEYS FOR THE PLAINTIFFS

                    KAYE SCHOLER, LLP
                    (BY: JULIE B. du PONT, ESQ.)
                    250 WEST 55TH STREET
                    NEW YORK, NEW YORK 10019-9710

                         ATTORNEYS FOR BAYER HEALTHCARE
                         PHARMACEUTICALS AND BAYER PHARMA AG




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                                  Videotaped Deposition of Kenneth Wong, M.D.
                                         In Re: Xarelto (RIVAROXABAN)


                                                                                    Page 43
          1                               Objection.
          2                       THE WITNESS:
          3                               Yes.
          4      EXAMINATION BY MR. BIRCHFIELD:
          5              Q.        If there were a simple blood test to
          6      determine the plasma concentration level for
          7      Xarelto that could significantly reduce the risk
          8      associated with the drug, would you want to know
          9      that?
         10                       MS. du PONT:
         11                               Objection.
         12                       MR. McCAULEY:
         13                               Same.
         14                       THE WITNESS:
         15                               In other words, let me just get
         16                that right.            You wanted me -- you are
         17                asking me if there was a way to monitor
         18                the level that -- what was your question
         19                again?
         20      EXAMINATION BY MR. BIRCHFIELD:
         21              Q.        Well, let me back up.                Do some
         22      patients respond to anticoagulants differently?
         23              A.        Yes.
         24                       MS. du PONT:
         25                               Objection.


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                                         In Re: Xarelto (RIVAROXABAN)


                                                                                   Page 44
          1      EXAMINATION BY MR. BIRCHFIELD:
          2              Q.        So some patients may take a pill and
          3      they may have a high response level, correct?
          4                       MR. McCAULEY:
          5                               I object; vague.
          6                       THE WITNESS:
          7                               Yes.       That applies to any drug,
          8                right?
          9      EXAMINATION BY MR. BIRCHFIELD:
         10              Q.        So if there were a way to identify
         11      high responders to Xarelto with a one-time blood
         12      test, would that be important for you to know?
         13                       MS. du PONT:
         14                               Objection.
         15                       MR. McCAULEY:
         16                               I object.
         17                       THE WITNESS:
         18                               If there was a way to identify
         19                high dose responders?                I would like to
         20                know if that affects the therapeutic --
         21                what is the therapeutic range and how we
         22                are going to monitor before I kind of give
         23                a definite answer to that.
         24      EXAMINATION BY MR. BIRCHFIELD:
         25              Q.        Knowing the therapeutic range is


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                                                                                   Page 45
          1      important, correct?
          2                       MS. du PONT:
          3                               Objection.
          4                       THE WITNESS:
          5                               If there's such a -- if it's very
          6                specific what is the therapeutic range
          7                then you would use the therapeutic range.
          8      EXAMINATION BY MR. BIRCHFIELD:
          9              Q.        If such a one-time blood test were
         10      available, would you use it for patients that
         11      you were putting on Xarelto?
         12                       MR. McCAULEY:
         13                               I object.
         14                       MS. du PONT:
         15                               Objection.
         16                       THE WITNESS:
         17                               So if there is a test that would
         18                tell you that some people are high
         19                responders, is that what you said?
         20      EXAMINATION BY MR. BIRCHFIELD:
         21              Q.        Yes.
         22              A.        Like they are very sensitive to it?
         23              Q.        Yes.
         24              A.        That they would be at risk for
         25      bleeding?


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                                         In Re: Xarelto (RIVAROXABAN)


                                                                                      Page 46
          1              Q.        Yes.
          2              A.        Or proven bleeding, that they are
          3      clearly at higher risk?                  Yes, of course, I would
          4      want to know that.
          5              Q.        Is such a test available for Xarelto?
          6              A.        I believe there may be, but I don't
          7      know the specific of it.
          8              Q.        Has anyone ever told you that there
          9      is one available?
         10              A.        I think there is a -- there is a like
         11      PTT equivalent, something like that.
         12              Q.        Where did you get that information,
         13      Dr. Wong?
         14              A.        Just -- I don't know.                Because all
         15      these medica -- all these NOACs seem to have --
         16      there is a level you can look at and in their
         17      studies, but I don't recall.                    But anyway, it did
         18      not seem to be relevant because it didn't seem
         19      like it was necessary to check those levels.
         20              Q.        Why is that?           It's not necessary to
         21      check those levels, why is that with Xarelto?
         22              A.        Because there did not seem to be --
         23      there was no study to show that monitoring that
         24      level was going to decrease their risk of
         25      bleeding.         There was no data regarding that


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         1                  UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
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              IN RE:     XARELTO                         MDL No. 2592
         4    (RIVAROXABAN)                              Section L
              PRODUCTS LIABILITY                         Judge Eldon Fallon
         5    LITIGATION                                 Mag. Judge North
         6    THIS DOCUMENT RELATES TO:
              ALL CASES
         7

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         8
         9    PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
        10
        11
        12      VIDEOTAPED DEPOSITION OF DR. FRANK MISSELWITZ
        13
        14                  Wednesday, July 13th, 2016
        15                         8:45 a.m.
        16
        17           Held At:
        18                  Simmons & Simmons
        19                  Claude Debussylaan 247
        20                  1082 MC Amsterdam, Netherlands
        21
        22
        23
        24    REPORTED BY:
        25    Maureen O'Connor Pollard, RMR, LA Cert #2011025

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         1          A.      You read it correctly.
         2          Q.      Okay.     And again, they're talking
         3    about all oral anticoagulants, so that would be
         4    your competitors, Warfarin, Pradaxa, Eliquis, is
         5    that correct?
         6                  MS. YATES:      Take your time to read the
         7    document.
         8                  (Witness reviewing document.)
         9          A.      Again, I was not familiar with this
        10    document before, but as I read it now, this
        11    particular paragraph under 3 is referring to
        12    oral anticoagulants as a whole.              That would
        13    include Warfarin.         And, of course, we need to
        14    keep in mind that the use, say, specifically of
        15    Xarelto is widespread with more than 20 million
        16    patients now being exposed.             So, of course, this
        17    also puts these numbers into perspective, and...
        18                  MR. McWILLIAMS:        Move to strike as
        19    non-responsive.
        20    BY MR. McWILLIAMS:
        21          Q.      20 million patients exposed.             And what
        22    percentage of those are for the Afib indication?
        23          A.      I don't know exactly.
        24          Q.      What's your best guess?
        25                  MS. YATES:      Objection.       Form.

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                                                                           Page 770
                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA
                                 - - -

                 IN RE: XARELTO         : MDL NO. 2592
                 (RIVAROXABAN) PRODUCTS :
                 LITIGATION             : SECTION L
                                        :
                 THIS DOCUMENT RELATES : JUDGE ELDON
                 TO ALL CASES           : E. FALLON
                                        :
                                        :
                                        : MAG. JUDGE
                                        : NORTH
                               VOLUME III
                                  - - -
                              July 20, 2016
                                  - - -
                               - PROTECTED -
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                             Continued videotaped
                deposition of PETER M. DiBATTISTE, M.D.,
                taken pursuant to notice, was held at the
                law offices of Drinker, Biddle & Reath,
                105 College Road East, Princeton, New
                Jersey, beginning at 9:08 a.m., on the
                above date, before Michelle L. Gray, a
                Registered Professional Reporter,
                Certified Shorthand Reporter and Notary
                Public.

                                       -   -    -

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                                                                           Page 820
          1     specifically to say, "We just learned
          2     about this device withdrawal.              Does this
          3     raise any additional questions?               Is there
          4     any" -- I don't know what the -- what the
          5     initiating reason for that call was.
          6              Q.       Do you believe FDA's review
          7     of the performance of this device in
          8     ROCKET led to its -- the recommendation
          9     for the device to be recalled?
         10              A.       I -- I'd be speculating.
         11     Based on what was written in the -- I
         12     guess in the Alere statement, I don't
         13     think so.      I think it was more about
         14     their satisfaction with modifications
         15     that is -- were made in the software.
         16     But I don't know.         And we've had no
         17     conversations with Alere about it at all.
         18              Q.       So to the best of your
         19     knowledge, has this -- has this issue
         20     been resolved from the FDA, or is there
         21     review still ongoing?
         22              A.       I have nothing to indicate
         23     that the review is complete.
         24              Q.       That it's complete?


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                                                                           Page 821
          1              A.       I have nothing to indicate
          2     that it is complete.          So my assumption is
          3     that it is ongoing.
          4                       Since this isn't a formal
          5     procedure as with EMA, there are no rules
          6     or requirements for FDA to tell us when
          7     they're done, which, to be honest, is a
          8     little unsatisfying.          We'd like to know
          9     when their assessment is done.              But it's
         10     not clear that we will get that.
         11              Q.       Is Janssen of the opinion
         12     that the freezing of these Week 12 and
         13     Week 24 samples and the time that elapsed
         14     from collection and analysis resulted in
         15     bias to the results?
         16                       MS. SHARKO:       I object to the
         17              form of the question.
         18              Dr. DiBattiste is here to testify
         19              as to what Dr. DiBattiste knows or
         20              believes.
         21                       MR. McWILLIAMS:        Okay.
         22     BY MR. McWILLIAMS:
         23              Q.       Are you familiar with
         24     Janssen's position on this topic?


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                                                                              Page 1
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                             EASTERN DISTRICT OF LOUISIANA

               IN RE: XARELTO (RIVAROXABAN)                   MDL NO. 2592
               PRODUCTS LIABILITY LITIGATION

                                                              SECTION L

                                            JUDGE ELDON E. FALLON
                                            MAG. JUDGE NORTH
               ***************************************************
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                 This Document Relates To:
                  Dora Mingo v. Janssen Research &
                  Development, et al.
                  Civil Case No. 2:15-cv-03469



                  **********************************************
               VIDEOTAPED DEPOSITION OF RENIE ARMSTRONG JORDON, M.D.
                  **********************************************
                           Taken at Holiday Inn Express
                                105 Holiday Lane,
                               McComb, Mississippi,
                                August 12, 2016,
                      beginning at approximately 12:40 p.m.



                          ************************************
                                  AMY M. KEY, RPR, CSR
                                     Notary Public




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                                                                             Page 94
          1           Q.     Well, let's just -- okay.            Let's not worry
          2    about the word "infrequent."             It says -- it gives an
          3    example, perhaps at initiation.
          4           A.     Uh-huh (affirmative response).
          5           Q.     So if you could monitor Xarelto at
          6    initiation to see the effect that it was having on a
          7    patient's blood to ensure that the patient had the
          8    right dose, do you believe that would result in
          9    better outcomes for patients?
         10           A.     If the manufacturer of the drug and the
         11    FDA recommends that we as physicians do this, yes.
         12           Q.     Right.     But that was not recommended to
         13    you in January of --
         14           A.     No, it wasn't recommended.
         15           Q.     I'm sorry.       In January of 2015, that was
         16    not recommended to you, correct?
         17           A.     No.
         18           Q.     In fact, the label specifically said that
         19    you could not monitor the anticoagulation effect of
         20    Xarelto?
         21           A.     That was my understanding, yes.
         22           Q.     But this information in this 2011 FDA
         23    document indicates that such monitoring is actually
         24    possible; is that correct?
         25                  MS. PRUITT:       Object to the form.


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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

               IN RE: XARELTO (RIVAROXABAN)                   MDL NO. 2592
               PRODUCTS LIABILITY LITIGATION

                                                              SECTION L

                                            JUDGE ELDON E. FALLON
                                            MAG. JUDGE NORTH
               ***************************************************
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                 This Document Relates To:
                  Dora Mingo v. Janssen Research &
                  Development, et al.
                  Civil Case No. 2:15-cv-03469



                  **********************************************
               VIDEOTAPED DEPOSITION OF RENIE ARMSTRONG JORDON, M.D.
                  **********************************************
                           Taken at Holiday Inn Express
                                105 Holiday Lane,
                               McComb, Mississippi,
                                August 12, 2016,
                      beginning at approximately 12:40 p.m.



                          ************************************
                                  AMY M. KEY, RPR, CSR
                                     Notary Public




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                                                                             Page 99
          1           Q.     And I do want to point out one more thing
          2    from the U.S. label, page 21 of the January 2015
          3    label, the pharmacodynamic section there.                  And could
          4    you just read that section to yourself, 12.2,
          5    pharmacodynamics?
          6                  Doctor, what's your understanding of what
          7    that information tells you?             I mean, is Neoplastin
          8    mentioned in those sentences?
          9           A.     Yes, it is.
         10           Q.     Is that information different from what
         11    was provided in the New Zealand label?
         12           A.     No.
         13           Q.     It's not different?          Okay.    What do you
         14    take this --
         15           A.     This is just a -- the New Zealand label is
         16    much more detailed, and this is like an overall
         17    summary that this is possible, that there's some
         18    effect.      And in the case of what is in the New
         19    Zealand label there, they went into a little bit
         20    more detail.
         21           Q.     Okay.
         22           A.     Yeah.
         23           Q.     So, Doctor, when you prescribed Xarelto to
         24    Ms. Mingo in January of 2015, it was your
         25    understanding that the anticoagulation effect of


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                                                                           Page 100
          1    Xarelto on Ms. Mingo's blood could not be monitored;
          2    is that correct?
          3           A.     That's my understanding, yes.
          4           Q.     And the label in effect at that time for
          5    Xarelto specifically stated that the anticoagulation
          6    effect of Xarelto could not be monitored; is that
          7    correct?
          8                  MS. MOORE:       Object to the form.
          9                  THE WITNESS:       That's my understanding,
         10           yes.
         11    BY MR. VANZANDT:
         12           Q.     But Janssen had information suggesting
         13    that the anticoagulation effect of Xarelto could
         14    actually be monitored; is that right?
         15                  MS. MOORE:       Object to the form.
         16                  MS. PRUITT:       Object to the form.
         17                  THE WITNESS:       In some fashion, yes.
         18    BY MR. VANZANDT:
         19           Q.     And we looked at the 2011 FDA document
         20    where it was indicated that there was a correlation
         21    between PT and Xarelto.            Do you recall that?
         22           A.     Yes.
         23           Q.     And we also looked at the New Zealand
         24    label where doctors in New Zealand were being told
         25    that you can monitor the anticoagulation effect of


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                                                                           Page 101
          1    Xarelto.      Do you recall that?
          2            A.    Yes.
          3            Q.    But Janssen did not provide that
          4    information to doctors in the United States; is that
          5    correct?
          6                  MS. MOORE:       Object to the form.
          7                  THE WITNESS:       Right.
          8    BY MR. VANZANDT:
          9            Q.    Doctor, when you prescribed Xarelto to
         10    Ms. Mingo in January of 2015, would you have liked
         11    to have known that it was possible to monitor the
         12    anticoagulation effect of Xarelto?                Is that
         13    information that you would've liked to have had?
         14                  MS. PRUITT:       Objection.
         15                  THE WITNESS:       Yes.
         16    BY MR. VANZANDT:
         17           Q.     And if you would have known that, if you
         18    knew that it was possible to monitor the
         19    anticoagulation effect of Xarelto for Ms. Mingo, is
         20    that something you would have wanted to do?
         21           A.     Yes.
         22           Q.     Would it have been beneficial -- would it
         23    have been beneficial to you to monitor the effect it
         24    was having on her right after she initiated the
         25    drug?


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                                                                           Page 102
          1           A.     Yeah.
          2           Q.     And if you would have been able to run
          3    such a test to monitor Xarelto's anticoagulation
          4    effect and if a test showed you that Ms. Mingo's
          5    blood was too anticoagulated, would you have made a
          6    switch to her medication?
          7                  MS. MOORE:       Object to the form.
          8                  THE WITNESS:       Rephrase that.
          9    BY MR. VANZANDT:
         10           Q.     I'm sorry.       That's a terrible question.
         11                  Doctor, let's actually look -- let's look
         12    at Ms. Mingo's laboratory testing from around the
         13    time that you prescribed Xarelto to her.
         14                  MR. WILLS:       Is this Exhibit 11?
         15                  MR. VANZANDT:        What number are we on?
         16                  COURT REPORTER:        Yes, 11.
         17                        (EXHIBIT NO. 11 MARKED.)
         18    BY MR. VANZANDT:
         19           Q.     Now, Doctor, we discussed earlier that you
         20    prescribed Xarelto to Ms. Mingo on January 23rd,
         21    2015; is that correct?
         22           A.     Correct.
         23           Q.     And she had presented to the emergency
         24    room the day before that on January 22nd, 2015; is
         25    that correct?


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              Protected - Subject to Further Protective Review

                                                                              Page 1
                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

               IN RE: XARELTO (RIVAROXABAN)                   MDL NO. 2592
               PRODUCTS LIABILITY LITIGATION

                                                              SECTION L

                                            JUDGE ELDON E. FALLON
                                            MAG. JUDGE NORTH
               ***************************************************
                PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

                 This Document Relates To:
                  Dora Mingo v. Janssen Research &
                  Development, et al.
                  Civil Case No. 2:15-cv-03469



                  **********************************************
               VIDEOTAPED DEPOSITION OF RENIE ARMSTRONG JORDON, M.D.
                  **********************************************
                           Taken at Holiday Inn Express
                                105 Holiday Lane,
                               McComb, Mississippi,
                                August 12, 2016,
                      beginning at approximately 12:40 p.m.



                          ************************************
                                  AMY M. KEY, RPR, CSR
                                     Notary Public




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              Protected - Subject to Further Protective Review

                                                                           Page 106
          1           suggest, yes.
          2    BY MR. VANZANDT:
          3           Q.     But you didn't know that back in
          4    January 2015, did you?
          5           A.     No.
          6           Q.     And no one from Xarel- -- or no one from
          7    Janssen had told you that back prior to January of
          8    2015?
          9           A.     No.
         10                  MS. MOORE:       Object to the form.
         11    BY MR. VANZANDT:
         12           Q.     So, Doctor, if after you prescribed
         13    Xarelto to her on the 23rd, --
         14           A.     Uh-huh (affirmative response).
         15           Q.     -- if you knew that there was a test that
         16    you could have ran the next day that would have
         17    shown you the effect that Xarelto was having on her
         18    blood, you would have ran that test, correct?
         19           A.     Correct.
         20           Q.     And if that test showed that Xarelto was
         21    causing her blood to become too anticoagulated,
         22    would you have made some kind of adjustment to her
         23    dosage or her medication?
         24                  MS. PRUITT:       Objection.
         25                  THE WITNESS:        Yes, I would.


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                                   Schedule 9
                List of Advisory Committee Materials
                         Concerning Xarelto




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                  List of Advisory Committee Materials Concerning Xarelto


       1. March 19, 2009 Cardiovascular and Renal Drugs Advisory Committee Meeting

            On March 19, 2009, the Cardiovascular and Renal Drugs Advisory Committee of the
    Food and Drug Administration met to discuss New Drug Application (NDA) 022406, Xarelto
    (rivaroxaban) oral tablets (10 mg) for the proposed indication for use in prophylaxis of deep vein
    thrombosis and pulmonary embolism in patients undergoing hip replacement surgery or knee
    replacement surgery.

           The following is a list of materials from the March 19, 2009 Meeting:

              x    Announcement of the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

              x    Agenda for the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

              x    Roster for the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

              x    FDA Briefing Information and Errata for the March 19, 2009 Cardiovascular and
                   Renal Drugs Advisory Committee Meeting

              x    Janssen Briefing Information for the March 19, 2009 Cardiovascular and Renal
                   Drugs Advisory Committee Meeting

              x    FDA Slides for the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting:
                     - Kathy Robie-Suh, M.D., Medical Officer/Team Leader, Division of
                         Medical Imaging and Hematology Products, CDER, OND, OODP
                     - Min Lu, M.D., M.P.H., Medical Officer, Division of Medical Imaging and
                         Hematology Products, CDER, OND, OODP
                     - Qing Xu, Ph.D., Statistical Reviewer, Office of Biostatistics, Division of
                         Biometrics
                     - Kate Gelperin, M.D., M.P.H., Medical Officer, Office of Surveillance and
                         Epidemiology, Division of Epidemiology I
                     - Christoffer W. Tornoe, Ph.D., Division of Pharmacometrics, Office of
                         Clinical Pharmacology


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              x    Janssen Slides for the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting:
                      - Core Presentation
                      - Backup Files

              x    Open Public Hearing Speaker Slides for the March 19, 2009 Cardiovascular and
                   Renal Drugs Advisory Committee Meeting

              x    Transcript for the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

              x    Minutes for the March 19, 2009 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting



       2. September 8, 2011 Cardiovascular and Renal Drugs Advisory Committee Meeting

            On September 8, 2011, the Cardiovascular and Renal Drugs Advisory Committee of the
    Food and Drug Administration met to discuss New Drug Application (NDA) 202439, Xarelto
    (rivaroxaban) tablets for the proposed indication for use in the prevention of stroke and systemic
    embolism (blood clots other than in the head) in patients with non-valvular atrial fibrillation
    (abnormally rapid contractions of the atria, the upper chambers of the heart).

           The following is a list of materials from the September 8, 2011 Meeting:

               x   Announcement of the September 8, 2011 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Draft Agenda for the September 8, 2011 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Draft Questions for the September 8, 2011 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Draft Meeting Roster for the September 8, 2011 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Committee Roster for the September 8, 2011 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting



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              x   FDA Briefing Information and Errata for the September 8, 2011 Cardiovascular
                  and Renal Drugs Advisory Committee Meeting

              x   Janssen Briefing Information for the September 8, 2011 Cardiovascular and Renal
                  Drugs Advisory Committee Meeting

              x   Final Agenda for the September 8, 2011 Cardiovascular and Renal Drugs
                  Advisory Committee Meeting

              x   Final Questions for the September 8, 2011 Cardiovascular and Renal Drugs
                  Advisory Committee Meeting

              x   Final Meeting Roster for the September 8, 2011 Cardiovascular and Renal Drugs
                  Advisory Committee Meeting

              x   FDA Slides and Backup Slides for the September 8, 2011 Cardiovascular and
                  Renal Drugs Advisory Committee Meeting

              x   Janssen Slides for the September 8, 2011 Cardiovascular and Renal Drugs
                  Advisory Committee Meeting

              x   Transcript for the September 8, 2011 Cardiovascular and Renal Drugs Advisory
                  Committee Meeting

              x   Minutes for the September 8, 2011 Cardiovascular and Renal Drugs Advisory
                  Committee Meeting



       3. May 23, 2012 Cardiovascular and Renal Drugs Advisory Committee Meeting

            On May 23, 2012, the Cardiovascular and Renal Drugs Advisory Committee of the Food
    and Drug Administration met to discuss Supplemental New Drug Application (sNDA)
    202439/S-002, for Xarelto (rivaroxaban) 2.5 mg tablets to reduce the risk of thrombotic
    cardiovascular events in patients with acute coronary syndrome (ACS) [ST elevation myocardial
    infarction (STEMI), non-ST elevation myocardial infarction (NSTEMI), or unstable angina
    (UA)] in combination with aspirin alone or with aspirin plus clopidogrel or ticlopidine (also
    referred to as the “proposed indication for treatment of ACS”).

           The following is a list of materials from the May 23, 2012 Meeting:



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             x   Announcement of the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                 Committee Meeting

             x   Draft Agenda for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                 Committee Meeting

             x   Draft Questions for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                 Committee Meeting

             x   Draft Meeting Roster for the May 23, 2012 Cardiovascular and Renal Drugs
                 Advisory Committee Meeting

             x   Committee Roster for the May 23, 2012 Cardiovascular and Renal Drugs
                 Advisory Committee Meeting

             x   Webcast Information for the May 23, 2012 Cardiovascular and Renal Drugs
                 Advisory Committee Meeting

             x   FDA Briefing Information and Errata for the May 23, 2012 Cardiovascular and
                 Renal Drugs Advisory Committee Meeting

             x   Janssen Briefing Information and Errata for the May 23, 2012 Cardiovascular and
                 Renal Drugs Advisory Committee Meeting

             x   Final Agenda for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                 Committee Meeting

             x   Final Questions for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                 Committee Meeting

             x   Final Meeting Roster for the May 23, 2012 Cardiovascular and Renal Drugs
                 Advisory Committee Meeting

             x   FDA Slides for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                 Committee Meeting

             x   Janssen Slides & Backup Slides for the May 23, 2012 Cardiovascular and Renal
                 Drugs Advisory Committee Meeting



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               x   Transcript for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

               x   Minutes for the May 23, 2012 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting



       4. January 16, 2014 Cardiovascular and Renal Drugs Advisory Committee Meeting

             On January 16, 2014, the Cardiovascular and Renal Drugs Advisory Committee of the
    Food and Drug Administration met to discuss the Supplemental New Drug Application (NDA)
    202439/S-002, for Xarelto (rivaroxaban) 2.5 mg tablets for the proposed indication to reduce the
    risk of thrombotic cardiovascular events in patients for the first 90 days after suffering acute
    coronary syndrome (ACS) [ST elevation myocardial infarction (STEMI), non-ST elevation
    myocardial infarction (NSTEMI), or unstable angina (UA)].

           The following is a list of materials from the January 16, 2014 Meeting:

               x   Announcement of the January 16, 2014 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Committee Roster for the January 16, 2014 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   FDA Briefing Information and Errata for the January 16, 2014 Cardiovascular and
                   Renal Drugs Advisory Committee Meeting

               x   Janssen Briefing Information for the January 16, 2014 Cardiovascular and Renal
                   Drugs Advisory Committee Meeting

               x   Webcast Information for the January 16, 2014 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Final Agenda for the January 16, 2014 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

               x   Final Questions for the January 16, 2014 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

               x   Final Meeting Roster for the January 16, 2014 Cardiovascular and Renal Drugs
                   Advisory Committee Meeting

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               x   FDA Slides for the January 16, 2014 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

               x   Janssen Slides for the January 16, 2014 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

               x   Transcript for the January 16, 2014 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting

               x   Minutes for the January 16, 2014 Cardiovascular and Renal Drugs Advisory
                   Committee Meeting




    Source:

    -   Archived Materials for the March 19, 2009 Meeting of the Cardiovascular and Renal Drugs Advisory
        Committee of the Food and Drug Administration, available at
        http://www.fda.gov/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/CardiovascularandRe
        nalDrugsAdvisoryCommittee/ucm125999.htm.

    -   Archived Materials for the September 8, 2011 Meeting of the Cardiovascular and Renal Drugs
        Advisory Committee of the Food and Drug Administration, available at
        http://www.fda.gov/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/CardiovascularandRe
        nalDrugsAdvisoryCommittee/ucm250287.htm

    -   Archived Materials for the May 23, 2012 Meeting of the Cardiovascular and Renal Drugs Advisory
        Committee of the Food and Drug Administration, available at
        http://www.fda.gov/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/CardiovascularandRe
        nalDrugsAdvisoryCommittee/ucm285415.htm

    -   Archived Materials for the January 16, 2014 Meeting of the Cardiovascular and Renal Drugs
        Advisory Committee of the Food and Drug Administration, available at
        http://www.fda.gov/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/CardiovascularandRe
        nalDrugsAdvisoryCommittee/ucm378911.htm



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                                   Schedule 10
             Sponsors’ Key Employees Cited in Report




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         Employee Name                    Entity                   Position
    Mueck, Wolfgang, Ph.D.        Bayer            Head Clinical Pharmacokinetics
                                                   Cardiovascular

    Sarich, Troy, Ph.D.           Janssen          Vice President, Real World Evidence

    Jalota, Sanjay, MRPharmS      Janssen          Senior Director, Global Regulatory
                                                   Affairs

    Rhoge, Alla                   Janssen          Associate Director, Immunology Global
                                                   Regulatory Affairs

    Berkowitz, Scott, MD, FACP,   Bayer            Global Clinical Development
    FACC                                           Thrombosis, Clinical Development

    Byra, William                 Janssen          Senior Director, Internal Medicine

    Nesssel, Christopher, MD      Janssen          Vice President, Franchise Medical
                                                   Leader, Cardiovascular

    Vanden Boom, Catherine        Janssen          Associate Director, Clinical Project
                                                   Scientist

    Nessel (formerly Schwabe),    Janssen          Director, Clinical Scientist
    Kimberly

    DiBattiste, Peter             Janssen          Global Therapeutic Area Head,
                                                   Cardiovascular and Metabolism

    Patel, Purve                  Janssen          Director, Regulatory Affairs




                                                                                          USCA5 3275
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                                   Schedule 11
                     Chronology Based on Section X




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                   July                                                         June 16                    June 28
                   NDA 22-406 Filed,                                            ‘The predictive value      “the Prothrombin Time
                   Labeling Section                                             of these coagulation       could be used for
                   12.2: “If assessment                                         parameters for bleeding    estimating rivaroxaban
                   of the                                                       risk or efficacy has not   pharmacodynamics
                   pharmacodynamics                                             been established. The      effect” (although Sponsor
                   effect of rivaroxaban                                        International              does not recommend it
Oct. 1             is considered                          Dec. 27    Jan.       Normalized Ratio           due to the short half-life
Collaboration                              April 23       Repeat     Repeat
                   necessary in                                                 (INR) should not be        and fact that the effect
Agreement:                                 Re. Section    proposed   proposed
                   individual cases, PT                                         used for measuring         varies with the various
develop                                    5.4 Lab        language   language
                   (measured in                                                 rivaroxaban                available
Xarelto                                    Tests,         for        for
                   seconds) is             include                              pharmacodynamics           thromboplastin/tissue
“without the       recommended.”                          Section    Section    effect.’                   factor reagents).”
need for                                   “only if       12.2       12.2
coagulation                                section is
monitoring”                                requested”




  2005                  2008               2009          2010    2011



                                                                                                    June 22
                                                                                                                               July 12
                                                                                                    FDA
                                                                                                                               Update
                                                                                                    disagrees
                                                                                                                               label with
                                                                                                                               approved
                                                                                June 13
                                                                                                                               language
                                                                                “The                                                        Aug. 10     Nov. 4
                                                                                predictive                                                  “Major      Struck
                                                                                value of these                  July 1                      bleeding
                                                                                                                Approved:                               sentence
                                                                                coagulation                                                 events      from June
                                                                                parameters                      “Dose-dependent             increased
                                                                                                                inhibition of                           13.
                                                                                for bleeding                                                with an
                                                                                risk or                         factor Xa activity          increase
                                                                                                                was observed in                         Reviewers
                                                                                efficacy has                                                in pre-     stated “that
                                                                                not been                        humans and the              dose PT
                                                                                                                Neoplastin                              there is also
                                                                                adequately                                                  [trough]    a
                                                                                studied.”                       prothrombin time            over the
                                                                                                                (PT), activated                         correlation
                                                                                                                                            observed    between PT
                                                                                                                partial                     range”
                                                                                                                thromboplastin                          and risk of
   Language Index:                                                                                              time (aPTT) and                         bleeding.”
   Red = Sponsor                                                                                                HepTest are
                                                                                                                prolonged dose-
   Blue = FDA                                                                                                   dependently.”




                                                                                                                                                 USCA5 3277
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Language Index:
Red = Sponsor
Blue = FDA or
CSRC
                                                                         Dec. 3
                                                                         Berkowitz: “Clinical
                                                                         value of a PK/PD
                                                                         measurement for
                                                                         NOAC dosing not
                                                                         proven nor as
                                                                         straightforward as
                                                                         with PT/INR for
                                                                         VKAs.”




2014                                                 2015                                                         2016




                  Feb. 3                Oct. 26
                  Temple:               Florian & Rose:                                                    July
 Dec. 4 & 5       “early optimization   “Relationships                                                     CSRC: “it is possible
 Temple:          seems                 identified between drug                                            that they [the NOACs]
 “With steep      worthwhile…the        exposure/coagulation      Dec. 3
                                                                  Temple:                                  might have performed
 dose-response    NOACs are very        markers and major                                                  even better regarding
 for both         good, but could       bleeding rate”            “So, for the previous of standard of
                                                                  care, warfarin, we…always use a          thrombotic or bleeding
 benefit and      probably be better”                                                                      events and stroke
 risk,                                                            dose titrated to anticoagulant effect.
                                                                  Why are NOACs different? Maybe           reduction if PK or PD
 optimizing                                                                                                monitoring were
 does or blood                                                    they shouldn’t be… Blood Levels
                                                                  Can Help… It seems self-evidently        available”
 levels seems
 like a very                                                      worth it.”
 good idea.”
                                                                  Florian & Rose
                                                                  presented Figure 4(A) Logistic
                                                                  Regression model demonstrating
                                                                  increased bleed risk with
                                                                  prolongation of PT




                                                                                                                         USCA5 3278
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                                   Schedule 12
                       List of Bellwether Plaintiffs




                                                                              USCA5 3279
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            Case Caption                   Plaintiff’s Name         Case Number
    Joseph J. Boudreaux, Jr. and        Joseph J. Boudreaux   Case No. 2:14-cv-02720
    Loretta Boudreaux v. Janssen
    Research & Development, LLC,
    et al.

    Joseph Orr, Jr., Joseph Orr, III,   Sharyn M. Orr         Case No. 2:15-cv-03708
    Kelli Orr Walker, and Kim Orr
    DeAgano v. Janssen
    Research & Development, LLC
    f/k/a Johnson and Johnson
    Pharmaceutical Research and
    Development, LLC, et al

    Dora Mingo v. Janssen               Dora Mingo            Case No. 2:15-cv-03469
    Research & Development, LLC,
    et al

    James Henry, Individually and       William H. Henry      Case No. 2:15-cv-00224
    as the Executor of the Estate of
    William Henry v. Janssen
    Research & Development, LLC




                                                                                       USCA5 3280
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                                   Schedule 13
        Data on Inter-Patient Variability Associated with
                 Approved Xarelto Indications




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    Mueck, W., et al. Clinical Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban. Clin
    Pharmacokinet (2014) 53:1-16.




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    Source: ROCKET Clinical Trial Database




                                                                              USCA5 3285
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                                   Schedule 14
              Anticoagulants and the Clotting Cascade




                                                                              USCA5 3286
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                     ANTICOAGULANTS AND THE CLOTTING CASCADE1
           Unlike traditional anticoagulant agents, novel oral anticoagulants – like rivaroxaban
    (Xarelto) – have been designed to inhibit specific single targets in the coagulation cascade. For
    example, some anticoagulants (rivaroxaban and apixaban) directly inhibit Factor Xa, while other
    anticoagulants (dabigatran) directly inhibit thrombin. To the contrary, fondaparinux and the
    heparins work indirectly through antithrombin.




    Sources:
           -   http://thrombosisjournal.biomedcentral.com/articles/10.1186/1477-9560-11-10
           -   https://www.thrombosisadviser.com/en/image/?category=coagulationcascade&image=anticoagul
               ants-coag-cascade

    1
        This information regarding anticoagulants and the clotting cascade is not intended to be a full description in detail.



                                                                                                                         USCA5 3287
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                                   Schedule 15
          Description of Coagulation Testing Parameters




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            DESCRIPTION OF COAGULATION TESTING PARAMETERS1


    Lab Test                              Description
    Activated Clotting Time               ACT is a point-of-care whole-blood clotting test used to monitor
    (ACT)                                 high-dose heparin therapy or treatment with bivalirudin. It is also
                                          used to monitor treatment with anticoagulants when undergoing
                                          heart bypass surgery, coronary angioplasty or dialysis.
    Activated Partial                     It is used primarily to investigate unexplained bleeding or
    Thromboplastin Time                   clotting. It is used to evaluate the coagulation factors XII, XI, IX,
    (aPTT)                                VII, , V, II (prothrombin) and I (fibrogen), as well as
                                          prekallikrein (PK) and high molecular weight kininogen (HK).
    Partial Thromboplastin
    Time (PTT)
    Anti-Factor Xa                        Chromogenic anti-factor Xa assays are used to measure levels of
    Chromogenic Assays                    heparin and low-molecular-weight heparin (LMWH).
    Ecarin Clotting Time                  Venom from the Echis carinatus snake is used to convert
    (ECT)                                 prothrombin to meizothrombin. ECT cannot be used to detect
                                          states of disturbed coagulation.
    Dilute Prothrombin Time               It is used for screening and confirmation of the presence of
    (dPT)                                 phospholipid-dependent Lupus Anticoagulant (LA)
                                          autoantibodies in plasma. An example of such a test is the
                                          ACTICLOT dPT.
    Factor V Assay                        This test measures Factor V, which is a substance involved in
                                          clotting.
    Fibrinogen Level (Factor I,           This test measures how much fibrinogen is in your blood, and
    hypo-fibrinogenemia)                  abnormal results may be a sign of excessive
                                          bleeding/hemorrhage.
    HEMOCLOT                              The HEMOCLOT Thrombin Inhibitors assay is suitable for
                                          determining the anticoagulant activity and calculating plasma
                                          concentrations of dabigatran (Pradaxa) using chronometric
                                          coagulation devices. The product is for research use only in the
                                          United States, instead of for use in diagnostic procedures.
    HepTest (HepTest-STAT)                It is a clotting assay for monitoring of LMWH, and is an
                                          alternative to the chromogenic anti-factor Xa assay for
                                          monitoring heparin thromboprophylaxis in pregnancy.
    International Normalized              An individual’s Prothrombin Time (PT) is mathematically
    Ratio (INR)                           converted to INR in order to standardize the PT.
    Lupus Anticoagulant                   Lupus anticoagulant testing is a series of tests used to detect lupus
    Testing                               anticoagulant (LA) in the blood. It is used to help determine the
                                          cause of an unexplained prolonged PTT test.
    Prothrombin Time (PT, Pro             It is used to help detect and diagnose a bleeding/excessive
    Time, ProTime)                        clotting disorder. Specifically, it is used to see how well and how

    1
     This is not meant to be an exhaustive list of all coagulation testing parameters, nor is it intended to provide a full
    description in detail.

                                                                2

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                                       long it takes blood to clot.
    Prothrombinase-Induced             It is a clotting assay sensitive to factor Xa and factor IIa
    Clotting Time (PiCT)               inhibitors. It is based on the addition of factor Xa and snake
                                       venom RVV-V (Russell viper venom factor V activiator)
                                       activating factor V and phospholipids to platelet-poor plasma.
    Thrombin Clotting Time             TCT is prolonged in patients with low fibrinogen
    (TCT)                              levels/dysfibrinogenemia and in those with elevated fibrin
                                       degradation levels.
    Thromboelastography                Commercially available, rapid, point-of-care assay that assesses
    (TEG)                              clot formation in whole blood, including plasmatic and cellular
                                       components.




    Sources:

    https://labtestsonline.org/understanding/analytes/aptt/tab/test
    https://labtestsonline.org/understanding/analytes/pt
    https://labtestsonline.org/understanding/analytes/act
    https://labtestsonline.org/understanding/analytes/lupus-anticoagulant/tab/test
    http://circ.ahajournals.org/content/112/4/e53
    http://www.ncbi.nlm.nih.gov/pubmed/22227958
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    http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3533209/




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                                   Schedule 16
                   The FDA Approval of New Drugs




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    A. The FDA’s Standards for Approval

               1.       Under United States food and drug laws, a drug may not be introduced into

    interstate commerce unless its sponsor has shown that the drug is safe and effective for the

    intended conditions of use.1

               2.       The law requires that “adequate and well-controlled investigations” be used to

    demonstrate a drug’s safety and effectiveness.2

               3.       The FDA approves a drug if there are “adequate and well-controlled” clinical trials

    that demonstrate a drug’s safety and effectiveness for its intended conditions of use.3

               4.       The “intended conditions” for use of a drug are listed in the drug’s labeling,

    which is reviewed and approved by the FDA. 4

               5.       Indications for use that are not listed in a drug’s labeling have not been approved

    by the FDA.5



    B. The FDA’s Standard for Disclosure

               6.       The following standards are based on my experiences as the FDA Commissioner

    from 1990 to 1997, having written about and taught food and drug law, dealt with FDA statutes

    and regulations and acted as chair of compliance committees of FDA-regulated companies.


    1
        21 U.S.C. § 355.
    2
        21 U.S.C. § 355(d)(7).
    3
        21 U.S.C. § 355(d)(7).
    4
        21 U.S.C. §§ 355(d)(1) and (2).
    5
      “The labeling is derived from the data submitted with the new drug application. It presents a full disclosure
    summarization of drug use information, which the supplier of the drug is required to develop from accumulated
    clinical experience and systemic drug trials of preclinical investigations and adequate, well-controlled clinical
    investigations that demonstrate the drug’s safety and the effectiveness it purports or is represented to possess.”
    (37 Fed. Reg. 16,503 (1972)).




                                                                                                                 USCA5 3292
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               7.       In 1979, the FDA, as part of a final rule titled “Labeling and Prescription Drug

    Advertising: Content and Format for Labeling for Human Prescription Drugs”6 issued 21 C.F.R.

    §§ 201.57 (e) and (g) which stated, respectively7:

                                 (e) Warnings: Under this section heading, the labeling shall describe
                                 serious adverse reactions and potential safety hazards, limitations in use
                                 imposed by them, and steps that should be taken if they occur. The
                                 labeling shall be revised to include a warning as soon as there is reasonable
                                 evidence of an association of a serious hazard with a drug; a causal
                                 relationship need not have been proved.8

                                 (g) Adverse Reactions: An adverse reaction is an undesirable effect
                                 reasonably associated with the use of the drug that may occur as part of the
                                 pharmacological action of the drug or may be unpredictable in its
                                 occurrence.9

               8.       In 2006, the FDA adopted final rules for 21 C.F.R. §§ 201.57 (c)(6) and (7) which

    stated:

                                 (c)(6) 5 Warnings and precautions. (i) General. This section must describe
                                 clinically significant adverse reactions….the labeling must be revised to
                                 include a warning about a clinically significant hazard as soon as there is
                                 reasonable evidence of a causal association with a drug; a causal
                                 relationship need not have been definitely established….
                                 (c)(7) 6 Adverse reactions. This section must describe the overall adverse
                                 reaction profile of the drug based on the entire safety database. For
                                 purposes of prescription drug labeling, an adverse reaction is an
                                 undesirable effect, reasonably associated with use of a drug, that may
                                 occur as part of the pharmacological action of the drug or may be
                                 unpredictable in its occurrence. This definition does not include all
                                 adverse events observed during use of a drug, only those adverse events
                                 for which there is some basis to believe there is a causal relationship
                                 between the drug and the occurrence of the adverse event.10

    6
        44 Fed. Reg. 37434 (June 26, 1979).
    7
        44 Fed. Reg. 37434 (June 26, 1979) at 37465.
    8
        21 C.F.R. § 201.57(e).
    9
        21 C.F.R. § 201.57(g).
    10
         71 Fed. Reg. 3922-3997 (January 24, 2006) at 3990.



                                                                                                         USCA5 3293
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       9. The FDA’s regulations require that all prescription drug labeling contain:

                           Adequate information for such use, including indications, effects, dosages,
                           routes, methods, and frequency and duration of administration and any
                           relevant warnings, hazards, contraindications, side effects, and
                           precautions, under which practitioners licensed by law to administer the
                           drug can use the drug safely and for the purposes for which it is intended,
                           including all conditions for which it is advertised or represented… [21
                           C.F.R. § 201.100(d)(1)].

       10. The FDA’s regulations have the following general requirement for prescription drug

    labeling: “The labeling must contain a summary of the essential scientific information needed

    for the safe and effective use of the drug.” [21 C.F.R. § 201.56(a)(1)].

       11. The FDA’s regulations require that a pharmaceutical drug’s labeling contain a section on

    dosing and administration consisting of:

                           A concise summary of the information required under paragraph (c)(3) of
                           this section [dosage and administration guidelines], with any appropriate
                           subheadings, including the recommended dosage regimen, starting dose,
                           dose range, critical differences among population subsets, monitoring
                           recommendations, and other clinically significant clinical pharmacologic
                           information. [21 C.F.R. § 201.57(7)].

       12. The FDA’s regulations require that a manufacturer must submit as part of its New Drug

    Application:

                           A description and analysis of any other data or information relevant to an
                           evaluation of the safety and effectiveness of the drug product obtained or
                           otherwise received by the applicant from any source, foreign or domestic,
                           including information derived from clinical investigations, including
                           controlled and uncontrolled studies of uses of the drug … [21 C.F.R.§
                           314.50(c)(5)(iv)].

       13. The FDA’s regulations require that:

                           The applicant shall, under section 505(i) of the act, update periodically its
                           pending application with new safety information learned about the drug
                           that may reasonably affect the statement of contraindications, warnings,
                           precautions, and adverse reactions in the draft labeling and, if applicable,
                           any Medication Guide required under part 208 of this chapter. These




                                                                                                    USCA5 3294
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                                 ‘safety update reports’ are required to include the same kinds of
                                 information (from clinical studies, animal studies, and other sources) and
                                 are required to be submitted in the same format as the integrated summary
                                 in paragraph (d)(5)(vi)(a) of this section. [21 C.F.R. §
                                 314.50(d)(5)(vi)(b)].

           14. The FDA has stated that:

                                 Updates of safety information are required under the regulations to include
                                 ‘new safety information learned about the drug that may reasonably affect
                                 the statement of contraindications, warnings, precautions, and adverse
                                 reactions in the draft labeling,’ in essentially the same format as the
                                 integrated summary. Because the content of the update will depend on the
                                 nature of the additional data, it will generally be useful to consult with the
                                 reviewing division before preparing the update. It is possible to provide
                                 the safety update information as a report that refers only to the new data
                                 obtained since the last update or since the original submission, but it is
                                 preferable to provide a document incorporating the new data with the data
                                 and analyses in the initial integrated summary of safety information, as
                                 well as showing the new data. If the additional data are relatively few and
                                 come principally from foreign sources or other studies that have not been
                                 incorporated into overall analyses in the initial submission, it may be
                                 sufficient to concentrate on the serious or potentially serious adverse
                                 events, or an unusually high frequency of a less serious event, providing a
                                 narrative description of these events. [FDA, Center for Drug Evaluation
                                 and Research, “Guideline for the Format and Content of the Clinical and
                                 Statistical Sections of an Application,” July 1988, p.33-34].

           15. Further, a prescription drug is considered “deemed to be misbranded” if “it is dangerous

    to health when used in the dosage or manner, or with the frequency or duration prescribed,

    recommended, or suggested in the labeling thereof.” [21 U.S.C. § 352(j)].

           16. A manufacturer “must periodically submit any new information that may affect the

    FDA’s previous conclusions about the safety, effectiveness, or labeling of the drug.”11




    11
         Wyeth v. Levine, 555 US 555, 608 (2009), citing 21 U.S.C. § 355(k).



                                                                                                          USCA5 3295
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                                   Schedule 17
           Chronology of INRatio Performance Issues in
                           ROCKET




                                                                              USCA5 3296
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                                                                           Oct. 12
                                                                           Byra (Janssen)       Oct. 26
                                                                           notes a              Meeting re: “Covance
                                                                           ROCKET               INR QC Check –
                                                                           patient              Hemosense Device”,
                                                                           (Canada) “was        proposing that Covance
                                                       Jan. 20             bleeding from        perform quality checks
                                                       Byra                                                               Nov. 3
                                                                           every orifice        of device due to          Becker
                                                       (Janssen)           with an INR >        “concern on the part of   (DCRI):
                                                       forwards            10” and a            DCRI, Parexel and the     Routine
         Oct. 4                                        Oct. 4, 2005        “wrong reading       investigator sites with   surveillance
         FDA issues 1st                                FDA                 Hemosense            the accuracy of the POC   checks are
         warning letter                                Warning             device”              device.”
                                                       Letter                                                             “standard and
         to HemoSense                Dec. 18                                                                              expected”
                                     ROCKET-
                                     AF study is
                                     initiated



      2005                    2006                                                          2007




                               Nov. 29
                               FDA issues
                                                   Jan. 11
                               2nd warning                            Sept. 24
                                                   Jalota             Byra (Janssen):
                               letter to
                                                   (Janssen)          “Based upon INR
                               Hemosense                                                                                    Nov. 5
                                                   forwards           values seen by        Oct. 17                         Byra (Janssen)
                                                   Nov. 29,           our unblinded         Piccini (DCRI) reports          sends “INR
                                                   2006 FDA           monitor, the          ROCKET patient (site            issues tracker”,
                                                   Warning            machine may not       #1028) had POC INR of           detailing
                                                   Letter             be functioning        1.7 and lab INR > 6;            ROCKET
                                                                      properly.”            another ROCKET                  patients who
                                                                                            patient (site # 11008,          had discrepant
                                                                                            SC) had POC INR of              results (POC
                                                                                            2.9 and lab INR of 10.          INR v. Lab
                                                                                                                            INR)
                                                                                            DiBattiste notes that
                                                                                            questions have arisen
                                                                                            re: accuracy of device
                                                                                            and this is not the first
                                                                                            time they have had
                                                                                            concerns.




                                                                                                                        USCA5 3297
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                                Feb. 21                              October
                                Email from Byra                      Spreadsheet detailing
                                (Janssen) attacking                  over 140 instances
                                letter to ROCKET                     where there were split
                                investigators                        samples taken at the
                                regarding the                        request of the site
Oct. 4                          program to take split                investigator(s), meaning
Email regarding                 samples measuring                    the INR was analyzed
ROCKET patient                  INR with POC device                  by a central lab                                   Sept. 7
(site #972022; patient          (INRatio) and central                (Covance) and POC                                  ROCKET-
#03804) with POC                lab (Covance)                        device (INRatio)                                   AF Study
INR of 2.0 and Lab                                                                                                      Completed
INR of 10.0




                                         2008                                                       2009                 2010




         Jan. 27
         Email to Byra                                  June 15
                                                        Email re:                               Aug. 5
         (Janssen) involving
                                                        ROCKET                                  Email from
         ROCKET patient
                                                        patient (Site                           Chalecki (unblinded
         (patient #104237)
                                                        #044002; patient                        monitor) re: INR for
         with Lab INR of 6.66
                                                        #105914) who                            ROCKET patient
         and 6.28, and POC
                                                        had POC INR of                          (site 011608; patient
         INR of 1.7
                                                        2.1 and lab INR                         #11178) was
                                                        of 8.0                                  “almost three units
                                                                                                higher than the
                                                                                                result reported by
                                                                                                the Hemosense
                                                                                                device”




                                                                                                                            USCA5 3298
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    Sources:

       -   10/4/2005: XARELTO_JANSSEN_04962074; XARELTO_JANSSEN_04962075
       -   11/29/2006: XARELTO_JANSSEN_04962095; XARELTO_JANSSEN_04962097
       -   12/18/2006: XARELTO_JANSSEN_00054263
       -   1/11/2007: XARELTO_JANSSEN_04962095; XARELTO_JANSSEN_04962097
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           XARELTO_JANSSEN_04961856; XARELTO_JANSSEN_04961858
       -   11/3/2007: XARELTO_JANSSEN_11471095
       -   11/5/2007: XARELTO_JANSSEN_14557711; XARELTO_JANSSEN_14557712
       -   1/14/2008: XARELTO_JANSSEN_07545439
       -   1/27/2008: XARELTO_JANSSEN_14557758
       -   2/21/2008: XARELTO_JANSSEN_14558184; XARELTO_JANSSEN_14558186
       -   6/15/2008: XARELTO_JANSSEN_14558085
       -   10/2008: XARELTO_JANSSEN_14724821
       -   8/5/2009: XARELTO_JANSSEN_14556639
       -   9/7/2010: XARELTO_JANSSEN_00054263




                                                                              USCA5 3299
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                                   Schedule 18

        Excerpts from FDA Reviews Concerning Dose
    Selection and Time in Therapeutic Range in ROCKET




                                                                              USCA5 3300
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       I. DOSE SELECTION

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              o P. 1 – Introduction




              o P. 5-7 – Data supporting the proposed dose/dosing regimen




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           indication
              o P. 2-3 – Introduction



                                           …




             o P. 8 – Dose of XARELTO administered in ROCKET




                                           4

                                                                              USCA5 3303
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       II. TTR

       x   Cross Discipline Team Leader Review NDA 202439, Oct. 6, 2011
              o P. 1 – Introduction




              o P. 14 – Adequacy of anticoagulation in the warfarin arm




                                                5

                                                                              USCA5 3304
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             o P. 15 – Site-level TTR analyses




             o P. 22 – Risk Benefit Assessment




                                                 6

                                                                              USCA5 3305
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           indication
              o P. 2 – Introduction




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             o P. 232-233




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                                    Schedule 19

   Post-Market Epidemiology Study Strengths and Limitations Identified by
                              Study Authors




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            Article                           Strengths                                             Limitations
 Laliberte, F., et al. Real       No specific strengths were             Claims data may have contained inaccuracies, and mortality and
 world comparative                identified by the authors.             laboratory data were not available. Confounding may still have
 effectiveness and safety of                                             been possible even after propensity score matching. Early use
 rivaroxaban and warfarin in                                             pattern of medications may have changed over time.
 nonvalvular atrial
 fibrillation patients. Current
 Medical Research and
 Opinion 2014;30:7, 1317-
 1325.

 Abraham, N.S., et al.            Despite these limitations, our         Firstly, our analysis was limited to the novel oral
 Comparative risk of              investigation also had many            anticoagulants for which enough data were available
 gastrointestinal bleeding        strengths, including our inclusion     (dabigatran and rivaroxaban). We were not able to
 with dabigatran,                 of a diverse, real world population;   assess apixaban owing to the limited number of
 rivaroxaban, and warfarin:       follow-up that extended through        patients prescribed this drug in our dataset during the
 population based cohort          2013 with a large enough sample to     period of observation. Secondly, we assessed the outcome and
 study. BMJ 2015;350:h1857.       examine both dabigatran and            underlying risk by using administrative claims and the
                                  rivaroxaban; quantification of event   assessment may be susceptible to variability in coding and
                                  rates for upper, lower, and total      billing practices. Thirdly, we tried to account for the selection
                                  gastrointestinal bleeding; and         bias related to treatment choice by using propensity score
                                  assessment of the gastrointestinal     matching. However, this still leaves the possibility of unobserved
                                  bleeding profile of different novel    confounding. Fourthly, our inability to capture over the counter
                                  oral anticoagulants by age, thus       aspirin use limits our examination of its effect on overall
                                  highlighting important safety          bleeding rates. However, we have included the influence of
                                  concerns among older adults.           prescribed aspirin, and we have no reason to suspect a
                                                                         differential rate of use that would substantially affect bleeding
                                                                         rates among patients. In addition, we were not able to assess the
                                                                         relative rates of gastrointestinal bleeding for patients receiving a
                                                                         110 mg twice daily dose of dabigatran as this dose is not
                                                                         approved in the United States, although it is approved in Europe.
                                                                         This limits the generalizability of these results to patients in
                                                                         Europe receiving 150 mg twice a day. Fifthly, we did a one to

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                                                                     one propensity score matched analysis. We could have
                                                                     considered one to two propensity score matched analysis,
                                                                     which would have increased precision but potentially increased
                                                                     the bias. Finally, we focused primarily on an incident cohort of
                                                                     users, and the risk among a prevalent cohort or among patients
                                                                     who switched from warfarin to a novel oral anticoagulant might
                                                                     be different.

 Maura, G., et al.              1. Various techniques were              1. Due to the observational design and the two existing
 Comparison of the Short-          used to mitigate this bias              dosage regimens of NOAC, residual confounding by
 Term Risk of Bleeding and         [due to confounding by                  indication is a particular concern in this study… As this
 Arterial Thromboembolic           indication].                            study was based on administrative data, confounders such
 Events in Nonvalvular Atrial                                              as lifestyle or alcohol consumption and differences
 Fibrillation Patients Newly                                               between severity levels of certain diseases such as renal
 Treated With Dabigatran or                                                impairment were not taken into account. Residual
 Rivaroxaban versus Vitamin                                                confounding therefore cannot be excluded…
 K Antagonists: A French
 Nationwide Propensity-         2. We therefore used a highly           2. Identifying AF on the basis of administrative data is
 Matched Cohort Study.             specific algorithm to more              challenging and a source of selection bias.
 Circulation 2015.                 accurately identify treated
                                   AF outpatients.24 The
                                   results are consistent with
                                   those obtained on patients
                                   identified only by I48 ICD-
                                   10 code or specific
                                   procedures.

                                3. However, only primary                3. Outcome misclassification, although non-differential,
                                   hospital discharge                      also constitutes a limitation, as the external validity of the
                                   diagnoses were used to                  ischemic stroke and bleeding diagnoses codes have not
                                   define outcomes.                        been previously assessed in the French PMSI database…
                                   Furthermore, this database
                                   is used to calculate

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                                       payments for acute inpatient
                                       care with internal and
                                       external quality control
                                       processes.
                                                                         4. Intention-to-treat analysis was performed because of the
                                   4. N/A                                   short-term follow-up and the use of medico-
                                                                            administrative databases. The accuracy of this approach
                                                                            to estimate the treatment assignment effect could be open
                                                                            to criticism, as exposure to treatment was based on
                                                                            pharmacy claims, which do not indicate how the patient
                                                                            actually takes the medications…



                                                                         5. With a maximum three-month follow-up period, our
                                   5. N/A                                   study only captured early events. The outcomes studied
                                                                            are rare events and the small number of events in this
                                                                            study may not have allowed identification of small-to-
                                                                            moderate differences between groups. As the study was
                                                                            conducted at the time of introduction of NOAC for nv-
                                                                            AF patients in France, time-varying characteristics of
                                                                            both patients and prescribers cannot be ruled out. Finally,
                                                                            a much longer follow-up would be necessary to assess
                                                                            the long-term benefit-risk balance of NOAC versus
                                                                            VKA, especially for arterial thromboembolic events.

 Gorst-Rasmussen, a., et al.    No specific strengths were            There are several limitations to the present study. Some
 Rivaroxaban versus             identified by the authors.            unmeasured and residual confounding is likely
 warfarin and dabigatran in                                           to persist… A second limitation is the risk of misclassification
 atrial fibrillation:                                                 and ascertainment error, including the problem of inferring drug
 comparative effectiveness                                            usage from purchase data…Third, various limitations of
 and safety in Danish routine                                         comparative effectiveness studies of newly marketed drugs were
 care.                                                                noted by Schneeweiss et al.; they all apply to the present study.

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 Pharmacoepidemiology and
 Drug Safety 2016.

 Graham, D.J., et al. Stroke,    No specific strengths were                   The mean duration of on-treatment follow-up was less than 4
 Bleeding, and Mortality         identified by the authors.                   months, thereby reducing sample size at longer durations of use.
 Risks in Elderly Medicare                                                    Other studies of NOAC safety using other US databases have
 Beneficiaries Treated With                                                   had mean follow-up shorter than 6 months, indicating a limited
 Dabigatran or Rivaroxaban                                                    capacity to study longer-term risks. Despite this, we had a larger
 for Nonvalvular Atrial                                                       number of patients still receiving therapy at 6 or 8 months than
 Fibrillation. JAMA Intern                                                    the number who started NOAC therapy in these and other
 Med 2016.                                                                    studies. This study was observational and may be subject to
                                                                              residual confounding by unmeasured factors. This could lead to
                                                                              biased estimates of risk. Also, our study was restricted to patients
                                                                              aged 65 years or older, the age group accounting for 80% of
                                                                              patients with AF. The comparative effects of dabigatran and
                                                                              rivaroxaban treatment could be different in younger populations.
                                                                              Finally, our study examined warfarin naïve first-time users of
                                                                              dabigatran or rivaroxaban for stroke prevention in AF. Results
                                                                              could differ in patients switching from warfarin to a NOAC.

 Halvorsen, S., et al. A         The strength of our study is that it         An obvious limitation of this study is that we have not
 nationwide registry study to    retrieves data from mandatory and            considered effectiveness in stroke
 compare bleeding rates in       nationwide registries in a public            prevention… As stroke events occur less frequently than overall
 patients with atrial            health care system that covers all           bleeding complications of OAC treatment, and also considering
 fibrillation being prescribed   residents. As a result, the dataset at       the still early days of NOAC exposure, this study was not
 oral anticoagulants.            hand gave us a complete picture of           planned for, and deemed sufficiently powered to, evaluating
 European Heart Journal          all hospitalisations and                     NOAC effectiveness on stroke outcomes. More research is
 2016.                           prescriptions dispensed nationwide           therefore needed to address the bleeding complications of
                                 for the entire study period. This            NOACs in the context of stroke prevention in an unselected
                                 complete coverage of data                    clinical practise setting. Although we have adjusted for baseline
                                 eliminates also selection bias and           differences, we are unlikely to have captured the full extent and
                                 recall bias that is an apparent              effect of different prescribing behaviour, especially in this early
                                 problem using other databases                phase of NOAC introduction, and some unmeasured and residual
                                 being based on selected hospitals,           confounding is undoubtedly still present. With the exception of
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                               health insurance schemes or self-       apixaban being granted general reimbursement 6 months after
                               reported questionnaires.                rivaroxaban and dabigatran, the same conditions for OAC
                                                                       prescribing was valid nationwide and throughout the study
                                                                       period. The time-restricted 180 days bleeding risk analysis gives
                                                                       support to our chosen approach and that results are robust
                                                                       irrespective of differences in OAC follow-up time. We did not
                                                                       have access to information on time in therapeutic range among
                                                                       warfarin users; nor did we have information on laboratory tests
                                                                       and other characteristics such as smoking and weight. One other
                                                                       caveat that influences the external validity of the results, is that
                                                                       the AF diagnosis was retrieved from the hospital level only,
                                                                       meaning that AF patients that were solely managed in primary
                                                                       care were not included in the study. Apart from co-medication,
                                                                       co-morbidities from primary care can be underrepresented. There
                                                                       is also a risk of misclassification related to coding errors of
                                                                       hospital admissions, however for serious conditions
                                                                       like bleeding this is not very likely. No formal validation studies
                                                                       of the AF diagnosis in NPR against
                                                                       health records have been conducted. We studied drug exposure
                                                                       at the level of pharmacy dispensation
                                                                       and have no information on patient’s real OAC intake.

 Larsen, T.B., et al.          No specific strengths were              The present study has several limitations, which mainly
 Comparative effectiveness     identified by the authors.              relate to the observational nature of the data. Some
 and safety of non-vitamin K                                           unmeasured and residual confounding is likely to persist. For
 antagonist oral                                                       example, the differences in stroke and bleeding could potentially
 anticoagulants and warfarin                                           be related to selective prescribing. Although we applied
 in patients with atrial                                               propensity weighting to account for baseline differences, we are
 fibrillation: propensity                                              unlikely to have captured the full extent and effect of different
 weighted nationwide cohort                                            prescribing behaviour. We did not have access to information on
 study. BMJ 2016;353:i3189.                                            time in therapeutic range among warfarin users; nor did we have
                                                                       information on laboratory, anthropometric, or socioeconomic
                                                                       factors. However, our sensitivity analyses did not change the

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                                                                        conclusions from the main analyses, suggesting a limited
                                                                        potential for further
                                                                        adjustment for confounding within the setting of Danish
                                                                        administrative registry data. Our data also apply to a
                                                                        predominantly white European population, and differential
                                                                        efficacy and safety benefits are seen between people of Asian
                                                                        and non-Asian origin, which we were unable to investigate.30 31
                                                                        Finally, there is the risk of misclassification, and various
                                                                        limitations of comparative effectiveness studies of newly
                                                                        marketed drugs have been noted previously32 that would also
                                                                        apply to the present study. Our analyses were not focused on
                                                                        direct comparisons of one NOAC agent against another; further
                                                                        research is warranted to establish comparative effectiveness and
                                                                        safety within the NOAC agent group. Moreover, in accordance
                                                                        with the described methods we chose to exclude patients treated
                                                                        with a non-standard (that is, reduced) dose of NOAC. It remains
                                                                        to be established whether each of the NOACs provide
                                                                        comparative effectiveness and safety compared with warfarin
                                                                        when prescribing a reduced dose of a specific NOAC drug.

 Lip, G.Y.H., et al. Major      The strengths of our study are that     A limitation of this study is that as with any retrospective
 bleeding risk among non-       we assessed a real-world                observational study and common to database analysis, we can
 valvular atrial fibrillation   comparative safety of newly             only study association between variables. As with any
 patients initiated on          initiating warfarin, apixaban,          retrospective observational database study, there is a potential
 apixaban, dabigatran,          rivaroxaban, and dabigatran using       for selection bias. We conducted rigorous and thorough
 rivaroxaban or warfarin: a     the comprehensive Truven                multivariate analyses along with sensitivity analyses for bleeding
 “real-world” observational     MarketScan® claims database             definition to ensure robustness of our findings. Comorbidities at
 study in the United States.    which incorporates all medical and      baseline (e.g. presence of renal impairment) are determined by
 2016. Int J Clin Pract         pharmacy claims of patients in the      presence of diagnosis code in the baseline period and not based
 2016;70:752-763.               United States and allows for            on actual lab values or clinical assessment. As is the case with
                                longitudinal analysis of a nationally   any claims database, there is a potential for coding errors and
                                representative sample for the study.    missing data. Similar to any pharmacy claims data in the United
                                Medications being studied are           States, the Truven MarketScan pharmacy claims data does not

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                     relatively new to market and this      routinely capture aspirin utilisation given that aspirin is typically
                     database encompassing both             obtained over-the-counter. Thus, aspirin use was not accounted
                     commercial and Medicare lives          in the analyses.
                     allows for selection of the best
                     sample size for this study. Our        Oral anticoagulant initiation criterion was based on lack of
                     results are based on real-world data   anticoagulation prescription during 1 year baseline period. It was
                     and incorporate observed treatment     possible that patients may have used anticoagulation or aspirin
                     patterns as recorded in the            concurrently prior to the baseline period. This design limitation
                     Marketscan database. Although          is consistent across all OACs studied and hence is unlikely to
                     Truven MarketScan® database            change results. In addition, we do not have data on quality of
                     allows for selection of the            anticoagulation control, as reflected by TTR which can influence
                     nationally representative sample for   efficacy and safety of VKA therapy.
                     this study, the results may not be
                     necessarily generalisable to the       In addition, only inpatient deaths are observed and information
                     entire NVAF population in the          about mortality was not available in the database, which may
                     United States or extrapolated to       have biased the survival analysis. The mean length of follow-up
                     other parts of the world.              for apixaban-treated patients was approximately 1 month shorter
                                                            than for the other OACs. We used survival methods to account
                                                            for varying lengths of follow-up. However, if bleeding events
                                                            tend to occur later on apixaban than the other OACs, the
                                                            difference in follow-up period may have affected the results.
                                                            Because of the difference in follow-up, we conducted sensitivity
                                                            analyses by limiting the follow-up to 90 and 180 days and found
                                                            the results to be generally consistent. However, larger sample
                                                            size and longer follow-up is needed to compare adequately
                                                            powered events among the NOACs and warfarin.

                                                            It was also not possible to apply dose-adjustment in this analysis
                                                            for following reasons: (i) Renal function and weights are not
                                                            available in claims analyses and (ii) warfarin treatment is
                                                            continuously dose-adjusted so there is no low-or high-dose
                                                            strategy which can be defined in a manner similar to NOACs in
                                                            the study. Further, it is unclear if adjusted study results would be

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                                                                 any different from a clinical study conducted with above
                                                                 variables in consideration.

 Lip, G.Y.H., et al. Real-      No specific strengths were       Given the nature of retrospective observational study, only
 world comparison of major      identified by the authors.       associations can be drawn from this study. As is the case with
 bleeding risk among non-                                        claims databases, there is a potential for coding errors and
 valvular atrial fibrillation                                    missing data. Permanent, persistent and paroxysmal AF cannot
 patients initiated on                                           be differentiated using ICD-9 codes, which is a general
 apixaban, dabigatran,                                           limitation of retrospective database analysis of claims data.
 rivaroxaban, or warfarin.                                       Although PSM minimizes the potential bias due to observed
 Thromb Haemost 2016;116.                                        confounding, there may still be residual confounding due to
                                                                 unobserved confounders that cannot be measured in a claims
                                                                 database, such as over-the-counter aspirin use or incomplete
                                                                 claims. Given that patients were prescribed a particular agent
                                                                 depending on the physician in a nonrandomized manner, some
                                                                 possibility of selection bias is evident, as is the case for any
                                                                 observational study. The PSM was conducted between
                                                                 each of the two OAC cohorts, thus the results are not comparable
                                                                 across all matched populations. For example, the warfarin-
                                                                 dabigatran and apixaban-dabigatran matched cohorts were
                                                                 younger and had lower CHA2DS2-VASc scores compared to
                                                                 other matched populations, indicating better health conditions in
                                                                 these two cohorts and possibly lower incidence rates and risks of
                                                                 major bleeding. In addition, no adjustments were made for
                                                                 multiple comparisons.

                                                                 We do not have data on the quality of anticoagulation control
                                                                 among warfarin users, as reflected by time in therapeutic range
                                                                 (TTR), which is important given the relationship of TTR to the
                                                                 efficacy and safety of VKA therapy (23). Additionally, we do
                                                                 not have laboratory results such as creatinine clearance or INR
                                                                 so we cannot control for their effects on the initiation of drugs.
                                                                 In addition, only inpatient deaths are observed and reasons for

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                                                                 mortality are not available in the database, which may have
                                                                 biased the survival analysis. We conducted a sensitivity analysis
                                                                 using a subdistribution hazard model with the Fine and Gray test
                                                                 to evaluate death as a competing risk. The findings remained
                                                                 consistent with the main analysis and inpatient death did not
                                                                 have an impact on the results (24, 25). The mean length of
                                                                 follow-up for apixaban treated patients was approximately one
                                                                 month shorter than for the other OACs. We used survival
                                                                 methods to account for varying lengths of follow-up. However,
                                                                 if bleeding events tend to occur later on apixaban than the other
                                                                 OACs, the difference in follow-up period may have affected the
                                                                 results. Across all of the cohorts there is a relatively short
                                                                 follow-up period (4–6 months), which reflects the high
                                                                 discontinuation of anticoagulation observed in the real world
                                                                 setting.

                                                                 These data are also based on the United States healthcare system
                                                                 and may have limited generalisability outside the US. Dabigatran
                                                                 110 mg BID is not licensed in the US for stroke prevention in
                                                                 AF, and the 75 mg dose is only licensed for significant renal
                                                                 impairment (creatinine clearance 15–29 ml/minute) only in the
                                                                 US, and not in the rest of the world. Although Truven
                                                                 MarketScan® database allows for the selection of a nationally
                                                                 representative sample for this study, the results may not be
                                                                 necessarily generalisable to the entire NVAF population in the
                                                                 United States. Further research
                                                                 is needed to compare the effectiveness and safety of NOACs and
                                                                 warfarin in clinical practice.
 Chang 2015          Our study has several strengths.            Our study also has some limitations. Firstly, we did not have
                     Firstly, we adopted a new user              access to information about patients’ mortality or about
                     design, which allowed us to                 laboratory tests such as prothrombin times. Secondly, we
                     eliminate the residual effect of the        assumed that prescription fill data reflect actual patient usage.
                     previous exposure. Secondly, we             Thirdly, our inability to detect a significant difference between

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                     focused on the incident cases to       dabigatran and warfarin may have been a result of a low number
                     remove the effect of prevalent         of events resulting in inadequate statistical power. Fourthly, our
                     gastrointestinal bleeding, an          outcome of interest, gastrointestinal bleeding, may not have been
                     important risk factor for subsequent   fully captured by the algorithm. However, we used an approach
                     bleeding. Thirdly, we used a           that has been validated with reasonable accuracy in a previous
                     validated algorithm to identify        study.18 Fifthly, this study might underestimate bleeding
                     gastrointestinal bleeding cases.       associated with novel agents, as patients are more likely to report
                     Fourthly, we included a wide range     and seek treatment for bleeding associated with these agents than
                     of potential confounders identified    for warfarin. Sixthly, the short observation time might not allow
                     from the literature in constructing    us to explore other important long term bleeding effects. In
                     propensity scores. Fifthly, baseline   addition, the length of observation was different across the three
                     balance between different exposure     drug user groups, with the shortest observation period for
                     groups was achieved through the        rivaroxaban users. Seventhly, we have limited clinical
                     propensity score weighting and         information on patients excluded from the cohort. The
                     evaluated through the standardized     generalizability of these findings to European cohorts and those
                     difference to minimize                 taking lower doses of dabigatran 110 mg is unknown. Eighthly,
                     confounding. Sixthly, we did           the average treatment effect of the treated weighting results in
                     several sensitivity analyses to        effect estimates standardized to different populations
                     evaluate the robustness of our         (rivaroxaban users or dabigatran users). Given the substantial
                     results, including varying length of   differences between the two groups, the effect estimates could
                     exposure washout periods and           not be directly compared. Finally, our findings may be subject to
                     different methods of applying          unmeasured confounding. For example, it is particularly difficult
                     propensity scores.                     to capture aspirin, which is obtained over the counter and a
                                                            significant risk factor for gastrointestinal bleeding. Selection bias
                                                            whereby health professionals may have channeled patients at risk
                                                            of gastrointestinal bleeding to one class of agents is always
                                                            possible.




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                                   Schedule 20
       Table 12 – FDA ROCKET AF Reanalysis Reviews




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